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                ORAL ARGUMENT NOT YET SCHEDULED

              IN THE UNITED STATES COURT OF APPEALS
              FOR THE DISTRICT OF COLUMBIA CIRCUIT

                                        )
  CALIFORNIA COMMUNITIES
                                        )
  AGAINST TOXICS, CLEAN POWER
                                        )
  LAKE COUNTY, COMITÉ
                                        )
  DIÁLOGO AMBIENTAL, RIO
                                        )
  GRANDE INTERNATIONAL
                                        )
  STUDY CENTER, SIERRA CLUB,
                                        )
  and UNION OF CONCERNED
                                        )
  SCIENTISTS,
                                        )
                                        )      No. 24-1178
        Petitioners,
                                        )      (Consolidated with 24-1180)
                                        )
        v.
                                        )
                                        )
  U.S. ENVIRONMENTAL
                                        )
  PROTECTION AGENCY and
                                        )
  MICHAEL S. REGAN, Administrator,
                                        )
  U.S. Environmental Protection Agency,
                                        )
                                        )
        Respondents.
                                        )

  PETITIONERS’ STATEMENT OF UNDERLYING AGENCY DECISION

      The underlying decision from which this Petition arises is Respondents’

final agency action titled “National Emission Standards for Hazardous Air

Pollutants: Ethylene Oxide Emissions Standards for Sterilization Facilities

Residual Risk and Technology Review,” 89 Fed. Reg. 24,090 (Apr. 5, 2024). The

Rule is attached as Exhibit A.
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 Dated: July 3, 2024                     Respectfully submitted,

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                                         Scientists




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                 EXHIBIT A
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those comments is available in                       A. What are the affected facilities?                more potent carcinogen than we had
Summary of Public Comments and                       B. What are the air quality impacts?                understood when the RTR for this
Responses for the Risk and Technology                C. What are the cost impacts?                       source category was conducted in 2006.
                                                     D. What are the economic impacts?
Review for Commercial Sterilization                                                                      There are 88 commercial sterilization
                                                     E. What are the benefits?
Facilities, Docket ID No. EPA–HQ–                    F. What analysis of environmental justice           facilities in this source category, many
OAR–2019–0178. A ‘‘track changes’’                      did we conduct?                                  of which are located near residences,
version of the regulatory language that            VI. Statutory and Executive Order Reviews             schools, and other public facilities.
incorporates the changes in this action              A. Executive Orders 12866: Regulatory               Many of these facilities are also located
is available in the docket.                             Planning and Review and Executive                in communities with environmental
   Organization of this document. The                   Order 13563: Improving Regulation and            justice (EJ) concerns. We have
information in this preamble is                         Regulatory Review                                determined that approximately 23 of
organized as follows:                                B. Paperwork Reduction Act (PRA)                    these facilities pose high lifetime cancer
                                                     C. Regulatory Flexibility Act (RFA)
I. General Information                                                                                   risks to the surrounding communities,
                                                     D. Unfunded Mandates Reform Act
   A. Executive Summary                                 (UMRA)                                           and some facilities pose exceptionally
   B. Does this action apply to me?                  E. Executive Order 13132: Federalism                high risks that are among some of the
   C. Where can I get a copy of this document        F. Executive Order 13175: Consultation              highest for a CAA section 112(f)(2) risk
     and other related information?                     and Coordination With Indian Tribal              assessment. Throughout this rulemaking
   D. Judicial Review and Administrative                Governments                                      process, we have engaged in outreach
     Reconsideration                                 G. Executive Order 13045: Protection of             activities to these communities, along
II. Background                                          Children From Environmental Health
   A. What is the statutory authority for this
                                                                                                         with their State and local governments,
                                                        Risks and Safety Risks                           to discuss their concerns, along with the
     action?                                         H. Executive Order 13211: Actions
   B. What is the Commercial Sterilization              Concerning Regulations That
                                                                                                         need and potential solutions for
     Facilities source category and how does            Significantly Affect Energy Supply,              reducing emissions and increasing
     the NESHAP regulate HAP emissions                  Distribution, or Use                             transparency on exposure and potential
     from the source category?                       I. National Technology Transfer and                 impacts to communities, which this
   C. What changes did we propose for the               Advancement Act (NTTAA) and 1 CFR                final rule will achieve.
     Commercial Sterilization Facilities                Part 51                                             This important action will reduce EtO
     source category in our April 13, 2023,          J. Executive Order 12898: Federal Actions           emissions and lifetime cancer risks in
     RTR proposal?                                      To Address Environmental Justice in
III. What is included in this final rule?                                                                multiple communities across the
                                                        Minority Populations and Low-Income              country, including communities with EJ
   A. What are the final rule amendments                Populations and Executive Order 14096:
     addressing the affected source                                                                      concerns, and it updates our standards
                                                        Revitalizing Our Nation’s Commitment
     definitions?                                       to Environmental Justice for All                 using proven and cost-effective control
   B. What are the final rule amendments             K. Congressional Review Act (CRA)                   technologies that are already in use at
     pursuant to CAA sections 112(d)(2),                                                                 some facilities in this source category.
     112(d)(3), and 112(d)(5) for the              I. General Information                                The protections offered by these
     Commercial Sterilization Facilities                                                                 standards will be especially important
     source category?                              A. Executive Summary
                                                                                                         for children. In addition, this rule will
   C. What are the final rule amendments           1. Purpose of the Regulatory Action
     based on the risk review for the                                                                    advance the President’s Cancer
     Commercial Sterilization Facilities              Exercising authority under multiple                Moonshot,2 by preventing cancer before
     source category?                              provisions of section 112 of the Clean                it starts. Recognizing that we now have
   D. What are the final rule amendments           Air Act (CAA), we are finalizing                      additional information about the health
     based on the technology review for the        revisions to the NESHAP for                           risks of EtO that was not available at the
     Commercial Sterilization Facilities           Commercial Sterilization Facilities (40               time of the 2006 RTR, and in order to
     source category?                                                                                    ensure that our standards for this source
   E. What are the final rule amendments
                                                   CFR part 63, subpart O) by both
                                                   amending the current standards and                    category adequately protect public
     addressing emissions during periods of
                                                   establishing standards for previously                 health, we have conducted a second
     startup, shutdown, and malfunction?
   F. What other changes have been made to         unregulated emissions within this                     residual risk review under CAA section
     the NESHAP?                                   source category. First, we are finalizing             112(f)(2), as discussed in section I.A.3 of
   G. What are the effective and compliance        emission standards under CAA sections                 this preamble.
     dates of the standards?                       112(d)(2)–(3) and (d)(5) for previously                  In deciding to conduct this second
IV. What is the rationale for our final            unregulated emission sources of EtO.                  residual risk review, we considered the
     decisions and amendments for the
                                                   Second, we are finalizing risk-based                  health effects of EtO exposure, the
     Commercial Sterilization Facilities                                                                 impacts to surrounding communities,
     source category?                              standards under CAA section 112(f)(2)
                                                   to protect public health with an ample                the advantages of EtO reductions, and
   A. Amendments Addressing the Affected                                                                 the distribution of those reductions
     Source Definitions                            margin of safety. Third, we are
   B. Amendments Pursuant to CAA sections          finalizing emission standards under                   consistent with the clear goal of CAA
     112(d)(2), 112(d)(3), and 112(d)(5) for the   CAA section 112(d)(6) based on our                    section 112(f)(2) to protect the most
     Commercial Sterilization Facilities           review of developments in practices,                  exposed and susceptible populations.
     Source Category                               processes, and control technologies for               While commercial sterilizers provide a
   C. Residual Risk Review for the                                                                       critical benefit for the health of all,
     Commercial Sterilization Facilities
                                                   this source category.
                                                      This final rulemaking reflects the EtO             protecting people who live near
     Source Category                                                                                     commercial sterilization facilities from
   D. Technology Review for the Commercial         toxicological assessment that EPA’s
                                                   Integrated Risk Information System                    the disproportionate risk of being
     Sterilization Facilities Source Category                                                            significantly harmed by toxic air
   E. Amendments Addressing Emissions              (IRIS) Program completed in December
     During Periods of SSM                         2016,1 which indicated that EtO is a far                2 https://www.whitehouse.gov/briefing-room/
   F. Other Amendments to the Standards                                                                  statements-releases/2023/09/13/fact-sheet-as-part-
V. Summary of Cost, Environmental, and               1 Evaluation of the Inhalation Carcinogenicity of   of-president-bidens-unity-agenda-white-house-
     Economic Impacts and Additional               Ethylene Oxide, December 2016, EPA/635/R–16/          cancer-moonshot-announces-new-actions-and-
     Analyses Conducted                            350Fc.                                                commitments-to-end-cancer-as-we-know-it/.
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pollution is also a core responsibility for            public health under CAA section 112,                 viable, safe, and cost-effective
the EPA under the CAA.                                 the EPA has carefully evaluated the                  alternatives to EtO sterilization.
   At the same time, we recognize that                 feasibility and cost of compliance with                 On April 13, 2023, the Office of
commercial sterilization facilities play a             this rule, and potential implications for            Pesticide Programs (OPP) published a
vital role in maintaining an adequate                  the medical device supply chain.4 The                notice announcing the availability of a
supply of sterilized medical devices for               EPA notes that a number of the facilities            proposed interim decision (PID) as part
public health needs in the U.S.                        covered by this final rule have already              of its periodic review of the registration
According to the U.S. Food and Drug                    implemented one or more of the                       of EtO under the Federal Insecticide,
Administration (FDA), ‘‘Literature                     controls that will be needed for                     Fungicide, and Rodenticide Act (FIFRA)
shows that about fifty percent of all                  compliance. Moreover, the EPA’s own                  (88 FR 22447). The PID contained a
sterile medical devices in the U.S. are                experience working with facility                     number of measures aimed at protecting
sterilized with ethylene oxide.’’ FDA                  owners, as well as State and local                   workers from excessive EtO exposure.
also notes that, ‘‘For many medical                    agencies that have regulated EtO                     Since the issuance of the PID, OPP has
devices, sterilization with ethylene                   emissions from these facilities, confirms            been actively collaborating with the
oxide may be the only method that                      that it is feasible for individual facilities        Office of Air and Radiation to ensure
effectively sterilizes and does not                    to install the required controls well                that the requirements of the FIFRA
damage the device during the                           within the deadlines provided in this                Interim Decision (ID) do not interfere
sterilization process.’’ 3 In developing               rule, and for multiple facilities to do so           with the requirements of this rule, and
this final rule, therefore, we carefully               simultaneously.                                      vice versa. The ID will contain the final
considered the important function these                   In addition, as a result of the                   requirements to mitigate worker
facilities serve, drawing from extensive               comments received, as well as the EPA’s              exposure to EtO, considering the
engagement with industry stakeholders                  consultation with FDA and other                      comments received on the PID.
as well as Federal agencies with                       Federal partners, the final rule                     Furthermore, OPP has been consulting
expertise in and responsibility for the                incorporates several key changes from                regularly with other Federal agencies
medical device supply chain.                           the proposed rule, including                         and with industry trade groups, to
   To ensure our actions with respect to               modifications to the format of certain               discuss how best to harmonize the
this source category are based on the                  standards and compliance flexibilities.              requirements of the FIFRA ID with the
most accurate and complete information                 We are also providing sufficient                     requirements of this rule, and to ensure
possible, we have had many interactions                compliance time to enable these                      that the operative standards, once
with the EtO commercial sterilization                  facilities to continue sterilizing products          finalized, will protect both workers and
industry in recent years, including                    while installing and testing new control             neighboring communities from the risks
meetings, requests for information, and                systems and associated equipment that                of EtO exposure while mitigating and
outreach specific to this final                        will afford ample protection for nearby              managing any risk to the supply chain
rulemaking. This has enabled us to work                communities. These modifications to                  for sterile medical devices.
from the best possible information when                the proposed rule are intended to
                                                       facilitate cost-effective compliance, and            2. Summary of the Major Provisions of
conducting the analyses to support this                                                                     the Regulatory Action in Question
final rulemaking, including the current                to avoid any impacts to the integrity of
configuration of facilities and the                    the medical device supply chain, while                  We are finalizing numeric emission
performance of control technologies that               ensuring that these standards reduce                 limits, operating limits, and
are currently used.                                    cancer risks for communities exposed to              management practices under CAA
   We have engaged with the U.S.                       EtO emissions.                                       sections 112(d)(2)–(3), (d)(5), and (d)(6)
Department of Health and Human                            Given that key industry players are               for EtO emissions from certain emission
Services, particularly FDA, regarding                  already planning for compliance, and in              sources, and also finalizing standards
the potential impacts of this final rule               light of the significant changes made                under CAA section 112(f)(2) for certain
on commercial facilities that sterilize                between the proposal and this final rule,            emission sources in order to ensure that
medical devices. These discussions                     the EPA does not anticipate that the                 the standards provide an ample margin
have focused on identifying and                        implementation of these standards will               of safety to protect public health.5
discussing any concerns regarding the                  have any adverse impacts on the                         For the following, previously
potential impact on the availability of                medical supply chain. However, as the                unregulated emission sources at
certain medical devices that are                       Agency proceeds to implement this final              commercial sterilization facilities, we
sterilized with EtO, in cases where                    rule, we intend to continue to work                  are setting standards under CAA
alternative sterilization methods are not              closely with FDA, the relevant trade                 sections 112(d)(2)–(3) or (d)(5): SCVs
readily available, in particular, devices              associations, and facility owners to                 and ARVs at facilities where EtO use is
that are (1) experiencing or at risk of                monitor the process of planning for                  less than 1 tpy,6 ARVs at facilities where
experiencing a shortage, (2) intended to               compliance, to proactively identify any
provide life-supporting, life-sustaining               anticipated changes in facility                         5 In 1992, pursuant to CAA section 112(c)(1), we

                                                       operations that might implicate the                  published a list of major and area sources for
care or that is intended for use in                                                                         regulation under CAA section 112, including major
emergency medical care or during                       medical supply chain, and to take                    and area sources at commercial sterilization
surgery, (3) used in pediatric services,               appropriate steps to address any such                facilities. 57 FR 31576, 31586 (July 16, 1992). Area
                                                       impacts. In addition, in order to                    sources at commercial sterilization facilities were
and/or (4) sterilized exclusively at a                                                                      listed for regulation under CAA section 112(c)(3)
                                                       increase the resilience of the medical
particular facility.                                                                                        based on our finding that they present a threat of
   Mindful of the vital role that                      supply chain, we support the                         adverse effects to human health or the environment
commercial sterilizers play in supplying               development and implementation of                    (by such sources individually or in the aggregate)
                                                                                                            warranting regulation under that section. Id. at
the nation with sterile medical devices,                 4 For more information, see the document           31586.
and the core objective of protecting                   Regulatory Impact Analysis for the Final National       6 In developing the original rule, EPA considered

                                                       Emission Standards for Hazardous Air Pollutants:     potential standards for SCV and ARV at area source
  3 https://www.fda.gov/medical-devices/general-       Ethylene Oxide Commercial Sterilization and          facilities where EtO use is less than 1 tpy but the
hospital-devices-and-supplies/sterilization-medical-   Fumigation Operations, available in the docket for   Agency understood these sources at the time to
devices.                                               this rulemaking.                                     have low emission contributions (e.g., a facility
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EtO use is at least 1 tpy but less than                                          • SCVs at facilities where EtO use is at                                   • Group 2 room air emissions at area
10 tpy,7 CEVs,8 and room air                                                       least 1 tpy but less than 10 tpy                                           source facilities where EtO use is at
emissions.9                                                                      • ARVs at facilities where EtO use is at                                     least 4 tpy but less than 20 tpy
  Next, based on our assessment of the
                                                                                   least 30 tpy                                                               Finally, under CAA section 112(d)(6),
residual risk after considering the
emission reductions from the previous                                            • CEVs at area source facilities 10 where                                  we are revising current standards for the
standards in subpart O, as well as the                                             EtO use is at least 400 tpy                                              following sources that were regulated in
standards under CAA sections                                                                                                                                the previous 40 CFR part 63, subpart O:
                                                                                 • CEVs at area source facilities where
112(d)(2)–(3) or (d)(5) for the previously                                         EtO use is at least 60 but less than 400                                 • SCVs at facilities where EtO use is at
unregulated sources, we are finalizing                                             tpy                                                                        least 10 tpy
more stringent standards under CAA                                                                                                                          • SCVs at facilities where EtO use is at
section 112(f)(2) to address risk at the                                         • Group 1 room air emissions 11 at area
                                                                                   source facilities where EtO use is at                                      least 1 tpy but less than 10 tpy
following types of sources:
                                                                                   least 40 tpy                                                             • ARVs at facilities where EtO use is at
• SCVs at facilities where EtO use is at
                                                                                 • Group 2 room air emissions 12 at area                                      least 10 tpy
  least 30 tpy
• SCVs at facilities where EtO use is at                                           source facilities where EtO use is at                                      Table 1 summarizes the final CAA
  least 10 tpy but less than 30 tpy                                                least 20 tpy                                                             section 112(d) and 112(f)(2) standards.
       TABLE 1—SUMMARY OF STANDARDS AFTER TAKING ACTIONS PURSUANT TO CAA SECTIONS 112(d)(2), 112(d)(3),
                                     112(d)(5), 112(f)(2), AND 112(d)(6)
        Emission source                              Existing or new?                                  EtO use                                          Standards                                CAA section

SCV ......................................   Existing and new .................          At least 30 tpy .....................        99.99 percent emission reduction .............     112(f)(2).
                                                                                         At least 10 tpy but less than                99.9 percent emission reduction ...............    112(f)(2).
                                                                                           30 tpy.
                                                                                         At least 10 tpy .....................        99.9 percent emission reduction ...............    112(d)(6).
                                                                                         At least 1 but less than 10                  99.8 percent emission reduction ...............    112(f)(2) and 112(d)(6).
                                                                                           tpy.
                                                                                         Less than 1 tpy ...................          99 percent emission reduction ..................   112(d)(5).
ARV ......................................   Existing ................................   At least 30 tpy .....................        99.9 percent emission reduction ...............    112(f)(2).
                                                                                         At least 10 tpy but less than                99.6 percent emission reduction ...............    112(f)(2).
                                                                                           30 tpy.
                                                                                         At least 10 tpy .....................        99.6 percent emission reduction ...............    112(d)(6).
                                                                                         At least 1 but less than 10                  99 percent emission reduction ..................   112(d)(5).
                                                                                           tpy.
                                                                                         Less than 1 tpy ...................          99 percent emission reduction ..................   112(d)(5).
                                             New .....................................   At least 30 tpy .....................        99.9 percent emission reduction ...............    112(f)(2).
                                                                                         At least 10 tpy .....................        99.9 percent emission reduction ...............    112(d)(6).
                                                                                         At least 1 but less than 10                  99 percent emission reduction ..................   112(d)(5).
                                                                                           tpy.
                                                                                         Less than 1 tpy ...................          99 percent emission reduction ..................   112(d)(5).
CEVs at major source facili-                 Existing and new .................          N/A ......................................   99.94 percent emission reduction 1 ...........     112(d)(2) and 112(d)(3).
 ties.
CEVs at area source facili-                  Existing and new .................          At least 400 tpy ...................         99.9 percent emission reduction ...............    112(f)(2).
 ties.
                                                                                         At least 60 but less than                    99.9 percent emission reduction ...............    112(f)(2).
                                                                                           400 tpy.
                                                                                         Less than 60 tpy .................           99 percent emission reduction ..................   112(d)(5).
Group 1 room air emissions                   Existing and new .................          N/A ......................................   97 percent emission reduction 2 3 ..............   112(d)(2) and 112(d)(3).
  at major sources.
Group 1 room air emissions                   Existing and new .................          At least 40 tpy .....................        98 percent emission reduction 3 ................   112(f)(2).
  at area sources.
                                                                                         Less than 40 tpy .................           80 percent emission reduction 3 ................   112(d)(5).

with EtO use of 1,999 lb/yr would have roughly less                              leading to the explosions was that EtO                                     combination of HAPs. . .’’. It further defines an
than 167 lb/month of usage and emissions, and less                               concentrations were above a safe level (i.e., above                        area source as ‘‘any stationary source of HAPs that
than 41 lb/week usage and emissions.) At the time,                               the lower explosive limit (LEL)) within the CEV gas                        is not a major source’’. A synthetic area source
EPA considered costs for monitoring,                                             streams. We could not conclude at the time that the                        facility is one that otherwise has the potential to
recordkeeping, and reporting under the rule.                                     CEVs could be safely controlled, so the standards                          emit HAPs in amounts that are at or above those
Threshold cutoffs for area sources are at the                                    for CEVs were removed on November 2, 2001 (66                              for major sources of HAP, but that has taken a
discretion of the Agency.                                                        FR 55583). However, as discussed in section III.B.5
                                                                                                                                                            restriction so that its potential to emit is less than
   7 EPA considered standards for ARV and CEV at                                 of the proposal preamble (88 FR 22790), facilities
                                                                                 with controlled CEVs have revised their operating                          the threshold amounts for major sources. Most of
area source facilities where EtO use is at least 1 tpy
and less than 10 tpy. As noted, the Agency                                       procedures to address the explosion issue by not                           the EtO used at these facilities is released through
understood at the time that the largest emission                                 exceeding 10 to 25 percent of the LEL. We have,                            SCVs and ARVs, and subpart O contains emission
source of EtO occurred from the SCV, and therefore                               therefore, determined that CEVs can be safely                              standards for these sources at facilities where EtO
finalized emission reduction standards for all SCV                               controlled.                                                                use is at least 10 tpy. Some State and local
at facilities where EtO use is at least 1 tpy. At the                               9 As discussed in section III.A, room air emissions                     governments also regulate EtO emissions from these
time ARV sources were understood to have low                                     include emissions resulting from indoor EtO                                facilities. Based on these facts, as well as our review
emission contributions. As noted, threshold cutoffs                              storage, EtO dispensing, vacuum pump operation,                            of the permits for these facilities, it is our
for area sources are at the discretion of the Agency.                            pre-aeration handling of sterilized material, and                          understanding that all facilities that use more than
   8 The standards for CEVs were originally                                      post-aeration handling of sterilized material.                             10 tpy are synthetic area sources.
promulgated on December 6, 1994. Following                                          10 As discussed in section III.B of the proposal
                                                                                                                                                               11 As discussed in section III.A, Group 1 room air
promulgation of the rule, we suspended certain                                   preamble (88 FR 22790, April 13, 2023), CAA
                                                                                                                                                            emissions cover indoor EtO storage, EtO dispensing,
compliance deadlines and ultimately removed the                                  section 112(a) defines a major source as ‘‘any
standards for CEVs due to safety concerns. In the                                stationary source or group of stationary sources                           vacuum pump operation, and pre-aeration handling
late 1990s, there were multiple explosions at EtO                                located within a contiguous area and under                                 of sterilized material.
                                                                                                                                                               12 As discussed in section III.A, Group 2 room air
commercial sterilization facilities using oxidizers to                           common control that emits or has the potential to
control emissions from the CEV. For CEVs, it was                                 emit considering controls, in the aggregate, 10 tpy                        emissions cover post-aeration handling of sterilized
determined that the primary contributing issue                                   or more of any HAP or 25 tpy or more of any                                material.
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      TABLE 1—SUMMARY OF STANDARDS AFTER TAKING ACTIONS PURSUANT TO CAA SECTIONS 112(d)(2), 112(d)(3),
                               112(d)(5), 112(f)(2), AND 112(d)(6)—Continued
       Emission source                            Existing or new?                                  EtO use                                          Standards                                     CAA section

Group 2 room air emissions                Existing and new .................          N/A ......................................   86 percent emission reduction 1 3 ..............    112(d)(2) and 112(d)(3).
  at major sources.
Group 2 room air emissions                Existing ................................   At least 20 tpy .....................        98 percent emission reduction 3 ................    112(f)(2).
  at area sources.
                                                                                      At least 4 but less than 20                  80 percent emission reduction 3 ................    112(f)(2).
                                                                                        tpy.
                                                                                      Less than 4 tpy ...................          Lower the EtO concentration within each             112(d)(5).
                                                                                                                                     sterilization chamber to 1 ppm before
                                                                                                                                     the chamber can be opened 4.
                                         New .....................................    At least 20 tpy .....................        98 percent emission reduction 3 ................    112(f)(2).
                                                                                      At least 4 but less than 20                  80 percent emission reduction 3 ................    112(f)(2).
                                                                                        tpy.
                                                                                      Less than 4 tpy ...................          80 percent emission reduction 3 ................    112(d)(5).
  1 MACT floor.
  2 Beyond-the-Floor (BTF) standard.
 3 To assure compliance with the emission limit, we are requiring each facility to operate area sources with these emissions in accordance with the PTE require-
ments of EPA Method 204 of appendix M to 40 CFR part 51.
 4 Owners and operators may also apply for an alternative means of emission limitation under CAA section 112(h)(3).




   To demonstrate compliance with the                                           As discussed in further detail in                                        approximately 60 times greater than the
emission limits, we are finalizing                                            section IV.C, this second residual risk                                    value we used in our previous risk
capture requirements. We are also                                             review also encompasses certain area                                       assessment, we are now exercising our
finalizing a requirement for facilities to                                    sources for which we did not evaluate                                      discretionary authority to conduct
monitor with an EtO continuous                                                residual risk in our 2006 rulemaking.                                      another CAA section 112(f)(2) analysis
emissions monitoring system (CEMS),                                           Although CAA section 112(f)(5) states                                      and to include in this analysis area
with exceptions for small users.                                              that a risk review is not required for                                     source commercial sterilizers using EtO
                                                                              categories of area sources subject to                                      for which we have promulgated, or have
3. EPA Authority
                                                                              generally available control technology                                     considered, GACT standards.
  We note that the EPA completed a                                            (GACT) standards, it does not prohibit                                        Section 112(d)(6) of the CAA requires
residual risk and technology review                                           such review. In 2006, we undertook a                                       EPA to review and revise, as necessary,
under CAA sections 112(f)(2) and                                              CAA section 112(f)(2) analysis only for                                    standards promulgated under CAA
112(d)(6), respectively, for this source                                      area source emissions standards that                                       section 112 at least every eight years,
category in 2006 (71 FR 17712). While                                         were issued as maximum achievable                                          taking into account developments in
CAA section 112(f)(2) requires only a                                         control technology (MACT) standards                                        practices, processes, and control
one-time risk review, which is to be                                          and exercised our discretion under CAA                                     technologies. We last completed this
conducted within eight years of the date                                      section 112(f)(5) not to do a CAA section                                  required technology review for the
the initial standards are promulgated, it                                     112(f)(2) analysis for those emission                                      Ethylene Oxide Commercial
does not limit our discretion or                                              points for which GACT standards were                                       Sterilization NESHAP (40 CFR 63,
authority to conduct another risk review                                      established (67 FR 17715). However, as                                     subpart O) in 2006. Accordingly, in this
should we consider that such review is                                        we made clear in that prior risk                                           final action, we are also conducting a
warranted. As discussed in more detail                                        assessment, ‘‘[w]e have the authority to                                   CAA section 112(d)(6) review of the
in section IV.C of this preamble, as our                                      revisit (and revise, if necessary) any                                     current standards in this source
understanding of the health effects of                                        rulemaking if . . . significant                                            category.
EtO developed, we conducted a second                                          improvements to science [suggest that]
residual risk review under CAA section                                        the public is exposed to significant                                       4. Costs and Benefits
112(f)(2) for commercial sterilization                                        increases in risk as compared to the                                         Table 2 of this preamble summarizes
facilities using EtO in order to ensure                                       [2006 risk assessment].’’ Id. In light of                                  the costs of this final action for 40 CFR
that the standards provide an ample                                           the updated IRIS cancer unit risk                                          part 63, subpart O (Ethylene Oxide
margin of safety to protect public health.                                    estimate (URE) for EtO, which is                                           Commercial Sterilization NESHAP).

                                                    TABLE 2—TOTAL CAPITAL INVESTMENT AND TOTAL ANNUAL COST
                                                                                                              [2021$]

                                                                                                                                               Number of facilities
                                                                                                                                               w/costs associated             Total capital            Total annual
                                                           Requirement                                                                              with new                  investment                  costs
                                                                                                                                                  requirements

Permanent total enclosure ...................................................................................................                                         28        $77,500,000              $8,280,000
Additional control devices ....................................................................................................                                       83        187,000,000              43,000,000
Monitoring and testing .........................................................................................................                                      89          48,100,000             19,400,000
Recordkeeping and reporting ..............................................................................................                                          1 90    ........................     2 2,600,000


      Total ..............................................................................................................................                          1 90        313,000,000              74,000,000
   1 This includes the 88 facilities that are currently operating, as well as two planned facilities that are expected to start operating within the next
few years.
  2 This includes $763,000 of one-time annual costs for reading the rule and developing record systems.
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  The capital costs for permanent total                           reduce EtO emissions from this source                                      amendments, which are updated based
enclosure (PTE) and additional gas/solid                          category by 21 tpy. Table 3 of this                                        on revisions made in the final rule and
reactors were annualized to 20 years.                             preamble summarizes the cancer risk                                        described in more detail in section
We estimate that these amendments will                            reductions that will result from the final                                 IV.C.2.

                                                        TABLE 3—SUMMARY OF CANCER RISK REDUCTIONS
                                                                                                                                                                               Cancer risks after
                                                                                  Current cancer risks—                         Current cancer risks—                        implementation of final
                                                                                    actual emissions                             allowable emissions                              amendments

Maximum Individual Risk (MIR) 1 ....................................          6,000-in-1 million ...............             8,000-in-1 million 3 .............            100-in-1 million.
Number of People with Cancer Risks >100-in-1 million                          19,000 ................................        260,000 ..............................        0.
Number of People with Cancer Risks ≥1-in-1 million .....                      8.5 million ..........................         62 million ...........................        700,000 to 1.4 million.2
Estimated Annual Cancer Incidence (cases per year) ...                        0.9 ......................................     8 .........................................   0.1 to 0.2.2
  1 The MIR or maximum individual lifetime cancer risk is defined as the increase in estimated cancer risk associated with a 70-year lifetime of
continuous exposure at the highest concentration of HAP where people are likely to live.
  2 Ranges in values account for if all facilities were performing at the level of the standards (high end) to considering facilities that are currently
performing better than the standards (low end).


   As indicated in table 3, we project                            to a lifetime cancer risk of greater than                                    See section V of this preamble for
that the standards in the final rule will                         100-in-1 million (which is our                                             further discussion of the costs and a
significantly reduce incremental                                  presumptive upper bound threshold for                                      discussion of the benefits of the final
lifetime cancer risks associated with                             acceptable health risks), based on actual                                  standards. See section IV.F of this
emissions of EtO from this source                                 emissions. When considering allowable                                      preamble for discussion of the revisions
category. We estimate that the current                            emissions, this number increases to                                        to monitoring, recordkeeping, reporting,
maximum increase in lifetime cancer                               260,000. Under the final rule, no                                          and testing requirements. See section
risk associated with any facility in this                         individual will be exposed to EtO at                                       IV.C for a discussion of the risk
source category is 6,000-in-1 million                             levels that correspond to a lifetime                                       assessment results.
based on estimated actual emissions (or                           cancer risk of greater than 100-in-1                                       B. Does this action apply to me?
8,000-in-1 million based on allowable                             million, and the number of people with
emissions) under the existing standards,                          a potential risk of greater than or equal                                    Regulated entities. Categories and
and that approximately 19,000 people                                                                                                         entities potentially regulated by this
                                                                  to 1-in-1 million will be reduced by
are exposed to EtO from this source                                                                                                          action are shown in table 4 of this
                                                                  approximately 92 percent.
category at levels that would correspond                                                                                                     preamble.

                      TABLE 4—NESHAP AND INDUSTRIAL SOURCE CATEGORIES AFFECTED BY THIS FINAL ACTION
                                            Industrial category                                                                                    NESHAP                               NAICS 1 code

Surgical and Medical Instrument Manufacturing ..........................................................                   40 CFR part 63, subpart O .......................                   339112
Surgical Appliance and Supplies Manufacturing .........................................................                    40 CFR part 63, subpart O .......................                   339113
Pharmaceutical Preparation Manufacturing .................................................................                 40 CFR part 63, subpart O .......................                   325412
Spice and Extract Manufacturing .................................................................................          40 CFR part 63, subpart O .......................                   311942
Dried and Dehydrated Food Manufacturing .................................................................                  40 CFR part 63, subpart O .......................                   311423
Packaging and Labeling Services ................................................................................           40 CFR part 63, subpart O .......................                   561910
  1 North American Industry Classification System.




   Table 4 of this preamble is not                                internet. Following signature by the                                       D. Judicial Review and Administrative
intended to be exhaustive, but rather to                          EPA Administrator, the EPA will post a                                     Reconsideration
provide a guide for readers regarding                             copy of this final action at: https://
entities likely to be affected by the final                                                                                                    Under Clean Air Act (CAA) section
                                                                  www.epa.gov/stationary-sources-air-                                        307(b)(1), judicial review of this final
action for the source category listed. To                         pollution/ethylene-oxide-emissions-
determine whether your facility is                                                                                                           action is available only by filing a
                                                                  standards-sterilization-facilities.                                        petition for review in the United States
affected, you should examine the                                  Following publication in the Federal
applicability criteria in the appropriate                                                                                                    Court of Appeals for the District of
                                                                  Register, the EPA will post the Federal                                    Columbia Circuit (the Court) by June 4,
NESHAP. If you have any questions                                 Register version and key technical
regarding the applicability of any aspect                                                                                                    2024. Under CAA section 307(b)(2), the
                                                                  documents at this same website.                                            requirements established by this final
of this NESHAP, please contact the
appropriate person listed in the                                     Additional information is available on                                  rule may not be challenged separately in
preceding FOR FURTHER INFORMATION                                 the RTR website at https://                                                any civil or criminal proceedings
CONTACT section of this preamble.                                 www.epa.gov/stationary-sources-air-                                        brought by the EPA to enforce the
                                                                  pollution/risk-and-technology-review-                                      requirements.
C. Where can I get a copy of this                                 national-emissions-standards-                                                Section 307(d)(7)(B) of the CAA
document and other related                                                                                                                   further provides that only an objection
                                                                  hazardous. This information includes
information?                                                                                                                                 to a rule or procedure which was raised
                                                                  an overview of the RTR program and
  In addition to being available in the                           links to project websites for the RTR                                      with reasonable specificity during the
docket, an electronic copy of this final                          source categories.                                                         period for public comment (including
action will also be available on the                                                                                                         any public hearing) may be raised
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during judicial review. This section also    (after considering cost, energy             regarding EtO, the EPA is choosing to
provides a mechanism for the EPA to          requirements, and non-air quality health    exercise that discretion.
reconsider the rule if the person raising    and environmental impacts). In                 In the second stage of the regulatory
an objection can demonstrate to the          developing MACT standards, CAA              process, the CAA requires the EPA to
Administrator that it was impracticable      section 112(d)(2) directs the EPA to        undertake two different analyses, which
to raise such objection within the period    consider the application of measures,       we refer to as the technology review and
for public comment or if the grounds for     processes, methods, systems, or             the residual risk review. Under the
such objection arose after the period for    techniques, including, but not limited      technology review, we must review the
public comment (but within the time          to, those that reduce the volume of or      technology-based standards and revise
specified for judicial review) and if such   eliminate HAP emissions through             them ‘‘as necessary (taking into account
objection is of central relevance to the     process changes, substitution of            developments in practices, processes,
outcome of the rule. Any person seeking      materials, or other modifications;          and control technologies)’’ no less
to make such a demonstration should          enclose systems or processes to             frequently than every 8 years, pursuant
submit a Petition for Reconsideration to                                                 to CAA section 112(d)(6). In conducting
                                             eliminate emissions; collect, capture, or
the Office of the Administrator, U.S.                                                    this review, the EPA is not required to
                                             treat HAP when released from a process,
EPA, Room 3000, WJC South Building,                                                      recalculate the MACT floors that were
                                             stack, storage, or fugitive emissions
1200 Pennsylvania Ave. NW,                                                               established in earlier rulemakings.
                                             point; are design, equipment, work          Natural Resources Defense Council
Washington, DC 20460, with a copy to         practice, or operational standards; or
both the person(s) listed in the                                                         (NRDC) v. EPA, 529 F.3d 1077, 1084
                                             any combination of the above.               (D.C. Cir. 2008). Association of Battery
preceding FOR FURTHER INFORMATION
CONTACT section, and the Associate              For these MACT standards, the statute    Recyclers, Inc. v. EPA, 716 F.3d 667
General Counsel for the Air and              specifies certain minimum stringency        (D.C. Cir. 2013). The EPA may consider
Radiation Law Office, Office of General      requirements, which are referred to as      cost in deciding whether to revise the
Counsel (Mail Code 2344A), U.S. EPA,         MACT floor requirements, and which          standards pursuant to CAA section
1200 Pennsylvania Ave. NW,                   may not be based on cost                    112(d)(6). The EPA is required to
Washington, DC 20460.                        considerations. See CAA section             address regulatory gaps, such as missing
                                             112(d)(3). For new sources, the MACT        standards for listed air toxics known to
II. Background                               floor cannot be less stringent than the     be emitted from the source category, and
A. What is the statutory authority for       emission control achieved in practice by    any new MACT standards must be
this action?                                 the best-controlled similar source. The     established under CAA sections
                                             MACT standards for existing sources         112(d)(2) and (3), or, in specific
   The statutory authority for this action                                               circumstances, CAA sections 112(d)(4)
is provided by sections 112 and 301 of       can be less stringent than floors for new
                                             sources, but they cannot be less            or (h). Louisiana Environmental Action
the Clean Air Act (CAA), as amended                                                      Network (LEAN) v. EPA, 955 F.3d 1088
(42 U.S.C. 7401 et seq.). The discussion     stringent than the average emission
                                             limitation achieved by the best-            (D.C. Cir. 2020).
that follows identifies the relevant                                                        The residual risk review in the second
statutory sections and briefly explains      performing 12 percent of existing
                                             sources in the category or subcategory      stage of the regulatory process focuses
the contours of the methodology used to                                                  on identifying and addressing any
implement these statutory requirements.      (or the best-performing five sources for
                                             categories or subcategories with fewer      remaining (i.e., ‘‘residual’’) risk
A more comprehensive discussion                                                          pursuant to CAA section 112(f). For
appears in the document titled CAA           than 30 sources). In developing MACT
                                                                                         source categories subject to MACT
Section 112 Risk and Technology              standards, we must also consider
                                                                                         standards, section 112(f)(2) of the CAA
Reviews: Statutory Authority and             control options that are more stringent
                                                                                         requires the EPA to determine whether
Methodology, in the docket for this          than the floor under CAA section
                                                                                         promulgation of additional standards is
rulemaking. Section 112 of the CAA           112(d)(2). We may establish standards
                                                                                         needed to provide an ample margin of
establishes a two-stage regulatory           more stringent than the floor, based on     safety to protect public health or to
process to address emissions of              the consideration of the cost of            prevent an adverse environmental
hazardous air pollutants (HAP) from          achieving the emissions reductions, any     effect. Section 112(d)(5) of the CAA
stationary sources. In the first stage, we   non-air quality health and                  provides that this residual risk review is
must identify categories of sources          environmental impacts, and energy           not required for categories of area
emitting one or more of the HAP listed       requirements. For area sources, CAA         sources subject to GACT standards.
in CAA section 112(b) and then               section 112(d)(5) allows the EPA to set     Section 112(f)(2)(B) of the CAA further
promulgate technology-based NESHAP           standards based on GACT in lieu of          expressly preserves the EPA’s use of the
for those sources. Sources of HAP            MACT standards. For categories of           two-step approach for developing
emissions are either major sources or        major sources and any area source           standards to address any residual risk
area sources, and CAA section 112            categories subject to MACT standards,       and the Agency’s interpretation of
establishes different requirements for       the second stage in standard-setting        ‘‘ample margin of safety’’ developed in
major source standards and area source       focuses on identifying and addressing       the National Emissions Standards for
standards. ‘‘Major sources’’ are those       any remaining (i.e., ‘‘residual’’) risk     Hazardous Air Pollutants: Benzene
that emit, or have the potential to emit,    pursuant to CAA section 112(f). Section     Emissions from Maleic Anhydride
any single HAP at a rate of 10 tons per      112(f) specifically states that the EPA     Plants, Ethylbenzene/Styrene Plants,
year (tpy) or more, or 25 tpy or more of     ‘‘shall not be required’’ to conduct risk   Benzene Storage Vessels, Benzene
any combination of HAP. All other            review under this subsection for            Equipment Leaks, and Coke By-Product
sources are ‘‘area sources.’’ For major      categories of area sources subject to       Recovery Plants (Benzene NESHAP) (54
sources, these standards are commonly        GACT standards but does not limit the       FR 38044, September 14, 1989). The
referred to as maximum achievable            EPA’s authority or discretion from          EPA notified Congress in the Residual
control technology (MACT) standards          conducting such review. As discussed        Risk Report that the Agency intended to
and must reflect the maximum degree of       in more detail in section III.C of this     use the Benzene NESHAP approach in
emission reductions of HAP achievable        preamble, in light of the updated URE       making CAA section 112(f) residual risk
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determinations (EPA–453/R–99–001, p.                      consideration costs, energy, safety, and                           NESHAP does not include standards for
ES–11). The EPA subsequently adopted                      other relevant factors. For more                                   room air emissions.
this approach in its residual risk                        information on the statutory authority                                In the chamber EtO sterilization
determinations, and the United States                     for this rule, see 88 FR 22790, April 13,                          process, items to be sterilized are placed
Court of Appeals for the District of                      2023.                                                              in a chamber and exposed to EtO gas at
Columbia Circuit upheld the EPA’s                         B. What is the Commercial Sterilization                            a predetermined concentration,
interpretation that CAA section 112(f)(2)                 Facilities source category and how does                            temperature, humidity, and pressure for
incorporates the approach established in                  the NESHAP regulate HAP emissions                                  a period of time known as the dwell
the Benzene NESHAP. See NRDC v.                           from the source category?                                          period. Following the dwell period, the
EPA, 529 F.3d 1077, 1083 (D.C. Cir.                                                                                          EtO gas is evacuated from the chamber,
2008).                                                       The EPA promulgated the EtO                                     and the sterilized materials are then
                                                          Commercial Sterilization Facilities                                aerated to remove EtO residuals from
   The approach incorporated into the                     NESHAP on December 6, 1994 (59 FR
CAA and used by the EPA to evaluate                                                                                          the product. After the aeration step,
                                                          62585). The standards are codified at 40                           sterilized materials are typically moved
residual risk and to develop standards                    CFR part 63, subpart O. The EtO
under CAA section 112(f)(2) is a two-                                                                                        to a shipping/warehouse area for storage
                                                          commercial sterilization industry                                  until they are ready to be distributed to
step approach. In the first step, the EPA                 consists of facilities operating a
determines whether risks are acceptable.                                                                                     the customer. Sterilizer process
                                                          sterilizer process that uses EtO to                                equipment and emission control
This determination ‘‘considers all health                 sterilize or fumigate materials (e.g.,
information, including risk estimation                                                                                       configurations vary across facilities. The
                                                          medical equipment and supplies,                                    most common sterilizer process
uncertainty, and includes a presumptive                   spices, and other miscellaneous
limit on maximum individual lifetime                                                                                         equipment configuration includes a
                                                          products and items). The source
[cancer] risk (MIR) 13 of approximately                                                                                      separate sterilizer chamber, separate
                                                          category covered by this MACT
1-in-10 thousand.’’ (54 FR 38045). If                                                                                        aeration room, and chamber exhaust on
                                                          standard currently includes 88 facilities.
risks are unacceptable, the EPA must                         The original 1994 rulemaking for this                           the sterilizer chamber (also referred to
determine the emissions standards                         source category set standards for EtO                              as a back-vent). Another common
necessary to reduce risk to an acceptable                 emissions originating from three                                   configuration includes a combination
level without considering costs. In the                   emission points: sterilization chamber                             sterilizer where the sterilization and
second step of the approach, the EPA                      vents (SCV), aeration room vents (ARV),                            aeration steps of the process occur
considers whether the emissions                           and chamber exhaust vents (CEV). The                               within the same chamber.
standards provide an ample margin of                      SCV evacuates EtO from the sterilization                              Another EtO sterilization process is
safety to protect public health ‘‘in                      chamber following sterilization,                                   single-item sterilization where small
consideration of all health information,                  fumigation, and any subsequent gas                                 individual items are sterilized in sealed
including the number of persons at risk                   washes before the chamber door is                                  pouches. EtO gas is introduced into the
levels higher than approximately 1-in-1                   opened. The ARV evacuates EtO-laden                                sealed pouch, either by injection or use
million, as well as other relevant factors,               air from the aeration room or chamber                              of an EtO ampule, and the sealed pouch
including costs and economic impacts,                     that is used to facilitate off-gassing of                          is then placed in a chamber where the
technological feasibility, and other                      the sterile product and packaging. The                             sterilization step and aeration step
factors relevant to each particular                       CEV evacuates EtO-laden air from the                               occur.
decision.’’ Id. The EPA must promulgate                   sterilization chamber after the chamber                               In 2006, we finalized a residual risk
emission standards necessary to provide                   door is opened for product unloading                               review and a technology review under
an ample margin of safety to protect                      following the completion of sterilization                          CAA section 112(f)(2) and CAA section
public health or determine that the                       and associated gas washes. Other                                   112(d)(6), respectively (71 FR 17712,
standards being reviewed provide an                       sources of emissions within this source                            April 7, 2006). No changes were made
ample margin of safety without any                        category are room air emissions from                               to the EtO Commercial Sterilization
revisions. After conducting the ample                     equipment used to charge EtO into                                  NESHAP in that action.
margin of safety analysis, we consider                    sterilization chambers, as well as EtO                                The current emission standards for
whether a more stringent standard is                      residuals desorbing from sterilized                                commercial sterilization facilities in 40
necessary to prevent an adverse                           products within the facility, but the                              CFR part 63, subpart O are shown in
environmental effect, taking into                         current EtO Commercial Sterilization                               table 5:
                                     TABLE 5—CURRENT ETO STANDARDS FOR COMMERCIAL STERILIZERS
       Existing and new sources
              subcategory                          Sterilization chamber vent                      Aeration room vent                                    Chamber exhaust vent
          (in any consecutive                                  (SCV)                                      (ARV)                                               (CEV) 2
           12-month period) 1

Sources using 10 tons or more of EtO ..     99 percent emission reduction (see 40    1 part per million (ppm) maximum out-                       No control.
                                              CFR 63.362(c)).                          let concentration or 99 percent emis-
                                                                                       sion reduction (see 40 CFR
                                                                                       63.362(d)).
Sources using 1 ton or more of EtO but      99 percent emission reduction (see 40    No control ..............................................   No control.
  less than 10 tons of EtO.                   CFR 63.362(c)).
Sources using less than 1 ton of EtO ...    No control required; minimal record-     No control required; minimal record-                        No control required; minimal record-
                                              keeping requirements apply (see 40       keeping requirements apply (see 40                          keeping requirements apply (see 40
                                              CFR 63.367(c)).).                        CFR 63.367(c)).).                                           CFR 63.367(c)).).
  1 Determined on a rolling 12-month basis.
  2 The CEV emission source was included in the original standard but was later eliminated from the 40 CFR part 63, subpart O regulation in 2001.



   13 Although defined as ‘‘maximum individual            estimated risk if an individual were exposed to the
risk,’’ MIR refers only to cancer risk and reflects the   maximum level of a pollutant for a 70-year lifetime.
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   For more information on the                                      sources of EtO. We then proposed                                        in subpart O, as well as the proposed
commercial sterilization industry and                               tightening certain of these proposed                                    standards for the unregulated sources,
the current standards under 40 CFR part                             standards and existing standards with                                   we proposed more stringent standards
63, subpart O, see 88 FR 22790, April                               risk-based standards under CAA section                                  under CAA section 112(f)(2) to address
13, 2023.                                                           112(f)(2) in order to protect public                                    risk for the following types of sources:
   We note that hospital sterilizers are                            health with an ample margin of safety.                                     • SCVs at facilities where EtO use is
regulated under a different NESHAP (40                              Finally, we proposed revisions to                                       at least 40 tpy,
CFR part 63, subpart WWWWW), which                                  certain existing standards under CAA                                       • SCVs at facilities where EtO use is
is not addressed in this rulemaking.14                              section 112(d)(6) based on our review of                                at least 10 tpy but less than 40 tpy,
We are aware of the potential risk posed                            developments in practices, processes,                                      • SCVs at facilities where EtO use is
by EtO emissions from this source                                   and control technologies for this source                                at least 1 tpy but less than 10 tpy, and
category and will address hospital                                  category.                                                                  • Group 2 room air emissions at area
sterilizers in a future rulemaking.                                    For the following emission sources                                   source facilities where EtO use is at
                                                                    that were unregulated, we proposed to                                   least 20 tpy.
C. What changes did we propose for the                              set standards under CAA sections                                           Finally, under CAA section 112(d)(6),
Commercial Sterilization Facilities                                 112(d)(2)–(3) or (d)(5):                                                we proposed to revise standards for the
source category in our April 13, 2023,                                 • SCVs, ARVs, and CEVs at facilities                                 following sources that were regulated in
RTR proposal?                                                       where EtO use is less than 1 tpy,                                       the previous 40 CFR part 63, subpart O:
  On April 13, 2023, the EPA published                                 • ARVs and CEVs at facilities where                                     • SCVs at facilities where EtO use is
a proposed rule in the Federal Register                             EtO use is at least 1 tpy but less than                                 at least 10 tpy,
for the EtO Commercial Sterilization                                10 tpy,                                                                    • SCVs at facilities where EtO use is
NESHAP, 40 CFR part 63, subpart O,                                     • CEVs at facilities where EtO use is                                at least 1 tpy but less than 10 tpy, and
that took into consideration the RTR                                at least 10 tpy, and                                                       • ARVs at facilities where EtO use is
analyses. In the proposed rule, we                                     • Room air emissions.                                                at least 10 tpy.
proposed emission standards under                                      Next, based on our assessment of the                                    Table 6 summarizes the proposed
CAA sections 112(d)(2)–(3) or (d)(5) for                            residual risk after considering the                                     section CAA section 112(d) and
a number of unregulated emission                                    emission reductions from the standards                                  112(f)(2) standards.

   TABLE 6—SUMMARY OF STANDARDS AFTER PROPOSED ACTIONS PURSUANT TO CAA SECTIONS 112(d)(2), 112(d)(3),
                                   112(d)(5), 112(f)(2), AND 112(d)(6)
    Emission source                   Existing or new?                            EtO use                                               Standards                                     CAA section

SCV .............................   Existing and new ...           At least 40 tpy .....................         99.94 percent emission reduction ..............                  112(f)(2).
                                                                   At least 10 tpy but less than                 99.94 percent emission reduction ..............                  112(f)(2).
                                                                     40 tpy.
                                                                   At least 10 tpy .....................         99.94 percent emission reduction ..............                  112(d)(6).
                                                                   At least 1 but less than 10                   99.8 percent emission reduction ................                 112(f)(2) and
                                                                     tpy.                                                                                                           112(d)(6).
                                                                   Less than 1 tpy ....................          99 percent emission reduction ...................                112(d)(5).
ARV .............................   Existing ..................    At least 10 tpy .....................         99.6 percent emission reduction ................                 112(d)(6).
                                                                   At least 1 but less than 10                   99 percent emission reduction ...................                112(d)(5).
                                                                     tpy.
                                                                   Less than 1 tpy ....................          99 percent emission reduction ...................                112(d)(5).
                                    New ........................   At least 10 tpy .....................         99.9 percent emission reduction ................                 112(d)(6).
                                                                   At least 1 but less than 10                   99 percent emission reduction ...................                112(d)(5).
                                                                     tpy.
                                                                   Less than 1 tpy ....................          99 percent emission reduction ...................                112(d)(5).
CEV .............................   Existing and new ...           At least 10 tpy .....................         3.2E–4 lb/h ..................................................   112(d)(2) and (3).
                                                                   At least 1 but less than 10                   99.9 percent emission reduction ................                 112(d)(5).
                                                                     tpy.
                                                                   Less than 1 tpy ....................          99 percent emission reduction ...................                112(d)(5).
Group 1 room air emis-              Existing and new ...           N/A .......................................   1.3E–3 lb/h 1 ...............................................    112(d)(2) and
  sions.                                                                                                                                                                            112(d)(3).
Group 1 room air emis-              Existing and new ...           N/A .......................................   1.3E–3 lb/h 1 ...............................................    112(d)(5).
  sions at area
  sources.
Group 2 room air emis-              Existing and new ...           N/A .......................................   2.8E–3 lb/h 1 ...............................................    112(d)(2) and
  sions at major                                                                                                                                                                    112(d)(3).
  sources.
Group 2 room air emis-              Existing ..................    At least 20 tpy .....................         2.8E–3 lb/h 1 ...............................................    112(f)(2).
  sions at area                                                    Less than 20 tpy ..................           Follow either the Cycle Calculation Ap-                          112(d)(5).
  sources.                                                                                                         proach or the Bioburden/Biological Indi-
                                                                                                                   cator Approach to achieve sterility assur-
                                                                                                                   ance in accordance with ISO
                                                                                                                   11135:2014 (July 15, 2014) and ISO
                                                                                                                   11138–1:2017 (March 2017).

   14 Hospitals are defined at 40 CFR 63.10448 to                   supervision of licensed physicians and under                            whose primary purpose is to provide medical
mean facilities that provide medical care and                       nursing care offered 24 hours per day. Hospitals                        services to humans or animals on an outpatient
treatment for patients who are acutely ill or                       include diagnostic and major surgery facilities but                     basis.
chronically ill on an inpatient basis under                         exclude doctor’s offices, clinics, or other facilities
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  TABLE 6—SUMMARY OF STANDARDS AFTER PROPOSED ACTIONS PURSUANT TO CAA SECTIONS 112(d)(2), 112(d)(3),
                            112(d)(5), 112(f)(2), AND 112(d)(6)—Continued
   Emission source         Existing or new?                            EtO use                                               Standards                                    CAA section

                         New ........................   N/A .......................................   2.8E–3 lb/h 1 ...............................................   112(d)(5).
  1 To assure compliance with the emission limit, we proposed requiring each facility to operate areas with these emissions in accordance with
the PTE requirements of EPA Method 204 of appendix M to 40 CFR part 51.


   To demonstrate compliance with the                    which meant that the definition of an                                  standards for the previously unregulated
emission limits, we proposed capture                     ‘‘affected source’’ at 40 CFR 63.2                                     sources:
requirements. We also proposed that                      applied.15 We did not believe that this                                   • 99 percent reduction for new and
facilities either monitor with an EtO                    was appropriate because a facility may                                 existing SCVs at facilities where EtO use
CEMS or conduct initial and annual                       not route all emissions from a particular                              is less than 1 tpy,
performance tests with continuous                        type of point source to the same control                                  • 99 percent reduction for new and
parameter monitoring.                                    system, thus making compliance                                         existing ARVs facilities where EtO use
   We also proposed the following                        demonstration with the standards                                       is at least 1 tpy less than 10 tpy,
amendments:                                              difficult. For SCVs, ARVs, and CEVs, we                                   • 99 percent reduction for new and
   • Corrections and clarifications to                   are finalizing, as proposed, the affected                              existing ARVs at facilities where EtO
regulatory provisions related to                         source definition as the individual vent.                              use is less than 1 tpy,
emissions during periods of SSM,                         For Group 1 and Group 2 room air                                          • 99.94 percent reduction for new
including removing general exemptions                    emissions, we are finalizing, as                                       and existing CEVs at major source
for periods of SSM and adding work                       proposed, the affected source definition                               facilities,
practice standards for periods of SSM                    as the collection of all room air                                         • 99 percent emission reduction for
where appropriate.                                       emissions for each group at any                                        new and existing CEVs at area source
   • Revisions to monitoring and                         sterilization facility. Group 1 room air                               facilities,
performance testing requirements and                     emissions are defined as emissions from                                   • 97 percent reduction for new and
addition of provisions for electronic                    indoor EtO storage, EtO dispensing,                                    existing Group 1 room air emissions at
reporting of performance test results and                vacuum pump operations, and pre-                                       major source facilities,
reports, performance evaluation reports,                                                                                           • 80 percent emission reduction for
                                                         aeration handling of sterilized material.
and compliance reports.                                                                                                         new and existing Group 1 room air
                                                         Group 2 room air emissions are defined
   • Requiring all area source facilities                                                                                       emissions at area source facilities,
                                                         as emissions from post-aeration
to obtain a title V operating permit, and                                                                                          • 86 percent reduction for new and
                                                         handling of sterilized material.
   • Compliance requirements for                                                                                                existing Group 2 room air emissions at
                                                            Section IV.A.3 of this preamble
facilities using combined emission                                                                                              major source facilities, and
                                                         provides a summary of key comments
streams.                                                                                                                           • 80 percent emission reduction for
                                                         we received on the affected source
                                                                                                                                new Group 2 room air emissions at area
III. What is included in this final rule?                definitions and our responses.
                                                                                                                                source facilities.
   This action finalizes the EPA’s                       B. What are the final rule amendments                                     As discussed in more detail below in
determinations pursuant to the RTR                       pursuant to CAA sections 112(d)(2),                                    section IV.C.3 of this notice, we are not
provisions of CAA section 112 for the                    112(d)(3), and 112(d)(5) for the                                       finalizing any of the alternative
Commercial Sterilization Facilities                      Commercial Sterilization Facilities                                    emission limits for percent reduction
source category and amends the EtO                       source category?                                                       standards on which we had solicited
Commercial Sterilization NESHAP                             We are finalizing EtO emissions                                     comment as part of the proposed
based on those determinations. This                      standards pursuant to CAA sections                                     rulemaking. Further, based on
action also finalizes other changes to the               112(d)(2)–(3) and 112(d)(5) for major                                  comments received on the proposed
NESHAP, including adding                                 and area sources that were previously                                  rulemaking, we are finalizing a revised
requirements and clarifications for                      unregulated. Please note that the final                                best management practice (BMP) as the
periods of SSM; requiring the use of                     standards for some of these sources are                                GACT standard under CAA section
CEMS to demonstrate compliance for                       further tightened pursuant to CAA                                      112(d)(5) for existing Group 2 room air
facilities where EtO use is at least 100                 section 112(f)(2), as shown in table 1 in                              emissions at area sources. The BMP
pounds (lb)/year; adding provisions for                  section I.A above and discussed in more                                requires the in-chamber EtO
electronic reporting of performance test                 detail below in sections III.C and IV.16                               concentration to be lowered to 1 part
results and reports, performance                            Pursuant to CAA section 112(d)(2)–(3)                               per million (ppm) before the chamber
evaluation reports, and compliance                       or 112(d)(5), we are establishing in this                              can be opened, as opposed to the
reports; and other minor editorial and                   final rule the following emission                                      proposed measure that would have
technical changes. This action also                                                                                             required these facilities to follow either
reflects several changes to the April                       15 40 CFR 63.2 defines an affected source as ‘‘the                  the Cycle Calculation Approach or the
2023 proposal in consideration of                        collection of equipment, activities, or both within                    Bioburden/Biological Indicator
comments received during the public                      a single contiguous area and under common control                      Approach to achieve sterility assurance
                                                         that is included in a section 112(c) source category                   in accordance with International
comment period described in section IV                   or subcategory for which a section 112(d) standard
of this preamble.                                        or other relevant standard is established pursuant                     Organization for Standardization (ISO)
                                                         to section 112 of the Act.’’                                           11135:2014 and ISO 11138–1:2017. In
A. What are the final rule amendments                       16 These sources include CEVs at area source                        addition, we are finalizing, as proposed,
addressing the affected source                           facilities where EtO use is at least 60 tpy, Group 1                   a requirement that facilities operate all
definitions?                                             room air emissions at area source facilities where
                                                                                                                                areas with room air emissions subject to
                                                         EtO use is at least 40 tpy, and Group 2 room air
  The previous subpart O did not                         emissions at area source facilities where EtO use is                   an emission standard in accordance
contain definitions for affected sources,                at least 4 tpy.                                                        with the PTE requirements of EPA
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Method 204, irrespective of which CAA            • 98 percent reduction for Group 2                comment on as part of the proposed
section 112 authority is invoked. Lastly,     room air emissions at area sources                   rulemaking. As part of the technology
we are finalizing the removal of the 1        facilities where EtO use is at least 20              review, we also identified regulatory
ppm alternative for ARVs at facilities        tpy, and                                             gaps (previously unregulated processes
where EtO use is at least 10 tpy. Section        • 80 percent reduction for Group 2                or pollutants) and are establishing new
IV.B of this preamble provides in more        room air emissions at area source                    standards to fill those gaps as described
detail the standards we are finalizing        facilities where EtO use is at least 4 tpy           in section III.B of this preamble. Section
pursuant to CAA section 112(d)(2),            but less than 20 tpy.                                IV.D.3 of this preamble provides a
112(d)(3), and 112(d)(5), our rationales         We are not finalizing alternative                 summary of key comments we received
for the final standards and for changes       emission limits for percent reduction                regarding the technology review and our
since proposal, and a summary of key          standards for the same reasons                       responses.
comments we received on the proposed          discussed in section III.B of this
                                                                                                   E. What are the final rule amendments
standards and our responses.                  preamble. Further, based on comments                 addressing emissions during periods of
C. What are the final rule amendments         received during the proposed                         startup, shutdown, and malfunction?
based on the risk review for the              rulemaking, we are not finalizing any of
                                              the work practice standards that were                   In its 2008 decision in Sierra Club v.
Commercial Sterilization Facilities                                                                EPA, 551 F.3d 1019 (D.C. Cir. 2008), the
source category?                              proposed for facilities where the MIR
                                              remained greater than 100-in-1 million               United States Court of Appeals for the
   This section introduces the final          after the imposition of requirements                 District of Columbia Circuit vacated
amendments to the Commercial                  under ‘‘Control Option 1’’.17 These                  portions of two provisions in our CAA
Sterilization Facilities NESHAP being         standards would have required facilities             section 112 regulations governing the
promulgated pursuant to CAA section           to limit their Group 2 room air                      emissions of HAP during periods of
112(f). As in the proposal, we                emissions to a maximum volumetric                    SSM. Specifically, the court vacated the
determined that the risks for this source     flow rate of 2,900 dry standard cubic                SSM exemption contained in 40 CFR
category were unacceptable under the          feet per minute (dscfm) and a maximum                63.6(f)(1) and 40 CFR 63.6(h)(1), holding
previous provisions, and we are making        EtO concentration of 30 parts-per-billion            that under section 302(k) of the CAA,
a final determination of unacceptability      by volume (ppbv).                                    emissions standards or limitations must
as part of this final action, warranting         Section IV.C.3 of this preamble                   be continuous in nature and that the
necessary emission reductions as              provides a summary of key comments                   SSM exemption violates the CAA’s
directed under the provisions we are          we received regarding the risk review                requirement that some section 112
finalizing pursuant to CAA sections           and our responses.                                   standards apply continuously. We have
112(d)(2), 112(d)(3), and 112(d)(5) in                                                             eliminated the SSM exemption in this
this rulemaking. When risks are               D. What are the final rule amendments                rule. Consistent with Sierra Club v.
unacceptable after considering the            based on the technology review for the               EPA, the EPA has established standards
emission reductions from the standards        Commercial Sterilization Facilities                  in this rule that apply at all times. We
in subpart O, we must determine the           source category?                                     have also revised table 6 in subpart O
emissions standards necessary to reduce          We determined that there are                      (the General Provisions Applicability
risk to an acceptable level. As such, we      developments in practices, processes,                Table) in several respects as is
are promulgating final amendments to          and control technologies that warrant                explained in section III.G.1 of the
the Commercial Sterilization Facilities       revisions to the previous standards for              proposal preamble (88 FR 22790). For
NESHAP pursuant to CAA section                this source category. Therefore, to                  example, we have eliminated and
112(f)(2) that will reduce risk to an         satisfy the requirements of CAA section              revised certain recordkeeping that is
acceptable level and will also provide        112(d)(6), we are revising the standards             related to the SSM exemption as
an ample margin of safety to protect          to include, as in the proposed rule:                 described in detail in the proposed rule
public health (see section IV.C of the           • 99.8 percent reduction for SCVs at              and summarized again in section IV.E.1
preamble for further discussion). Based       facilities where EtO use is at least 1 tpy           of this preamble.
on comments received during the               but less than 10 tpy,                                   In establishing standards in this rule,
proposed rulemaking, we are finalizing           • 99.6 percent reduction for existing             we have considered startup and
the following EtO emissions standards         ARVs at facilities where EtO use is at               shutdown periods and, for the reasons
under CAA section 112(f)(2):                  least 10 tpy, and                                    explained in section III.G.1 of the
   • 99.99 percent reduction for SCVs at         • 99.9 percent reduction for new                  proposal preamble and section IV.E of
facilities where EtO use is at least 30       ARVs at facilities where EtO use is at               this preamble, have not established
tpy,                                          least 10 tpy.                                        alternate standards for those periods.
   • 99.9 percent reduction for SCVs at                                                               The EPA is also finalizing provisions
                                                 Based on comments received during
facilities where EtO use is at least 10 tpy                                                        related to malfunctions as proposed.
                                              the proposed rulemaking, we are
but less than 30 tpy,                                                                              Periods of startup, normal operations,
                                              finalizing a 99.9 percent emission
   • 99.8 percent reduction for SCVs at                                                            and shutdown are all predictable and
                                              reduction standard for SCVs at facilities
facilities where EtO use is at least 1 tpy                                                         routine aspects of a source’s operations.
                                              where EtO use is at least 10 tpy, which
but less than 10 tpy,                                                                              Malfunctions, in contrast, are neither
                                              is different from the 99.94 percent
   • 99.9 percent reduction for ARVs at       emission reduction standard that was
                                                                                                   predictable nor routine. Instead, they
facilities where EtO use is at least 30                                                            are, by definition, sudden, infrequent,
                                              proposed (see section IV.D.3.a of this
tpy,                                                                                               and not reasonably preventable failures
                                              document for further discussion). We
   • 99.9 percent reduction for CEVs at       are not finalizing any of the alternative
                                                                                                   of emissions control, process, or
area source facilities where EtO use is                                                            monitoring equipment. (40 CFR 63.2)
                                              emission limits for percent reduction
at least 60 tpy,                                                                                   (Definition of malfunction). The EPA
                                              standards that we had solicited
   • 98 percent reduction for Group 1                                                              interprets CAA section 112 as not
room air emissions at area sources              17 Refer to section III.D.1.b of the proposal      requiring emissions that occur during
facilities where EtO use is at least 40       preamble (88 FR 22790, April 13, 2023) for further   periods of malfunction to be factored
tpy,                                          discussion of Control Option 1.                      into development of CAA section 112
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standards. This reading has been upheld                 Performance Specification 19 and QA                  Requirements for New Source
as reasonable by the D.C. Circuit in U.S.               Procedure 7.                                         Performance Standards (NSPS) and
Sugar Corp. v. EPA, 830 F.3d 579, 606–                                                                       National Emission Standards for
                                                        2. Electronic Reporting
610 (2016).                                                                                                  Hazardous Air Pollutants (NESHAP)
  Section IV.E.3 of this preamble                          To increase the ease and efficiency of            Rules, which is available in the docket
provides a summary of key comments                      data submittal and data accessibility, we            for this rulemaking (see Docket Item No.
we received on the SSM provisions and                   are finalizing, as proposed, a                       EPA–HQ–OAR–2019–0178–0398).
our responses.                                          requirement that owners or operators of
                                                        commercial sterilization facilities                  3. Title V Permitting
F. What other changes have been made                    submit compliance reports (being                       Because of the lack of other Federal
to the NESHAP?                                          finalized at 40 CFR 63.366(b) and (c)),              requirements under the CAA that
  This rule also finalizes, as proposed,                performance test reports (being finalized            commercial sterilization facilities are
revisions to several other requirements                 at 40 CFR 63.366(f)), and performance                subject to, as well as the robust
in the Commercial Sterilization                         evaluation reports (being finalized at 40            monitoring and reporting requirements
Facilities NESHAP. We describe these                    CFR 63.366(g)) electronically through                of the final rule, we are not finalizing a
revisions in this section as well as other              the EPA’s Central Data Exchange (CDX)                requirement for area source facilities
proposed provisions that have changed                   using the Compliance and Emissions                   subject to subpart O to obtain a title V
since proposal.                                         Data Reporting Interface (CEDRI). The                permit from the delegated authority in
                                                        final rule requires that performance test            which the source is located.
1. Demonstrating Compliance                             results collected using test methods that
                                                        are supported by the EPA’s Electronic                4. Combined Emission Streams
   In the majority of instances,
parametric monitoring is used to good                   Reporting Tool (ERT) as listed on the                   To increase the ease and efficiency of
effect as an ongoing means of ensuring                  ERT website 19 at the time of the test be            complying with the revised NESHAP,
that these devices continue to get                      submitted in the format generated                    we are finalizing, based on comments
necessary emission reductions.18                        through the use of the ERT and that                  received during the proposed
However, given the nature of EtO, in                    other performance test results be                    rulemaking, alternative compliance
which small amounts can have large                      submitted in portable document format                approaches for combined emission
risk impacts, parametric monitoring                     (PDF) using the attachment module of                 streams. For these streams, facilities will
alone will not be sensitive enough to                   the ERT. Similarly, performance                      now be allowed to demonstrate
detect very small fluctuations in EtO                   evaluation results of CEMS measuring                 compliance with a mass emission limit
concentration. Based on comments                        relative accuracy test audit pollutants              that is determined based on the
received during the proposed                            that are supported by the ERT at the                 emission standards to which the
rulemaking, the EPA is finalizing a                     time of the test must be submitted in the            component streams are subject, as well
requirement to use EtO CEMS for                         format generated through the use of the              as characteristics specific to those
demonstrating compliance. However,                      ERT and other performance evaluation                 facilities. In addition, we are finalizing
facilities where EtO use is less than 100               results be submitted in PDF using the                an option for owners and operators to
lb/year will have the option to use EtO                 attachment module of the ERT. For                    demonstrate compliance with a site-
CEMS or performance testing and                         compliance reports, the final rule                   wide emission limitation, as opposed to
parametric monitoring to demonstrate                    requires that owners or operators use                demonstrating compliance for each
compliance. Based on comments                           the appropriate spreadsheet template to              individual and combined emission
received during the proposed                            submit information to CEDRI. The final               stream.
rulemaking, we are promulgating the                     version of the template for these reports
                                                        is in the docket and will be located on              5. Minor Clarifications and Corrections
following requirements:
   • Quarterly reporting of EtO CEMS                    the CEDRI website.20 Furthermore, we                    We are including several additional
data,                                                   are finalizing as proposed provisions                minor clarifying edits in the final rule
   • Minimum data availability of 90                    that allow facility operators the ability            based on comments received during the
percent for EtO CEMS, and                               to seek extensions for submitting                    public comment period. The comments
   • Use of either outlet volumetric flow               electronic reports for circumstances                 and our specific responses to these
rate monitors or differential pressure                  beyond the control of the facility, i.e.,            items can be found in the document,
monitors to demonstrate continuous                      for a possible outage in the CDX or                  Summary of Public Comments and
compliance with EPA Method 204.                         CEDRI or for a force majeure event in                Responses for the 2024 Risk and
                                                        the time just prior to a report’s due date,          Technology Review for Commercial
   Based on comments received during
                                                        as well as the process to seek such an               Sterilization Facilities, available in the
the proposed rulemaking, we are not
                                                        extension.                                           docket for this rulemaking.
finalizing a requirement for the mass of
                                                           For a more detailed discussion of
EtO being routed to a control device                                                                         G. What are the effective and
                                                        these final amendments to the
from an SCV to be determined through                                                                         compliance dates of the standards?
                                                        Commercial Sterilization Facilities
inlet testing. Based on comments
                                                        NESHAP, see section IV.G.2.g of the                     The revisions to the standards being
received during the proposed
                                                        proposal preamble (88 FR 22790, April                promulgated in this action are effective
rulemaking, we are finalizing revisions
                                                        13, 2023), as well as section VI.B below             on April 5, 2024. The compliance date
to parametric monitoring requirements,
                                                        on compliance with the Paperwork                     for the standards promulgated pursuant
and we are finalizing technical edits to
                                                        Reduction Act. For a more thorough                   to CAA section 112(f)(2) for the
                                                        discussion of electronic reporting, see              following existing sources is April 6,
  18 Parametric monitoring is an approach that

measures one or more key indicators of process
                                                        the memorandum, Electronic Reporting                 2026:
operation or emission control device operation,
                                                          19 https://www.epa.gov/electronic-reporting-air-
                                                                                                                • SCVs at facilities where EtO use is
typically on a continuous basis. The parameters are                                                          at least 1 tpy,
known to affect emission levels associated with the     emissions/electronic-reporting-tool-ert.
process or the control efficiency of the source’s air     20 https://www.epa.gov/electronic-reporting-air-      • ARVs at facilities where EtO use is
pollution control device.                               emissions/cedri.                                     at least 30 tpy,
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   • CEVs at area source facilities where     Based on this analysis, we find that the                section 112(f)(2). As with standards
EtO use is at least 60 tpy,                   process of bringing a facility into                     promulgated under section 112(d)(2)–
   • Group 1 room air emissions at area       compliance with the PTE requirements                    (3), 112(d)(5) and 112(d)(6), in most
source facilities where EtO use is at         of EPA Method 204, as well as installing                instances compliance with the section
least 40 tpy, and                             and verifying additional emission                       112(f)(2) standards will require sources
   • Group 2 room air emissions at area       controls, can take approximately a year                 to plan, purchase, and install equipment
source facilities where EtO use is at         from permit submission to project                       for EtO control. For example, for SCVs
least 4 tpy.                                  completion. However, this estimate does                 at facilities where EtO use is at least 30
   The compliance date for the standards      not account for the time needed to                      tpy, if an existing affected source
promulgated pursuant to CAA section           design and plan before the initial permit               currently does not achieve 99.99 percent
112(d)(2)–(3), 112(d)(5) or 112(d)(6) for     application is submitted, nor for the                   control of EtO emissions and a new
the following existing sources is April 5,    time needed to avoid impacts on                         control system is needed to meet that
2027:                                         medical device supply chains, to                        limit, the facility will need time to
   • SCVs at facilities where EtO use is      procure control devices from a limited                  properly engineer the project, obtain
less than 1 tpy,                              number of vendors, and to account for                   capital authorization and funding,
   • ARVs at facilities where EtO use is      the other complexities identified below.                procure the equipment, construct the
less than 30 tpy,                               • The process of redesigning a facility               equipment, start up the equipment, set
   • CEVs at major source facilities,         or installing additional controls will                  up new software, develop operating
   • CEVs at area source facilities where     require some reduction in sterilization                 procedures, and train operators on the
EtO use is less than 60 tpy,                  capacity. Moreover, the process of                      new equipment. The additional factors
   • Room air emissions at major source       coming into compliance with the                         identified above, such as avoiding
facilities,                                   standards may require multiple facilities               impacts to medical device supply
   • Group 1 room air emissions at area       to reduce their sterilization capacity                  chains and securing control devices
source facilities where EtO use is less       simultaneously. Based on comments                       from a limited number of vendors, apply
than 40 tpy, and                              received during the proposed                            similarly to section 112(f)(2) standards
   • Group 2 room air emissions at area       rulemaking, the average reduction in                    as to standards promulgated under
source facilities where EtO use is less       capacity during the re-design and                       section 112(d)(2)–(3), 112(d)(5) and
than 4 tpy.                                   installation period can range from 10                   112(d)(6).
   As required by CAA section 112(i)(1),      percent 21 to 20 percent.22 In addition,                   If facilities commence work on these
new sources must comply with each             there is already strain on the medical                  emissions reduction efforts immediately
applicable standard immediately upon          device supply chain, and it is difficult                after this rule becomes effective, we
its effective date, which is April 5, 2024,   for most facilities to absorb any                       believe that sources will be able to
or upon startup, whichever is later.          additional demand for sterilized                        comply with the standards in this final
   The compliance schedules for existing      product. Three years is needed to ensure                rule within the two year compliance
sources have changed since proposal.          that owners and operators can come into                 window set by § 112(f)(4), without
We had proposed an 18-months                  compliance with the emissions                           substantial interruption in operations.
compliance deadline for all of the            standards while at the same time                           Specifically, we offer the following
proposed standards for existing sources.      minimizing any potential impacts to the                 timeline as a general guide to
Based on the comments received, we            medical device supply chain, for which                  completing the necessary upgrades in a
have determined that 18 months is not         reliability is important to protect public              timely manner:
a sufficient period for sources to comply     health.                                                    • Step 1: Secure vendors for facility
with the CAA section 112(d)(2)–(3),             • There are a limited number of                       retrofits, control devices, EtO CEMS,
112(d)(5) and 112(d)(6) standards for         vendors that specialize in the redesign                 and any other equipment and services
existing sources, for the following           of facilities to be compliant with the                  that will be needed in order to comply
reasons:                                      PTE requirements of EPA Method 204.                     with the NESHAP.
   • Most commercial sterilization            In addition, there are a limited number                    • Step 2: Work with vendors on (1)
facilities were not initially designed to     of control technology vendors that                      any new facility designs that will be
be compliant with the PTE requirements        supply the types of advanced control                    required in order to meet the PTE
of EPA Method 204. We have learned            systems that the EPA expects will be                    requirements of EPA Method 204, (2)
from the comments received that for           necessary for facilities to comply with                 any new control system designs that
these facilities, the capture requirements    the final standards. Three years is                     will be required in order to meet the
associated with the emission reduction        needed to ensure that all owners and                    emission standards, (3) a schedule to
standards for Group 1 and Group 2 room        operators can receive the necessary                     ensure timely compliance with the
air emissions in the final rule will likely   services and have the proper equipment                  NESHAP, and (4) purchase of the
require a redesign of a portion if not all    in place by the compliance date.                        equipment that will be required in order
of the facility. Many facilities will also      For the same reasons explained above,                 to meet items (1) and (2), along with EtO
need to purchase additional equipment         existing sources will need more than the                CEMS.
(e.g., fans, transformers, variable           proposed 18 months to comply with the                      • Step 3: Submit a permit application
frequency drives, etc.) to meet the           standards promulgated under CAA                         to the relevant permitting authority.
capture requirements. Moreover,                                                                          • Step 4: Complete the necessary
compliance with the final emission               21 Commenter provided the following statement:
                                                                                                      facility retrofits, control device
standards will likely require the             ‘‘For example, a 10% reduction in capacity across
                                              the 83 commercial sterilizers in the U.S. implies
                                                                                                      installations, and EtO CEMS
installation of additional control            that an additional 8 sterilization facilities will be   installations.
devices. We have reviewed the time that       required to maintain existing throughput’’ (see            • Step 5: Test the control systems and
it has taken for previous projects of this    Docket Item No. EPA–HQ–OAR–2019–0178–0618).             facility air handling systems in order to
                                                 22 Commenter provided the following statement:
nature to be completed, from                                                                          ensure that the NESHAP is being met.
                                              ‘‘During . . . upgrades, EtO sterilization capacity
submission of the initial State or local      was reduced by more than 20 percent as emissions
                                                                                                         We recognize that this is a significant
permit application to installation of the     control equipment was installed and tested.’’ (see      undertaking for the industry, and we
continuous compliance mechanisms.             Docket Item No. EPA–HQ–OAR–2019–0178–0566).             encourage facilities to engage in these
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steps as early as practicable, as opposed            A. Amendments Addressing the                  sources. Furthermore, the commenters
to delaying action until closer to the end           Affected Source Definitions                   do not provide any suggestions on
of the compliance period.                                                                          which control system outlets should be
                                                     1. What amendments did we propose to
   Although we believe sources that                                                                considered when defining affected
                                                     address the affected source definitions?
                                                                                                   sources. The most straightforward
follow this timeline will be able to                    For SCVs, ARVs, and CEVs, we               approach is to define the affected source
comply with these standards within two               proposed to define the affected source        as the emission source itself and to have
years, to minimize any potential impact              as the individual vent. For Group 1 and       owners and operators decide how best
to the medical device supply chain, we               Group 2 room air emissions we                 to combine and control emissions from
are allowing up to three years for                   proposed to define the affected source        affected sources at their facilities. With
existing sources to comply with section              as the collection of all room air             respect to defining the affected source as
112(d)(2)–(3), 112(d)(5) and 112(d)(6)               emissions for each group at any               the sterilization facility as a whole,
standards, the maximum timeframe                     sterilization facility. More information      there is very limited data available
authorized under CAA section                         concerning the affected source                where a performance test has been
112(i)(3)(A). Further, CAA section                   definitions is in section III.A. of the       conducted for an entire facility.
112(i)(3)(B) and EPA’s regulation at 40              proposal preamble (88 FR 22790, April         Furthermore, defining the affected
CFR 63.6(i)(4)(i)(A) authorize States                13, 2023).                                    source as the sterilization facility would
with delegated authority to implement                2. How did the affected source                require a compliance mechanism that
and enforce this NESHAP to grant an                  definitions change since proposal?            some facilities may find unnecessarily
existing source an additional year to                                                              complicated, given that compliance
                                                        We are finalizing the affected source      demonstration has typically been
comply with section 112(d) standards, if
                                                     definitions as proposed (88 FR 22790,         conducted on a source-by-source basis.
such additional period is necessary for
                                                     April 13, 2023).                              It is not clear and the commenter does
the installation of controls.23 In
addition, for each standard, owners and              3. What key comments did we receive           not provide any explanation on how to
operators will have 180 days after the               on the affected source definitions and        base an affected source definition on
end of the relevant compliance period to             what are our responses?                       destruction efficiency.
                                                                                                      Lastly, regarding the comment that
begin demonstrating compliance with                     Comment: Two commenters suggested          the definition of affected sources for
that standard. See 40 CFR 63.7(a)(2).                that the definition of an affected source     point sources is disproportionally
   Lastly, if more time is needed to                 should be based on control system             favorable to facilities with smaller
comply with any standard in this final               outlets, stating that when emission           capacity or with multiple individual
rule, CAA section 112(i)(4) provides that            streams are combined, the limit must be       vents, this is not an issue in the final
‘‘The President may exempt any                       based on the actual achievable rate of        rule. All of the emission standards in
stationary source from compliance with               control with further consideration for        this final rule are in a percent reduction
any standard or limitation under this                the modeled risk of the facility. One         format, which is the same regardless of
section for a period of not more than 2              commenter suggested that the affected         facility size or how many vents are in
years if the President determines that               source should be defined as the               place. Therefore, concerns regarding
                                                     sterilization facility as a whole, and        ‘‘emission rate ceilings’’ are no longer
the technology to implement such
                                                     another commenter stated the affected         relevant.
standard is not available and that it is
                                                     source definition(s) should consider             Comment: One commenter stated that
in the national security interests of the
                                                     destruction efficiency. Additionally,         there is unnecessary complexity to the
United States to do so. An exemption                 commenters expressed concerns that the
under this paragraph may be extended                                                               proposed definitions of Group 1 and
                                                     affected source definitions for point         Group 2 room air emissions due to the
for 1 or more additional periods, each               sources (i.e., SCVs, ARVs, and CEVs)          variability in size and facility
period not to exceed 2 years. The                    would disproportionately favor facilities     configuration, particularly as they apply
President shall report to Congress with              with smaller capacity and facilities with     to the proposed format of the emission
respect to each exemption (or extension              multiple individual vents regardless of       standards for these sources (i.e., lb/h).
thereof) made under this paragraph.’’                size. Specifically, one commenter stated      The commenter also stated that the
IV. What is the rationale for our final              that a facility with multiple individual      definitions favor facilities which have
decisions and amendments for the                     vents would have a higher ‘‘emission          smaller capacity and noted that
Commercial Sterilization Facilities                  rate ceiling’’ with respect to mass rate      individual facility characteristics must
source category?                                     (i.e., lb/h) emission limits.                 be considered for Group 1 and Group 2
                                                        Response: We disagree with the             emissions. Specifically, the commenter
  For each issue, this section provides              commenters’ suggestion that the               stated that emission rates should be
a description of what we proposed and                definition of an affected source should       based on technological feasibility to
what we are finalizing for the issue, the            be based on control system outlets or         control emissions, including feasibility
EPA’s rationale for the final decisions              the sterilization facility as a whole.        limitations regarding low inlet
and amendments, and a summary of key                 There are many different ways in which        concentrations.
comments and responses. For all                      emission sources can be combined and             Response: We disagree with one
comments not discussed in this                       controlled at commercial sterilization        commenter’s assertion that there is
preamble, comment summaries and the                  facilities. If affected source definitions    unnecessary complexity to the proposed
EPA’s responses can be found in the                  were based on control system outlets, it      definitions of Group 1 and Group 2
                                                     is not clear which outlets (and, by           room air emissions due to the variability
comment summary and response
                                                     extension, emission source                    in size and facility configuration. All
document available in the docket.
                                                     combinations) would be selected and           sterilization facilities, regardless of size
  23 This flexibility has been available since the
                                                     what the criteria for selecting those         or configuration, follow the same basic
NESHAP was first promulgated (59 FR 62585,
                                                     outlets would be. It is not feasible to set   procedure: sterilization and its
December 6, 1994) and continues to be available in   an emission standard for every                associated activities (e.g., EtO storage
the current NESHAP.                                  conceivable combination of emission           and dispensing, vacuum pump
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operation, handling of pre-aeration                   source category. More information               • 1.3E–3 lb/h emission limit for new
sterilized product), aeration, and                    concerning the amendments we are             and existing Group 1 room air emissions
shipping. Group 1 room air emissions                  finalizing for affected source definitions   at area source facilities, and
simply cover all activities that occur                is in the preamble to the proposed rule         • 2.8E–3 lb/h emission limit for new
prior to aeration, and Group 2 room air               and in the comments and our specific         Group 2 room air emissions at area
emissions cover all activities that occur             responses to the comments in the             source facilities.
after aeration. Combining room air                    document, Summary of Public                     These are emissions standards that
emissions based on whether they occur                 Comments and Responses for the Risk          reflect the use of generally available
before or after aeration is a clear way to            and Technology Review for Commercial         control technologies. For more
defining room air emissions affected                  Sterilization Facilities, available in the   information, see section III.B of the
sources. It also reflects the most                    docket for this rulemaking. Therefore,       proposal preamble (88 FR 22790, April
common controlled room air                            we are finalizing the affected source        13, 2023).
configuration that we have observed.                  definitions as proposed.                        For existing Group 2 room air
With respect to considering individual                B. Amendments Pursuant to CAA                emissions at area source facilities,
facility characteristics The simplest                 Sections 112(d)(2), 112(d)(3), and           pursuant to CAA section 112(d)(5), we
breakdown of controlled room air                      112(d)(5) for the Commercial                 proposed a requirement for facilities to
emissions that we have observed                       Sterilization Facilities Source Category     follow either the Cycle Calculation
involves capturing and routing all                                                                 Approach or the Bioburden/Biological
emissions from post-aeration handling                 1. What did we propose pursuant to           Indicator Approach to achieve sterility
of sterilization material to one control              CAA sections 112(d)(2), 112(d)(3), and       assurance in accordance with ISO
system, and then capturing and routing                112(d)(5) for the Commercial                 11135:2014 and ISO 11138–1:2017. This
all other room air emission sources (i.e.,            Sterilization Facilities source category?    is a BMP that would reduce EtO use per
Group 1 room air emissions) to another                   We proposed to establish standards        sterilization cycle (i.e., pollution
control system. It is important to define             under CAA sections 112(d)(2)–(3) and         prevention). For more information, see
the affected sources for room air                     112(d)(5) for the following emission         section III.B.8.g of the proposal
emissions in this manner so that owners               sources that were unregulated: SCVs,         preamble (88 FR 22790, April 13, 2023).
and operators can have flexibility in                 ARVs, and CEVs at facilities where EtO       In order to ensure complete capture of
how they chose to control their                       use is less than 1 tpy, ARVs and CEVs        EtO emissions and, in turn, compliance
emissions,24 and so that facilities who               at facilities where EtO use is at least 1    with the proposed standards, we
have already chosen to control their                  tpy but less than 10 tpy, CEVs at            proposed to require each facility to
emissions in this manner can continue                 facilities where EtO use is at least 10      operate areas with room air emissions
to do so while minimizing any potential               tpy, and room air emissions. We also         subject to an emission standard in
compliance issues. With respect to the                proposed a technical correction to the       accordance with the PTE requirements
comment that the definition of affected               emission standard for ARVs at facilities     of EPA Method 204 of appendix M to 40
sources for room air emissions is                     where EtO use is at least 10 tpy. We         CFR part 51. For more information, see
disproportionally favorable to facilities             proposed the following emission              section III.B of the proposal preamble
with smaller capacity, the comment                    standards pursuant to CAA section            (88 FR 22790, April 13, 2023).
appears to pertain more to the setting of             112(d)(2)–(3):                                  We addressed a necessary correction
the emission standards themselves,                       • 3.2E–4 lb/h for new and existing        to the emission standards for these
rather than the affected source                       CEVs at facilities where EtO use is at       sources in 40 CFR 63.362(d) that allow
definition. As discussed in section                   least 10 tpy,                                facilities to either achieve 99 percent
IV.B.3.b of this preamble, we are no                     • 1.3E–3 lb/h for new and existing        emission reduction or limit the outlet
longer finalizing mass rate emission                  Group 1 room air emissions at major          concentration to a maximum of 1 part
standards, and we are accounting for                  source facilities, and                       per million by volume (ppmv),
technical feasibility (e.g., manufacturer                • 2.8E–3 lb/h for new and existing
                                                                                                   ‘‘whichever is less stringent, from each
guarantees, emission reductions                       Group 2 room air emissions at major
                                                                                                   aeration room vent.’’ We proposed
achieved in performance tests) when                   source facilities.
                                                         For more information, see section III.B   removing the less stringent 1 ppmv
finalizing emission standards. The                                                                 concentration alternative for these
emission standards in this final rule for             of the proposal preamble (88 FR 22790,
                                                      April 13, 2023). We proposed the             sources because it is not equivalent and
room air emissions are in a percent                                                                therefore not an appropriate alternative
reduction format, which is the same                   following emission standards pursuant
                                                      to CAA section 112(d)(5):                    to 99 percent emission reduction
regardless of facility size.                                                                       standard. For more information, see
                                                         • 99 percent emission reduction for
4. What is the rationale for our final                new and existing SCVs at facilities          section III.B.2 of the proposal preamble
approach and final decisions to address               where EtO use is less than 1 tpy,            (88 FR 22790, April 13, 2023).
the affected source definitions?                         • 99 percent emission reduction for       2. How did the revisions pursuant to
                                                      new and existing ARVs at facilities          CAA sections 112(d)(2), 112(d)(3), and
  We evaluated the comments on our
                                                      where EtO use is at least 1 tpy but less     112(d)(5) change since proposal for the
proposed affected source definitions.
                                                      than 10 tpy,                                 Commercial Sterilization Facilities
For the reasons explained in the
                                                         • 99 percent emission reduction for       source category?
proposed rule (88 FR 22790, April 13,
                                                      new and existing ARVs at facilities
2023), we determined that these                                                                      We are finalizing as proposed the
                                                      where EtO use is less than 1 tpy,
amendments are necessary because the                     • 99 percent emission reduction for       following standards under CAA section
definition of an ‘‘affected source’’ at 40            new and existing CEVs at facilities          112(d)(5):
CFR 63.2 is not appropriate for this                  where EtO use is at least 1 tpy but less       • 99 percent emission reduction for
                                                      than 10 tpy,                                 new and existing SCVs at facilities
   24 The EPA has not observed any instance where

a facility is routing a portion of its Group 1 room
                                                         • 99 percent emission reduction for       where EtO use is less than 1 tpy,
air emissions to one control system, and the other    new and existing CEVs at facilities            • 99 percent emission reduction for
portion to a different control system.                where EtO use less than 1 tpy.               new and existing ARVs at facilities
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where EtO use is at least 1 tpy but less      MACT floor for new and existing Group         Group 2 room air emissions at area
than 10 tpy, and                              1 room air emissions at major source          source facilities by 20 percent, does not
   • 99 percent emission reduction for        facilities is 90 percent emission             interfere with sterility assurance, and is
new and existing ARVs at facilities           reduction. We were able to identify a         expected to impact only 20 percent of
where EtO use is less than 1 tpy.             more stringent (i.e., 97 percent control)     facilities. We do not anticipate any
   In addition, we are finalizing a           and cost-effective BTF option and,            severe negative impacts to the medical
requirement for each facility to operate      therefore, we are finalizing a 97 percent     supply chain as a result of finalizing
areas with room air emissions subject to      emission reduction standard as the            this requirement. For more information,
an emission standard in accordance            MACT standard under CAA section               see section IV.B.3.a of this preamble.
with the PTE requirements of EPA              112(d)(2)–(3) for new and existing
Method 204 of appendix M to 40 CFR                                                          3. What key comments did we receive
                                              Group 1 room air emissions at major
                                                                                            on the proposal revisions pursuant to
part 51. We are also finalizing the           source facilities. The revised MACT
                                                                                            CAA section 112(d)(2), 112(d)(3), and
removal of the 1 ppm alternative for          floor for new and existing Group 2 room
                                                                                            112(d)(5), and what are our responses?
ARVs at facilities where EtO use is at        air emissions at major source facilities is
least 10 tpy, as proposed.                    86 percent emission reduction. Because           This section provides comment and
   Based on comments received during          the concentration that corresponds to         responses for the key comments
the proposed rulemaking, we have              this emission reduction is three times        received regarding BMPs, mass rate
revised the proposed standards for the        the representative detection level (RDL)      emission standards, PTE, and
following affected sources. The final         for EtO, there are no BTF options to          warehouses. Other comment summaries
emission standards pursuant to CAA            consider due to the potential difficulty      and our responses for additional issues
sections 112(d)(2), 112(d)(3), and            of demonstrating compliance with              raised regarding these activities, as well
112(d)(5) are as follows:                     limits lower than the MACT floor.             as issues raised regarding our proposed
   • 99.94 percent emission reduction         Therefore, we are finalizing 86 percent       emission standards for SCVs and ARVs
for new and existing CEVs at major            emission reduction as the MACT                at facilities where EtO use is less than
source facilities,                            standards for new and existing Group 2        1 tpy, ARVs at facilities where EtO use
   • 99 percent emission reduction for        room air emissions at major source            is a least 1 tpy but less than 10 tpy,
new and existing CEVs at area source          facilities. For more information, see         room air emissions at major source
facilities,                                   section IV.B.3.b of this preamble.            facilities, and our proposed technical
   • 97 percent emission reduction for           For both new and existing Group 1          correction to the emission standard for
new and existing Group 1 room air             room air emissions at area source             ARVs at facilities where EtO use is at
emissions at major source facilities,         facilities, as well as new Group 2 room       least 10 tpy can be found in the
   • 80 percent emission reduction for        air emissions at area source facilities,      document, Summary of Public
new and existing Group 1 room air             based on comments received during the         Comments and Responses for the Risk
emissions at area source facilities,          proposed rulemaking, we are finalizing        and Technology Review for Commercial
   • 86 percent emission reduction for        an 80 percent emission reduction              Sterilization Facilities, available in the
new and existing Group 2 room air             standard, consistent with the                 docket for this rulemaking.
emissions at major source facilities,         manufacturer guarantee for the control
   • For existing Group 2 room air                                                          a. BMP
                                              technology on which the standard is
emissions at area source facilities, lower    based. The primary reason for the                Comment: Several commenters
the EtO concentration within each             change from mass rate to percent              contended that we should not require
sterilization chamber to 1 ppm before         reduction is that there is a serious          facilities to follow either the Cycle
the chamber can be opened, and                concern that mass rate emission               Calculation Approach or the Bioburden/
   • 80 percent emission reduction for        standards could result in operational         Biological Indicator Approach to
new Group 2 room air emissions at area        reductions in order to meet the               achieve sterility assurance in
source facilities.                            standards while still ensuring work           accordance with ISO 11135:2014 and
   For new and existing CEVs at major         health and safety, but that could             ISO 11138–1:2017. They stated that
source facilities, as well as new and         adversely impact the medical supply           owners and operators should have the
existing room air emissions at major          chain. In addition, while some sources        flexibility to optimize cycles using a
source facilities, based on comments          have demonstrated emission reductions         variety of ISO/AAMI 11135 methods
received during the proposed                  higher than 80 percent, those reductions      and that we should not limit or restrict
rulemaking, we have re-calculated the         are limited to facilities with higher EtO     the validation method that may be used.
MACT floor based on percent emission          usage rates, and we cannot determine             One commenter stated that requiring
reduction, as opposed to mass rate            whether smaller users of EtO can meet         facilities to follow the Cycle Calculation
emissions. The primary reason for             those emission reductions. For more           or Bioburden/Biological Indicator
finalizing this change is that there is a     information, see section IV.B.3.b of this     Approach would result in more
serious concern that mass rate emission       preamble.                                     dedicated product loads, more cycles
standards could result in operational            For existing Group 2 room air              needed to sterilize different project
reductions that could adversely impact        emissions at area source facilities, based    mixes, and most chambers not being
the medical supply chain. The revised         on comments received during the               filled to capacity. The commenter stated
MACT floor for new and existing CEVs          proposed rulemaking, we are finalizing        that de-consolidation of existing cycles
at major source facilities is 99.94           a revised BMP due to concerns that the        to implement an appropriate Cycle
percent emission reduction. Because we        BMP that we proposed (as well as              Calculation or Bioburden/Biological
were unable to identify more stringent        alternatives for which we solicited           Indicator approach would require (1)
(i.e., beyond the floor or ‘‘BTF’’) options   comment in the proposal), would               creation and validation of new product
that are cost-effective, we are finalizing    adversely impact the medical supply           families, new process challenge devices,
99.94 percent emission reduction as the       chain due to inefficiencies that would        and biological indicators, (2) cycle
MACT standard under CAA section               arise, as well as having to lengthen cycle    development, and (3) maintenance
112(d)(2)–(3) for new and existing CEVs       dwell times in order to ensure sterility.     through requalification and annual
at major source facilities. The revised       The final requirement reduces existing        reporting. The commenter noted that the
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extra burden associated with                testing laboratories will decrease           products to meet a 290 milligrams per
maintaining more cycles would create        available sterilization capacity. The        liter (mg/L) EtO concentration limit.
more work and require more chamber          commenter stated that the inability to       One commenter stated that many
time, resulting in less sterilization       fill a sterilization chamber fully with      industry guidelines and studies show
capacity. Two commenters stated that        product and waiting until full can lead      that 400 mg/L is the minimum
requiring either the Cycle Calculation or   to inefficient use of sterilization          recommended concentration, and many
Bioburden/Biological Indicator              chambers and supply issues. Another          products use higher concentrations to
approach could limit research for           commenter stated the Bioburden/              meet sterility assurance and product
product innovation as available             Biological Indicator approach results in     quality requirements as set forth by
development time in EtO sterilization       additional cost and delays, as it requires   FDA. Another commenter stated that
chambers would be taken up for              that the product bioburden levels be         process efficiency is reduced with
optimizing existing products.               enumerated and characterized, and that       concentrations below 400 mg/L and that
  Two commenters stated the ISO             consistency in the bioburden population      efficiency is constant at concentrations
standards were intended for the process     and the bioburden’s resistance to the        greater than 500 mg/L. One commenter
of EtO sterilization and not emission       sterilization process remain relatively      indicated that an EtO concentration
reduction or controls. One commenter        stable over a multi-year period. The         range of 400 to 650 mg/L is common
further contended it is a faulty approach   commenter also stated that it may take       practice because it achieves
to base emission standards on               many years to establish the range in         microbiological lethality for most
international standards, as these           numbers and types of bioburden to            products within a reasonable exposure
standards are revised periodically and      properly perform a validation using this     time. Another commenter stated that
may continue to evolve. Another             proposed Bioburden/Biological                product design, stability post-
commenter noted that ISO/AAMI               Indicator approach. Another commenter        sterilization, and lethality are the
standards are currently being revised to    stated that the Bioburden approach           drivers behind the choice of EtO
be more flexible to achieve optimized       would require upgrades to supplier           concentration. The commenter also
cycles, while minimizing impact on          facilities, manufacturing facility, and      stated that research and development
sterilization capacity. The commenter       microbiological control practices.           with biological indicators is routinely
contended that cycle validation must           Response: We agree with the               conducted using 600 mg/L cycles and
focus on achieving sterility required for   commenters’ concerns regarding               that enforcing a lower limit may have an
patient safety and assuring product         potential inefficiencies in the              unintended negative consequence on
performance and reliability, and that       sterilization process that may arise from    the availability of biological indicators
reducing EtO use cannot take priority       requiring facilities to follow either the    required for sterilization process
over patient safety.                        Cycle Calculation Approach or the            validation and routine monitoring. One
  One commenter stated that                 Bioburden/Biological Indicator               commenter stated we should not
conducting Cycle Calculation studies for    Approach to achieve sterility assurance      propose to limit the EtO concentration
every product type or category would        in accordance with ISO 11135:2014 and        to 290 mg/L for small facilities and that
not be feasible with the current            ISO 11138–1:2017, along with the             we should, instead, allow performance-
capacity. The commenter stated this         potentially adverse impacts to the           based standards. In addition, several
would require effort to redesign            medical supply chain that could result       commenters stated that an upper-bound
sterilization cycles, evaluate product      from the proposed approach. These            limit on EtO concentration may lead to
and packaging performance, and              inefficiencies include reduced cycle
                                                                                         longer cycle times and dwell times and
validate the redesigned cycles. The         optimization (i.e., not being able to
                                                                                         that longer dwell times would impact
commenter also stated that the new          sterilize as much product per load or
validation work will impact sterilization                                                sterilization capacity and would lead to
                                            chamber), having to run more cycles
capacity as sterilizer equipment is not                                                  offshoring, as well as the construction of
                                            overall in order to meet the demand for
available for production use during                                                      additional facilities.
                                            sterile medical devices, and diverting
study times (i.e., production capacity is   already strained resources away from            One commenter stated limiting
diverted to cycle validation). The          normal operations to developing new          packaging and pallet material will
commenter further stated that sites that    cycle validations. We also agree with        interrupt trade, reduce innovation,
use more than one vendor would have         the commenters’ concerns that requiring      increase the cost of medical devices,
to redesign sterilization cycles at each    facilities to follow this requirement        and disrupt the medical device
vendor and that, given the limited          would limit research for product             manufacturing industry without a
resources and expertise, this would not     innovation. Given the current strain on      quantifiable reduction in EtO emissions.
be possible to achieve on this scale.       resources, some companies may not be         Two commenters stated that packaging
Another commenter stated they have          able to invest in additional chambers to     and pallet material selection will drive
not been able to ensure product sterility   conduct research. In addition, we agree      the design of medical products. Two
using Cycle Calculation approach.           with the commenters’ concerns that           commenters noted that packaging
  Finally, one commenter stated that        because this requirement is based on         requirements are in place to ensure a
the Bioburden/Biological Indicator          international standards, which are           sterile barrier until use and to prevent
methods limit the number of products        revised periodically, this could result in   product damage. One commenter stated
that can be validated in a single cycle.    potential future complications.              packaging must pass rigorous test
The commenter stated that the               Therefore, we are not including this         requirements, according to industry
Bioburden/Biological Indicator              requirement in the final rule.               standards. Another commenter
approach may be limited to a range of          Comment: As mentioned above, the          indicated that facilities use barcode
products with similar attributes and        EPA solicited comments on several            instructions for use (IFUs) in place of
drive up the number of required cycles.     other BMPs, including limiting EtO           paper IFUs when possible. However,
The commenter also stated that each         concentration limit and limiting             paper IFUs are regulated by FDA. Two
validated cycle will require                packaging and pallet material. Two           commenters noted that paper IFUs have
requalification every few years, and the    commenters stated that it is not             not been documented to be a source of
additional testing at sterilizers and       technically feasible for facilities and      residual emissions. Another commenter
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stated that there is no evidence that         2019 questionnaire and September 2021                  emissions at area source facilities, we
barcode materials would have less EtO         Information Collection Request (ICR), 80               are also evaluating percent emission
retention than paper, and that labeling       percent of all commercial sterilization                reduction standards, as opposed to mass
decisions have practical and legal            facilities, regardless of annual EtO use,              rate emission standards. The revised
considerations. One commenter noted           are already meeting this limit. Those                  GACT analyses for those emission
that a minimal amount of plastic wrap         who are not meeting the limit currently                sources are presented in section IV.B.3.b
is used to ensure the structural integrity    are close to the limit,25 so we do not                 of this preamble.
of pallets during shipping and that           anticipate any severe negative impacts                    Comment: Several commenters stated
excessive plastic is not in the interest of   to the medical device supply chain as a                that we do not have the legislative
sterilization facilities, as it slows EtO     result of finalizing this requirement. We              authority or expertise to regulate
penetration. The commenter also stated        estimate that the emission reductions                  sterilization cycles and that FDA is the
that kits are transported in cardboard to     from applying this requirement to the                  Federal agency that has authority to
protect from punctures, and it is not         source category would be 20 percent. In                regulate medical device sterilization.
possible to eliminate cardboard. A            addition, since 80 percent of facilities               They stated that Congress gave FDA the
puncture to a kit means the kit needs to      are already meeting this limit, this                   authority to ensure the availability of
be re-sterilized, requiring use of            would result in an 80 percent reduction                safe and effective medical products and
additional EtO. One commenter stated          in costs. We have evaluated the changes                that we must not finalize any regulatory
that changes to pallet material could         in cost, emissions, and cost-                          requirements that are under FDA
have supply chain issues given                effectiveness for this BMP, and it is                  purview.
interoperability and weight                   more cost-effective than the other
                                                                                                        Response: The EPA proposed the
requirements. Finally, another                options we considered. Therefore, for
                                                                                                     BMP (i.e., require facilities to follow
commenter stated that pallet materials        Group 2 room air emissions we are
                                                                                                     either the Cycle Calculation Approach
impact the strength and design of pallet,     finalizing the BMP such that the in-
                                                                                                     or the Bioburden/Biological Indicator
and any issues would have implications        chamber EtO concentration is to be
                                                                                                     Approach) pursuant to CAA section
for the entre medical device supply           lowered to 1 ppm before the chamber
                                                                                                     112(d)(5), which authorizes the EPA to
chain.                                        can be opened. We note that, even
   Response: We agree with the                though this BMP is expected to result in               set standards for area sources that
commenters’ concerns regarding the            fewer emission reductions than the BMP                 provide for the use of generally
issues with prescribing an upper-bound        we proposed, this rule will still reduce               available control technologies or
limit on in-chamber EtO concentration,        EtO emissions (and, therefore, lifetime                management practices to reduce
as well as the negative impacts to the        cancer risks) in multiple communities                  emissions. In addition, CAA section
medical supply chain that could result        across the country. As discussed in                    112(h)(1) authorizes the EPA to
from increasing the dwell time to             section IV.C.2.a.iii, this BMP will                    promulgate a design, equipment, work
maintain sterility as an outcome of such      ultimately apply only to facilities where              practice or operational standard, or a
a requirement. Therefore, we are not          EtO use is less than 4 tpy. We are                     combination thereof, if the EPA does not
including this requirement in the final       finalizing the requirement that area                   think it can prescribe an emission
rule. We also agree with the                  source facilities whose EtO usage is at                standard. We have identified
commenters’ concerns regarding the            least 4 tpy but less than 20 tpy and area              modification of the post-sterilization
need to ensure a sterile barrier through      source facilities whose EtO usage is at                process (e.g., reducing the EtO
sufficient packaging, as well as the          least 20 tpy are required to reduce                    concentration within the sterilization
potential supply chain impacts from           Group 2 room air emissions by 80                       chamber prior to opening the chamber)
placing limits on the types of pallets        percent and 98 percent, respectively                   as a BMP that can reduce EtO emissions
that may be used. Therefore, we are not       (see section IV.C.2.a.iii for more                     from certain affected sources at
requiring limits on packaging or              information). For SCVs and ARVs at                     commercial sterilization area source
transport materials as part of this           facilities where EtO use is less than 1                facilities. Neither CAA section 112(d)(5)
rulemaking.                                   tpy, as well as ARVs at facilities where               nor section 112(h)(1) limits the scope of
   Comment: One commenter                     EtO use is less than 10 tpy, our general               management or work practices that the
recommended an end of sterilization           rationale for proposing emission                       EPA may consider in setting standards
cycle chamber limit of less than 1 ppm        standards over the BMP was that                        to control HAP, nor did the commenter
(with a zero mg/L reading) in the             emission standards would both achieve                  identify any such legal limitation in the
sterilization chamber (EtO remaining          greater emission reduction and incur                   CAA or other applicable legal
calculated measurement) as a BMP. The         fewer annual costs than the BMP.                       authorities. As discussed above, we are
commenter stated that removing EtO            However, even considering lower                        not finalizing the proposed BMP; in
from the sterilization chamber is the         annual costs for the BMP, the emission                 response to comment, we are finalizing
most efficient stage for EtO removal.         standards would still achieve greater                  a requirement for area source facilities
The commenter further stated that             emission reduction. Therefore, for SCVs                with existing Group 2 room air
longer EtO dwell times, as well as the        and ARVs at facilities where EtO use is                emissions to lower the in-chamber EtO
potential for the elimination of nitrogen     less than 1 tpy, as well as ARVs at                    concentration to 1 ppm before the
gas washes to keep total cycle time           facilities where EtO use is less than 10               chamber is opened.26 As discussed in
equivalent, could result in more EtO          tpy, we are finalizing the emission
residual at aeration and the greater          standards as proposed pursuant to CAA                    26 We have previously regulated the in-chamber

potential for room air emissions after                                                               EtO concentration when we established standards
                                              section 112(d)(5). For CEVs at area                    for CEVs at facilities where EtO use is at least 1 tpy
aeration.                                     source facilities, as well as room air                 but less than 10 tpy (59 FR 62586, December 6,
   Response: We agree with the                                                                       1994). These requirements were removed initially
commenter’s suggestion of a                     25 The highest concentration that was reported       due to safety concerns regarding the regulation of
requirement to limit the in-chamber EtO       prior to opening the chamber door was 20 ppm.          emissions from CEVs, not related to any limitations
                                              While this may seem high, this is reduced from         on our authority. See discussion in section III.B.5
concentration to 1 ppm. It does not           starting EtO concentrations of several thousand        of the proposal preamble (88 FR 22790, April 13,
interfere with sterility assurance, and,      ppm (see section IV.F.3 of this preamble for further   2023) for more information regarding why safety is
based on responses to the December            discussion).                                                                                        Continued
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section IV.C.2.a.iii of this preamble, this          standards be considered. We are                            sources upon which the floor is based
requirement will ultimately apply only               concerned that some owners and                             are expected to meet over time,
to existing Group 2 room air emissions               operators may choose to dilute the air                     considering both the average emissions
at facilities where EtO use is less than             flow of the emissions stream rather than                   level achieved as well as emissions
4 tpy. Based on responses to the                     control emissions, in order to meet an                     variability and the uncertainty that
December 2019 questionnaire and the                  outlet concentration standard, which                       exists in the determination of emissions
September 2021 ICR, we have not                      would not result in emission reductions.                   variability given the available, short-
identified any facilities where EtO use              In order to ensure emission reductions                     term data. For LPLs, our practice is to
is less than 4 tpy that are not currently            from an outlet concentration standard,                     use the first percentile, or LPL 1, as that
meeting this requirement. Therefore, in              an upper-bound limit on the volumetric                     is the level of emission reductions that
general, we do not anticipate that any               flow rate would be necessary. As we                        we are 99 percent confident is achieved
facilities will need to go through a new             have discussed before, this may be                         by the average source represented in a
cycle validation as a result of this                 inappropriate for the source category.                     dataset over a long-term period based on
requirement. Based on our                            Therefore, although we proposed mass                       its previous, measured performance
conversations with FDA, this                         emission rate standards, we are                            history as reflected in short term stack
requirement is not anticipated to have               finalizing percentage emission                             test data. The LPL 1 value of the existing
an adverse impact on the medical                     reduction standards in their place, and                    source MACT floor is 99.94 percent
device supply chain.                                 those specific standards are discussed                     emission reduction. The LPL 1 EtO
                                                     later in this section.                                     concentration that corresponds to this
b. Mass Rate Emission Standards                         We re-calculated the MACT floor for                     emission reduction rate is 49 ppbv.
   Comment: Several commenters were                  existing CEVs at major source facilities.                  Based on our review of available EtO
opposed to mass rate emission                        We ranked the percent reduction                            measurement instruments and our
standards, stating that they do not                  performance of the CEVs ‘‘for which the                    demonstration program, we find the in-
account for the substantial variability              EPA has emissions information’’ and                        stack detection level for EtO, given the
among volumetric flow rates in                       found the best performing 12 percent of                    current technology, and potential
sterilization operations. The                        CEVs consists of one CEV that is being                     makeup of emission streams, is
commenters expressed concerns with                   controlled by a gas/solid reactor.27                       approximately 10 ppbv. Some EtO
potential operational reductions needed              Because the variability and uncertainty                    CEMS manufacturers claim instrument
in order to meet the standards while                 associated using available, short-term                     detection levels much lower than 10
still ensuring worker health and safety,             data would tend to reduce the minimum                      ppbv. However, we believe at the
as well as compliance with EPA Method                percent reduction, we then used the                        current time, 10 ppbv is the lowest level
204. The commenters suggested that we                lower, not upper, prediction limit                         that can be consistently demonstrated
finalize emission reduction and outlet               approach to develop the MACT floor for                     and replicated across a wide range of
concentration standards instead. In                  existing sources.28 The LPL approach                       emission profiles. We expect that EtO
addition, these commenters                           predicts the level of emissions that the                   CEMS manufacturers, measurement
recommended that these standards be                                                                             companies, and laboratories will
based on control device manufacturer                    27 See CAA section 112(d)(3). See also, National
                                                                                                                continue to improve EtO detection
guarantees. One commenter stated that,               Ass’n of Clean Water Agencies v. EPA, 734 F.3d             levels (making them lower). In the
                                                     1115, 1131 (2013) (citing Sierra Club v. EPA, 167
based on their discussions with control              F.3d 658, 661 and 662) (‘‘We accorded Chevron              meantime, consistent with our practice
device manufacturers, they believe that              deference to EPA’s . . . estimate of the MACT floor,       regarding reducing relative
the best and most advanced                           noting that the requirement that the existing unit         measurement imprecision by applying a
technologies will be guaranteed to meet              floors ‘not be less stringent than the average
                                                     emissions limitation achieved by the best
                                                                                                                multiplication factor of three to the
a 99 percent emission reduction                      performing 12 percent of units’ does not, on its           RDL, the average detection level of the
standard for CEVs and an 80 percent                  own, dictate ‘how the performance of the best units        best performers, or, in this case, the
emission reduction standard for room                 is to be calculated, . . . [and] recognizing that ‘EPA     better performing instruments, so that
air emissions.                                       typically has wide latitude in determining the
                                                     extent of data gathering necessary to solve a              measurements at or above this level
   Response: We agree with the                       problem.’ ’’                                               have a measurement accuracy within 10
commenters’ concerns regarding the                      28 The variability for a DRE format limit requires      to 20 percent—similar to that contained
potential impacts of mass rate emission              use of a lower prediction limit (LPL), the UPL             in the American Society of Mechanical
standards. Given the low outlet EtO                  template was therefore modified for use to
                                                     determine the LPL; rather than use of the 99th
                                                                                                                Engineers (ASME) ReMAP study,29 we
concentration of these streams, along                percentile that captures the ‘‘right tail’’ of the data    apply a multiplication factor of three to
with current EtO detection levels, a                 distribution, the LPL template uses the 1st                the RDL of 10 ppbv, which yields a
mass rate emission standard essentially              percentile, i.e., captures the ‘‘left tail’’ of the data   workable-in-practice lower measurable
functions as an upper-bound limit on                 distribution (the t-statistic is 0.01). The LPL differs
                                                     from the more commonly used UPL in that                    value of 30 ppbv. For reference, below
volumetric flow rate. It may not be                  variability and uncertainty associated with percent        is the equation that relates the percent
appropriate to limit volumetric flow rate            reduction limits tend to make the predicted limits         emission reduction, inlet EtO
in this fashion, as additional flow may              smaller than their averages; for UPL applications,         concentration, and outlet EtO
be needed in order to demonstrate                    variability and uncertainty associated with
                                                     emission limits tend to make those predicted limits        concentration:
compliance with EPA Method 204 or to                 larger than their averages. Both approaches—UPL
ensure worker health and safety. If                  and LPL—rely on the same set of equations
volumetric flow rate is limited, a facility          developed for the UPL; they only differ in the
                                                     selected percentile. In other words, the LPL relies
may be forced to reduce its sterilization            on calculations associated with the first percentile
capacity in order to meet the mass rate              (LPL 1) of the data distribution, which is below the
emission standards. However, we                      fiftieth percentile (LPL 50), or average for data with       Where, ER is the percent emission
disagree with the commenters’                        a normal distribution, while the UPL relies on             reduction, EtOIM is the inlet EtO mass,
                                                     calculations associated with the ninety-ninth
suggestion that outlet concentration                 percentile (UPL 99) of the data distribution, which
                                                                                                                and EtOOM is the outlet EtO mass. Since
                                                     is above the fiftieth percentile (UPL 50), or average
not a concern regarding the requirements finalized   for data with a normal distribution. Also note that           29 See the discussion in the MATS rule preamble

in this action.                                      for data in a normal distribution, LPL 50 = UPL 50.        at 77 FR 9370, February 16, 2012.
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the outlet EtO concentration that                                       stringent emission reduction for which                   plant for existing CEVs at a synthetic
corresponds to the MACT floor of 99.94                                  compliance can be demonstrated is that                   area source facility with the following
percent emission reduction is above                                     which corresponds to an outlet                           assumptions reflecting the average of
3×RDL, there are more stringent (i.e.,                                  concentration of 30 ppbv (i.e., 3xRDL).                  each of the parameters at synthetic area
BTF) options to consider.30 We                                          This emission reduction is 99.96                         source facilities:
considered two BTF options for                                          percent, which is lower than all of the
reducing EtO emissions from this                                        reported emission reductions in the test                     • Annual EtO use: 200 tpy.
source: the first option is 99.95 percent                               runs that were used to calculate the                         • Annual operating hours: 8,000.
emission reduction, and the second                                      MACT floor. The impacts of these                           • Portion of EtO going to CEVs: 1
option reflects the most stringent                                      options are presented in table 7.                        percent.
emission reduction for which                                            Because we have not identified any
compliance can be demonstrated. With                                    major source facilities with existing                      • CEV flow rate: 278 cubic feet per
respect to the second option, the most                                  CEVs, the impacts are based on a model                   second (cfs).

          TABLE 7—NATIONWIDE EMISSIONS REDUCTION AND COST IMPACTS OF BTF OPTIONS CONSIDERED UNDER CAA
                       SECTIONS 112(d)(2) AND 112(d)(3) FOR CEVS AT MAJOR SOURCE FACILITIES
                                                                                              Total capital   Total annual           EtO emission
                                                    Proposed                                                                                                         Cost effectiveness
     Option                                                                                    investment        costs                reductions
                                                    standard                                                                                                            ($/ton EtO)
                                                                                                   ($)           ($/yr)                  (tpy)

MACT Floor ..            99.94 percent emission reduction .................................       $830,000        $176,000   2.4E–2 [480 lb/yr] ..............   $735,000 [$370/lb].
1 ....................   99.95 percent emission reduction .................................        184,000          65,500   2.0E–4 [0.4 lb/year] ...........    328,000,000 [$164,000/lb].
2 ....................   99.96 percent emission reduction .................................        184,000          66,200   2.0E–4 [0.4 lb/year] ...........    331,000,000 [$166,000/lb].



   While we acknowledge that EtO is a                                   at which compliance can be                               emissions from this group: the first
highly toxic HAP, the cost estimates                                    demonstrated, the EPA considered more                    option reflects the use of emission
above are far outside the range of the                                  stringent (i.e., BTF) options. We                        controls on the CEVs, and the second
cost-effectiveness values that we have                                  considered the same BTF options as                       option reflects applying a BMP to lower
determined to be cost-effective for                                     those evaluated for existing CEVs at                     the in-chamber EtO concentration to 1
highly toxic HAPs (e.g., we finalized a                                 major source facilities, for the same                    ppm before the chamber is opened (i.e.,
requirement with a cost-effectiveness of                                reasons explained above. The first BTF                   pollution prevention). With respect to
$15,000/lb ($30,000,000/ton) for                                        option would require achieving 99.95                     the first option, because 34 out of 40
existing small hard chromium                                            percent emission reduction, and the                      area source facilities with CEVs already
electroplating to provide an ample                                      second BTF option would require                          using controls to reduce CEV emissions,
margin of safety (taking into account                                   achieving 99.96 percent emission                         and we have no reason to believe that
cost among other factors) (77 FR 58227–                                 reduction. The impacts of these options                  the other six cannot do the same, we
8, 58239). Based on the estimates above,                                are presented in table 7 of this
                                                                                                                                 consider emission controls to be
we find neither option to be cost                                       preamble. Because we have not
                                                                                                                                 generally available for existing CEVs at
effective. Therefore, the final MACT                                    identified any major source facilities
                                                                                                                                 these facilities. Evaluating the available
standard for existing CEVs at major                                     with existing CEVs, the impacts are
source facilities is 99.94 percent                                      based on a model plant for existing                      information on controls, including the
emission reduction.                                                     CEVs at a synthetic area source facility.                documented control efficiency for 12
   For new sources, CAA section                                         Based on the estimates above and for the                 facilities in the category, we determined
112(d)(3) requires that the standard                                    reason explained above, we find neither                  that a control efficiency of 99 percent is
shall not be less stringent than the                                    option to be cost effective. Therefore,                  generally available for existing CEVs at
emission control that is achieved in                                    the final MACT standard for new CEVs                     area source facilities. The second
practice by the best controlled similar                                 at major source facilities is 99.94                      potential GACT option we considered
source. In this case, the best controlled                               percent emission reduction. For the                      was the same management practice
similar source is also the CEV that is                                  reasons explained above, our final                       discussed in section IV.B.3.a of this
being controlled by a gas/solid reactor                                 MACT standards under CAA sections                        preamble, which would require
and the data of which is used to                                        112(d)(2) and (3) for both new and                       facilities to lower the in-chamber EtO
determine the MACT floor for existing                                   existing CEVs at major source facilities                 concentration to 1 ppm before the
sources. Therefore, the new source                                      require these facilities to reduce the EtO               chamber is opened. The impacts of
MACT floor is equivalent to the existing                                emissions from new and existing CEVs                     these two options are presented in table
source MACT floor, which is 99.94                                       by 99.94 percent.                                        8.
percent emission reduction. As                                             For existing CEVs at area source
explained above, because this emission                                  facilities, we considered two potential
reduction limit is above the lowest level                               GACT options for reducing EtO




  30 As Judge Williams explained in his concurring                      taking into account a variety of factors including       ‘‘floors’’ established under § 112(d)(3).’’ 479 F.3d
opinion in Sierra Club v. EPA, CAA ‘‘Section                            cost. . . . The ‘‘achievable’’ standards have come to    875, 884 (D.C. Cir. 2007).
112(d)(2) calls for emissions standards that are the                    be known as the ‘‘beyond-the-floor’’ standards, . . .
most stringent that the EPA finds to be ‘achievable,’                   meaning, obviously, ones more stringent than the
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     TABLE 8—NATIONWIDE EMISSIONS REDUCTION AND COST IMPACTS OF OPTIONS CONSIDERED UNDER CAA SECTION
                           112(d)(5) FOR EXISTING CEVS AT AREA SOURCE FACILITIES
                                                                                      Total capital                                              EtO emission
                                                                                                          Total annual costs                                                  Cost effectiveness
    Option                               Proposed standard                             investment                                                 reductions
                                                                                                                 ($/yr)                                                          ($/ton EtO)
                                                                                           ($)                                                       (tpy)

1 .................   99 percent emission reduction ...............................     $1,750,000    $740,000 ........................   3.84 [7,680 lb/year] ........    193,000 [$96/lb]
2 .................   BMP (estimated 20 percent emission reduction) ...                          0    $3,560,000 (one-time an-            0.796 [1,590 lb/year] ......     $4,470,000 [$2,240/lb]
                                                                                                        nual cost) 1.
  1 This includes the cost for testing to verify that the new sterilization process will lower the in-chamber EtO concentration to 1 ppm before the chamber is opened,
as well as preparing and submitting the necessary paperwork to FDA for approval. It is expected that facilities will only incur this cost once and it is assumed to be in-
curred in the first year of compliance, but it is treated as an annual cost for the purposes of estimating total annual costs (i.e., annualized capital costs plus annual
costs) in the analysis.


   Based on the estimates above, and                                   achieve much greater emission                                      described in section IV.B.3.a, which
considering EtO is a highly potent                                     reduction than Option 2. Second,                                   would require facilities to lower the in-
carcinogen, the cost-effectiveness                                     Option 1 would incur fewer annual                                  chamber EtO concentration to 1 ppm
numbers of these options are within the                                costs than Option 2. Therefore, pursuant                           before the chamber is opened. The
range of the values that we have                                       to CAA section 112(d)(5), we are                                   impacts of these options, which are
determined to be cost-effective for                                    finalizing Option 1 for existing CEVs at                           presented in table 9 of this preamble,
highly toxic HAPs. Such values include                                 area source facilities. Specifically, we                           are based on a model plant for new
hexavalent chromium, where we                                          are finalizing a requirement for these                             CEVs at a new area source facility with
finalized a requirement with a cost-                                   facilities to continuously reduce                                  the following assumptions reflecting the
effectiveness of $15,000/lb                                            emissions from existing CEVs by 99                                 average of each of the parameters at
($30,000,000/ton) for existing small                                   percent.                                                           existing area source facilities:
hard chromium electroplating to                                           For new CEVs at area source facilities,                           • Annual EtO use: 100 tpy.
provide an ample margin of safety                                      we considered two potential GACT
                                                                                                                                            • Annual operating hours: 8,000.
(taking into account cost among other                                  options similar to those evaluated for
factors) (77 FR 58227–8, 58239). We are                                existing CEVs at area source facilities.                             • Portion of EtO going to CEVs: 1
finalizing Option 1 for the following                                  The first potential GACT option would                              percent.
reasons. First, while both options are                                 require achieving 99 percent emission                                • CEV flow rate: 200 cubic feet per
considered generally available under                                   reduction. The second potential GACT                               second (cfs).
CAA section 112(d)(5), Option 1 would                                  option we considered is a BMP                                        • Number of unique cycles: nine.
     TABLE 9—NATIONWIDE EMISSIONS REDUCTION AND COST IMPACTS OF OPTIONS CONSIDERED UNDER CAA SECTION
                             112(d)(5) FOR NEW CEVS AT AREA SOURCE FACILITIES
                                                                                      Total capital                                              EtO emission
                                                                                                          Total annual costs                                                  Cost effectiveness
    Option                               Proposed standard                             investment                                                 reductions
                                                                                                                 ($/yr)                                                          ($/ton EtO)
                                                                                           ($)                                                       (tpy)

1 .................   99 percent emission reduction ...............................       $553,000    $142,000 ........................   0.99 [1,980 lb/year] ........    $144,000 [$72/lb]
2 .................   BMP (estimated 20 percent emission reduction) ...                          0    $80,000 (one-time an-               0.20 [400 lb/year] ...........   $400,000 [$200/lb]
                                                                                                        nual cost) 1.
  1 This includes the cost for testing to verify that the new sterilization process will lower the in-chamber EtO concentration to 1 ppm before the chamber is opened,
as well as re-submitting to FDA for approval. It is expected that facilities will only incur this cost once and it is assumed to be incurred in the first year of compliance,
but it is treated as an annual cost for the purposes of estimating total annual costs (i.e., annualized capital costs plus annual costs) in the analysis.


   Based on the estimates above, and                                   1 room air emissions for which data are                            options to consider. We considered two
considering EtO is a highly potent                                     available based on percent emission                                BTF options for reducing EtO emissions
carcinogen, the cost-effectiveness                                     reduction. There are only three                                    from this source: the first option we
number of Option 2 is within the range                                 performance tests that are currently                               considered was 95 percent emission
of the values that we have determined                                  available, only one of which contains                              reduction. The first option reflects the
to be cost-effective for highly toxic                                  three test runs. Therefore, the best                               lowest emission reduction that we have
HAPs. While both options are                                           performing 12 percent of facilities for                            observed in performance tests, and The
considered generally available under                                   which data are available consists of one                           second option reflects the most stringent
CAA section 112(d)(5), Option 1 would                                  facility with three test runs that is                              emission reduction for which
achieve greater emission reductions                                    controlling its Group 1 room air                                   compliance can be demonstrated. With
than Option 2, and it is more cost-                                    emissions with a gas/solid reactor. That                           respect to the second option, the most
effective. Therefore, we are finalizing                                facility reported an emission reduction                            stringent emission reduction for which
Option 1 as the standard for new CEVs                                  of 98 percent. We then used the LPL                                compliance can be demonstrated is that
at area source facilities under CAA                                    approach, as mentioned previously, to                              which corresponds to an outlet
section 112(d)(5). The standard requires                               develop the MACT floor for existing                                concentration of 30 ppbv (i.e., 3xRDL).
these facilities to continuously reduce                                sources. The LPL 1 value of the existing                           This emission reduction is 97 percent,
emissions from new CEVs by 99                                          source MACT floor is 90 percent                                    which is lower than two of the three
percent.                                                               emission reduction. The outlet EtO                                 reported values in the test runs that
   We have re-calculated the MACT floor                                concentration (UPL 99 value) that                                  were used to calculate the MACT floor.
for existing Group 1 room air emissions                                corresponds to this emission reduction                             The impacts of these options are
at major source facilities. We ranked the                              is 93 ppbv. Since this is above 3×RDL,                             presented in table 10 (along with the
performance of the facilities with Group                               there are more stringent (i.e., BTF)                               MACT floor impacts). Because we have
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not identified any major source facilities                    facility with the following assumptions           • Annual operating hours: 8,000.
with existing Group 1 room air                                reflecting the average of each of the             • Portion of EtO going to Group 1
emissions, the impacts are based on a                         parameters at synthetic area source             RAE: 0.4 percent.
model plant for existing Group 1 room                         facilities:                                       • Group 1 room air emission flow
air emissions at a synthetic area source                        • Annual EtO use: 140 tpy.                    rate: 400 cubic feet per second (cfs).

       TABLE 10—NATIONWIDE EMISSIONS REDUCTION AND COST IMPACTS OF BTF OPTIONS CONSIDERED UNDER CAA
           SECTIONS 112(d)(2) AND 112(d)(3) FOR GROUP 1 ROOM AIR EMISSIONS AT MAJOR SOURCE FACILITIES
                                                                              Total capital   Total annual        EtO emission              Cost effectiveness
    Option                          Proposed standard                         investment         costs             reductions                  ($/ton EtO)
                                                                                   ($)           ($/yr)               (tpy)

MACT floor           90 percent emission reduction ........................       $830,000        $176,000   0.168 [336 lb/year] .....   $1,050,000 [$525/lb].
1 ................   95 percent emission reduction ........................        553,000         129,000   2.80E–2 [56.0 lb/year]      $4,610,000 [$2,300/lb].
2 ................   97 percent emission reduction ........................        461,000         113,000   1.12E–2 [22.4 lb/year]      $10,100,000 [$5,040/
                                                                                                                                           lb].



   Based on the estimates above, and                          emissions, the impacts are based on a           controls to reduce those emissions.31
considering EtO is a highly potent                            model plant for new Group 1 room air            We considered a standard of 80 percent
carcinogen, the cost-effectiveness                            emissions at a synthetic area source            emission reduction, which is the
numbers are within the range of the                           facility. Based on the estimates above,         manufacturer guarantee for room air
values that we have determined to be                          and considering EtO is a highly potent          emissions controls provided by one of
cost-effective for highly toxic HAPs.                         carcinogen, the cost-effectiveness              the commenters. We find this standard
While both options are considered BTF                         numbers are within the range of the             to be reasonable for existing Group 1
under CAA sections 112(d)(2), Option 2                        values that we have determined to be            room air emissions at area source
would achieve greater emission                                cost-effective for highly toxic HAPs.           facilities because it is the manufacturer
reductions than Option 1. Therefore, the                      While both options are considered BTF           guarantee, which means that it is a level
final MACT standard under CAA                                 under CAA sections 112(d)(2), Option 2          of emission reduction that all sources
sections 112(d)(2) and (3) for existing                       would achieve greater emission                  can achieve. While some sources have
Group 1 room air emissions at major                           reductions than Option 1. Therefore, the        demonstrated emission reductions
source facilities is 97 percent emission                      final standard for new Group 2 room air         higher than 80 percent, those reductions
reduction.                                                    emissions at major source facilities is 97      are limited to facilities with higher EtO
   For new sources, CAA section                               percent emission reduction. We also             usage rates, and we cannot determine
112(d)(3) requires that the standard                          considered non-air quality health and           whether smaller users of EtO can meet
shall not be less stringent than the                          environmental impacts and energy                those emission reductions. The second
emission control that is achieved in                          requirements when evaluating the BTF            potential GACT option we considered
practice by the best controlled similar                       options. Further discussion of these            was the same management practice
source. In this case, the best controlled                     considerations is presented in the              discussed in section IV.B.3.a, which
similar source is also the Group 1 room                       document MACT Floor Analysis for                would require facilities to lower the in-
air emissions that are being controlled                       Ethylene Oxide Commercial                       chamber EtO concentration to 1 ppm
by a gas/solid reactor and the data of                        Sterilization—Chamber Exhaust Vents             before the chamber is opened. During
which is used to determine the MACT                           and Room Air Emission Sources—                  the sterilization process, EtO becomes
floor for existing sources. Therefore, the                    Promulgation Rule Review for the                trapped within the material and
new source MACT floor is equivalent to                        Ethylene Oxide Commercial                       continues to off-gas after the
the existing source MACT floor, which                         Sterilization Source Category, available        sterilization process is complete.
is 90 percent emission reduction. We                          in the docket for this rulemaking.              Therefore, if more EtO is driven out of
considered the same BTF options as                               For existing Group 1 room air                the product prior to opening the
those evaluated for existing Group 1                          emissions at area source facilities, we         chamber, this can lead to a reduction in
room air emissions at major source                            considered two potential GACT options           post-sterilization EtO emissions,
facilities for the same reasons explained                     for reducing EtO emissions from this            including those from pre-aeration
above. The first BTF option would                             group: the first option reflects the use of     handling of sterilized material. The
require achieving 95 percent emission                         emission controls on Group 1 room air           impacts of these options are presented
reduction, and the second BTF option                          emissions, and the second option is the         in table 11.
would require achieving 97 percent                            same BMP discussed above (lowering
emission reduction. The impacts of                            the in-chamber EtO concentration to 1             31 The Group 1 room air emission reduction at

these options are presented in table 10                       ppm before the chamber is opened).              these facilities ranges from 52 percent to 99.8
                                                                                                              percent. It should be noted that the facility with the
of this preamble. Because we have not                         With respect to the first option, 32 out        emission reduction at the upper bound of this range
identified any major source facilities                        of 74 area source facilities with Group         uses 135 tpy of EtO.
with existing Group 1 room air                                1 room air emissions are already using
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   TABLE 11—NATIONWIDE EMISSIONS REDUCTION AND COST IMPACTS OF OPTIONS CONSIDERED UNDER CAA SECTION
               112(d)(5) FOR EXISTING GROUP 1 ROOM AIR EMISSIONS AT AREA SOURCE FACILITIES
                                                                                      Total capital                                      EtO emission
                                                                                                        Total annual costs                                      Cost effectiveness
   Option                           Proposed standard                                 investment                                          reductions
                                                                                                               ($/yr)                                              ($/ton EtO)
                                                                                           ($)                                               (tpy)

1 ..............   80 percent emission reduction ...................                   $91,000,000    $12,900,000 .............      3.66 [7,320 lb/year] ..   $3,530,000 [$1,770/
                                                                                                                                                                 lb].
2 ..............   BMP (estimated 20 percent emission re-                                        $0   $5,040,000 (one-time           1.13 [2,260 lb/year] ..   $4,460,000 [$2,230/
                    duction).                                                                           annual cost) 1.                                          lb].
  1 This includes the cost for testing to verify that the new sterilization process will lower the in-chamber EtO concentration to 1 ppm before the
chamber is opened, as well as re-submitting to FDA for approval. It is expected that facilities will only incur this cost once and it is assumed to
be incurred in the first year of compliance, but it is treated as an annual cost for the purposes of estimating total annual costs (i.e., annualized
capital costs plus annual costs) in the analysis.


  Based on the estimates above, and                                     Specifically, we are finalizing a                           considered (Option 2) is a BMP that
considering EtO is a highly potent                                      requirement for these facilities to                         would require facilities to lower the in-
carcinogen, the cost-effectiveness                                      continuously reduce emissions from                          chamber EtO concentration to 1 ppm
numbers of these options are within the                                 existing Group 1 room air emissions by                      before the chamber is opened. The
range of the values that we have                                        80 percent.                                                 impacts of these options, which are
determined to be cost effective for                                        For new Group 1 room air emissions                       presented in table 12 of this preamble,
highly toxic HAPs. We are finalizing                                    at area source facilities, we considered                    are based on a model plant for new
Option 1 because while both options are                                 the same two potential GACT options as                      Group 1 room air emissions at an area
considered generally available under                                    those evaluated for existing Group 1                        source facility with the assumptions
CAA section 112(d)(5), Option 1 would                                   room air emissions at area source                           reflecting the average of each of the
achieve greater emission reduction than                                 facilities for the same reasons explained
                                                                                                                                    parameters at area source facilities with
Option 2. Therefore, pursuant to CAA                                    above. The first potential GACT option
                                                                                                                                    new Group 1 room air emissions as
section 112(d)(5), we are finalizing                                    (Option 1) would require achieving an
Option 1 for existing Group 1 room air                                  emission reduction of 80 percent. The                       described in section III.B.8.c of the
emissions at area source facilities.                                    second potential GACT option we                             proposal preamble.

  TABLE 12—MODEL PLANT EMISSIONS REDUCTION AND COST IMPACTS OF OPTIONS CONSIDERED UNDER CAA SECTION
                112(d)(5) FOR NEW GROUP 1 ROOM AIR EMISSIONS AT AREA SOURCE FACILITIES
                                                                                      Total capital                                      EtO emission
                                                                                                        Total annual costs                                      Cost effectiveness
   Option                           Proposed standard                                 investment                                          reductions
                                                                                                               ($/yr)                                              ($/ton EtO)
                                                                                           ($)                                               (tpy)

1 ..............   80 percent emission reduction ...................                      $922,000    $192,000 ..................    0.288 [576 lb/year] ...   $666,000 [$333/lb].
2 ..............   BMP ............................................................              0    $80,000 (one-time              7.20E–2 [144 lb/year]     $1,110,000 [$556/lb].
                   (estimated 20 percent emission reduction)                                            annual cost) 1.
  1 This includes the cost for testing to verify that the new sterilization process will lower the in-chamber EtO concentration to 1 ppm before the
chamber is opened, as well as re-submitting to FDA for approval. It is expected that facilities will only incur this cost once and it is assumed to
be incurred in the first year of compliance, but it is treated as an annual cost for the purposes of estimating total annual costs (i.e., annualized
capital costs plus annual costs) in the analysis.


   Based on the estimates above, we find                                available, only one of which contains                       facility, which is 0.12 ppmv. This
both options to be cost effective. While                                three test runs. Therefore, the best                        results in an adjusted MACT floor of 86
both options are considered generally                                   performing 12 percent of facilities for                     percent emission reduction. Since this
available under CAA section 112(d)(5),                                  which data are available consists of one                    represents 3×RDL, there are no more
Option 1 would achieve greater                                          facility with three test runs that is                       stringent (i.e., BTF) options to consider,
emission reductions than Option 2.                                      controlling its Group 2 room air                            as there would be difficulty
Therefore, pursuant to CAA section                                      emissions with a gas/solid reactor. That                    demonstrating compliance at any such
112(d)(5), we are finalizing standards for                              facility reported an emission reduction                     lower limit. Therefore, the final MACT
new Group 1 room air emissions at area                                  of 96 percent. As mentioned previously,                     standard under CAA sections 112(d)(2)
source facilities. Specifically, we are                                 we then used the LPL approach to                            and (3) for existing Group 2 room air
finalizing a requirement for these                                      develop the MACT floor for existing                         emissions at major source facilities is 86
facilities to continuously reduce                                       sources. The LPL 1 value of the existing                    percent emission reduction.
emissions from new Group 1 room air                                     source MACT floor is 94 percent                                For new sources, CAA section
emissions by 80 percent.                                                emission reduction. The outlet EtO                          112(d)(3) requires that the standard
   We re-calculated the MACT floor for                                  concentration (LPL 1 value) that                            shall not be less stringent than the
existing Group 2 room air emissions at                                  corresponds to this emission reduction                      emission control that is achieved in
major source facilities. We ranked the                                  is 10 ppbv. Since this is below 3×RDL,                      practice by the best controlled similar
performance of the facilities with Group                                we adjusted the MACT floor by                               source. In this case, the best controlled
2 room air emissions for which data are                                 determining the emission reduction                          similar source is also the Group 2 room
available based on percent emission                                     using 30 ppbv and the LPL 1 value of                        air emissions that are being controlled
reduction. There are only three                                         the inlet EtO concentration of the Group                    by a gas/solid reactor and the data of
performance tests that are currently                                    2 room air emissions stream at the                          which is used to determine the MACT
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floor for existing sources. Therefore, the                          the in-chamber EtO concentration to 1                            whether smaller users of EtO can meet
new source MACT floor is equivalent to                              ppm before the chamber is opened).                               those emission reductions. The second
the existing source MACT floor, which                               With respect to the first option, 30 out                         potential GACT option we considered
is 86 percent emission reduction. As                                of 80 area source facilities with Group                          was the same management practice
explained above, because this emission                              2 room air emissions are already using                           discussed in section IV.B.3.a, which
limit represents the lowest level at                                controls to reduce those emissions.32                            would require facilities to lower the in-
which compliance can be demonstrated,                               We considered a standard of 80 percent                           chamber EtO concentration to 1 ppm
the EPA did not consider more stringent                             emission reduction, which is the                                 before the chamber is opened. During
(i.e., BTF) options. Therefore, the                                 manufacturer guarantee for room air                              the sterilization process, EtO becomes
proposed standard for new Group 2                                   emissions controls provided by one of
                                                                                                                                     trapped within the material and
room air emissions at major source                                  the commenters. We find this standard
                                                                                                                                     continues to off-gas after the
facilities is 86 percent emission                                   to be reasonable for existing Group 2
                                                                    room air emissions at area source                                sterilization process is complete.
reduction.
   For existing Group 2 room air                                    facilities because it is the manufacturer                        Therefore, if more EtO is driven out of
emissions at area source facilities, we                             guarantee, which means that it is a level                        the product prior to opening the
considered two potential GACT options                               of emission reduction that all sources                           chamber, this can lead to a reduction in
for reducing EtO emissions from this                                can achieve. While some sources have                             post-sterilization EtO emissions,
group: the first option reflects the use of                         demonstrated emission reductions                                 including those from post-aeration
emission controls on Group 2 room air                               higher than 80 percent, those reductions                         handling of sterilized material. The
emissions, and the second option is the                             are limited to facilities with higher EtO                        impacts of these options are presented
same BMP discussed above (lowering                                  usage rates, and we cannot determine                             in table 13.
    TABLE 13—NATIONWIDE EMISSIONS REDUCTION AND COST IMPACTS OF OPTIONS CONSIDERED UNDER CAA SECTION
                112(d)(5) FOR EXISTING GROUP 2 ROOM AIR EMISSIONS AT AREA SOURCE FACILITIES
                                                                          Total capital        Total annual costs                 EtO emission reductions               Cost effectiveness
     Option                         Proposed standard                      investment                 ($/yr)                               (tpy)                           ($/ton EtO)
                                                                               ($)

1 ...................   80 percent emission reduction .................   $236,000,000    $32,700,000 .......................   1.10 [2,200 lb/year] ............   $29,700,000 [$14,900/lb].
2 ...................   BMP (estimated 20 percent emission re-                       0    $5,440,000 (one-time an-              0.311 [622 lb/year] .............   $17,500,000 [$8,750/lb].
                          duction).                                                         nual cost) 1.
  1 This includes the cost for testing to verify that the new sterilization process will lower the in-chamber EtO concentration to 1 ppm before the chamber is opened,
as well as re-submitting to FDA for approval. It is expected that facilities will only incur this cost once and it is assumed to be incurred in the first year of compliance,
but it is treated as an annual cost for the purposes of estimating total annual costs (i.e., annualized capital costs plus annual costs) in the analysis.


   Based on the estimates above, and                                cost of the emission control option for                          emissions at area source facilities.
considering EtO is a highly potent                                  most of the affected sources discussed                           Specifically, this GACT standard
carcinogen, the cost-effectiveness                                  above is well below three percent.33                             requires facilities to lower the in-
numbers of these options are within the                             However, reducing existing Group 2                               chamber EtO concentration to 1 ppm
range of the values that we have                                    room air emissions at area source                                before the chamber is opened.35
determined to be cost-effective for                                 facilities using emission control devices                           For new Group 2 room air emissions
highly toxic HAPs. Further, as discussed                            (Option 1), would significantly impact                           at area sources facilities, we considered
in section III.B.8.g of the proposal                                several companies operating a total of                           the same two potential GACT options as
preamble (88 FR 28790, April 13, 2023),                             nine area source facilities with Group 2                         those evaluated for existing Group 1
there are multiple factors we consider in                           room air emissions. We estimate that the                         room air emissions at area source
assessing the cost of the emission                                  annual cost of controls at the level                             facilities for the same reasons explained
reductions. See NRDC v. EPA, 749 F.3d                               under Option 1 would exceed three                                above. The first potential GACT option
1055, 1060 (D.C. Cir. April 18, 2014)                               percent of revenue for these                                     (Option 1) would require achieving an
(‘‘Section 112 does not command the                                 companies.34 Based on the available                              emission reduction of 80 percent. The
EPA to use a particular form of cost                                economic information, assuming market                            second potential GACT option we
analysis.’’). These factors include, but                            conditions remain approximately the                              considered (Option 2) is a BMP that
are not limited to, total capital costs,                            same, we are concerned that these                                would require facilities to lower the in-
total annual costs, cost-effectiveness,                             companies would not be able to sustain                           chamber EtO concentration to 1 ppm
and annual costs compared to total                                  the costs associated with Option 1. In                           before the chamber is opened. The
revenue (i.e., costs to sales ratios). Our                          addition, according to FDA, six of these                         impacts of these options, which are
established methodology for assessing                               facilities could impact the availability of                      presented in table 14 of this preamble,
economic impacts of regulations                                     the medical devices described in section                         are based on a model plant for new
indicates that the potential for adverse                            I.A.1 of this preamble. Therefore,                               Group 2 room air emissions at an area
economic impacts begins when the cost                               pursuant to CAA section 112(d)(5), we                            source facility with the assumptions
to sales ratio exceeds three percent.                               are finalizing Option 2 as the GACT                              reflecting the average of each of the
According to our estimates, the annual                              standard for existing Group 2 room air                           parameters at area source facilities with
  32 The Group 2 room air emission reduction at                     112(d)(6) Technology Review, and CAA Section                       35 As discussed in section IV.C.2.a.iii of this

these facilities ranges from 30 percent to 99.97                    112(f) Risk Assessment for the Ethylene Oxide                    preamble, this GACT standard will ultimately apply
percent. It should be noted that the facility with the              Emissions Standards for Sterilization Facilities                 only to facilities where EtO use is less than 4 tpy.
emission reduction at the upper bound of this range                 NESHAP, located at Docket ID No. EPA–HQ–OAR–                     Facilities where EtO use is at least 4 tpy will be
uses 135 tpy of EtO.                                                2019–0178.
  33 See memorandum, Technical Support                                34 The issue of high cost-to-sales ratios is present
                                                                                                                                     required to meet an emission standard established
                                                                                                                                     under CAA section 112(f)(2).
Document for Proposed Rule—Industry Profile,                        only for this option and, thus, is not discussed for
Review of Unregulated Emissions, CAA Section                        other options.
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new Group 1 room air emissions as                                   described in section III.B.8.h of the
                                                                    proposal preamble.
  TABLE 14—MODEL PLANT EMISSIONS REDUCTION AND COST IMPACTS OF OPTIONS CONSIDERED UNDER CAA SECTION
                112(d)(5) FOR NEW GROUP 2 ROOM AIR EMISSIONS AT AREA SOURCE FACILITIES
                                                                             Total capital         Total annual costs                  EtO emission reductions               Cost effectiveness
     Option                         Proposed standard                         investment                  ($/yr)                                (tpy)                           ($/ton EtO)
                                                                                  ($)

1 ...................   80 percent emission reduction .................         $1,840,000   $332,000 ............................   3.6E–2 [72 lb/year] .............   $9,170,000 [$4,560/lb].
2 ...................   BMP (estimated 20 percent emission re-                           0   $40,000 (one-time annual                9.1E–3 [18 lb/year] .............   $4,375,000 [$2,190/lb].
                          duction).                                                            cost)1.
  1 This includes the cost for testing to verify that the new sterilization process will lower the in-chamber EtO concentration to 1 ppm before the chamber is opened,
as well as re-submitting to FDA for approval. It is expected that facilities will only incur this cost once and it is assumed to be incurred in the first year of compliance,
but it is treated as an annual cost for the purposes of estimating total annual costs (i.e., annualized capital costs plus annual costs) in the analysis.


   Based on the estimates above, and                                broad alternatives, including a simple                                requirements of EPA Method 204 were
considering EtO is a highly potent                                  requirement to operate areas with room                                included in our BTF and GACT
carcinogen, the cost-effectiveness                                  air emissions subject to an emission                                  evaluations. We found each emission
numbers of these options are within the                             standard under negative pressure.                                     standard that we evaluated to be cost-
range of the values that we have                                       Response: We strongly disagree with                                effective (see section IV.B.3.b of this
determined to be cost-effective for                                 the commenters that EPA Method 204 is                                 preamble for more information). In
highly toxic HAPs. As discussed earlier                             not appropriate to apply to this source                               addition, the term ‘‘negative pressure’’
in this section, this includes hexavalent                           category. The design requirements of                                  is vague and can imply any capture
chromium, where we finalized a                                      EPA Method 204 are agnostic to the                                    efficiency between zero and 100
requirement with a cost-effectiveness of                            industry it is applied. It has been                                   percent. The commenters did not
$15,000/lb ($30,000,000/ton) for                                    applied widely to any industrial                                      provide specific suggestions for
existing small hard chromium                                        processes that needs to control VOC                                   alternative capture efficiencies, nor did
electroplating to provide an ample                                  emissions, including several existing                                 they provide the criteria that would be
margin of safety (taking into account                               commercial sterilizers that have already                              used to demonstrate that those
cost among other factors) (77 FR 58227–                             been complying with EPA Method 204.                                   efficiencies are being met, and we are
8, 58239). Although both options are                                In order to meet the emission standards,                              unable to evaluate alternative negative
considered generally available under                                it is necessary to ensure that all                                    pressure requirements as a result.
CAA section 112(d)(5), Option 1 would                               emissions are captured and routed to a                                Therefore, EPA Method 204 is
achieve four times the emission                                     control system. Our established protocol                              appropriate to apply to this source
reductions of Option 2. Therefore,                                  in numerous new source performance                                    category in order to ensure complete
pursuant to CAA section 112(d)(5), we                               standards, NESHAPs, and federally                                     capture of room air emissions.
are finalizing standards for new Group                              enforceable State and local programs                                     Comment: Several commenters
2 room air emissions at area source                                 (e.g., title V permits, State                                         requested various flexibilities and
facilities. Specifically, we are finalizing                         implementation plans) for ensuring                                    clarifications with respect to the PTE
a requirement for these facilities to                               complete capture of room air emissions                                requirements of EPA Method 204.
continuously reduce emissions from                                  is EPA Method 204. We recognize that                                  Several commenters expressed concern
new Group 2 room air emissions by 80                                many commercial sterilizers will need                                 with Criterion 5.1 of EPA Method 204,
percent.                                                            to retrofit their facilities to meet the PTE                          stating that it would not be possible to
                                                                    requirements of EPA Method 204,                                       always ensure that doors are ‘‘at least
c. PTE                                                              similar to facilities that have already                               four equivalent opening diameters’’
   Comment: We received extensive                                   done so. We have accounted for the cost                               from all EtO storage media or post-
comment on our proposal to require that                             to retrofit facilities by scaling the cost                            aeration sterilized product, particularly
each facility must operate areas with                               from a large facility that conducted a                                during loading and unloading
room air emissions subject to an                                    retrofit. Furthermore, based on our                                   operations. Two commenters
emission standard under the PTE                                     knowledge regarding the application of                                recommended that we revise the
requirements of EPA Method 204. Some                                EPA Method 204 in general, retrofitting                               standards to permit implementation of
commenters were supportive of this                                  to meet this method can be complicated,                               cascading air systems to capture room
requirement, stating that other                                     depending on the size of the facility.                                air emissions.37 One commenter stated
regulatory bodies have already required                             However, commercial sterilization                                     that these systems would provide
this and that this is the correct protocol                          facilities tend to be simple buildings (in                            greater flexibility to accommodate
for ensuring that emissions are captured                            some cases, re-purposed warehouses)                                   sterilization operations that could not
and routed to a control system. Other                               with a relatively small footprint, which                              implement a PTE, would offer EtO
commenters were opposed to this                                     helps the retrofitting process. The                                   capture and control efficiency that was
requirement, stating that EPA Method                                emission standards for room air                                       as effective as a PTE, and would have
204 was established for smaller point                               emissions that we evaluated assume 100                                fewer manufacturing implications and
source operations (e.g., paint booths,                              percent capture of EtO emissions,36 and                               potential adverse impacts. Finally, two
spray coating), as opposed to larger                                the costs of complying with the PTE
sterilization facilities. Several                                                                                                           37 These are systems that move air from ambient

commenters cited other technical                                          36 Section 2 of EPA Method 204 states, in part, ‘‘If            pressure, through warehouse ventilation, secondary
concerns, including the fact that not                               the criteria are met and if all the exhaust gases from                aeration, primary aeration, the sterilizer chamber,
                                                                    the enclosure are ducted to a control device, then                    and ultimately to an air pollution control device to
every facility is currently configured to                           the volatile organic compounds (VOC) capture                          capture and control EtO emissions. This is opposed
meet the PTE requirements of EPA                                    efficiency (CE) is assumed to be 100 percent, and                     to other systems where air from one source is
Method 204. The commenters suggested                                CE need not be measured.’’                                            captured and then directly sent to a control system.
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commenters expressed concern with             equivalent duct or hood diameters from       adjacent) to and ‘‘under common
Criteria 5.2, 5.3, and 5.5 of EPA Method      each NDO.’’ One commenter stated that        control’’ with the EtO sterilization
204.                                          Criterion 5.2 may not be possible for all    building, including leased properties.39
   Response: Criterion 5.1 of EPA             facilities due to preexisting layouts.       Stand-alone warehouses are those that
Method 204 states that ‘‘Any natural          This criterion only applies to temporary     are not attached to or co-located with an
draft opening (NDO) shall be at least         total enclosures, as opposed to PTEs,        EtO sterilization building. According to
four equivalent opening diameters from        and is not required in the final rule.       our record at the time of category listing,
each VOC emitting point unless                   • Criterion 5.3 of EPA Method 204         ‘‘the Commercial Sterilization Facilities
otherwise specified by the                    states that ‘‘The total area of all NDO’s    source category includes ‘‘facilities
Administrator.’’ 38 We disagree with the      shall not exceed 5 percent of the surface    which use ethylene oxide in any
commenters’ concerns that Criterion 5.1       area of the enclosure’s four walls, floor,   equipment which destroys bacteria,
of EPA Method 204 will not be possible        and ceiling.’’ One commenter stated that     viruses, fungi, insects, or other
to meet for doors where either EtO            the presence of garage doors could           unwanted microorganisms or materials
storage media is moved into a PTE or          exceed the requirement that NDOs not         when such facilities are engaged in the
post-aeration sterilized material is          exceed five percent of the PTE total         growth, manufacture, construction,
moved out of a PTE. There may be              floor space. However, we note that           transportation, retail or wholesale trade,
certain facility designs where such an        facilities can be, and have been, re-        or storage of commercial products, or
exemption is either necessary or              designed in order to meet the PTE            when such facilities are engaged in the
unnecessary in order to ensure complete       requirements of EPA Method 204,              operation of museums, art galleries,
capture of room air emissions. However,       including Criterion 5.3. Therefore, we       arboreta, or botanical or zoological
the EPA does not have enough                  are not finalizing any exceptions for this   gardens or exhibits. Not included in this
information to make that determination        criterion.                                   category are hospitals, doctor offices,
for all facilities within the source             • Criterion 5.5 of EPA Method 204         veterinary offices, clinics, and other
category as part of this rulemaking.          states that ‘‘All access doors and           facilities where medical services are
Criterion 5.1 of EPA Method 204 allows        windows whose areas are not included         rendered’’ (emphasis added).40 Under
delegated authorities to exempt any           in section 5.3 and are not included in       this definition, warehouses that are part
NDO from this requirement, as needed.         the calculation in section 5.4 shall be      of facilities which use EtO, including
Therefore, we are not exempting               closed during routine operation of the       attached and co-located warehouses, are
Criterion 5.1 of EPA Method 204 for           process’’. Two commenters expressed          part of the source category and,
doors where either EtO storage media is       concern with Criterion 5.4 of EPA            therefore, subject to the standards for
moved into a PTE or post-aeration             Method 204. However, the commenters          Group 2 room air emissions. However,
sterilized material is moved out of a PTE     did not provide any explanation as to        because stand-alone warehouses do not
as part of this final rule. Instead, we are   why exceptions for Criterion 5.5 of EPA      use EtO, they are not included in the
relying on the delegated authorities to       Method 204 should be made. Therefore,        source category definition. Furthermore,
make that determination for their             we are not finalizing any exceptions for     we do not have sufficient information to
commercial sterilization facilities, as       this criterion.                              understand where these warehouses are
provided in Criterion 5.1., as they are in    d. Warehouses                                located, who owns them, how they are
a better place to determine whether                                                        operated, or what level of emissions
there are sufficient measures in place to        Comment: We received extensive            potential they may have. While several
capture any emission points within four       comments on the regulation of                commenters note that emissions
equivalent opening diameters of an            warehouses, particularly stand-alone         information is available for at least one
NDO. With respect to cascading air            (i.e., off-site) warehouses. Most            stand-alone warehouse, it is unknown
systems, we disagree with the                 commenters were supportive of                whether the emissions information for
commenters’ suggestion that they be           regulating emissions from all                this facility is representative of all
permitted in place of the PTE                 warehouses, stating that sterilized          stand-alone warehouses. Thus,
requirements of EPA Method 204, as            materials can continue to off-gas            standards for these facilities are not
they are insufficient on their own to         significant quantities of EtO after being    included as part of this final rule.
ensure complete capture of room air           moved to a warehouse. Several                However, as suggested by one
emissions. However, it is not our intent      commenters pointed to a stand-alone          commenter, we are planning to gather
to discourage or prohibit the use of          warehouse in Georgia, where the State        information from stand-alone
these systems altogether. Cascading air       estimated that potential pre-control EtO     warehouses as soon as possible to
systems may be used to capture and            emissions were approximately 5,000 lb/
route room air emissions to a control         year. One commenter was opposed to              39 This final rule establishes standards under

device. However, in order to ensure           including standards for stand-alone          CAA section 112 for both major and area sources
                                              warehouses as part of this final rule,       of commercial sterilization facilities. As the EPA
complete capture of room air emissions,                                                    explained in its final rule promulgating the General
if such a system contains one or more         stating that we could, instead, identify     Provisions for NESHAP pursuant to section 112,
areas that are subject to the PTE             potentially applicable facilities, collect   ‘‘[f]or the purposes of implementing section 112,
requirements of EPA Method 204, then          data from these facilities, and then         the major/area source determination is made on a
                                                                                           plant-wide basis; that is, HAP emissions from all
the entire system must be treated as a        determine if further regulation is           sources located within a contiguous area and under
single enclosure that is subject to those     necessary.                                   common control are considered in the
requirements.                                    Response: It is our understanding that    determination.’’ 59 FR 12408, 12411 (March 16,
   For all other flexibilities suggested by   there are three types of warehouses          1994). The EPA noted that ‘‘the common dictionary
                                                                                           term ‘‘contiguous’’ consists, in part, of ‘‘nearby,
the commenters, we provide the                within this industry: attached               neighboring, adjacent,’’ and that ‘‘the EPA has
following responses:                          warehouses, co-located warehouses, and       historically interpreted ‘contiguous property’ to
   • Criterion 5.2 of EPA Method 204          stand-alone warehouses. Attached             mean the same as ‘contiguous or adjacent property’
states that ‘‘Any exhaust point from the      warehouses are those that are part of an     in the development of numerous regulations to
                                                                                           implement the Act.’’ Id. at 12412.
enclosure shall be at least four              EtO sterilization building. Co-located          40 Documentation for Developing the Initial
                                              warehouses are those that are detached       Source Category List, Final Report, page A–83 (see
 38 Per 40 CFR 51.100(s), EtO is a VOC.       from but ‘‘contiguous’’ (including           EPA–450/3–91–030, July 1992).
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understand what the source category                                  explained above in section IV.B.3 and in                ARVs at facilities where EtO use is at
looks like and its emission potential                                Chapter 4 of the document, Summary of                   least 10 tpy.
and, if necessary, develop a regulatory                              Public Comments and Responses for the
action that both lists a new source                                                                                          C. Residual Risk Review for the
                                                                     Risk and Technology Review for
category and proposes standards for                                                                                          Commercial Sterilization Facilities
                                                                     Commercial Sterilization Facilities, we
stand-alone warehouses handling EtO                                                                                          Source Category
                                                                     made changes in the final rule based on
sterilized medical devices. This                                     comments received during the proposed                   1. What did we propose pursuant to
information gathering effort may                                     rulemaking. More information and                        CAA section 112(f) for the Commercial
include engaging with State and local                                rationale concerning all the                            Sterilization Facilities source category?
agencies and non-governmental                                        amendments we are finalizing pursuant
organizations, as well as conducting an                              to CAA sections 112(d)(2), 112(d)(3),                     Pursuant to CAA section 112(f), we
ICR(s) pursuant to CAA section 114.                                  and 112(d)(5) is in the preamble to the                 conducted a residual risk review and
  The remaining comments and our                                     proposed rule (88 FR 22790, April 13,                   presented the results of this review,
specific responses can be found in the                               2023), in section IV.B.3 of this                        along with our proposed decisions
document, Summary of Public                                          preamble, and in the comments and our                   regarding risk acceptability and ample
Comments and Responses for the Risk                                                                                          margin of safety, in the April 13, 2023,
                                                                     specific responses to the comments in
and Technology Review for Commercial                                                                                         proposed rule for 40 CFR part 63,
                                                                     the document, Summary of Public
Sterilization Facilities, available in the                                                                                   subpart O (88 FR 22790). The results of
                                                                     Comments and Responses for the Risk
docket for this rulemaking.                                                                                                  the risk assessment for the proposal are
                                                                     and Technology Review for Commercial
4. What is the rationale for our final                               Sterilization Facilities, which is                      presented briefly in table 15 of this
approach and final decisions for the                                 available in the docket for this                        preamble. As discussed in section III.A
revisions pursuant to CAA section                                    rulemaking. Therefore, we are finalizing                of the proposed rule, all baseline risk
112(d)(2), 112(d)(3), and 112(d)(5)?                                 the proposed standards for SCVs and                     results were developed using the best
   We evaluated the comments on our                                  ARVs at facilities where EtO use is less                estimates of actual emissions, and we
proposed standards for SCVs, ARVs,                                   than 1 tpy, finalizing the proposed                     did not conduct a separate assessment
and CEVs at facilities where EtO use is                              standards for ARVs at facilities where                  of allowables at proposal. More detail is
less than 1 tpy, ARVs and CEVs at                                    EtO use is at least 1 tpy but less than                 in the residual risk technical support
facilities where EtO use is at least 1 tpy                           10 tpy, finalizing standards for CEVs,                  document, Residual Risk Assessment for
but less than 10 tpy, CEVs at facilities                             finalizing the proposed emission                        the Commercial Sterilization Facilities
where EtO use is at least 10 tpy, and                                standards for room air emissions at                     Source Category in Support of the 2023
room air emissions, as well as our                                   major sources facilities, finalizing                    Risk and Technology Review Proposed
proposed technical correction to the                                 emission standards for room air                         Rule, which is available in the docket
emission standard for ARVs at facilities                             emissions at area source facilities, and                for this rulemaking (see Docket Item No.
where EtO use is at least 10 tpy. As                                 finalizing the proposed revisions for                   EPA–HQ–OAR–2019–0178–0482).

   TABLE 15—COMMERCIAL STERILIZATION FACILITIES SOURCE CATEGORY BASELINE RISK ASSESSMENT RESULTS IN THE
                                                 PROPOSAL

                                                          Maximum             Estimated population at             Estimated           Maximum          Maximum screening
                                                          individual          increased risk of cancer          annual cancer
          Number of facilities 1                                                                                                       chronic          acute noncancer
                                                         cancer risk                                              incidence           noncancer         hazard quotient
                                                       (in 1 million) 2     >100-in-1            ≥1-in-1         (cases per            TOSHI                  (HQ)
                                                                             million             million            year)

97 3 ...............................................       6,000              18,000           8,300,000               0.9               0.04         0.002 (REL).
   1 Number of facilities evaluated in the risk analysis.
   2 Maximum individual excess lifetime cancer risk due to HAP emissions from the source category.
   3 As part of the risk assessment for the proposed rulemaking, there were 86 facilities in the Commercial Sterilization Facilities source category
in operation and 11 research and development facilities, for a total of 97 facilities. To exercise caution with respect to this source category, we
included research facilities in our assessment because there was a lack of certainty over whether these were true research facilities, for which
CAA section 112(c)(7) requires that a separate category be established. However, EtO use at these facilities tends to be very low (less than 1
tpy), and these facilities had low risk.


   The results of the proposed chronic                               organ-specific hazard index (TOSHI) for                 maximum HQ is 0.0005 based on the
baseline inhalation cancer risk                                      the source category was 0.04, indicating                acute exposure guideline level (AEGL)–
assessment at proposal indicated that,                               low likelihood of adverse noncancer                     2 acute health reference value.42
based on estimates of current actual                                 effects from long-term inhalation                         At proposal, the maximum lifetime
emissions, the MIR posed by the source                               exposures.                                              individual cancer risk posed by the 97
category was 6,000-in-1 million. At                                     As shown in table 15 of this preamble,               modeled facilities, based on whole
proposal, the total estimated cancer                                 the acute risk screening assessment of                  facility emissions, was 6,000-in-1
incidence from this source category was                              reasonable worst-case inhalation                        million, with EtO emissions from SCVs
estimated to be 0.9 excess cancer cases                              impacts indicates a maximum acute HQ                    and Group 2 room air emissions from
per year, or one case in every 1.1 years.                            of 0.002 for propylene oxide based on                   the Commercial Sterilization Facilities
Approximately 8.3 million people were                                the reference exposure level (REL) acute                source category driving the risk.
estimated to have cancer risks at or                                 health reference value.41 For EtO, the                  Regarding the noncancer risk
above 1-in-1 million from HAP emitted
from the facilities in this source                                     41 Not to be confused with the ‘‘recommended            42 Acute RELs, ERPG–1, and AEGL–1 acute health
category. At proposal, the estimated                                 exposure limit’’, which is used by the National         reference values are not available for ethylene
maximum chronic noncancer target                                     Institute for Occupational Safety and Health.           oxide.
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assessment, the maximum chronic             required to prevent an adverse                 controlling these sources as a result of
noncancer TOSHI posed by whole              environmental effect. To determine             local requirements or through voluntary
facility emissions was estimated to be      whether the rule provides an ample             control measures.43 The revised
0.04 (for the neurological system as the    margin of safety, we considered the            emissions used to reanalyze risks are
target organ), driven by emissions of EtO   requirements that we proposed to               available in the docket for this
from source category sources.               achieve acceptable risks. In addition, we      rulemaking (see section IV.C.3 of this
   We weighed all health risk factors,      considered more stringent controls for         preamble and Appendix 1 of the
including those shown in table 15 of        SCVs, as well as expanding the emission        Residual Risk Assessment for the
this preamble, in our risk acceptability    standard and work practice standards           Commercial Sterilization Facilities
determination and proposed that the         for existing Group 2 room air emissions        Source Category in Support of the 2024
risks posed by this source category         to all facilities in the source category. In   Risk and Technology Review Final
under the current provisions are            considering whether the standards              Rule).
unacceptable. At proposal, we identified    should be tightened to provide an ample           Based on the actual emission
several options to control EtO emissions    margin of safety to protect public health,     estimates, the results of the chronic
from SCVs and Group 2 room air              we considered the same risk factors that       inhalation cancer risk from the risk
emissions.                                  we considered for our acceptability            assessment indicate that the maximum
   To reduce risks, we considered two       determination and also examined the            lifetime individual cancer risk posed by
additional control options after            costs, technological feasibility, and          the 88 facilities could be as high as
implementation of controls under CAA        other relevant factors related to              6,000-in-1 million, with EtO as the
sections 112(d)(2), 112(d)(3), and          emissions control options that might           major contributor to the risk. The total
112(d)(5). Control Option 1 would have      reduce risk associated with emissions          estimated cancer incidence from the
required a 99.94 percent emission           from the source category. Based on these       revised risk assessment is 0.9 excess
reduction standard for SCVs at facilities   considerations, we proposed that the           cancer cases per year, or one excess case
where EtO use is at least 40 tpy, as well   standards that we proposed to achieve          in every 1.1 years. Of the approximately
as a 2.8 E–3 lb/h standard for existing     acceptable risks, along with a 99.94           115 million people that live within 50
Group 2 room air emissions at area          percent emission reduction standard for        kilometers (km) of the 88 facilities
source facilities where EtO use is at       SCVs at facilities where EtO use is at         included in the risk assessment, 8.5
least 20 tpy. We determined that this       least 10 tpy but less than 40 tpy and a        million people were estimated to have
would have resulted in a source             99.8 percent emission reduction                cancer risks greater than or equal to 1-
category MIR of 400-in-1 million.           standard for SCVs at facilities where          in-1 million from HAP emitted from the
Control Option 2 would have imposed         EtO use is at least 1 tpy but less than        facilities in this source category, and
the same requirements as Control            10 tpy, would provide an ample margin          approximately 19,000 are estimated to
Option 1, but it would also have                                                           have cancer risks greater than 100-in-1
                                            of safety to protect public health
required facilities where the MIR is                                                       million (table 16 of this preamble).
                                            (section III.D.2 of the proposal
greater than 100-in-1 million after                                                           The estimated maximum chronic
                                            preamble, 88 FR 22790, April 13, 2023).
Control Option 1 is imposed to limit                                                       noncancer TOSHI for the source
                                            We also solicited comment on which of
their existing Group 2 room air                                                            category remained unchanged from the
                                            the available control options should be
emissions to a maximum volumetric                                                          proposal at 0.04, indicating low
                                            applied in order to provide an ample
flow rate of 2,900 dscfm and a                                                             likelihood of adverse noncancer effects
                                            margin of safety to protect public health.
maximum EtO concentration of 30                                                            from long-term inhalation exposures.
ppbv. This would have resulted in a         2. How did the risk review change for          Additionally, the worst-case acute HQ
source category MIR of 100-in-1 million.    the Commercial Sterilization Facilities        remained unchanged from proposal
We proposed Control Option 2 and            source category?                               (0.002 for propylene oxide based on the
solicited comment on Control Option 1.      a. Commercial Sterilization Facilities         REL acute health reference value).
   We proposed that, after                                                                    The maximum lifetime individual
                                            Source Category Risk Assessment and
implementation of the proposed                                                             cancer risk based on whole facility
                                            Determination of Risk Acceptability
controls for SCVs and Group 2 room air                                                     emissions was 6,000-in-1 million driven
emissions at commercial sterilization       (Step 1)                                       by EtO emissions from the Commercial
facilities, the resulting risks would be       As part of the final risk assessment,       Sterilization Facilities source category.
acceptable for this source category. In     the EPA reanalyzed risks to include            The maximum chronic noncancer
our proposal, we presented the risk         allowable emissions (which we did not          TOSHI posed by whole facility
impacts using health risk measures and      include at the proposal stage), changes        emissions was estimated to be 0.04 (for
information, including the MIR, cancer      since proposal to certain emission             the neurological system as the target
incidence, and associated uncertainty in    standards being finalized for previously       organ), driven by emissions of EtO from
emissions estimates after application of    unregulated sources, and three                 source category sources.
the proposed options to control EtO         additional facilities identified by
emissions from Group 2 room air             commenters. Allowable emissions are              43 As discussed later in this section, for

emissions (88 FR 22790, April 13, 2023).    the maximum amount that facilities are         previously unregulated sources, the allowable
                                                                                           emissions in the risk assessment that considers
At proposal, we determined application      allowed to emit under CAA section              controls we are promulgating under CAA sections
of the controls for SCVs and Group 2        112(d) standards. For previously               112(d)(2), 112(d)(3), and 112(d)(5) are equal to the
room air emissions would reduce the         unregulated sources, since there were          controlled emissions from these sources assuming
estimated MIR from 6,000-in-1 million       no CAA section 112(d) standards in             that they are only controlled to the degree that we
                                                                                           are requiring pursuant to CAA sections 112(d)(2),
to 100-in-1 million.                        place, the allowable emissions in the          112(d)(3), and 112(d)(5). In some instances, the
   We then considered whether the           baseline risk assessment are equal to the      actual emissions for these sources may still be
standards provide an ample margin of        uncontrolled emissions from these              lower than the allowable emissions. This is because
safety to protect public health and         sources. In some instances, the actual         some facilities are already controlling these sources
                                                                                           to a degree greater than what we are finalizing
whether, taking into consideration costs,   emissions for these sources are lower          pursuant to CAA sections 112(d)(2), 112(d)(3), and
energy, safety, and other relevant          than the allowable emissions. This is          112(d)(5) as a result of local requirements or
factors, additional standards are           because some facilities are already            through voluntary control measures.
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  Based on allowable emission                                            incidence is 8 excess cancer cases per                             million from allowable emissions, and
estimates, the maximum lifetime                                          year, or 1 excess case in every 1.5                                approximately 260,000 are estimated to
individual cancer risk could be as high                                  months. Approximately 62 million                                   have cancer risks greater than 100-in-1
as 8,000-in-1 million, with EtO driving                                  people were estimated to have cancer                               million (table 16 of this preamble).
the risk. The total estimated cancer                                     risks greater than or equal to 1-in-1

   TABLE 16—COMMERCIAL STERILIZATION FACILITIES SOURCE CATEGORY BASELINE RISK ASSESSMENT RESULTS BASED
                                    ON REVISED EMISSIONS IN FINAL RULE

                                                                                      Estimated population at                      Estimated
                                                            Maximum                                                                                  Maximum
                                                                                      increased risk of cancer                   annual cancer
                                                            individual                                                                                chronic            Maximum screening
          Number of facilities 1                                                                                                   incidence
                                                           cancer risk                                                                               noncancer           acute noncancer HQ
                                                                                    >100-in-1                   ≥1-in-1           (cases per
                                                         (in 1 million) 2                                                                             TOSHI
                                                                                     million                    million              year)

                                                                                              Actual Emissions

88 3   ...............................................              6,000                   19,000                8,500,000                  0.9               0.04     0.002 (REL).

                                                                                            Allowable Emissions

88 3 ...............................................                8,000                 260,000               62,000,000                     8               0.05
   1 Number of facilities evaluated in the risk analysis.
   2 Maximum individual excess lifetime cancer risk due to HAP emissions from the source category.
  3 Two of the 90 facilities identified in the source category are planned or under construction and therefore were not included in the risk
assessment.


  Risks were then estimated after                                        this rulemaking pursuant to CAA                                    112(d)(5). A summary of those controls
application of the controls finalized in                                 sections 112(d)(2), 112(d)(3), and                                 is presented in table 17.

 TABLE 17—SUMMARY OF STANDARDS AFTER TAKING ACTIONS PURSUANT TO CAA SECTIONS 112(d)(2), 112(d)(3), AND
                                             112(d)(5)
                                             Existing or
       Emission source                                                              EtO use                                             Standards                           CAA section
                                               new?

SCV ................................       Existing and        At least 10 tpy ..................................         99 percent emission reduction .........     Current standard.
                                             new.
                                                               At least 1 but less than 10 tpy .........                  99 percent emission reduction .........     Current standard.
                                                               Less than 1 tpy .................................          99 percent emission reduction .........     112(d)(5).
ARV ................................       Existing and        At least 10 tpy ..................................         99 percent emission reduction .........     Current standard.
                                             new.
                                                               At least 1 but less than 10 tpy .........                  99 percent emission reduction .........     112(d)(5).
                                                               Less than 1 tpy .................................          99 percent emission reduction .........     112(d)(5).
CEV at major sources ...  Existing and                         N/A ....................................................   99.94 percent emission reduction 1 ..       112(d)(2) and 112(d)(3).
                            new.
CEV at area sources ..... Existing and                         N/A ....................................................   99 percent emission reduction 1 .......     112(d)(5).
                            new.
Group 1 room air emis-    Existing and                         N/A ....................................................   97 percent emission reduction 1 2   .....   112(d)(2) and 112(d)(3).
  sions at major sources.   new.
Group 1 room air emis-    Existing and                         N/A ....................................................   80 percent emission reduction 1 2 .....     112(d)(5).
  sions at area sources.    new.
Group 2 room air emis-    Existing and                         N/A ....................................................   86 percent emission reduction 1 2   .....   112(d)(2) and 112(d)(3).
  sions at major sources.   new.
Group 2 room air emis-    Existing ......                      N/A ....................................................   Lower the EtO concentration within          112(d)(5).
  sions at area sources.                                                                                                    each sterilization chamber to 1
                                                                                                                            ppm before the chamber can be
                                                                                                                            opened.1
                                           New ...........     N/A ....................................................   80 percent emission reduction 1 2 .....     112(d)(5).
   1 This standard is different from what was proposed.
  2 To assure compliance with the emission limit, we are requiring each facility to operate areas with these emissions in accordance with the
PTE requirements of EPA Method 204 of appendix M to 40 CFR part 51.


  Based on the risk assessment                                           risk assessment are equal to the                                   allowable emissions. This is because
considering controls finalized under                                     controlled emissions from these sources                            some facilities are already controlling
CAA sections 112(d)(2), 112(d)(3), and                                   assuming that they are only controlled                             these sources to a degree greater than
112(d)(5), the maximum lifetime                                          to the degree that we are requiring                                what we are finalizing pursuant to CAA
individual cancer risk could be as high                                  pursuant to CAA sections 112(d)(2),                                sections 112(d)(2), 112(d)(3), and
as 6,000-in-1 million, with EtO driving                                  112(d)(3), and 112(d)(5). In some                                  112(d)(5) as a result of local
the risk. For previously unregulated                                     instances, the actual emissions for these                          requirements or through voluntary
sources, the allowable emissions in this                                 sources may still be lower than the                                control measures. The total estimated
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cancer incidence could be as high as 4                                          However, as noted above, some                                   case in every 2.5 years. Approximately
excess cancer cases per year, or 1 excess                                    facilities are currently performing better                         4.2 million people were estimated to
case in every 3 months. As many as 38                                        than the controls finalized under CAA                              have cancer risks greater than or equal
million people are estimated to have                                         sections 112(d)(2), 112(d)(3), and                                 to 1-in-1 million, and approximately
cancer risks greater than or equal to 1-                                     112(d)(5), and in that case we estimate                            3,900 are estimated to have cancer risks
in-1 million, and approximately 85,000                                       the maximum lifetime individual cancer                             greater than 100-in-1 million (table 18 of
people are estimated to have cancer                                          risk as 5,000-in-1 million, with EtO                               this preamble), based only on the
risks greater than 100-in-1 million (table                                   driving the risk. The total estimated                              application of the CAA section
18 of this preamble).                                                        cancer incidence is estimated to be 0.4                            112(d)(2), 112(d)(3), and 112(d)(5)
                                                                             excess cancer cases per year, or 1 excess                          actions being finalized.
         TABLE 18—COMMERCIAL STERILIZATION FACILITIES SOURCE CATEGORY RISK ASSESSMENT RESULTS BASED ON
              EMISSIONS AFTER CONTROLS PROMULGATED UNDER CAA SECTIONS 112(d)(2)–(3) AND 112(d)(5)

                                                                                                                           Maximum indi-         Estimated population at              Estimated
                                                                                                                           vidual cancer        increased risk of cancer 2          annual cancer
                                           Number of facilities 1                                                                                                                     incidence
                                                                                                                                 risk
                                                                                                                                              >100-in-1 mil-                         (cases per
                                                                                                                           (in 1 million) 2                      ≥1-in-1 million        year) 2
                                                                                                                                                  lion

88 3 ...................................................................................................................   4 5,000–6,000        4 3,900–         4 4,200,000–           4 0.4–4

                                                                                                                                                260,000           62,000,000
   1 Number of facilities evaluated in the risk analysis.
   2 Maximum individual excess lifetime cancer risk due to HAP emissions from the source category.
  3 Two of the 90 facilities identified in the source category are planned or under construction and therefore were not included in the risk assess-
ment.
  4 Ranges in values account for if all facilities were performing at the level of the standards (high end) to considering facilities that are currently
performing better than the standards (low end).


   Based on the revised risk assessment                                      SCVs, which were those at facilities                               least 1 tpy but less than 10 tpy of EtO.46
results considering controls finalized                                       where EtO use is less than 1 tpy (see                              We have determined that a 99.8 percent
under CAA sections 112(d)(2), 112(d)(3),                                     section IV.B.2).                                                   emission reduction standard is feasible
and 112(d)(5), we continue to find that                                         Our data do not identify any add-on                             because of one commenter’s statement
the risks are unacceptable, as we did                                        controls beyond those we have already                              that, based on their discussions with
during the proposal due to emissions of                                      considered when promulgating or                                    control device manufacturers, the best
EtO from SCVs, ARVs, Group 1 room air                                        reviewing the SCV standards in the                                 and most advanced technologies will be
emission, Group 2 room air emissions,                                        previous subpart O or finalizing the                               guaranteed to meet a 99.9 percent
and CEVs. Pursuant to CAA section                                            standards for the previously unregulated                           emission reduction standard for SCVs.
112(f)(2), the EPA must first determine                                      SCVs in section IV.B. However, our                                    For facilities using at least 10 tpy,
the emission standards necessary to                                          evaluation of the performance test data                            further reduction would be needed to
reduce risks to an acceptable level, and                                     and manufacturer guarantees shows that                             eliminate SCV emissions as a
then determine whether further HAP                                           these controls can achieve greater than                            contributor to a facility’s MIR exceeding
emissions reductions are necessary to                                        99 percent reduction. We therefore                                 100-in-a-million. We evaluated 99.9
provide an ample margin of safety to                                         considered more stringent SCV                                      percent reduction, which as mentioned
protect public health or to prevent,                                         standards for facilities where EtO use is                          above reflects the manufacturer
taking into consideration costs, energy,                                     at least 1 tpy, which would include all                            guaranteed control level. A 99.9 percent
safety, and other relevant factors, an                                       26 facilities where the revised allowable                          reduction would eliminate SCV
adverse environmental effect.                                                emissions from SCVs contribute to the                              emissions as a contributor to facilities’
Immediately below is a discussion of                                         facilities’ MIRs exceeding 100-in-1                                MIRs exceeding 100-in-1 million for
the standards the EPA has evaluated for                                      million.                                                           facilities using at least 10 tpy but less
bringing risks to an acceptable level                                           We evaluated 99.8 percent reduction                             than 30 tpy of EtO. As discussed in
(step 1).                                                                    of SCV emissions from facilities using at                          section III.D.2 of the proposal preamble
                                                                             least 1 tpy but less than 10 tpy of EtO.44                         (88 FR 22790, April 13, 2023), we
i. SCV Emissions                                                                                                                                evaluated a 99.94 percent emission
                                                                             As discussed in section III.D.2 of the
                                                                             proposal preamble (88 FR 22790, April                              reduction standard for these facilities as
   There are 26 facilities within the
                                                                             13, 2023), 99.8 percent is the maximum                             part of Control Option A under the
source category where the ‘‘revised
                                                                             emission reduction from SCV with                                   second step of the residual risk review.
allowable emissions’’ from SCVs (i.e.,
                                                                             which compliance can be demonstrated                               However, as discussed in section IV.C.3
allowable emissions after implementing
                                                                             at all facilities with EtO usage within                            of this preamble, several commenters
existing and newly promulgated 112(d)
                                                                             this range.45 A 99.8 percent reduction                             stated that we do not have
standards in this final rule) contribute to
                                                                             would eliminate SCV emissions as a                                 representative performance tests for
the facilities’ MIRs exceeding 100-in-1
                                                                             contributor to a facility’s MIR exceeding                          SCVs. While this is not true for the
million, and EtO usage at these facilities
                                                                             100-in-1 million for facilities using at                           whole source category, it is true for
ranges from four tpy to 446 tpy. The
                                                                                                                                                facilities where EtO use is at least 10 tpy
previous subpart O required 99 percent
                                                                                                                                                but less than 30 tpy. Therefore, as part
emission reduction for SCVs at facilities                                       44 The MIRs of facilities with EtO usage less than

                                                                             1 tpy are all below 100-in-a-million.                              of this final rule, we did not evaluate an
where EtO use is at least 1 tpy. An                                             45 i.e., Based on facility characteristics, there is no
emission reduction of 99 percent is also                                     compliance demonstration issue because the                            46 A facility with usage amount in this range may
the final standard under CAA section                                         required EtO concentration to meet this limit would                still have a MIR exceeding 100-in-a-million due to
112(d)(5) for the previously unregulated                                     be at or above 30 ppbv (which is 3 × RDL).                         other emissions.
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emission reduction standard more                        evaluated 99.9 percent reduction of                      the chamber can be opened.52 Because
stringent than the manufacturer                         ARV emissions from facilities using at                   there is still unacceptable risk from
guarantee for SCVs at these facilities.                 least 30 tpy of EtO,48 which is feasible                 facilities where EtO usage is above 4
   For facilities using at least 30 tpy,                because it is currently achieved by one-                 tpy, this requirement will ultimately
further reduction would be needed to                    third of these facilities. Of these 12                   apply only to existing Group 2 room air
eliminate SCV emissions as a                            facilities that are currently achieving                  emissions at facilities where EtO use is
contributor to a facility’s MIR exceeding               this emission reduction, nine use                        less than 4 tpy.
100-in-1 million. We evaluated 99.99                    catalytic oxidizers, two use a catalytic                   In evaluating the appropriate GACT
percent reduction based on a                            oxidizer and gas/solid reactor in series,                standard for previously unregulated
performance test showing this level of                  one uses a thermal oxidizer, and one                     existing Group 2 room air emissions at
reduction from a facility within this                   uses a gas/solid reactor. Note that this                 area source facilities, we considered an
group. A 99.99 percent reduction would                  does not sum to 12 because one facility                  emission reduction of 80 percent that
eliminate SCV emissions as a                            uses two different types of control                      reflects the use of control devices
contributor to a facility’s MIR exceeding               systems to reduce its ARV emissions.49                   (Option 1) but did not finalize that
100-in-a-million for facilities using at                A 99.9 percent emission reduction                        option under CAA section 112(d)(5) for
least 30 tpy of EtO. We received                        would eliminate ARV emissions as a                       reasons stated in section IV.B.3.b.
comment on the technical feasibility of                 contributor to a facility’s MIR to exceed                However, having determined under
emission standards that exceed the                      100-in-1 million for facilities using at                 CAA section 112(f)(2) that the risk for
manufacturer guarantee for SCVs (i.e.,                  least 30 tpy of EtO.50                                   the source category is unacceptable, we
99.9 percent emission reduction), but                                                                            are determining the emissions standards
                                                        iii. Group 2 Room Air Emissions                          necessary to reduce risk to an acceptable
we do not have any information
suggesting that any facility within this                   There are 13 facilities, all area                     level without considering costs. We
group cannot achieve 99.99 percent                      sources, where revised allowable Group                   evaluated 80 percent emission reduction
emission reduction. See section IV.C.3                  2 room air emissions contribute to the                   of Group 2 room air emissions from area
of this preamble for more information.                  facilities’ MIRs exceeding 100-in-1                      source facilities using at least 4 tpy but
                                                        million and the EtO usage at these                       less than 20 tpy of EtO. As discussed in
ii. ARV Emissions                                       facilities ranges from 4 tpy to 446 tpy.51               section IV.B.3.b of this preamble, 80
   There are three facilities where                     Because Group 2 room air emissions                       percent is the manufacturer guarantee
revised allowable ARV emissions                         contribute to unacceptable risks from                    for room air emissions controls
contribute to the facility’s MIR                        existing area sources in this source                     provided by one of the commenters. We
exceeding 100-in-1 million, and EtO use                 category, we evaluated available control                 do not have any performance test data
at these facilities currently ranges from               options for reducing risks from Group 2                  for Group 2 room air emissions at these
44 tpy to 446 tpy of EtO. The previous                  room air emissions.                                      facilities, so it is unknown whether
subpart O required a 1 ppm maximum                         As discussed in section IV.B of this                  these sources can achieve greater than
outlet concentration or 99 percent                      preamble, we are finalizing a GACT                       80 percent emission reduction. An 80
emission reduction for ARVs at facilities               standard for previously unregulated                      percent reduction would eliminate
where EtO use is at least 10 tpy. As                    Group 2 room air emissions at existing                   Group 2 room air emissions as a
discussed in section IV.B, we are                       area source facilities. Specifically, we                 contributor to a facility’s MIRs
removing the 1 ppm maximum outlet                       are finalizing under CAA section                         exceeding 100-in-1 million for area
concentration alternative standard, and                 112(d)(5) that area source facilities                    source facilities using at least 4 tpy but
we are finalizing 99 percent emission                   lower the EtO concentration within each                  less than 20 tpy.
reduction standards under CAA section                   sterilization chamber to 1 ppm before                      For area source facilities using at least
112(d)(5) for previously unregulated                                                                             20 tpy, further reduction would be
ARVs, which were those at facilities
                                                        Industry Profile, Review of Unregulated Emissions,       needed to eliminate Group 2 room air
                                                        CAA Section 112(d)(6) Technology Review, and             emissions as a contributor to a facility’s
where EtO use is less than 10 tpy. As                   CAA Section 112(f) Risk Assessment for the
a result, the final 112(d) standard for                 Ethylene Oxide Emissions Standards for                   MIR exceeding 100-in-a-million. Our
ARV emissions at all facilities is 99                   Sterilization Facilities NESHAP, located at Docket       data do not identify any add-on controls
                                                        ID No. EPA–HQ–OAR–2019–0178.                             beyond those we have already
percent reduction.                                         48 As discussed above, one of the facilities where
   Our data do not identify any add-on                                                                           considered when finalizing the
                                                        allowable ARV emissions contribute to the facility’s
controls beyond those we have already                   MIR exceeding 100-in-1 million uses 44 tpy.              standards for the previously unregulated
considered when promulgating, or                        Evaluating the emission reduction for facilities         Group 2 room air emission in section
proposing revisions to the previous ARV                 where EtO use is at least 30 tpy provides a              IV.B. However, our evaluation of the
                                                        sufficient buffer in case the EtO use at this facility   performance data shows that these
standards in subpart O or finalizing the                drops to below 40 tpy.
standards for the previously unregulated                   49 As part of the proposed rulemaking, a similar
                                                                                                                 controls can achieve greater than 80
ARVs in section IV.B. However, as                       analysis was conducted for ARVs at facilities where      percent emission reduction at area
discussed in section III.F.3 of the                     EtO use is at least 10 tpy. See section III.F.3.a of     source facilities where EtO use is at
                                                        the proposal preamble for more details on that           least 20 tpy. We therefore considered a
proposal preamble (88 FR 22790, April                   analysis (88 FR 22790, April 13, 2023).
13, 2023), our evaluation of the                           50 As part of the proposed rulemaking, we
                                                                                                                 more stringent Group 2 room air
performance test data shows that these                  evaluated a 99.9 percent emission reduction              emission standard for these facilities.
controls can achieve greater than 99                    standard for ARVs at facilities where EtO use is at      We evaluated 98 percent reduction of
percent emission reduction.47 We
                                                        least 10 tpy as part of the technology review (see       Group 2 room air emissions from area
                                                        section III.F.3 of the proposal preamble (88 FR          source facilities using at least 20 tpy,
                                                        22790, April 13, 2023)). For existing sources, this
  47 While the types of controls used for ARVs are      option was rejected in favor of a more cost-effective    which is the emission reduction that has
the same as those used for SCVs, the distribution       option (i.e., 99.6 percent emission reduction).          been achieved in one-third of the
of these controls is different. For example, the use    However, we proposed a 99.9 percent emission
of catalytic oxidizers and gas/solid reactors is more   reduction standard for new sources pursuant to             52 As discussed in section IV.B of this preamble,
prominent when controlling ARV emissions, while         CAA section 112(d)(6).                                   we are finalizing an 80 percent emission reduction
the use wet scrubbers is more prominent when               51 As discussed earlier, the EPA has the authority    standard for all new Group 2 room air emissions at
controlling SCV emissions. See memorandum,              to conduct an (f)(2) review of GACT standards and        area source facilities, regardless of EtO use, under
Technical Support Document for Proposed Rule—           is exercising that authority in this action.             CAA section 112(d)(5).
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available performance test runs for these                standard for Group 1 room air emissions                     • 99.8 percent emission reduction for
facilities.53 98 percent reduction would                 at area source facilities.                                SCVs at facilities where EtO use is at
eliminate Group 2 room air emissions as                     Our data do not identify any add-on                    least 1 tpy but less than 10 tpy,
a contributor to a facility’s MIR                        controls beyond those we have already                       • 99.9 percent emission reduction for
exceeding 100-in-a-million for area                      considered when finalizing the                            ARVs at facilities where EtO use is at
source facilities where EtO use is at                    standards for Group 1 room air                            least 30 tpy,
least 20 tpy.                                            emissions in section IV.B. However, our                     • 99.9 percent emission reduction for
                                                         evaluation of the performance test data                   CEVs at facilities where EtO use is at
iv. CEV Emissions                                                                                                  least 400 tpy,
                                                         shows that these controls can achieve
  There is one facility within the source                                                                            • 98 percent emission reduction for
                                                         greater than 80 percent reduction. We
category where revised allowable                                                                                   Group 1 room air emissions at area
                                                         therefore considered a more stringent
emissions from CEVs contribute to the                                                                              source facilities where EtO use is at
                                                         Group 1 room air emission standard for
facility’s MIR exceeding 100-in-1                                                                                  least 40 tpy,
                                                         area source facilities where EtO use is                     • 98 percent emission reduction for
million, and this is an area source
                                                         at least 40 tpy. We evaluated 98 percent                  Group 2 room air emissions at area
facility that currently uses 446 tpy of
                                                         emission reduction of Group 1 room air                    source facilities where EtO use is at
EtO. The previous subpart O did not
                                                         emissions from area source facilities                     least 20 tpy, and
regulate CEVs at area source facilities.
                                                         using at least 40 tpy, which is the                         • 80 percent emission reduction for
As discussed in section IV.B of this
                                                         emission reduction that has been                          Group 2 room air emissions at area
preamble, we are finalizing a GACT
standard for these sources. Specifically,                achieved in all but one of the six                        source facilities where EtO use is at
pursuant to CAA section 112(d)(5), we                    available performance test runs for these                 least 4 tpy but less than 20 tpy.
are finalizing a 99 percent emission                     facilities.55 A 98 percent reduction
                                                         would eliminate Group 1 room air                          b. Ample Margin of Safety (Step 2)
reduction standard for CEVs at area
source facilities.                                       emissions as a contributor to a facility’s                   At step 1 of our review of residual
  Our data do not identify any add-on                    MIRs exceeding 100-in-1-million for                       risks under CAA section 112(f)(2), we
controls beyond those we have already                    area source facilities where EtO use is                   have identified a suite of standards and
considered when finalizing the                           at least 40 tpy.                                          determined that they are necessary to
standards for CEVs in section IV.B.                         Considering all of the emission                        reduce risks to an acceptable level.
However, our evaluation of the                           reductions that we evaluated above, the                   These include standards for SCVs at
performance test data shows that these                   source category MIR would be reduced                      facilities with EtO usage of at least 1
controls can achieve greater than 99                     to 100-in-1 million. This means that all                  tpy, ARVs at facilities with EtO usage of
percent reduction. We therefore                          facilities would have an MIR at or below                  at least 30 tpy, CEVs at area source
considered a more stringent CEV                          100-in-1 million,56 and the population                    facilities with EtO usage of at least 400
emission standard for area source                        exposed to risk levels greater 100-in-1                   tpy, Group 1 room air emissions at area
facilities where EtO use is at least 400                 million would be reduced to zero. In                      source facilities with EtO usage of at
tpy. We evaluated 99.9 percent                           addition, the population exposed to risk                  least 40 tpy, and Group 2 room air
reduction of CEV emissions from                          levels greater than or equal to 1-in-1                    emissions at area source facilities with
facilities where EtO use is at least 400                 million living within 50 km of a facility                 EtO usage of at least four tpy. For step
tpy, which is the emission reduction                     would be reduced to between 710,000                       2 of our review of residual risks, we
that is currently achieved by 75 percent                 (when considering some facilities are                     evaluate whether more stringent
of these facilities.54 A 99.9 percent                    currently performing better than the                      standards are necessary to provide an
reduction would eliminate CEV                            standards) and 1.41 million people                        ample margin of safety to protect public
emissions as a contributer to a facility’s               (when considering all facilities perform                  health. While we do not consider costs
MIR exceeding 100-in-1-million for                       at the level of the standards). Finally,                  in the step 1 analysis, costs are a factor
facilities where EtO use is at least 400                 the cancer incidence would be reduced                     we consider in the step 2 analysis. For
tpy.                                                     from 0.9 to between 0.1 (when                             details on the assumptions and
                                                         considering some facilities are currently                 methodologies used in the costs and
v. Group 1 Room Air Emissions                                                                                      impacts analyses, see the technical
                                                         performing better than the standards)
   There are four area source facilities                 and 0.2 (when considering all facilities                  memorandum titled Ample Margin of
within the source category where                         perform at the level of the standards), or                Safety Analysis for Ethylene Oxide
revised allowable Group 1 room air                       from 1 cancer case every 1.1 years to 1                   Commercial Sterilization—
emissions contribute to the facilities’                  cancer case every 5 to 10 years. For                      Promulgation Rule Review for the
MIRs exceeding 100-in-1 million, and                     these reasons, we find that the                           Ethylene Oxide Commercial
the EtO usage at these facilities ranges                 preceding emission reductions that we                     Sterilization Source Category, which is
from 44 to 446 tpy. The previous                         evaluated reduce risks to an acceptable                   available in the docket for this
subpart O did not regulate Group 1                       level. These emission reduction                           rulemaking.
room air emissions at area source                        measures are:                                                As part of the proposed rulemaking,
facilities. As discussed in section IV.B                    • 99.99 percent emission reduction                     we considered six options (which are
of this preamble, we are finalizing a                    for SCVs at facilities where EtO use is                   identified in the proposal preamble
GACT standard for these sources.                         at least 30 tpy,                                          table 22 (88 FR 22829) and proposed
Specifically, pursuant to CAA section                                                                              Control Options A and C as part of the
112(d)(5), we are finalizing an 80                          • 99.9 percent emission reduction for                  ample margin of safety analysis. Control
percent emission reduction as the GACT                   SCVs at facilities where EtO use is at                    Option A would have required 99.94
                                                         least 10 tpy but less than 30 tpy,                        percent emission reduction for SCVs at
  53 All of these facilities use gas/solid reactors to
                                                                                                                   facilities where EtO use is at least 10 tpy
control their Group 2 room air emissions.                   55 All of these facilities use gas/solid reactors to
                                                                                                                   but less than 40 tpy. We are not
  54 There are three facilities that are currently       control their Group 1 room air emissions.
achieving this emission reduction. Of these three           56 Considering actual emissions, most facilities       finalizing Control Option A for the
facilities, two use catalytic oxidizers, and one uses    (i e., 87 out of 88) would have an MIR less than 100-     following reasons. First, this option is
a wet scrubber.                                          in-1 million.                                             less stringent than the standard we have
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already identified in Step 1 (99.99                     emission reduction for room air                          determined to be cost-effective for
percent emission reduction) for SCV                     emissions, which is the standard for                     highly toxic HAPs. As explained in
emissions at facilities where EtO use is                facilities using at least 4 tpy but less                 section IV.B.3.b of this preamble, this
at least 30 tpy.57 Second, for facilities               than 20 tpy of EtO that we have                          includes hexavalent chromium, where
where EtO use is less than 30 tpy, we                   determined under step 1 as necessary to                  we finalized a requirement with a cost-
do not have any performance tests                       reduce risks to an acceptable level).                    effectiveness of $15,000/lb
showing that these facilities can perform                  • For Group 2 room air emissions at                   ($30,000,000/ton) for existing small
better than the manufacturer guarantee                  area source facilities where EtO use is                  hard chromium electroplating to
(i.e., 99.9 percent emission reduction for              less than 4 tpy, 80 percent emission                     provide an ample margin of safety
SCVs). For these reasons, we are not                    reduction is not cost effective.58                       (taking into account cost among other
finalizing Control Option A as part of                     • For Group 1 room air emissions at                   factors) (77 FR 58227–8, 58239). While
this rulemaking. Control Option C                       area source facilities where EtO use is                  we do not know what the full extent of
would have required 99.8 percent                        at least 40 tpy, we do not have data                     risk reductions would be, we estimate
emission reduction for SCVs at facilities               indicating that it is technically feasible               that, compared to the measures in step
where EtO use is at least 1 tpy but less                for all facilities to achieve greater than               1, this control option would further
than 10 tpy. As discussed in section                    98 percent emission reduction (which is                  reduce the population exposed to risk
IV.C.2.a of this preamble (step 1 of risk               the standard for these affected sources                  levels greater than or equal to 1-in-1
review), Control Option C is one of the                 that we have identified in Step 1 as                     million by additional 10,000–30,000
standards identified under the revised                  necessary to reduce risks to an                          people. For area sources where EtO use
Step 1 analysis as necessary to reduce                  acceptable level).                                       is less than 60 tpy, we do not have any
risks to an acceptable level.                              • For Group 1 room air emissions at                   performance test data showing that
   In addition, we evaluated the                        area source facilities where EtO use is                  existing controls can achieve greater
following options but rejected them for                 less than 40 tpy, we do not have any                     than 99 percent reduction for CEVs
the reasons discussed below:                            performance tests showing that these                     (which is the GACT standard we have
   Æ For ARVs at facilities where EtO                   facilities can perform better than the                   established in this final rule for CEV at
use is at least 30 tpy, we do not have                  manufacturer guarantee (i.e., 80 percent
                                                                                                                 area sources). In addition, for area
data showing that it is technically                     emission reduction for room air
                                                                                                                 source facilities where EtO use is at
feasible for all facilities to achieve                  emissions, which we have established
                                                                                                                 least 400 tpy, we were unable to identify
greater than 99.9 percent emission                      in this final rule as the GACT standard
                                                                                                                 any cost-effective options. Therefore, we
reduction (which is the standard                        for Group 1 room air emissions at these
                                                                                                                 did not consider a more stringent CEV
applicable to these sources that we have                facilities).
                                                           However, there are two potential                      standard for facilities where EtO use at
determined under step 1 as necessary to                                                                          least 400 tpy.
                                                        options. One potential option is 99.6
reduce risks to an acceptable level).                                                                               In the post control scenario (i.e., with
                                                        percent emission reduction for ARVs at
   • For ARVs at facilities where EtO                                                                            the implementation of the standards
                                                        facilities where EtO use is at least 10 tpy
use is less than 10 tpy, we were unable                                                                          identified under step 1 and the two
                                                        but less than 30 tpy. This is cost
to identify any cost-effective options                                                                           potential options discussed immediately
                                                        effective and is already being achieved
that achieve emission reduction greater                 by these facilities. The other potential                 above in this step 2 analysis, we
than the current 99 percent emission                    option is to further reduce CEV                          estimated that the baseline cancer MIR
reduction standard (GACT). More                         emissions at area source facilities.59                   of 6,000-in-1 million for actual
information is presented in the                         Under this option, which would reduce                    emissions and 8,000-in-1 million for
technical memorandum titled Ample                       CEV emissions by 99.9 percent at area                    allowable emissions would be reduced
Margin of Safety Analysis for Ethylene                  source facilities where EtO use is at                    to 100-in-1 million, with EtO driving the
Oxide Commercial Sterilization—                         least 60 tpy less than 400 tpy,60 costs                  risk. While the MIR for the source
Promulgation Rule Review for the                        were found to be a $6,820,000 total                      category will be 100-in-1 million, we
Ethylene Oxide Commercial                               capital investment and a $1,670,000                      estimate that most facilities (i.e., 87 out
Sterilization Source Category, which is                 total annualized cost. The estimated EtO                 of 88) will have an MIR less than 100-
available in the docket for this                        emissions reductions are 1.9 tpy (i.e.,                  in-1 million. There is an estimated
rulemaking.                                             3,720 lb/year) with a cost effectiveness                 reduction in cancer incidence to 0.2
   • For Group 2 room air emissions at                  of $895,000 per ton of EtO (i.e., $448 per               excess cancer cases per year (or one
area source facilities where EtO use is                 lb of EtO). Considering EtO is a highly                  excess case every 5 years), down from
at least 20 tpy, we do not have data                    potent carcinogen, the cost-effectiveness                0.9 excess cancer cases per year (or one
indicating that it is technically feasible              number of this option is within the                      excess cancer case every 1.1 years) for
for all facilities to achieve greater than              range of the values that we have                         baseline actual emissions and down
98 percent emission reduction (which is                                                                          from 8 excess cancer cases per year (or
the standard applicable to these sources                   58 As discussed in section IV.B.3.b of this           one excess cancer case every 1.5
that we have determined under step 1                    preamble, we analyzed this option as part of the         months) for baseline allowable
as necessary to reduce risks to an                      GACT analysis and found it to be cost-effective.
                                                                                                                 emissions. We estimate that, after full
acceptable level).                                      However, this analysis included all facilities in the
                                                        source category (i.e., not just those where EtO use      implementation of this final rule, 0
   • For Group 2 room air emissions at                  is less than 4 tpy).                                     people would have cancer risks greater
area source facilities where EtO use is                    59 As discussed in section IV.B.3.b of this
                                                                                                                 than 100-in-1 million, down from
less than 20 tpy, we do not have any                    preamble, pursuant to CAA sections 112(d)(2) and         19,000 people for actual emissions and
performance tests showing that these                    112(d)(3), we are finalizing a 99.94 percent
                                                        emission reduction standard for CEVs at major            260,000 people for allowable emissions.
facilities can perform better than the                  source facilities. We did not identify any cost-         In addition, the number of people
manufacturer guarantee (i.e., 80 percent                effective BTF options.                                   estimated to have a cancer risk greater
                                                           60 As discussed in step 1 analysis, pursuant to
  57 For facilities where use is less than 30 tpy, we
                                                                                                                 than or equal to 1-in-1 million would be
                                                        CAA section 112(f)(2), this standard for CEVs at
do not have performance test data indicating that       area source facilities where EtO usage is at least 400
                                                                                                                 reduced to 1.38 million people, down
99.99 percent emission reduction for SCVs is            tpy is necessary to reduce risks to an acceptable        from 8.5 million people for actual
technical feasible.                                     level.                                                   emissions and 62 million people for
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allowable emissions (table 19 of this                               the maximum lifetime individual cancer                approximately 700,000 people estimated
preamble).                                                          risk as 100-in-1 million, with EtO                    to have cancer risks greater than or
   Again, we note that some facilities are                          driving the risk. The total estimated                 equal to 1-in-1 million and 0 people
currently performing better than the                                cancer incidence is estimated to be 0.1               estimated to have cancer risks greater
controls finalized under CAA sections                               excess cancer cases per year, or 1 excess             than 100-in-1 million (table 19 of this
112(f)(2), and in that case we estimate                             case in every 10 years, with                          preamble).

 TABLE 19—BASELINE AND POST-CONTROL RISK (AFTER CONTROLS PROMULGATED UNDER CAA SECTIONS 112(F)(2)
    SUMMARY FOR THE COMMERCIAL STERILIZATION FACILITIES SOURCE CATEGORY BASED ON EMISSIONS IN THE FINAL
    RULE
                                                                                  Inhalation cancer risk                               Population cancer risk

                                                                                                                             Cancer
                                                                           Maximum                                         incidence         >100-in-1
                                                                        individual risk           Risk driver                                               ≥1-in-1 million
                                                                                                                          (cases per          million
                                                                         (in 1 million)                                       year)

Actual Emissions Baseline Risk ...........................                       6,000    ethylene oxide ..............            0.9             19,000        8,500,000
Allowable Emissions Baseline Risk ......................                         8,000    ethylene oxide ..............              8            260,000       62,000,000
Post-control Risk ...................................................              100    ethylene oxide ..............      1 0.1–0.2                  0       1 700,000–

                                                                                                                                                                 1,380,000
  1 Ranges in values account for if all facilities were performing at the level of the standards (high end) to considering facilities that are currently
performing better than the standards (low end).


   Additional details of the analyzed                               the following emissions standards                     risk review we conducted during the
risks can be found in the Residual Risk                             pursuant to CAA section 112(f)(2):                    proposal stage, which has been
Assessment for the Commercial                                          • 99.99 percent emission reduction                 substantially revised. As discussed
Sterilization Facilities Source Category                            for SCVs at facilities where EtO use is               above, based on the revised risk review,
in Support of the 2024 Risk and                                     at least 30 tpy,                                      we are finalizing a different suite of
Technology Review Final Rule, available                                • 99.9 percent emission reduction for              standards pursuant to CAA section
in the docket for this rulemaking.                                  SCVs at facilities where EtO use is at                112(f)(2) to reduce risks to an acceptable
   Based on our ample margin of safety                              least 10 tpy but less than 30 tpy,                    level and provide an ample margin of
analysis, including all health                                         • 99.8 percent emission reduction for              safety to protect public health.
information and the associated cost and                             SCVs at facilities where EtO use is at
                                                                    least 1 tpy but less than 10 tpy,                     3. What key comments did we receive
feasibility discussed above, we find that
                                                                       • 99.9 percent emission reduction for              on the risk review, and what are our
requiring the standards that, based on
                                                                    ARVs at facilities where EtO use is at                responses?
our analysis, would bring risks to an
acceptable level, along with 99.6                                   least 30 tpy,                                            This section provides comment
percent emission reduction for ARVs at                                 • 99.6 percent emission reduction for              summaries and responses for the key
facilities where EtO use is at least 10 tpy                         ARVs at facilities where EtO use is at                comments received regarding our
but less than 30 tpy and 99.9 percent                               least 10 tpy but less than 30 tpy,                    exclusion of allowable emissions from
emission reduction for CEVs at area                                    • 99.9 percent emission reduction for              the risk assessment, the control
source facilities where EtO use is at                               CEVs at area source facilities where EtO              requirements proposed for SCVs, and
least 60 tpy but less than 400 tpy, would                           use is at least 60 tpy,                               the work practice standards that were
provide an ample margin of safety to                                   • 98 percent emission reduction for                proposed for facilities where the MIR
protect public health.                                              Group 1 room air emissions at area                    remained greater than 100-in-1 million
                                                                    source facilities where EtO use is at                 after the imposition of requirements
c. Environmental Effects                                            least 40 tpy,                                         under ‘‘Control Option 1’’ evaluated in
   As explained in our proposed rule,                                  • 98 percent emission reduction for                the residual risk assessment during the
the emissions data indicate that no                                 Group 2 room air emissions at area                    proposal stage, as well as the proposed
environmental HAP are emitted by                                    source facilities where EtO use is at                 GACT standards that were incorporated
sources within this source category. In                             least 20 tpy, and                                     into the residual risk assessment. We
addition, we are unaware of any adverse                                • 80 percent emission reduction for                received comments against the
environmental effects caused by HAP                                 Group 2 room air emissions at area                    exclusion of allowable emissions from
emitted by this source category.                                    source facilities where EtO use is at                 the risk assessment, the control
Therefore, we do not expect there to be                             least 4 tpy but less than 20 tpy.                     requirements proposed for SCVs, and
an adverse environmental effect as a                                   We are not finalizing the work                     the work practice standards that were
result of HAP emissions from this                                   practice standards that were proposed                 proposed for facilities where the MIR
source category. For the reason stated                              for facilities where the MIR remained                 remained greater than 100-in-1 million
above, it is not necessary to set a more                            greater than 100-in-1 million after the               after the imposition of requirements
stringent standard to prevent, taking                               imposition of requirements under                      under ‘‘Control Option 1.’’ Other
into consideration costs, energy, safety,                           ‘‘Control Option 1’’, which would have                comments on these issues, as well as on
and other relevant factors, an adverse                              required facilities to limit their existing           additional issues regarding the residual
environmental effect.                                               Group 2 room air emissions to a                       risk review and our proposed changes
                                                                    maximum volumetric flow rate of 2,900                 based on the residual risk review, can be
d. Rule Changes                                                     dscfm and a maximum EtO                               found in the document, Summary of
  Based on comments received on the                                 concentration of 30 ppbv. We had                      Public Comments and Responses for the
proposed rulemaking, we are finalizing                              proposed these standards based on the                 Risk and Technology Review for
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Commercial Sterilization Facilities,                   Two commenters stated that                           currently achieving greater than 99.9946
available in the docket for this                    emissions standards should be based on                  percent emission reduction on the first
rulemaking.                                         achievable, manufacturer guaranteed                     evacuation, and the highest emission
   Comment: Two commenters                          destruction removal efficiency of                       reduction on the first evacuation that we
contended that we should use allowable              emission control equipment. One                         have observed is 99.99999982 percent.
emissions when conducting residual                  commenter stated that, based on their                   Of these 15 facilities that are currently
risk assessments. One commenter stated              discussions with control device                         achieving this emission reduction, eight
that actual emissions only provide a                manufacturers, they believe that the best               use wet scrubbers, three use a wet
snapshot in time and that there is no               and most advanced technologies will be                  scrubber and gas/solid reactor in series,
legal requirement at the Federal level to           guaranteed to meet a 99.9 percent                       two use thermal oxidizers, one uses a
maintain emissions beyond the                       emission reduction standard for SCVs.                   catalytic oxidizer, and one uses a wet
NESHAP requirements in any given                       Response: We disagree with the                       scrubber and catalytic oxidizer in series.
year. The commenter also referenced a               commenters that our technical                              • The second performance test was
2010 Science Advisory Board (SAB)                   publications on reduction ranges for                    conducted on March 10, 11, and 12,
report that recommended we use                      add-on control equipment for HAPs do                    2020,64 and EtO use at this facility is
‘‘facility-specific allowable emissions             not show that an emission reduction of                  229.2 tpy. This facility uses wet
reflecting current regulatory limits.’’ 61          99.94 percent (and, therefore, any                      scrubbers and gas/solid reactors in
   Response: We agree with commenters               greater emission reduction) is                          series to control its SCV emissions. Due
that allowable emissions should be                  achievable under normal continuous                      to the configuration of the control
considered as part of the residual risk             operation for SCVs. Such a performance                  system at this facility, there is no
assessment. As discussed in section III.C           test was conducted for at least two                     mechanism to test the SCVs on their
of the proposed rulemaking (88 FR                   systems that control SCV emissions, and                 own. Therefore, this performance test
22790), because allowable emissions                 the reported emission reduction for both                was conducted for all emission sources
and risks were higher than actual                   of these systems was 99.99 percent.                     at the facility. For lower concentration
emissions, and in light of our finding              Below is a discussion on the relevant                   streams like ARVs, CEVs, and room air
that risks were unacceptable based on               points for each performance test:                       emissions, emission reductions tend to
actual emissions, we determined that a                 • The first performance test was                     be lower. Therefore, it is likely that the
separate assessment of allowable                    conducted on November 17, 1999.62 It is                 SCV emission reduction at this facility
emissions was unnecessary. However,                 unknown what the EtO use at this                        exceeds 99.99 percent.
for the reasons stated by the                       facility was at the time of the                            As a general matter, it is not our
commenters, we have incorporated                    performance test, but it is expected that               policy to simply rely on manufacturer
allowable emissions into our revised                it was somewhere between 10 tpy and                     guarantees when setting or revising
risk assessment as part of this final               30 tpy. At the time of the performance                  emission standards. Typically, we
rulemaking.                                         test, the facility used a wet scrubber to               evaluate performance tests to see what
   Comment: Two commenters                          control its SCV emissions.63 Prior to                   the controls are actually achieving in
expressed the following concerns with               November 2, 2001, we required facilities                practice and then set or revise the
the 99.94 percent emission reduction                to test the both the first and last                     standards based on that evaluation.
standard for SCVs:                                  evacuations of the SCV. The SCV                         However, if representative performance
   • Our technical publications on                                                                          test data are not available, then
                                                    concentration decreases over time, so
reduction ranges for add-on control                                                                         manufacturer guarantees may be
                                                    any emission reductions between the
equipment for HAPs do not show that                                                                         considered. We also note that it is
                                                    first and last evacuations are going to be
a destruction and removal efficiency of                                                                     common within this industry to
                                                    at least as high as that of the last
99.94 percent is achievable under                                                                           combine different types of control
                                                    evacuation. For this performance test,
normal continuous operation.                                                                                devices in series when reducing
   • The proposed requirement does not              the average emission reduction at the
                                                    first evacuation was 99.9946 percent,                   emissions. Since these control devices
require additional controls based on                                                                        are often made by different
new technology, but requires achieving              and the average emission reduction at
                                                    the last evacuation was 99.99 percent.                  manufacturers, there is no manufacturer
greater efficiency from existing controls.                                                                  guarantee available for these systems.
Specifically, one commenter stated that             This means that the emission reduction
                                                    over all the SCV cycles exceeded 99.99                  We do not share the commenters’
nothing in the proposal preamble                                                                            concerns that emission control device
suggests that the control systems                   percent. While this performance test
                                                    data is almost 25 years old, emission                   manufacturers do not guarantee a
installed in order to meet the current                                                                      destruction removal efficiency of 99.94
SCV standard need to be replaced or                 control technology has continued to
                                                    improve over time, and emission                         percent for SCVs, as representative
their performance upgraded. The                                                                             performance test data is available and
commenter further stated that our cost              reductions today are likely higher.
                                                       • The data from this performance test                indicates that these emission reductions
estimates include nothing with respect                                                                      (and, in fact, higher emission
to controls for SCVs.                               indicates that, for facilities where EtO
                                                    use is at least 30 tpy, any SCV control                 reductions) are achievable for higher use
   • Emission control device                                                                                facilities. However, such performance
manufacturers do not guarantee a                    system that is achieving higher than
                                                    99.9946 percent emission reduction on                   test data are not available for smaller
destruction removal efficiency of 99.94
                                                    the first evacuation is likely achieving at             users, and it is not known whether those
percent for SCVs.
                                                    least 99.99 percent emission reduction                  facilities can meet the emission
  61 Commenter provided the following reference:    overall. Our current performance test                   reduction that the higher use facility is
EPA Science Advisory Board, Review of EPA’s draft   data indicates that at least 15 facilities              demonstrating. Therefore, we agree with
entitled, ‘‘Risk and Technology Review (RTR) Risk   where EtO use is at least 30 tpy are                    commenters that consideration of
Assessment Methodologies: For Review by the                                                                 manufacturer guarantees is warranted
EPA’s Science Advisory Board with Case Studies—
MACT I Petroleum Refining Sources and Portland        62 https://www.regulations.gov/document/EPA-          for lower use facilities, and the
Cement Manufacturing’’, at ii, (May 7, 2010),       HQ-OAR-2019-0178-0297.
https://www.regulations.gov/document/EPA-HQ-          63 This facility continues to use a wet scrubber to    64 https://www.regulations.gov/document/EPA-

OAR-2010-0682-0103.                                 control its SCV emissions to this day.                  HQ-OAR-2019-0178-0349.
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standards that we are finalizing for         using ‘‘a two-step standard-setting          an ample margin of safety to protect
SCVs at facilities where EtO use is less     approach, with an analytical first step to   public health.
than 30 tpy do not exceed the                determine an ‘acceptable risk’ that
                                                                                          D. Technology Review for the
manufacturer guarantee.                      considers all health information,
   In addition, we disagree with one                                                      Commercial Sterilization Facilities
                                             including risk estimation uncertainty,       Source Category
commenter’s assertion that there is          and includes a presumptive benchmark
nothing in the proposal preamble to          on MIR of approximately 1-in-10              1. What did we propose pursuant to
suggest that the control systems             thousand’’ (88 FR 22790, April 13, 2023;     CAA section 112(d)(6) for the
installed in order to meet the current       see also 54 FR 38045, September 9,           Commercial Sterilization Facilities
SCV standard need to be replaced or          1989). We weigh all health risk factors      source category?
their performance upgraded.                  in our risk acceptability determination,        Based on our technology review for
Furthermore, the commenter’s assertion       including the cancer MIR, cancer             the Commercial Sterilization Facilities
that our cost estimates include nothing      incidence, the maximum TOSHI, the            source category, we proposed under
with respect to controls for SCVs is         maximum acute HQ, the extent and the         CAA section 112(d)(6) changes to the
incorrect. As discussed in section II.A of   distribution of cancer and noncancer         standards for SCVs where EtO use is at
this preamble, under the first step of the   risks in the exposed population,             least 10 tpy, SCVs where EtO use is at
residual risk assessment, if risks are       multipathway risks, and the risk             least 1 tpy but less than 10 tpy, and
unacceptable, the EPA must determine         estimation uncertainties. In the second      ARVs where EtO use is at least 10 tpy.
the emissions standards necessary to         step of the approach, the EPA considers      We provide a summary of our findings,
reduce risk to an acceptable level           whether the emissions standards              as proposed, in this section. In general,
without considering costs. While we did      provide an ample margin of safety to         while the types of controls have
not conduct a cost analysis for the SCV      protect public health ‘‘in consideration     essentially remained the same since
standards that we are finalizing             of all health information, including the     promulgation of subpart O, available
pursuant to CAA section 112(f)(2) step       number of persons at risk levels higher      information show greater emission
1 (risk acceptability analysis), we          than approximately 1-in-1 million, as        reduction since then for some of these
assume that new controls would be            well as other relevant factors, including    control options.
needed in order to achieve those             costs and economic impacts,                     For SCVs, we proposed the following
standards, and the cost of those controls    technological feasibility, and other         emission standards pursuant to CAA
are included in the total costs of the       factors relevant to each particular          section 112(d)(6):
rule. However, we note that the final        decision.’’ Id. The EPA must promulgate         • 99.94 percent reduction for new
standard is simply an emission               emission standards necessary to provide      and existing SCVs at facilities where
reduction standard, and owners and           an ample margin of safety to protect         EtO use is at least 10 tpy, and
operators may choose to meet the             public health or determine that the             • 99.8 percent reduction for new and
standard however they see fit (e.g.,         standards being reviewed provide an          existing SCVs at facilities where EtO use
either through process changes, the          ample margin of safety without any           is at least 1 tpy but less than 10 tpy.
replacement of a control system, or the      revisions. After conducting the ample           These are the maximum SCV
use of additional control devices to         margin of safety analysis, we consider       emission reductions with which
further reduce emissions from an             whether a more stringent standard is         compliance can be demonstrated. We
existing control system). In some cases,     necessary to prevent an adverse              evaluated these standards against the
existing controls may already be             environmental effect, taking into            maximum SCV emission reductions that
achieving the standard, and in that case,    consideration costs, energy, safety, and     all facilities are currently meeting
no changes are required.                     other relevant factors.                      within each subcategory. For more
   Comment: Several commenters stated                                                     information, see sections III.F.1 and
that reducing the volumetric flow rate          Since proposal, our determinations
                                                                                          III.F.2 of the proposal preamble (88 FR
from Group 2 room air emissions to           regarding risk acceptability, ample
                                                                                          22790, April 13, 2023).
2,900 dscfm would be detrimental to          margin of safety, or adverse                    For ARVs, we proposed the following
sterilization operations and may make it     environmental effects have not changed.      emission standards pursuant to CAA
impossible to achieve the proposed PTE       The revised risk assessment (see             section 112(d)(6):
requirement.                                 document, Residual Risk Assessment for          • 99.6 percent emission reduction for
   Response: Based on comments               the Commercial Sterilization Facilities      existing ARVs at facilities where EtO
received on the proposed rulemaking,         Source Category in Support of the 2024       use is at least 10 tpy, and
we revised the risk assessment, which        Risk and Technology Review Final Rule,          • 99.9 percent emission reduction for
resulted in different emission reduction     which is available in the docket for this    new ARVs at facilities where EtO use is
measures than what we proposed to            rulemaking) shows that, after                at least 10 tpy.
bring the risk to the acceptable level.      application of controls finalized in this       These are the emission reductions
The proposed work practice standards         rulemaking, the MIR for the source           that have been demonstrated by 75
are no longer necessary to bring the MIR     category is 100-in-1 million. Therefore,     percent and 50 percent of all available
of Group 2 room air emissions at area        after application of the controls for        performance tests, respectively. We
source facilities to 100-in-1 million.       SCVs at facilities where EtO use is at       evaluated both emission reductions for
Therefore, we are not including a work       least 1 tpy, ARVs at facilities where EtO    new and existing ARVs. For more
practice standard that would require         use is at least 30 tpy, CEVs at area         information, see section III.F.3 of the
any facilities to reduce their throughput    source facilities where EtO use is at        proposal preamble (88 FR 22790, April
as part of this final rule.                  least 400 tpy, Group 1 room air              13, 2023).
                                             emissions at area source facilities where
4. What is the rationale for our final       EtO use is at least 40 tpy, and Group 2      2. How did the technology review
approach and final decisions for the risk    room air emissions at area source            change for the Commercial Sterilization
review?                                      facilities where EtO use is at least four    Facilities source category?
   As noted in our proposal, we set          tpy, we find that the risks are acceptable      We are finalizing the following
standards under CAA section 112(f)(2)        and that the final standards will achieve    emission standards as a result of the
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technology review for the Commercial           concentration, which have not been                     concerned that some owners and
Sterilization Facilities source category,      required to be tested. The commenters                  operators may dilute the air flow of the
as proposed:                                   contended that the performance test                    emissions stream to meet a
   • 99.8 percent emission reduction for       results based on the proposed testing                  concentration standard, which would
new and existing SCVs at facilities            procedures would be lower than those                   not result in any actual emission
where EtO use is at least 1 tpy but less       under the previous testing procedures.                 reductions. Furthermore, it is not
than 10 tpy,                                   One commenter stated that there are no                 appropriate to establish upper-bound
   • 99.6 percent emission reduction for       data confirming whether state-of-the-art               limitations on air flow within this
existing ARVs at facilities where EtO          control systems can meet a 99.94                       source category, as additional flow may
use is at least 10 tpy, and                    percent emission reduction standard for                be necessary in order to mitigate any
   • 99.9 percent emission reduction for       SCVs where each performance test run                   potential safety issues that may arise.
new ARVs at facilities where EtO use is        is 24 hours, and another commenter                     Therefore, we are not finalizing any
at least 10 tpy.                               stated that we must ensure that any                    concentration standards as part of this
   For new and existing SCVs at                required emission reduction standards                  rulemaking.
facilities where EtO use is at least 10        that are finalized for SCVs are proven                   Comment: One commenter stated that,
tpy, based on comments received on the         and achievable as part of performance                  for the SCV technology rule under CAA
proposal, we are finalizing a 99.9             tests consisting of 24-hour test runs.                 section 112(d)(6), we merely referred
percent emission reduction, which is           One commenter stated that, based on                    back to, and repeated the proposed
the manufacturer guarantee. There is a         their discussions with control device                  standards of, the residual risk review.
lack of representative performance test        manufacturers, they believe that the best              The commenter further stated that we
data for these SCVs, and we are unable         and most advanced technologies will be                 did not conduct the technology review
to determine whether all facilities can        guaranteed to meet a 99.9 percent                      as a separate analysis, but rather, it was
achieve an emission reduction higher           emission reduction standard for SCVs.                  inseparably intertwined with the
than the manufacturer guarantee. For              Response: We agree with the                         residual risk review. Finally, the
more information, see section IV.D.3.a         commenters that it is not appropriate to               commenter stated there is no true
of this preamble.                              use performance test data based on the                 technology review in the record and that
3. What key comments did we receive            previous testing procedures in Subpart                 cost considerations of the proposed
on the technology review, and what are         O to justify revisions to the emission                 CAA section 112(d)(6) emissions
our responses?                                 standards for SCVs. We disagree with                   standard for existing SCVs at facilities
                                               one commenter’s statement that there                   where EtO use is at least 40 tpy were
   This section provides comment and           are no data confirming whether state-of-               never considered, even though section
responses for the major comments on            the-art control systems can meet a 99.94               112(d)(6) requires considerations of
our proposed CAA section 112(d)(6)             percent emission reduction standard for                cost.66
standards. Other comment summaries             SCVs where each test run is 24 hours.                    Response: We disagree with the
and our responses for additional issues        As discussed in section IV.C.3, such                   commenter’s statement that a ‘‘true’’
raised regarding these activities, as well     data exist for at least one system that                technology review was never
as issues raised regarding our proposed        controls SCV emissions. However, the                   conducted. In the proposal preamble (88
revisions, can be found in the document        EtO usage at this facility is fairly high,             FR 22839–41), the EPA discussed
Summary of Public Comments and                 and we are unable to determine whether                 control options that can achieve further
Responses for the Risk and Technology          smaller users can meet this emission                   emission reductions compared to the
Review for Commercial Sterilization            standard. With respect to the suggestion               existing subpart O standards. While the
Facilities, available in the docket for this   by some commenters that we consider a                  types of controls have essentially
rulemaking.                                    manufacturer guarantee reduction level,                remained the same, available
a. SCVs at Facilities Where EtO Use Is         which one commenter stated is 99.9                     information shows improvement in
                                               percent emission reduction for SCVs,                   emission reduction potential for some of
at Least 10 tpy
                                               we have no data disputing such level or                these control options, which we
   Comment: Several commenters                 reason to question the manufacturer’s                  consider to be a development in control
questioned whether the proposed                guarantee. Further, as discussed in our                technologies; we analyzed this
emission standards for SCVs at facilities      response to the next comment below,                    development and proposed revisions to
where EtO use is at least 10 tpy could         we find the cost of this option to be                  the standards pursuant to CAA section
be achieved with existing technology           reasonable. Therefore, pursuant to CAA                 112(d)(6). The commenter appears to
and stated that we should consider             section 112(d)(6), we are finalizing a                 take issue with the fact that these are the
manufacturer guarantees when revising          99.9 percent emission reduction                        same options as those we evaluated
the standard, along with a maximum             standard for SCVs at facilities where                  under CAA section 112(f)(2),
concentration limit. The commenters            EtO use is at least 10 tpy.65                          specifically under step 2 (ample margin
stated that we arrived at a 99.94 percent         We disagree with the commenter’s                    of safety) analysis. However, in
emission reduction standard based on           suggestion that we should consider a                   evaluating whether we can achieve
performance tests that used the previous       maximum concentration limit along                      further emission reduction and thus
testing procedures in Subpart O. These         with the percentage reduction standard.                lower risks, we naturally would
consisted of one-hour test runs that           As discussed in section IV.B.3.a, we are
occurred during the initial vacuum                                                                      66 In support of its comment that control costs

event, when EtO loading to the control           65 We also note that, as discussed in section        must be considered under section 112(d)(6) review,
                                               IV.F.3 of this preamble, we are finalizing a           the commenter cited to Nat’l Ass’n for Surface
system (and, therefore, emission                                                                      Finishing, 795 F.3d at 5 (‘‘in the technology review,
                                               requirement for owners and operators to include a
reduction) is high. The commenters             representative performance test period for SCVs,       EPA periodically assess, no less often than every
further stated that we proposed                along with a justification, in their stack test        eight years, whether standards should be tightened
extending the duration of each test run        protocol, so that the delegated authorities can        in view of developments in technologies and
                                               review and approve or deny the protocol as             practices since the standard’s promulgation or last
to 24 hours, which would cover a               appropriate. This will ensure that performance tests   revision, and, in particular, the cost and feasibility
variety of operating conditions,               provide a more accurate representation of SCVs         of developments and corresponding emissions
including periods of low inlet                 emission reductions.                                   savings’’).
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consider controls that reflect the current                   section 112(d)(6) for SCV at facilities          commenter’s discussions with control
developments in processes and                                using at least 10 tpy EtO, we                    device manufacturers, the best and most
technology by this industry (i.e., well                      inadvertently evaluated the control              advanced technologies will be
performing air pollution control), which                     costs for facilities using between 10 to         guaranteed to meet 99.9 percent
we are also required to evaluate under                       40 tpy only. However, as discussed in            emission reduction for SCVs. The
CAA section 112(d)(6). For the reason                        our comment response above, we no                impacts of this option and the 99.6
stated above, we find the comment that                       longer consider the proposed 99.94               percent reduction option that we
our technology review was not a ‘‘true’’                     percent emission reduction standard to           considered during the proposal stage are
review to be without merit.                                  be appropriate. As suggested by several          presented below in table 20 for existing
  We acknowledge that in proposing a                         commenters, we evaluated a                       sources:
99.94 percent standard pursuant to CAA                       manufacturer guarantee. Based on one

   TABLE 20—NATIONWIDE EMISSIONS REDUCTION AND COST IMPACTS OF OPTIONS CONSIDERED UNDER CAA SECTION
                112(d)(6) FOR EXISTING SCVS AT FACILITIES WHERE ETO USE IS AT LEAST 10 TPY
                                                                             Total capital   Total annual          EtO emission                     Cost effectiveness
    Option                          Standard evaluated                       investment         costs               reductions                         ($/ton EtO)
                                                                                  ($)           ($/yr)                 (tpy)

1 ................   99.9 percent emission reduction .....................     $1,840,000        $752,000   1.14 [2,280 lb] ............          $661,000 [$330/lb].
2 ................   99.6 percent emission reduction .....................              0               0   0 .................................   N/A.



   Based on the estimates above, and                         (taking into account cost among other              The impacts of these options for new
considering EtO is a highly potent                           factors) (77 FR 58227–8, 58239). As part         sources, which are presented in table 21
carcinogen, the cost-effectiveness                           of the proposed rulemaking, the highest          of this preamble, are based on a model
number of this option is within the                          cost-effectiveness number that we found          plant for new SCVs at a facility using at
range of the values that we have                             was $19,420,188/ton. We did not                  least 10 tpy of EtO with the following
determined to be cost-effective for                          receive adverse comment on our finding           assumptions reflecting the average of
highly toxic HAPs. As explained in                           that this is cost-effective. While Option        each of the parameters at existing
section IV.B.3.b of this preamble, this                      2 would prevent backsliding, it does not         facilities using at least 10 tpy of EtO:
includes hexavalent chromium, where                          achieve additional emission reduction.             • Annual EtO use: 120 tpy.
we finalized a requirement with a cost-                      Therefore, pursuant to CAA section
                                                                                                                • Annual operating hours: 8,000.
effectiveness of $15,000/lb                                  112(d)(6), we are revising the standard
($30,000,000/ton) for existing small                         to require facilities where EtO use is at          • Portion of EtO going to SCVs: 94.41
hard chromium electroplating to                              least 10 tpy to reduce their emissions           percent.
provide an ample margin of safety                            from existing SCVs by 99.9 percent.                • SCV flow rate: 200 cfs.

   TABLE 21—NATIONWIDE EMISSIONS REDUCTION AND COST IMPACTS OF OPTIONS CONSIDERED UNDER CAA SECTION
                 112(d)(6) FOR NEW SCVS AT FACILITIES WHERE ETO USE IS AT LEAST 10 TPY
                                                                             Total capital   Total annual          EtO emission                     Cost effectiveness
    Option                          Standard evaluated                       investment         costs               reductions                         ($/ton EtO)
                                                                                  ($)           ($/yr)                 (tpy)

1 ................   99.9 percent emission reduction .....................       $523,000        $136,000   1.02 [2,040 lb] ............          $134,000 [$67/lb].
2 ................   99.6 percent emission reduction .....................        348,000         106,000   0.68 [1,360 lb] ............          158,000 [$79/lb].



  Based on the estimates above, we find                      facilities. The commenter also stated            method to calculate alternative,
both options to be cost effective. Option                    that any standard that fails to reflect          equivalent mass rate emission
1 would achieve greater emission                             individual facility dynamics that                standards. Another commenter stated
reductions than Option 2, and Option 1                       materially affect the ability to comply is       that, based on their discussions with
would be more cost-effective. Therefore,                     inappropriate and not achievable.                control device manufacturers, they
pursuant to CAA section 112(d)(6), we                           Response: We agree with the                   believe that the best and most advanced
are revising the standard to require                         commenters’ concerns regarding the               technologies will be guaranteed to meet
facilities where EtO use is at least 10 tpy                  alternative, equivalent mass rate                a 99.9 percent emission reduction
to reduce their emissions from new                           emission standards. Therefore, they are          standard for SCVs.
SCVs by 99.9 percent.                                        not included in this final rule.
                                                                                                                Response: We agree with the
  Comment: In response to the EPA’s                          b. SCVs at Facilities Where EtO Use Is           commenter’s suggestion that
solicitation of comment on whether to                        at Least 1 Tpy but Less Than 10 Tpy              manufacturer guarantees be considered
include a mass emission rate standard                           Comment: One commenter stated that            when finalizing the standard. Most of
as an alternative to the percent emission                    they support emission reduction                  the performance tests that are currently
reduction standard, two commenters                           standards based on manufacturer                  available for SCVs are based on the
were opposed to such an alternative.                         guarantees for control equipment, along          previous testing procedures, which are
One commenter stated that mass                               with a maximum concentration limit, to           not reflective of actual operating
emission rate standards for individual                       ensure that compliance can be achieved           conditions. The one performance test
vents do not account for variability                         and demonstrated. In addition, the               we have that is based on actual
between facilities or variability within                     commenter did not agree with our                 operating conditions is for a facility
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where EtO use exceeds 30 tpy and thus            Response: We disagree with the             including these standards in the final
not appropriate for the group of              commenters’ position that the proposed        rule.
facilities at issue here (i.e., those using   emission reduction standards are not             Comment: One commenter stated that
at least 1 tpy but less than 10 tpy of        achievable. As discussed in section           if the lowest practicably measured
EtO). Therefore, a manufacturer               III.F.3.a of the proposal preamble (88 FR     concentration is 30 ppbv (our presumed
guarantee is appropriate to consider in       22790, April 13, 2023), most existing         workable-in-practice detection limit for
this instance, and a 99.8 percent             sources (i.e., 75 percent) are already        CEMS), then a source with an inlet
emission reduction standard falls within      achieving 99.6 percent emission               concentration that is too low will be
the manufacturer guarantee range for          reduction. In addition, 99.9 percent          unable to show the required emission
SCV controls as provided by one of the        emission reduction has been                   reduction, even if the control system is
commenters (99.9 percent emission             demonstrated by 50 percent of existing        providing that level of reduction,
reduction). However, this does not            sources. We also disagree with one            because the monitoring approach will
change our rationale for a 99.8 percent       commenter’s suggestion that                   be unable to distinguish the true outlet
reduction standard during the proposal                                                      concentration from 30 ppbv. The
                                              manufacturer guarantees be considered
stage, which was that this is the                                                           commenter further stated that existing
                                              in this instance for two reasons. First,
maximum emission SCV reduction with                                                         sources would need to have pre-control
                                              there is no need to rely on manufacturer
which compliance can be demonstrated                                                        aeration room concentrations of at least
                                              guaranteed emission levels because            7.5 ppmv to make this demonstration.
at all facilities where EtO use is at least   there are available performance test data
1 tpy but less than 10 tpy considering                                                      Two commenters stated that the
                                              for ARVs that are representative of           increased 99.6 percent (existing
current emission profiles.                    actual operating conditions. Unlike
   We disagree with the commenter’s                                                         facilities) or 99.9 percent (new facilities)
                                              SCVs, which go through different active       ARV emission reduction standards
recommendation for a maximum                  phases with wildly varying                    penalize facilities that have reduced EtO
concentration limit. As discussed in          concentrations, fluctuations in ARV           concentrations during the sterilization
section IV.B.3.a, we are concerned that       concentrations are slight; an aeration        cycle. Several commenters noted that
some owners and operators may dilute          room serves one purpose, which is to          facilities have reduce EtO
the air flow of the emissions stream to       hold product at an elevated                   concentrations during the sterilization
meet a concentration standard, which          temperature, and the resulting ARV            cycle (i.e., use of vacuum and/or
would not result in any actual emission       concentration is relatively constant.         nitrogen wash cycles) prior to moving
reductions. Furthermore, it is not            Therefore, a one-hour test period for this    the sterilized load to aeration to reduce
appropriate to establish upper-bound          source is appropriate, and the resulting      inlet ARV concentrations, and that
limitations on air flow within this           performance test data are representative      removals, on a percent basis, are only
source category, as additional flow may                                                     achievable with elevated inlet
                                              of actual operating conditions. To that
be necessary in order to mitigate any                                                       concentrations.
                                              end, we disagree with another
potential safety issues that may arise.                                                        Response: One commenter is correct
                                              commenter’s statement that fluctuations
Finally, as discussed in section IV.D.3.a,                                                  that, given the lowest practicable
                                              in the ARV make it difficult to comply
we are not including any alternative,                                                       measured concentration (30 ppbv), the
                                              with an emission reduction standard.
equivalent mass rate emission standards                                                     pre-control concentration would need to
in the final rule. Therefore, the             Second, performance test data for ARVs
                                              are plentiful. As discussed in section        be 7.5 ppmv in order to demonstrate
commenter’s concerns regarding the                                                          compliance with the proposed standard
methodology used to calculate the limits      III.F.3.a of the proposal preamble, there
                                              are 47 facilities where EtO use is at least   for existing sources. The performance
are no longer relevant.                                                                     test data that are available for ARVs at
                                              10 tpy, 41 of which have ARVs. Of these
c. ARVs at Facilities Where EtO Use Is        41 facilities, 32 (78 percent) have           these facilities consist of 86 test runs. Of
at Least 10 Tpy                               performance test data. Because the            these 86 test runs, only five (six percent)
                                              performance test data from ARVs at            had a measured concentration less than
   Comment: Several commenters                                                              7.5 ppmv, which suggests low
objected to the proposed emission             these facilities are both plentiful and
                                                                                            likelihood that facilities will have
reduction standards and stated that they      representative of actual operating
                                                                                            difficulty demonstrating compliance
are not achievable as written. One            conditions, there is no need to rely on
                                                                                            due to low pre-control concentration.
commenter stated that we should               a manufacturer guaranteed emission            based on the current operating
require emission reduction standards          reduction level in this instance. We also     conditions Furthermore, regarding the
based on manufacturer guarantees,             disagree with the commenters’                 comment that these standards would
along with a maximum concentration            recommendation for a maximum                  penalize sources who have already
limit. Another commenter stated that          concentration standard. As discussed in       worked to reduce their EtO
sterilization is a batch process and that     section IV.B.3.a, we are concerned that       concentrations during sterilization and,
the concentration from the aeration area      some owners and operators may dilute          by extension, their inlet ARV
is subject to constant fluctuation due to     the air flow of the emissions stream to       concentrations, as discussed in section
differences in product, cycles, facility      meet a concentration standard, which          III.F.3 of the proposal preamble, 75
design, and EtO decline curve, which          would not result in any actual emission       percent of existing sources are already
makes a consistent emission reduction         reductions. Furthermore, it is not            meeting the proposed standard; it is
challenging to determine. Finally,            appropriate to establish upper-bound          unclear, and the commenter does not
several commenters expressed concerns         limitations on air flow within this           explain, why a requirement that retains
with the use, and our development, of         source category, as additional flow may       facilities’ status quo is a punishment to
the alternative, equivalent mass rate         be necessary in order to mitigate any         those facilities. Most of the industry is
emission standards due to the wide            potential safety issues that may arise.       either (1) currently meeting the
variations in ARV parameters across this      Finally, with respect to the alternative      proposed standard or (2) capable of
group of facilities, as well as the           equivalent mass rate emission                 meeting the proposed standard based on
difficulty in demonstrating compliance        standards, we agree with the                  current operating conditions. In
with this standard for larger facilities.     commenters’ concerns, and we are not          addition, if a facility with existing ARVs
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wishes to further reduce their EtO            in section IV.D.3 of this preamble and       than normal operation. The commenter
concentrations during sterilization, then     in the document, Summary of Public           further stated that constructing and
operational changes can be made to the        Comments and Responses for the Risk          starting new abatement equipment
aeration room so that the facility can        and Technology Review for Commercial         includes periods of troubleshooting and
continue to demonstrate compliance            Sterilization Facilities, available in the   acceptance testing. The commenter also
with the emission reduction standard.         docket for this rulemaking.                  stated that the proposal does not
Since new facilities are not currently in                                                  address the permit-to-construct process
operation, there has been no reduction        E. Amendments Addressing Emissions           and related requirements before
in EtO concentrations during                  During Periods of SSM                        transferring to an operating permit.
sterilization and, therefore, no penalty      1. What amendments did we propose to         Finally, one commenter suggested that
has been incurred.                            address emissions during periods of          the malfunction exemption should not
                                              SSM?                                         be eliminated because, due to the nature
4. What is the rationale for our final
                                                                                           of sterilization operations and various
approach for the technology review?              For all emission points in the
                                                                                           stages of cycles, commercial sterilizers
   Our technology review focused on the       Commercial Sterilization Facilities
                                                                                           must be able to address malfunctions
identification and evaluation of              source category, we proposed                 that could result in a potential risk to
developments in practices, processes,         eliminating the SSM exemptions and to        employees or the facility without the
and control technologies that have            have the standards apply at all times.       risk of being in noncompliance.
occurred since the standards for              More information concerning the                 Response: As discussed in section
Commercial Sterilization Facilities were      elimination of SSM provisions is in          III.G.1 of the proposal preamble (88 FR
originally promulgated on December 6,         section III.G. of the proposal preamble      22790, April 13, 2023), it is common
1994 (59 FR 62585) and further                (88 FR 22790, April 13, 2023).               practice in this source category to start
amended on November 2, 2001 (66 FR            2. How did the SSM provisions change         an air pollution control device (APCD)
55577). Specifically, we focused our          since proposal?                              prior to startup of the emissions source
technology review on all previous                                                          it is controlling, so the APCD would be
standards for the various emission              We are finalizing the SSM provisions       operating before emissions are routed to
sources in the Commercial Sterilization       as proposed (88 FR 22790, April 13,          it, which has been confirmed by one of
Facilities source category, including         2023).                                       the commenters. In addition, based on
SCVs at facilities where EtO use is at        3. What key comments did we receive          responses to the December 2019
least 10 tpy, SCVs at facilities where        on the SSM revisions and what are our        questionnaire and the September 2021
EtO use is at least 1 tpy but less than       responses?                                   ICR, many facilities already have
10 tpy, and ARVs at facilities where EtO                                                   measures in place to ensure that the
use is at least 10 tpy. In the proposal,        This section provides comment              emission standards are met during
we identified developments for all            summaries and responses for the key          periods of SSM, including holding
emission sources, and we proposed to          comments received regarding our              emissions within the process unit or the
revise the standards for these emissions      proposed revisions. Other comment            APCD itself, or the use of onsite
sources under the technology review.          summaries and the EPA’s responses for        generators in the event of a power
Further information regarding the             additional issues raised regarding these     outage.67 The comments provided do
technology review can be found in the         activities as well as issues raised          not support establishing emission
proposed rule (88 FR 22790, April 13,         regarding our proposed revisions can be      standards that apply only during
2023) and in the supporting materials in      found in the document, Summary of            periods of SSM. With respect to
the rulemaking docket at Docket ID No.        Public Comments and Responses for the        classifying sources in SSM states as sub-
EPA–HQ–OAR–2019–0178.                         Risk and Technology Review for               sources subject to different emissions
   During the public comment period,          Commercial Sterilization Facilities,         limitations or work practice standards,
we received several comments on our           available in the docket for this             the commenter does not provide any
proposed determinations for the               rulemaking.                                  rationale for why this should be done or
technology review. No information               Comment: One commenter stated that         any suggestions for what those emission
presented by commenters has led us to         the EPA should consider other                standards should be. With respect to
change our proposed determination             approaches to adequately account for         emission spikes from troubleshooting
under CAA section 112(d)(6) for SCVs at       SSM contingencies. The commenter             control devices, as discussed in section
facilities where EtO use is at least 1 tpy    suggested that the EPA classify sources      IV.F.3 of this preamble, the EPA is
but less than 10 tpy and ARVs at              in SSM states as sub-sources subject to      finalizing a requirement for emission
facilities where EtO use is at least 10       different emissions limitations or work      limits to be based on 30-operating day
tpy, and we are finalizing the changes        practice standards. Another commenter        rolling sums of EtO entering the control
to those standards as proposed. For           stated that EtO sterilizers do not create    system(s) for EtO CEMS, which will
SCVs at facilities where EtO use is at        emissions during startup or shut down        help to mitigate these spikes over time.
least 10 tpy, based on comments               because, unlike other industrial             However, the commenter does not
received on the proposal, we are              processes regulated under the NESHAP         provide any rationale for why the
finalizing a 99.9 percent emission            program, EtO is not emitted as a             permitting process should be
reduction standard, which is the              byproduct of combustion or chemical          considering when evaluating SSM.
manufacturer guarantee. There is at least     reaction but is released intentionally in    Finally, we cannot agree with the
one representative performance test           a highly controlled manner. The              commenter’s recommendation to keep
available for SCVs, but it was conducted      commenter further stated that                the malfunction exemption in
at a facility with a higher EtO usage rate,   sterilization never begins before control
and we are unable to determine whether        equipment is activated and always ends         67 See memorandum, Review of Startup,

smaller facilities can achieve the            before control equipment is deactivated.     Shutdown, and Malfunction of Process and APCD
                                                                                           Equipment in the Ethylene Oxide Commercial
emission reduction from that                  Similarly, another commenter stated          Sterilization Source Category Technology Review
performance test. The key comments            that the EPA inaccurately assumed that       Project, located at Docket ID No. EPA–HQ–OAR–
and our specific responses can be found       startup and shutdown are no different        2019–0178.
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contradiction with Sierra Club v. EPA,      respect to specific reporting and            standard have been achieved.
551 F.3d 1019 (D.C. Cir. 2008), in which    monitoring alternative requirements that     Determination of whether a source is
the court vacated two provisions that       apply during periods of SSM, the             operating in compliance with operation
exempted sources from the requirement       commenter did not provide any                and maintenance requirements will be
to comply with otherwise applicable         recommendations for what those               based on information available to the
CAA section 112(d) emission standards       requirements should be. In addition, we      Administrator which may include, but
during periods of SSM. As discussed in      agree with one commenter’s suggestion        is not limited to, monitoring results,
section III.G.1 of the proposal preamble,   that facilities should only be required to   review of operation and maintenance
in its 2008 decision in Sierra Club v.      report malfunction events that result in     procedures, review of operation and
EPA, 551 F.3d 1019 (D.C. Cir. 2008), the    unpermitted releases to the atmosphere.      maintenance records, and inspection of
court held that emissions standards or      However, to be clear, we are finalizing      the source.’’
limitations must be continuous in           reporting requirements for malfunction          We disagree with the commenter’s
nature, which means that there cannot       events that occur with emissions or          suggestion to not finalize the general
be exemptions for periods of                parametric monitoring equipment.             duty clause. We do not consider this
malfunction. Further, while the EPA            Comment: One commenter suggested          duty clause to be redundant just because
could consider establishing a different     that the EPA should not include the          the emission standards apply at all
standard during malfunction if              general duty clause in the final rule. The   times; the provision imposes a general
warranted and still be consistent with      commenter stated that it is not clear on     duty to operate and maintain any
the Sierra Club decision, the commenter     what basis the EPA is claiming authority     affected source, including associated air
does not provide any specific               to impose a general standard of behavior     pollution control equipment and
information regarding instances where       on regulated sources. The commenter          monitoring equipment, in a manner
compliance with the standards during        asserted that CAA section 112 grants the     consistent with safety and good air
malfunction could result in potential       EPA authority to set emissions limits        pollution control practices for
risks to the employees or the facility or   and certain specific alternative             minimizing emissions. Commenters did
suggestions for what emission standards     standards but does not grant authority to    not provide data supporting the
the EPA should consider to address the      impose a ‘‘vague and subjective code of      suggestion that this general duty clause
concern. Therefore, the EPA is not          conduct.’’ The commenter stated that         is redundant. Even assuming it were
finalizing any emission standards that      the general duty clause is redundant to      redundant, which it is not, the
apply only during periods of SSM.           proposed amendment to 40 CFR                 commenter does not explain why it
   Comment: One commenter stated that       63.632(b) that would require                 must be removed. In addition, the
a specific area of concern is the ability   compliance ‘‘at all times.’’ The             inclusion of a general duty clause like
to demonstrate compliance during            commenter asserted that if compliance        the one proposed is standard practice
startup and shutdown, asserting that the    with the specific requirements of the        for other NESHAPs. Furthermore, we
proposed rule offered no means for a        rule will satisfy the general duty, then     disagree with the commenter’s
source to remain in compliance during       there is no need for the EPA to reserve      suggestion to incorporate the general
the inevitable and foreseeable, but not     the authority to evaluate a source’s good    duty clause from Subpart A. As
predictable, failure of monitoring          air pollution control practices.             discussed in earlier in this section, in its
equipment. The commenter further            Furthermore, the commenter asserted          2008 decision in Sierra Club v. EPA, 551
suggested that the EPA should consider      that the general duty provisions date        F.3d 1019 (D.C. Cir. 2008), the court
specific reporting and monitoring           back to a regulatory period during           held that under section 302(k) of the
alternative requirements for these          which air quality control rules lacked       CAA, emissions standards or limitations
scenarios. The commenter provided the       the specificity of monitoring, reporting,    must be continuous in nature, which
example of a requirement specific to        and recordkeeping that are included in       means that there cannot be exemptions
releases from sterilizer pressure relief    the proposed rule. The commenter             for periods of SSM. The general duty
devices (PRDs) resulting from               suggested that either the EPA should not     clause in Subpart A contains certain
malfunctions or required during             finalize the proposed general duty           exemptions for periods of SSM. We are
shutdown events that the commenter          clause at 40 CFR 63.632(j) or that the       therefore finalizing the general duty
suggested could be modeled after recent     general duty clause from the General         provision as proposed.
PRD requirements in 40 CFR 63.648(j).       Provisions should be incorporated. The
                                                                                         4. What is the rationale for our final
Another commenter recommended that          commenter stated that the General
                                                                                         approach and final decisions to address
facilities should only be required to       Provision contains language that more
                                                                                         emissions during periods of SSM?
report malfunction events that result in    clearly explains the EPA’s exercise of
unpermitted releases to the atmosphere.     enforcement discretion during SSM               We evaluated all of the comments on
The commenter stated that, in the           periods.                                     the EPA’s proposed amendments to the
example situation where control                Response: As part of the proposed         SSM provisions. As explained in section
equipment unexpectedly goes offline         rulemaking, we proposed to add the           III.G of the proposed rule (88 FR 22790,
during operations but EtO remains           following general duty clause to 40 CFR      April 13, 2023), in its 2008 decision in
trapped within the facilities ducts under   63.362(j):                                   Sierra Club v. EPA, the court held that
negative pressure, there would be no           ‘‘At all times, you must operate and      under CAA section 302(k), emissions
need to create additional administrative    maintain any affected source, including      standards or limitations must be
compliance requirements for the             associated air pollution control             continuous in nature and that the SSM
facility.                                   equipment and monitoring equipment,          exemption violates the CAA’s
   Response: With respect to accounting     in a manner consistent with safety and       requirement that some CAA section 112
for the failure of monitoring equipment     good air pollution control practices for     standards apply continuously. In
when demonstrating compliance, as           minimizing emissions. The general duty       addition, as part of this rulemaking, we
discussed in section IV.F.3 of this         to minimize emissions does not require       have gathered information that indicates
preamble, the EPA is finalizing a           the owner or operator to make any            many facilities already have measures in
minimum data availability requirement       further efforts to reduce emissions if       place to ensure that the emission
of 90 percent for EtO CEMS. With            levels required by the applicable            standards are met during periods of
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SSM. Therefore, we determined that           feasibility of fenceline monitoring and       operators of combined emission
these amendments, which remove and           available technology able to measure at       streams. We also proposed revisions to
revise provisions related to SSM, are        any potential action level; and (3) the       clarify text or correct typographical
necessary to be consistent with the          potential cost of continuous fenceline        errors, grammatical errors, and cross-
requirement that the standards apply at      monitoring and associated work                reference errors.
all times. More information concerning       practices if implemented.
                                               With respect to ambient air                 2. How did the other amendments for
the amendments we are finalizing for                                                       the Commercial Sterilization Facilities
SSM is in the preamble to the proposed       monitoring, we solicited comment on
                                             how this could be used to screen for          source category change since proposal?
rule and in the comments and our
specific responses to the comments in        elevated concentrations of EtO above             We are finalizing a requirement for
the document, Summary of Public              the ambient baseline and how this             owners and operators to use EtO CEMS
Comments and Responses for the Risk          information could be used to trigger a        to demonstrate compliance. In addition,
and Technology Review for Commercial         root cause analysis to identify potential     for affected sources with a percent
Sterilization Facilities, available in the   source(s) of emission and to perform          emission reduction standard, we are
docket for this rulemaking. Therefore,       corrective action, if a potential source of   finalizing a requirement for source
we are finalizing our approach for the       the emissions was part of an affected         owners or operators to obtain and record
SSM provisions as proposed.                  source under the commercial                   hourly average ppbvd of EtO
                                             sterilization proposed rule. We also          concentration, dscfm of flow rate, and
F. Other Amendments to the Standards         solicited comment on (1) the feasibility      weight differential in pounds of EtO
1. What other amendments did we              of other types of air monitoring that         used, to calculate and record each day
propose for the Commercial                   could be applied to this sector for           of operation—where any operation less
Sterilization Facilities source category?    compliance assurance and the costs            values obtained during periods of SSM
                                             associated with this type of monitoring,      constitute a day of operation—and the
   We proposed that owners and               (2) how frequently this monitoring            emission limit(s) based on the 30-
operators would be required to               should occur, (3) the recordkeeping and       operating day rolling sum of EtO
demonstrate compliance via annual            reporting requirements for this type of       entering the control system(s), as
performance testing and parametric           monitoring, and (4) how should any            determined using values from the
monitoring of EtO through the use of         action-level be defined.                      current operating day and the previous
CEMS. As discussed in section III.G.2.c        We proposed various changes to the          29 operating days. However, owners and
of the proposal preamble (88 FR 22790,       performance testing requirements to           operators of facilities where EtO use is
April 13, 2023), we did not propose to       ensure that the results are as accurate as    less than 100 lb/year will have the
include requirements for fenceline or        possible, including the approved test         option to demonstrate compliance
ambient air monitoring as part of this       methods, requirements for SCV inlet           through annual performance testing and
rule for the following reasons:              testing, and 24-hour test runs for larger     parametric monitoring. We are not
   • Typically for this type of              users. Furthermore, we proposed               including requirements for fenceline or
monitoring, we require the fenceline         various changes to the parametric             ambient air monitoring in this final rule.
monitor to be located at least 50 meters     monitoring requirements, as well as           For EtO CEMS, based on comments
from the source of emissions to allow        requirements for demonstrating                received during the proposed
for some dispersion.                         continuous compliance with the PTE            rulemaking, we are finalizing a
   • In contrast to the large number of      requirements given in EPA Method 204.         requirement for quarterly reporting, as
dispersed and difficult-to-monitor             We also proposed that owners or             well as a minimum data availability of
emission points for other source             operators submit electronic copies of         90 percent. For performance testing, we
categories for which we have either          required compliance reports (at 40 CFR        are finalizing the incorporation of
finalized or proposed fenceline              63.366(b) and (c)), performance test          additional test methods. Based on
monitoring requirements (e.g.,               reports (at 40 CFR 63.366(f)), and            comments received during the proposed
refineries), current room air releases at    performance evaluation reports (at 40         rulemaking, we are also retaining
commercial sterilization facilities are      CFR 63.366(g)) through the EPA’s CDX          currently approved test methods that we
typically at ground-level and consist of     using CEDRI, and we proposed two              proposed to remove, and we are not
uncontrolled building emissions              narrow circumstances in which owners          finalizing a requirement to conduct SCV
through doorways, loading points, and        or operators may, within five business        inlet testing. For performance test
ventilation exhausts, all of which can be    days of the reporting deadline, seek          duration, based on comments received
captured while inside the building and       extensions of that deadline if they are       during the proposed rulemaking, we are
routed through a vent to a control           prevented from reporting by conditions        not finalizing a requirement for 24-hour
device.                                      outside of their control. We proposed at      test runs. Instead, owners and operators
   • The proposed PTE design criteria,       40 CFR 63.366(h) that an extension may        may continue to conduct 1-hour test
room air emission standards, and             be warranted due to outages of the            runs for ARVs, CEVs, room air
associated parametric monitoring would       EPA’s CDX or CEDRI that precludes an          emissions, or any combination thereof.
effectively and continuously ensure          owner or operator from accessing the          For emission streams that contain an
these previously uncontrolled emissions      system and submitting required reports.       SCV, we are finalizing a requirement for
are captured and routed to exhaust           We also proposed at 40 CFR 63.366(i)          owners and operators to include a
points that are then subject to removal      that an extension may be warranted due        representative test period as part of their
or emission rate standards.                  to a force majeure event, such as an act      test protocol, which is subject to
   With respect to fenceline monitoring,     of nature, act of war or terrorism, or        approval from the delegated authority.
we solicited comment on (1) whether          equipment failure or safety hazards           Based on comments received during the
fenceline monitoring should be required      beyond the control of the facility.           proposed rulemaking, we are finalizing
regardless of the proposed PTE design          Finally, we proposed to reinstate title     numerous revisions to the proposed
criteria, proposed room air emission         V permitting requirements for all area        requirements for parametric monitoring.
standards, and proposed continuous           source facilities, and we proposed            Furthermore, based on comments
parametric monitoring; (2) the technical     compliance mechanisms for owners and          received during the proposed
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rulemaking, we are not finalizing a           it can lead to multiple, simultaneous        source(s). This is the case for source
requirement for owners and operators          parameter collection and processing,         categories where we have either
that are required to comply with EPA          increasing system complexity and             required or proposed fenceline
Method 204 to conduct daily                   increasing the time necessary for            monitoring, such as refineries, because
inspections of all applicable NDOs.           diagnosis and correction of control          facilities within these source categories
Instead, we a finalizing a requirement        device or process problems.                  cover a wide variety of emission sources
for owners and operators to demonstrate          Therefore, the EPA is finalizing a        where PTE is not feasible. At such
continuous compliance with EPA                requirement to only use CEMS for             sources, it is frequently impossible to
Method 204 through the use of either          demonstrating compliance. However,           rapidly detect and remedy a leak or
outlet volumetric flow rate monitors or       facilities where EtO use is less than 100    other unauthorized release without the
differential pressure monitors.               lb/year will still have the option to use    use of fenceline monitoring.
   We are not finalizing a requirement        CEMS or performance testing and                 By contrast, as discussed in section
for all area source facilities to obtain a    parametric monitoring to demonstrate         IV.B.3.c, PTE in accordance with EPA
title V operating permit. In addition,        compliance. This is because risk             Method 204 has been demonstrated to
based on comments received during the         remains at acceptable levels for these       be feasible for commercial sterilization
proposed rulemaking, we are finalizing        facilities even when considering             facilities. As part of the PTE
revised compliance mechanisms for             uncontrolled emissions. In addition,         requirements the EPA is finalizing in
combined emission streams. We are also        these facilities tend to have relatively     this rule, the EPA is also requiring
finalizing an option for owners and           simple control systems. Although EtO         monitoring of either the volumetric flow
operators to demonstrate compliance           CEMS is a relatively new technology in       rate from each outlet or differential
with a site-wide emission limitation, as      this industry, it has been proven as a       pressure in order to ensure that the PTE
opposed to demonstrating compliance           highly effective method for                  is operating effectively on a continuous
for each individual and combined              demonstrating compliance. While the          basis. Furthermore, as discussed above,
emission stream.                              use of these CEMS systems for low-level      we are requiring EtO CEMS at facilities
                                              measurements of EtO is relatively new,       where EtO use is at least 100 lb/year,
3. What key comments did we receive
                                              they are in use in this sector; because of   which includes most facilities within
on the other amendments for the
                                              this, we find it technically feasible to     the source category. The data from these
Commercial Sterilization Facilities
                                              require their use more broadly.              CEMS will help to ensure that
source category and what are our
                                              Additionally, the EtO instruments used       commercial sterilization facilities are
responses?
                                              as part of these CEMS are readily
   Comment: We received extensive                                                          complying with the rule requirements,
                                              available and although the low-level
comment on our proposal to allow                                                           and the data will be made available to
                                              detection levels are recent, they have
either the use of EtO CEMS or annual                                                       the public, providing important
                                              been demonstrated in the field.
performance testing with parametric              Comment: We received extensive            information about emissions, exposure,
monitoring for demonstrating                  comments on our decision to not              and the efficacy of control equipment to
compliance with emission standards.           include fenceline or ambient air             nearby communities, regulatory
Some commenters stated that EtO CEMS          monitoring as part of the proposed           agencies, and workers. As noted above,
should be the only mechanism allowed          rulemaking. Some commenters were             the physical configuration of
for demonstrating compliance, as it will      supportive of this exclusion, stating that   commercial sterilizer facilities can also
yield more real-time data that will allow     this source category is comprised of         make the implementation of fenceline
for potential issues to be identified and     enclosed facilities with defined             monitoring challenging at these sources.
resolved more quickly. Other                  emission points (e.g., windows, doors,       For these reasons, the EPA is not
commenters stated that EtO CEMS are a         ventilation exhaust) and that PTE is         finalizing fenceline monitoring
relatively new technology and that the        sufficient to ensure the containment of      requirements as part of this rule.
available supply, reliability in industrial   emissions. Other commenters were                Comment: We received extensive
facilities, and maintenance support for       opposed to this exclusion, stating that      comments on our proposed requirement
EtO CEMS is questionable. Commenters          fenceline and ambient air monitoring         that EtO CEMS data be reported on a
also expressed concerns with parametric       are necessary in order to ensure that        daily basis. Some commenters were
monitoring and pointed to our                 commercial sterilization facilities are      supportive, stating that daily reporting
requirements for CEMS in other rules, as      complying with the rule requirements,        provides assurance to the public that
well as the fact that EtO CEMS are used       as well as to provide important              emission control devices are working as
in a number of sterilization facilities.      information about emissions, exposure,       designed. Other commenters were
   Response: In the majority of instances,    and the efficacy of control equipment to     opposed, stating that facilities need
parametric monitoring is used to good         nearby communities, regulatory               sufficient time to conduct QA/QC to
effect as an ongoing means of ensuring        agencies, and workers. The commenters        verify the accuracy and reliability of the
that control devices continue to get          pointed to other source categories where     data and that reporting inaccurate data
necessary emission reductions.                we have either required fenceline            due to insufficient QA/QC would
However, given the nature of EtO, in          monitoring (i.e., petroleum refineries) or   undermine public confidence of the
which small amounts can have large            proposed it (i.e., the Synthetic Organic     CEMS monitoring and potentially
risk impacts, parametric monitoring           Chemical Manufacturing Industry and          adversely impact the medical supply
alone will not be sensitive enough to         the Polymers and Resins industry).           chain if there is undue public concern.
detect very small fluctuations. In               Response: We acknowledge that many        One commenter questioned whether
addition, many facilities in this source      commenters expressed their strong            there is a precedent for daily reporting,
category are controlling their EtO            support for fenceline monitoring             and another was unaware of any other
emissions using systems that contain          requirements as part of this rule. As a      NESHAP that requires daily reporting
one or more control devices, each with        general matter, fenceline monitoring is      for CEMS. Several commenters stated
their own parametric monitoring               considered a particularly useful             that quarterly or semi-annual reporting
requirements. While this has proven to        compliance monitoring approach if it is      is sufficient and more consistent with
be effective in reducing EtO emissions,       infeasible to enclose an emission            other NESHAPs.
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   Response: We agree with the               assurance activities, such as daily           facilities where EtO use is at least 10
commenters’ concern that daily               calibrations, do not count as periods of      tpy, stating that this requirement is
reporting of CEMS data is not                data unavailability, however, periods of      difficult, infeasible, and of limited
appropriate. Sufficient time is needed so    out-of-control monitor operation or           value. The commenters stated that there
that the proper QA/QC procedures can         when the EtO CEMS is unable to                are a limited number of testing
be conducted to verify the accuracy and      provide quality-assured data, such as         companies with both the experience to
reliability of the data. Therefore, we are   those periods associated with monitor         conduct performance tests of this
finalizing a requirement that CEMS data      or data acquisition and handling system       length, as well as the personnel to
be reported quarterly, which is              failure, do count as periods of data          remain at facilities during these long
consistent with other NESHAPs that           unavailability. Note that source owners       performance test periods. The
regulate pollutants of significant           or operators are to record EtO CEMS           commenters stated that multiple
concern, as well as at least one             values during all periods of operation,       companies will be in demand for these
sterilization facility that uses CEMS to     include SSM, to the extent that the           limited services and that scheduling
demonstrate compliance with local            values are available. Source owners or        these performance tests so that the
requirements.                                operators will need to keep records of        medical supply chain is not adversely
   Comment: One commenter stated we          periods of process operation, EtO CEMS        impacted will be difficult. In general,
did not address CEMS downtime and            availability, and EtO CEMS                    the commenters agreed that a
how downtime will be assessed or             unavailability; cause and duration of         performance test run longer than one
impact reporting. In addition, two           EtO CEMS unavailability; and of activity      hour is necessary but were divided on
commenters stated that there should be       taken to correct and prevent future           what constitutes a representative period,
allowances or an exemption from              periods of EtO CEMS unavailability.           with one commenter stating that eight to
sampling during periods of non-              Moreover, owners or operators will be         10 hours is representative, and another
operation (e.g., power outages, plant        required to provide immediate notice of       stating that six to 12 hours is
shutdowns).                                  failure to meet the data availability of 90   representative. Several commenters
   Response: Our general policy is to        percent, as well as root cause analysis       stated the performance test duration
require source owners and operators to       of periods of EtO CEMS monitor                should be determined by the facility and
have working monitoring while the            unavailability and specific corrective        accompanied with a justification of how
emissions-producing process is               actions—along with schedule and               normal operations are captured over this
operating and to identify those periods      enumerated expenditures—planned to            duration. One commenter stated that
where monitoring is not working while        address EtO CEMS unavailability.              ARV and room air emissions are
the emissions-producing process is              Comment: Several commenters stated         continuous in nature and that one-hour
operating, as well as to quickly correct     that the requirement to measure SCV           performance test runs are sufficient for
monitoring issues so that such periods       inlets can create significant safety          these sources. The commenter also
are minimized. Recognizing that EtO          hazards. Two commenters stated that           stated the CEV operations are started
CEMS are a newer technology that may         EtO concentrations in abatement system        and completed within an hour and,
pose challenges to users who may be          inlets coming from SCVs can reach             therefore, one-hour performance test
unfamiliar with instrument                   several hundred thousand ppm. The             runs are appropriate for these sources as
characteristics, the rule will provide a     commenters noted that these                   well. Finally, one commenter suggested
period of data unavailability for up to      concentrations exceed the lower               that each performance test run for
ten percent of process operating time for    explosion limit of 30,000 ppm, thereby
                                                                                           facilities where EtO use is less than 10
EtO CEMS in operation before requiring       posing a significant explosion risk.
                                                                                           tpy should be longer than one hour.
additional corrective activity by owners     Commenters noted that this situation
or operators. Such an allowance,             could also expose workers to EtO levels          Response: As discussed earlier, we are
referred to as a minimum data                above the Immediately Dangerous to            finalizing a requirement to only use EtO
availability requirement, has been used      Life or Health limit set by the U.S.          CEMS for demonstrating compliance. In
to good effect for other types of CEMS       Occupational Safety and Health                addition, owners or operators of affected
as they were introduced. As familiarity      Administration (OSHA), resulting in           sources subject to a percent emission
with those CEMS increased, so did their      hazardous working conditions. Several         reduction standard will obtain and
minimum data availability                    commenters stated that we should retain       record EtO concentration in ppbvd, flow
requirements; the EPA expects this           the option to determine emission              rate in dscfm, and daily EtO use in
pattern to continue for EtO CEMS such        reduction using mass balance                  pounds; determine daily amounts of EtO
that in the future, the minimum data         calculations and pounds of EtO injected       entering and exiting control systems;
availability requirement for EtO CEMS        into the sterilization chamber to ensure      use those daily amounts to calculate and
will be replaced by the agency’s general     safe testing practices.                       record 30-operating day rolling sums;
policy. Until then, the rule will have a        Response: We agree with the                and calculate emission limits and
minimum data availability for EtO            commenters’ concerns regarding the            determine compliance based on those
CEMS of ninety percent. This means           safety risks associated with testing the      rolling sums. However, facilities where
that EtO emissions data must be              SCV inlet. Therefore, we are removing         EtO use is less than 100 lb/year will still
collected over at least ninety percent of    this requirement for SCVs from the final      have the option to use CEMS or
the process operating time in order to       rule. Owners and operators must instead       performance testing and parametric
avoid non-compliance and potential           determine the mass of EtO emissions           monitoring to demonstrate compliance.
penalties. Data availability will be         from the SCV by measuring the daily           Therefore, our proposal for each
determined by assessment of the ratio of     change in weight of the EtO drums that        performance test run to be conducted
periods of valid EtO CEMS values to          are used to charge the sterilization          over a 24-hour period for facilities
process operation periods, where valid       chamber.                                      where EtO use is at least 10 tpy is no
EtO CEMS values occur when a                    Comment: Several commenters were           longer applies and is not included in the
minimum of 4 equally spaced values           opposed to our proposed requirement           final rule. For facilities where EtO use
occur over an hour of process operation.     for each performance test run to be           is less than 100 lb/year, we agree that a
Periods associated with normal quality       conducted over a 24 hour period for           one-hour performance test period for
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ARVs and room air emissions is                NDO inspections. Therefore, we are not       monitoring, recordkeeping, and
appropriate, as these operations are          including this requirement in the final      reporting that are proposed for the area
continuous in nature, with minimal            rule. In order to ensure that emissions      source category), several commenters
variations in emissions. We also agree        are not leaving through uncontrolled         stated that requiring title V operating
that a one-hour performance test period       spaces, it is critical to demonstrate        permits would not provide significant
is appropriate for CEVs, as these             continuous compliance with EPA               improvements to compliance
operations are typically started and          Method 204. In the absence of daily          requirements. Two commenters agreed
concluded in less than one hour. For          NDO inspections, differential pressure       with our 2005 analysis that the NESHAP
SCVs, the emissions profile can vary          monitoring and outlet volumetric flow        requirements applicable to area sources
significantly depending on the number         rate monitoring are viable options for       already subjected them to continuous
of chambers at a facility and how the         verifying the continuous flow of air into    monitoring and assessment, reporting,
emissions are staggered. Therefore, we        a control device, and both of these          and certification of compliance status
are finalizing a requirement for owners       options were included in the proposed        on a semiannual basis, which was
and operators to include a                    rulemaking. Therefore, we are finalizing     similar to what was required by title V.
representative performance test period        a requirement for owners and operators       Commenters stated that the proposed
for SCVs, along with a justification, in      to demonstrate continuous compliance         rule addressed increased transparency
their stack test protocol, so that the        with EPA Method 204 either through           and further strengthened monitoring,
delegated authorities can review and          outlet volumetric flow rate monitoring       recordkeeping, and reporting
approve or deny the protocol as               or through differential pressure             requirements, including developing a
appropriate.                                  monitoring. We also agree with               new performance specification and
   Comment: We received comments on           commenters that, if differential pressure    associated QA procedures for CEMS
continuous compliance requirements for        monitoring is used, the pressure             capable of detecting EtO at very low
verifying EPA Method 204. Several             differential should be maintained at or      levels. One commenter stated that we
commenters contended that                     above 0.007 inch of water in order to        recognized that modern NESHAPs have
continuously verifying the direction of       demonstrate continuous compliance, as        sufficient parametric monitoring. The
airflow through daily inspections of          this is what is required in EPA Method       commenter also stated that the only gain
each NDO presents significant safety          204.
                                                                                           that we identified that was not already
risks and are redundant or impractical.          Comment: We received extensive
                                                                                           satisfied was the public comment period
They noted that NDOs may be located           comments on our proposed requirement
at ceiling levels (such as a makeup air       for all area source facilities within the    for title V permitting; however, the
unit) in processing areas or in other         source category to obtain a title V          commenter noted that many facilities
hard to reach areas where EtO                 operating permit. Several commenters         may need construction permits to come
concentrations may require the use of         were supportive, citing the serious          into compliance with the updated
specialized protective equipment. One         health concerns of EtO. The commenters       requirements, during which many States
commenter stated that streamers are not       stated that facilities with title V          have an option to hold a public
practical, may not be observable, and         operating permits tend to receive more       comment period and a public meeting(s)
often get stuck or wrapped around             oversight and that this, along with          for changes that may be of interest to the
objects. Another commenter noted that         increased community engagement, will         community. The commenter noted that,
smoke testing in EtO facilities is            ensure that these facilities are             as part of this rulemaking process, the
discouraged due to safety concerns, as        complying with the rule requirements.        EPA held numerous public meetings for
any indication of fire in an EtO facility     Other commenters were opposed,               local communities regarding specific
is highly problematic, and seeing smoke       stating the current and proposed             facilities and additional public outreach
within the facility should not be             NESHAP included substantial                  meetings for transparency. This
routine. Finally, two commenters              compliance, parametric monitoring,           commenter stated these outreach efforts
questioned the value of daily NDO             recordkeeping, and reporting                 and the potential construction
inspections when other relevant               obligations. One commenter stated that       permitting actions will eliminate the
parameters are being continuously             subjecting area source EtO commercial        need to have the title V public comment
monitored.                                    sterilizers to the title V permitting        period. Three commenters stated that
   One commenter recommended the              program requires additional regulatory       one of the primary purposes of the title
use of differential pressure monitoring       fees; burdensome permitting,                 V program was to clarify in a single
to verify EPA Method 204, accompanied         recordkeeping and reporting                  document the various and complex
by a data recording system to                 requirements; increased administrative       regulations that applied to a facility in
demonstrate continuous compliance.            costs; as well as Clean Air Act citizen      order to improve compliance. Two
Other commenters were opposed to any          suits. Two commenters suggested that         commenters stated that we agreed that
continuous compliance requirements for        the proposed requirements could be           EtO sterilizers were still subject only to
verifying EPA Method 204, stating that        incorporated into a State minor source       a single NESHAP. Three commenters
they would be burdensome, expensive,          permit without the additional burden of      stated the benefit of requiring a title V
and difficult to maintain. Two                title V permitting, and that title V         permit to house all applicable
commenters stated that we should              permits should apply only to major           regulations into a single document
change the criteria for demonstrating         sources. Multiple commenters also            would not apply to those area sources
continuous compliance with EPA                indicated that the four-factor balancing     and was not needed, and one
Method 204 from ‘‘maintained above            test still weighs in favor of continued      commenter added that area sources
0.007 inches of water’’ to ‘‘at least 0.007   exclusion of area source facilities within   should be exempt from title V on that
inches of water’’ to align to the Method      this source category from title V            basis alone. One commenter stated that,
204 definition of facial velocity             permitting requirements.                     in response to a comment on our 2005
equivalence.                                     With respect to the first factor (i.e.,   proposed rule, we also indicated that
   Response: We agree with the                whether title V would result in              NESHAP provisions independently
commenters’ concerns regarding the            significant improvements to the              required schedules of compliance,
safety and practical aspects of daily         compliance requirements, including           provided inspection and entry
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authority, and established emissions                   the certainty of an outcome that will        associated with title V ($67,211 for the
limitations and standards that were                    allow continued operation. One               first year, as calculated in 2019) will
enforceable regardless of title V                      commenter noted that many Small              likely be less for area sources. This
permitting. This commenter noted the                   Business Environmental Assistance            commenter suggested that our cost
proposed rule asserted that the                        Programs are precluded from assisting        determination did not align with the
compliance benefits of title V were                    with title V permitees and, as such, this    proposed rule, which said ‘‘the rule
greater today than in 2005 and so the                  rule could strip small businesses of the     amendments proposed provide for a
benefits would be greater, but the                     assistance mandated under CAA section        greater degree of complexity and
commenter argued that we made these                    507. One commenter stated that our           requirements to achieve and
statements without providing                           justification seemed premised on an          demonstrate compliance for area
supporting analysis.                                   expectation of noncompliance, although       sources.’’ One commenter noted that we
   With respect to the second factor (i.e.,            clarified that we had not alleged that       stated that the burden was not
whether title V permitting would                       small commercial sterilizers have a          insignificant, but justified the costs
impose significant burdens on the area                 history of noncompliance. The                because it represented a small portion of
source category and whether the                        commenter noted that recent                  the anticipated costs related to the
burdens would be aggravated by any                     controversies around EtO facilities had      amendments of the proposed rule. One
difficulty in obtaining assistance from                centered around large facilities owned       commenter stated that the analysis on
permitting authorities), several                       by large businesses. The commenter           title V applicability did not ask how the
commenters noted that requiring area                   indicated it was not clear how title V       burden compared to the cost of
sources to obtain a title V permit would               permitting of area sources would create      complying [with] some other measure,
pose significant burdens on sterilization              additional incentives for compliance or      but that the question was whether the
facilities, with one commenter stating                 give State enforcement authorities the       potential compliance benefits
that it would pose significant burden                  resources and expertise they would not       outweighed the steep costs, the answer
‘‘within the time frame being                          otherwise have to enforce this NESHAP.       to which we seemed to concede was
proposed.’’ 68 Additionally, the                       One commenter stated the addition of         ‘‘no.’’
commenter stated the State permitting                  title V permitting for area sources             With respect to the fourth factor (i.e.,
agencies may be overly burdened in                     formalized community involvement in          whether adequate oversight by State and
issuing title V permits at a facility with             the authorization of area source             local permitting authorities could
such low emissions. Several                            commercial sterilizers, and that this
commenters stated that the proposed                                                                 achieve high compliance with the
                                                       level of community review was                NESHAP requirements without relying
title V permitting requirement for area                unnecessary and overly burdensome.
sources would be a significant burden                                                               on title V permitting), one commenter
                                                       Another commenter noted that the             stated that CAA sections 112, 113, and
for small businesses, as these permits                 public already had access to commercial
required businesses to prepare                                                                      114 required implementation and
                                                       sterilizer locations, emissions, and         enforcement programs to be conducted
significant amounts of paperwork,                      current standards to which they were
negotiate compliance with the                                                                       by the EPA or delegated to the proper
                                                       subject via our website and regulations,     State authority and a small business
permitting authority, and subject their                as well as our community outreach to
operations and permit application to                                                                assistance program to assist area sources
                                                       advise the public of the hazards of EtO.     exempted from title V with compliance.
public comment or petitions that would
potentially delay operations and create                   With respect to the third factor (i.e.,   The commenter noted that States and
additional regulatory burdens that, per                whether the costs of title V permitting      the EPA routinely conducted voluntary
OMB analysis, may be biased against                    for area sources would be justified          compliance assistance outreach and
small businesses. One commenter noted                  taking into consideration any potential      education programs. The commenter
that small businesses in this industry                 gains in compliance likely to occur for      noted that the EPA’s review of State-
had no experience with title V                         such sources), two commenters stated         provided empirical data demonstrated
permitting and that obtaining these                    there would be no justification for          that area sources were adequately
permits would require additional                       imposing the burden of title V               compliant with their requirements
resources. The commenter stated that                   permitting. One commenter stated that        without title V permitting. The
we ignored the significant cost of                     we could have separated the cost             commenter stated that the proposed rule
uncertainty that title V permitting                    estimate for the 86 area sources in order    is silent on whether permitting
introduced to small business planning.                 to provide more accurate numbers.            authorities could effectively implement
The commenter explained that rather                    Additionally, the commenter stated that      NESHAPs without title V, and that the
than hiring an engineer to determine                   the 2019 cost estimates were not             EPA alluded to its 2019 ICR, implying
how a facility could meet the                          accurate, as the new rules would require     that the responses thereto supported the
requirements, a small business would                   facilities to change not only their          EPA’s title V decision, but the EPA
have to engage in a process with                       equipment, but also their calculation        never identified specific data or
multiple partners, develop supporting                  methods, monitoring, and testing. The        explained how it would support any of
material that may or may not be                        commenter stated that those costs            EPA’s cursory statements. The
sufficient in the eyes of the regulatory               needed to be considered in a title V cost    commenter concluded that there was no
authority, and prepare a public relations              analysis. Three commenters stated that       more difficulty enforcing the single
strategy in anticipation of community                  our cost estimate for obtaining a title V    NESHAP for area sources now versus in
opposition to their operations, and that               permit underestimated the cost of this       2005, when EPA unequivocally
this investment must be made without                   requirement and that we should not add       determined title V would provide no
                                                       to the burdens for area sources. One         benefits to its ability to enforce CAA
   68 Commenter provided the following statement:      commenter stated that the time and cost      regulations in tandem with its State and
‘‘Requiring areas sources to obtain a title V permit   of getting a title V permit did not          local partners. The commenter stated
would pose significant burdens on sterilization
facilities especially within the time frame being
                                                       correlate to the potential gains and that    that requiring title V now would only
proposed.’’ (see Docket Item No. EPA–HQ–OAR–           we provided no supporting data for our       make enforcement more difficult, as
2019–0178–0632, Attachment 2, page 20).                conclusion that the average costs            State agencies would be flooded with
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title V applications that would require        basis, and this data will be made              reduction standards that the component
time and State funds to implement and          available to the public.                       streams are subject to.
could potentially shift attention away            In summary, the benefits of requiring          Option 1 is consistent with what was
from major source compliance in a way          title V permitting for area source             proposed, and Option 2 has been added
that would compromise (and not                 facilities are not outweighed by the           in order to provide more flexibility for
improve) implementation of any final           concerns. For the reasons stated above,        facilities in terms of how they chose to
NESHAP program. Another commenter              we agree with commenters that the four-        demonstrate compliance. As an
stated there was already sufficient            factor balancing test continues to weigh       example, suppose an area source facility
oversight by State and local permitting        in favor of exempting area source              uses at least 30 tpy but less than 60 tpy,
authorities, as well as subpart O              facilities from title V permitting on the      and the facility chooses to control all of
requirements. One commenter stated             basis that title V is unnecessarily            its ARVs and CEVs with one control
that, as a State regulatory agency, they       burdensome. Therefore, we are not              system. The emission reduction
had the ability to adequately ensure           finalizing title V permitting                  standards that apply to the ARVs and
compliance with the proposed standard          requirements for area source facilities.       CEVs are 99.9% and 99%, respectively.
for facilities within their jurisdiction          Comment: One commenter suggested            In this example, suppose the mass of
regardless of whether the facility is          that we require only a single combined         EtO emissions from the ARVs is 4 lb,
subject to title V permitting. Another         performance test for the outlet point and      and the mass of EtO emissions from the
commenter stated the proposed removal          that the most stringent applicable             CEVs is 1 lb, meaning that the mass of
of the title V permitting exemption for        standard (i.e., the control level required     EtO emissions from the combined
area sources meant a significant number        for the SCV) should be applied. Two            stream is 5 lb. Under Option 1, the
of small operations would be required to       commenters stated that our affected            facility would need to apply an
obtain title V permits for the first time,     source proposal is unnecessarily               emission reduction of 99.9% to the
and as many of these area sources were         complicated. One commenter stated that         combined stream, resulting in an
subject to a limited set of applicable         where control equipment has a single           emission limit of 0.005 lb. Under Option
requirements and permits, there was            inlet and outlet, the facility should not      2, the facility would apply an emission
little apparent benefit from the               be required to test individual source          reduction of 99.9% to the ARV stream
consolidation of these requirements            inlets or outlets. The commenter also          and an emission reduction of 99% to the
within a title V permit. One commenter         stated that it is logical that point sources
                                                                                              CEV stream, resulting in an emission
stated that the EPA failed to discuss          routed to the same emission control
                                                                                              limit of 0.014 lb. When an affected
whether there was a history of                 system should be defined as a single
                                                                                              source is subject to a relatively high
noncompliance with the EtO                     unit. The commenter stated it is
                                                                                              emission reduction standard, it can be
                                               important to set emission limits that
Commercial Sterilization NESHAP,                                                              difficult to demonstrate compliance
                                               reflect this reality and test methods that
which indicated that that there are few                                                       with that standard when the
                                               allow for combined system testing at the
potential gains from the increased                                                            concentration of pollutants going into
                                               outlet of the system. The commenter
burdens. Finally, one commenter stated                                                        the control device is low. By combining
                                               also stated that the proposed language
that State operating permits (e.g.,                                                           emission streams and increasing the
                                               implies that the SCV, CEV, and ARV
Synthetic Minor or Federally                                                                  concentration of pollutants in the air
                                               must be tested separately, which is
Enforceable State Operating Permits) are                                                      stream, it is easier to demonstrate
                                               challenging given the complexity in
abundant and adequate to deal with                                                            compliance.
                                               design of existing duct work and access
these GACT sources without the added                                                             Comment: One commenter
                                               to inlets. The commenter stated that
expense, complication, and delays              testing the combined inlet to the APCD         recommended the creation of the option
associated with title V permitting.            would be the safest, most accurate, and        for a site-wide emission limitation. This
   Response: We agree with commenters          most cost-effective method for                 limitation could take the form of either
that the four-factor balancing test            determining compliance for facilities          overall removal efficiency, or a total
continues to weigh in favor of                 with combined emissions. Another               mass rate per hour. Another commenter
exempting area source facilities from          commenter stated that applying the             suggested a site-wide emission
title V permitting. In particular, we          most restrictive removal efficiency            limitation based upon EtO usage and
agree with commenters that one of the          standard when different sources are            end-state emissions and identified as
primary benefits of the title V program        combined is impractical.                       precedent an Illinois construction
is to clarify, in a single document, the          Response: The EPA is finalizing             permit containing monthly and annual
various and complex regulations that           approaches that will provide facilities        mass emissions caps. The commenter
apply to a facility in order to improve        with flexibility in terms of how they          also suggested a compliance option by
compliance, and that this benefit is not       choose to demonstrate compliance with          emission reduction or emission rate
realized in this case because commercial       the standards for instances where              standards and identified as precedent
sterilization facilities are subject to only   emission streams are combined prior to         Illinois legislation requiring 99.9
one NESHAP (Subpart O). In addition,           entering a control system. Facilities can      percent emission reduction at each
we agree with commenters that, in light        determine compliance via one of two            exhaust point or limitation of EtO
of the robust monitoring, recordkeeping        options:                                       emissions to 0.2 ppm.
and reporting requirements in the final           • Option 1: Determine the mass of              Response: We agree with the creation
rule, a title V permit would likely not        EtO entering the control device at a           of an option for a site-wide emission
add any substantial monitoring,                point after the emission streams are           limitation and have included this in the
recordkeeping and reporting                    combined, and apply the most stringent         final rulemaking. Specifically, we are
requirements. We further note that, even       emission reduction standard that the           finalizing two options for determining
in the absence of title V permitting           component streams are subject to.              compliance on a site-wide basis:
requirements, this final rule will ensure         • Option 2: Determine the mass of              • Option 1: Determine the mass of
transparency around the emissions from         EtO entering the control device at points      EtO being used at the facility and apply
these facilities by requiring that EtO         before the emission streams are                the SCV emission reduction standard,
CEMS data be reported on a quarterly           combined, and apply the emission               which is the most stringent emission
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reduction standard that any emission           two planned facilities. However, based       with the final rule will impact multiple
stream at the facility is subject to.          on comments received on the proposed         sources at once, and those costs form
   • Option 2: Determine the mass of           rulemaking, we understand that one of        the basis of our impact estimates. These
EtO being emitted from each affected           the existing facilities has closed. In       costs are presented in table 2 of this
source, and apply the emission                 addition, the commenters identified          preamble. There are 90 facilities
reduction standards that each affected         three existing commercial sterilization      (including the 88 existing facilities and
source is subject to. For SCVs, the mass       facilities that were unknown during the      the two planned facilities) affected by
of EtO may be determined by measuring          proposed rulemaking. However, it             the amendments, and the number of
how much is used and then applying a           should be noted that EtO use at the          facilities associated with each of the
facility-specific factor that accounts for     three facilities that were previously        specific costs is indicated in table 2. The
EtO entering the control systems from          unknown is very small (i.e., less than 1     facility list was developed using
other affected sources.                        tpy). A complete list of the known 88        methods described in section II.C of the
   We disagree with the suggestion to set      Commercial Sterilization Facilities that     proposal preamble (88 FR 22790, April
an emissions cap, as the amount of EtO         are affected by this rulemaking is           13, 2023). A complete list of known
that a facility will use in a given month      available in Appendix 1 of the               commercial sterilization facilities is
is unknown.                                    document, Residual Risk Assessment for       available in Appendix 1 of the
                                               the Commercial Sterilization Facilities      document, Residual Risk Assessment for
4. What is the rationale for our final         Source Category in Support of the 2024       the Commercial Sterilization Facilities
approach and final decisions for the           Risk and Technology Review Final Rule,       Source Category in Support of the 2024
other amendments for the Commercial            which is available in the docket for this    Risk and Technology Review Final Rule,
Sterilization Facilities source category?      rulemaking.                                  which is available in the docket for this
   We are not finalizing a requirement                                                      rulemaking.
                                               B. What are the air quality impacts?
for all area sources facilities to obtain a                                                 D. What are the economic impacts?
title V operating permit, and we are not         At the current level of control prior to
including requirements for fenceline or        the amendments being finalized in this          The economic impact analysis is
ambient air monitoring as part of this         action, the EPA estimates that EtO           designed to inform decision makers
final rule. Based on the comments              emissions were approximately 23 tpy          about the potential economic
received during the proposed                   (actuals) and 160 tpy (allowables) from      consequences of the compliance costs
rulemaking, we are requiring EtO CEMS          commercial sterilization facilities. At      outlined in section V.C of this preamble.
for facilities where EtO use is at least       the level of control required by the         The EPA performed a screening analysis
100 lb/year, and we are finalizing a           amendments being finalized in this           that compared compliance costs to
requirement for EtO CEMS data to be            action, which includes standards for         revenues at the ultimate parent
reported quarterly. We are not finalizing      previously unregulated sources and           company level (several companies own
a requirement for owners and operators         amendments to all sources where              more than one affected facility). This is
to conduct SCV inlet testing, and we are       standards were already in place, we          known as the cost-to-revenue or cost-to-
not finalizing a requirement for each          estimated EtO emissions reductions of        sales test, or the ‘‘sales test.’’ The use of
performance test run to be conducted           21 tpy (actuals) and 150 tpy (allowables)    a sales test for estimating small business
over a 24-hour period. Lastly, we are          for the source category.                     impacts for a rulemaking is consistent
finalizing revised compliance                                                               with EPA guidance on compliance with
                                               C. What are the cost impacts?                the Regulatory Flexibility Act (RFA) and
mechanisms for combined emission
                                                 The total capital investment cost of       is consistent with guidance published
streams, as well as the option for
                                               the final amendments and standards is        by the U.S. Small Business
facilities to demonstrate compliance
                                               estimated to be approximately $313           Administration’s Office of Advocacy
with a site-wide emission limit, as
                                               million in 2021 dollars. We estimate         that suggests that cost as a percentage of
opposed to having to demonstrate
                                               total annual costs of the final              total revenues is a metric for evaluating
compliance for each individual and
                                               amendments to be approximately $74           cost increases on small entities in
combined emission stream. See section
                                               million.                                     relation to increases on large entities.
IV.F.3 of this preamble for further              The present value (PV) of the                 There are 88 existing commercial
discussion.                                    estimated compliance costs over the 20-      sterilization facilities and 2 planned
   In a few instances, we received                                                          commercial sterilization facilities,
                                               year timeframe from 2025 to 2044 for
comments that led to additional minor                                                       owned by 50 parent companies, affected
                                               the final rule is $773 million in 2021
editorial corrections and technical                                                         by the final amendments. Of the parent
                                               dollars, discounted at a 7 percent rate.
clarifications being made in the final                                                      companies, 22 companies, or 44
                                               The equivalent annualized value (EAV)
rule, and our rationale for these                                                           percent, are small entities based on the
                                               of the costs is $88 million, using a 7
corrections and technical clarifications                                                    U.S. Small Business Administration’s
                                               percent discount rate. Using a 3 percent
can be found in the document,                                                               table of size standards. Next, we
                                               discount rate, the PV and EAV of the
Summary of Public Comments and                                                              determined the magnitude of the costs
                                               costs from 2025 to 2044 are estimated to
Responses for the Risk and Technology                                                       of the amendments being finalized in
                                               be $932 million and $63 million,
Review for Commercial Sterilization                                                         this action for each entity and then
                                               respectively.
Facilities, available in the docket for this     The nationwide costs of the different      calculated a cost-to-sales ratio for each
rulemaking.                                    amendments being finalized in this           entity by comparing estimated costs to
V. Summary of Cost, Environmental,             action are presented in table 2 of this      the annual revenues of each parent
and Economic Impacts and Additional            preamble. As described in this               company. We then assessed whether
Analyses Conducted                             preamble, we are finalizing standards        there would be potential for a
                                               for previously unregulated sources, as       significant impact on small entities
A. What are the affected facilities?           well as amendments for sources where         based on the cost-to-sales ratios. For all
  As part of the proposed rulemaking,          standards were already in place. Many        entities, the average cost-to-sales ratio is
we estimated that there were 86 existing       of the emissions capture and control         approximately 8 percent; the median
commercial sterilization facilities and        technologies that are needed to comply       cost-to-sales ratio is 0.2 percent; and the
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maximum cost-to-sales ratio is                                            additional emissions controls. The                                 medical supply chain. As discussed in
approximately 69 percent. For large                                       controls necessary to meet the                                     section III.G of this preamble, we have
firms, the average cost-to-sales ratio is                                 requirements of this final rule include                            reviewed the time that it has taken for
approximately 0.2 percent; the median                                     PTEs and gas/solid reactors, along with                            these projects to be completed, from
cost-to-sales ratio is 0.03 percent; and                                  (in some cases) alterations to facility                            submission of the initial permit
the maximum cost-to-sales ratio is 1.3                                    design to ensure adequate capture of                               application to installation of the
percent. This rule has potentially                                        EtO emissions. Such controls rely on                               continuous compliance mechanisms.
significant impacts on small entities.                                    existing technologies that are                                     Based on this review, we found that the
For small firms, the average cost-to-sales                                commercially available from                                        process of bringing a facility into
ratio is approximately 18 percent, the                                    manufacturers and are already well                                 compliance with the PTE requirements
median cost-to-sales ratio is 4.7 percent,                                established in this industry. In addition,                         of EPA Method 204, as well as installing
and the maximum cost-to-sales ratio is                                    a few companies have constructed, or                               and verifying additional emission
69 percent. There are 13 small entities                                   are in the process of constructing, new                            controls, takes approximately a year
(59 percent of all affected small entities)                               facilities with state-of-the-art design and                        from permit submission to project
with estimated cost-to-sales ratios of 3                                  control installations to ensure full                               completion.
percent or greater. See the Regulatory                                    capture and control of EtO emissions.
Impact Analysis for further detail on the                                                                                                       The EPA has evaluated available
                                                                          These early actions by industry                                    information about the state of control
cost estimates, small entity impact                                       demonstrate the feasibility of
analysis, and a discussion of potential                                                                                                      installations at existing commercial
                                                                          implementing the requirements in this                              sterilization facilities. Of the 88 existing
market and economic impacts.                                              final rule.
   The EtO sterilization industry is an                                                                                                      facilities, seven appear have already met
integral part of the supply chain for                                        Over the last several years, the                                the emission standards and will not
many medical devices and capacity                                         industry has demonstrated the                                      need to install additional emission
constraints have been reported. Based                                     capability to install controls on multiple                         controls. Another 55 facilities appear to
on the data we analyzed, we expect that                                   facilities simultaneously without                                  only need additional abatement devices.
the largest impacts of this rule are                                      interfering with medical supply chains.                            We expect that 28 facilities still need to
limited to a handful of the companies                                     For example, three companies re-                                   meet the PTE requirements of EPA
that play a key role in the availability                                  designed their Illinois and Georgia                                Method 204 and install additional
of certain medical devices, and several                                   facilities to comply with the PTE                                  abatement devices. Table 22 presents
of them are already in the planning                                       requirements of EPA Method 204, as                                 the apparent compliance status with the
stage for additional controls.                                            well as installed emission controls at                             final rule for each relevant emission
   Some companies involved in medical                                     these facilities during overlapping                                source and facility EtO use combination,
device sterilization have installed, or are                               timeframes from May 2019 through                                   based on controls that are currently in
already planning for installation of,                                     August 2020 without disruption to the                              place.

                        TABLE 22—APPARENT COMPLIANCE STATUS WITH FINAL RULE AND COMPLIANCE TIMEFRAMES
                                                                                                                                                       Number of
                                                                                                                                  Number of             facilities         Compliance
                          Emission source                                                Facility EtO use                     facilities with this    appearing to          timeframe
                                                                                                                               affected source        achieve final
                                                                                                                                                       standard 1

SCV .........................................................................   At least 30 tpy ......................                          38                    19      Two years.
                                                                                At least 10 but less than 30                                     9                     9      Two years.
                                                                                  tpy.
                                                                                At least 1 but less than 10                                     18                    16      Two years.
                                                                                  tpy.
                                                                                Less than 1 tpy ....................                            23                    22     Three years.
ARV .........................................................................   At least 30 tpy ......................                          36                    12      Two years.
                                                                                At least 10 but less than 30                                     5                     5     Three years.
                                                                                  tpy.
                                                                                At least 1 but less than 10                                     10                     7     Three years.
                                                                                  tpy.
                                                                                Less than 1 tpy ....................                             4                  2        Three years.
CEVs at major source facilities ...............................                 N/A .......................................                      0                N/A        Three years.
CEVs at area source facilities .................................                At least 60 tpy ......................                          25                 12         Two years.
                                                                                Less than 60 tpy ..................                             15                  8        Three years.
Group 1 room air emissions at major sources .......                             N/A .......................................                      0                N/A        Three years.
Group 1 room air emissions at area sources .........                            At least 40 tpy ......................                          36                 16         Two years.
                                                                                Less than 40 tpy ..................                             38                  7        Three years.
Group 2 room air emissions at major sources .......                             N/A .......................................                      1                  0        Three years.
Group 2 room air emissions at area sources .........                            At least 20 tpy ......................                          44                 17         Two years.
                                                                                At least 4 but less than 20                                     13                  1         Two years.
                                                                                  tpy.
                                                                                Less than 4 tpy ....................                            27                    27     Three years.
   1 The phrase ‘‘appearing to achieve’’ is used (as opposed to ‘‘achieving’’) to account for uncertainties in the data. A notable example is the
SCVs where, for a given facility, the emission reduction on the first evacuation may not high enough to ensure that the standard is being met
across all evacuations. Another uncertainty is the fraction of EtO going to each emission stream. In some instances, there is facility-specific infor-
mation available, and in others, there is no information available and default fractions are applied as a result.
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E. What are the benefits?                    included in the docket for this final rule     potential for EJ concerns associated with
                                             for the public’s understanding.                this source category in the baseline, as
   The EPA did not monetize the                 The baseline risk-based demographic         well as the substantial anticipated
benefits from the estimated emission         analysis is an assessment of risks to          benefits these final standards will have
reductions of HAP associated with this       individual demographic groups in the           in reducing EtO emissions and
final action. The EPA currently does not     population living within the 10 km and         associated health risks for all of the
have sufficient methods to monetize          50 km radii around the facilities prior to     affected public, including people living
benefits associated with HAP, HAP            the implementation of any controls             in communities with EJ concerns. Those
reductions, and risk reductions for this     finalized by this action (‘‘baseline’’).       benefits include that no individual is
rulemaking. However, we estimate that        Again, in this preamble, we present for        expected to be exposed to inhalation
the final rule amendments would              the public’s understanding the results         cancer risk levels above 100-in-1 million
reduce EtO emissions by 21 tons per          for populations living within 10 km of         due to emissions from this source
year and expect that these reductions        facilities. Results for populations living     category after implementation of all the
will lower the risk of adverse health        within 50 km are included in the               CAA standards finalized in this action.
effects, including cancer, for individuals   technical report included in the docket           The methodology and detailed results
in communities near commercial               for this final rule.                           of the demographic analysis are
sterilization facilities. For example, the      Overall, the results of the proximity       presented in a technical report, Analysis
estimated cancer incidence due to            demographic analysis (see first three          of Demographic Factors for Populations
emissions from the source category           columns of table 23) indicate that the         Living Near Ethylene Oxide Commercial
would be reduced from 0.9 to between         percent of the population living within        Sterilization and Fumigation
0.1 to 0.2, or from 1 cancer case every      10 km of the 88 facilities that is             Operations, available in the docket for
1.1 years to 1 cancer case every 5 to 10     Hispanic or Latino is substantially            this action, but a synopsis is provided
years.                                       higher than the national average (36
                                                                                            below. We also received comments on
                                             percent versus 19 percent), driven
F. What analysis of environmental                                                           the demographic analysis. Those
                                             largely by the seven facilities in Puerto
justice did we conduct?                                                                     comments and our specific responses
                                             Rico. The baseline proximity analysis
                                                                                            can be found in the document,
   Consistent with applicable executive      indicates that the proportion of other
                                                                                            Summary of Public Comments and
orders and EPA policy, the EPA has           demographic groups living within 10
                                                                                            Responses for the 2024 Risk and
carefully analyzed the environmental         km of commercial sterilizers is closer to
                                                                                            Technology Review for Commercial
justice implications of the benefits         the national average. The baseline risk-
                                                                                            Sterilization Facilities, available in the
associated with the reductions in EtO        based demographic analysis (see
                                                                                            docket for this rulemaking.
emissions as a result of this final rule.    ‘‘baseline’’ column in tables 23 to 25),
The EPA conducted this analysis for the      which presents information for                 1. Demographics
purpose of providing the public with as      individuals that are expected to have
                                             higher cancer risks (greater than or              The first three columns of tables 23,
full as possible an understanding of the                                                    24, and 25 of this document show the
potential impacts of this final action.      equal to 1-in-1 million, greater than or
                                             equal to 50-in-1 million, and greater          total population, population
The EPA believes that analyses like this                                                    percentages, and population count for
can inform the public’s understanding,       than 100-in-1 million), suggests that the
                                             African American, Hispanic or Latino,          each demographic group for the
place EPA’s action in context, and help,                                                    nationwide population and the total
identify and illustrate the extent of        below the poverty level, over 25 and
                                             without a high school diploma, and             population living within 10 km of EtO
potential burdens and protections.                                                          sterilization facilities. A total of 17.3
                                             linguistically isolated demographic
   As part of understanding the impacts                                                     million people live within 10 km of the
                                             groups are also disproportionally
of this source category and of this final    represented at the higher risk levels.         88 facilities that were assessed. The
rule, we examined the potential for the         The post-control risk-based                 results of the proximity demographic
88 facilities that were assessed to pose     demographic analysis presents                  analysis indicate that the percent of the
concerns to communities with EJ              information on current health risks and        population that is Hispanic or Latino is
concerns both in the baseline i.e., under    how the standards considered in this           substantially higher than the national
the current standards) standards             final regulatory action would affect the       average (36 percent versus 19 percent),
considered in this final rule.               distribution of these risks across the         driven by the seven facilities in Puerto
   To examine the potential for EJ           populations and communities identified         Rico, where an average of 99 percent of
concerns in the pre-control baseline, we     in the baseline. The CAA section               the 658,000 people living within 10 km
conducted two baseline demographic           112(d)(2), (3), and (5) post-control           of the facilities in PR are Hispanic or
analyses, a proximity analysis and a         scenario is shown in tables 23 to 25 and       Latino. The percent of the population
risk-based analysis. The baseline            the residual risk post-control options are     that is ‘‘Other and multiracial’’ (11
proximity demographic analysis is an         shown in tables 26 to 28. The post-            percent) is higher than the national
assessment of individual demographic         control options show a substantial             average (8 percent). The percent of
groups in the total population living        reduction in the number of individuals         people living below the poverty level
within 10 kilometers (km) and 50 km of       at each risk level, as well as a significant   (15 percent) and those over the age of
the facilities. In this preamble, we focus   reduction in the proportion of African         25 without a high school diploma (16
on the 10 km radius for the health risk      Americans that experience higher risk          percent) are higher than the national
assessment and for the demographic           levels from facilities in this source          averages (13 percent and 12 percent,
analysis because it encompasses all the      category. We project that a majority of        respectively). The percent of people
facility MIR locations and captures 100      the individuals that would remain at           living in linguistic isolation 69 is double
percent of the population with risks         risk after implementation of the final
                                                                                               69 Linguistic Isolation is defined in the U.S.
greater than 100-in-1 million. The           standards are Hispanic or Latino, driven
                                                                                            Census Bureau’s American Community Survey as
results of the proximity analysis for        largely by the facilities in Puerto Rico.      ‘‘a household in which all members age 14 years
populations living within 50 km are             These three distinct but                    and over speak a non-English language and also
included in the technical report             complementary analyses indicate the                                                      Continued
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the national average (10 percent versus                  equal to 50-in-1 million (124,000            million (table 23), greater than or equal
5 percent). We note that this estimate of                people), and greater than 100-in-1           to 50-in-1 million (table 24), and greater
linguistic isolation is largely driven by                million (19,000 people) are                  than 100-in-1 million (table 25) after
the facilities in Puerto Rico, where an                  predominantly made up of African             implementation of standards that we are
average of 67 percent of the population                  Americans (43 and 31 percent versus 12       finalizing under CAA sections 112(d)(2),
is in linguistic isolation in comparison                 percent nationally), and have a higher       (3), and (5). The results of our analysis
to the national average.                                 percentage of the population below the       of risk-based demographics considering
   In summary, the baseline proximity                    poverty level (22 and 25 percent versus      standards under CAA sections 112(d)(2),
analysis indicates that the percent of                   13 percent nationally). For this same        (3), and (5) are shown in the last column
Hispanic or Latino populations living                    group, the percent over 25 without a         of tables 23, 24, and 25 titled ‘‘Baseline
near commercial sterilizers (within 10                   high school diploma is above the             and CAA Section 112(d)(2), (3), and
km) is higher than what would be                         national average (17 and 18 percent          (5).’’ In this analysis we evaluated how
expected based on the national average                   versus 12 percent), and linguistic           the final CAA sections 112(d)(2), (3),
distribution. This is largely driven by                  isolation is above the national average (9   and (5) emission reductions in this final
the seven facilities located in Puerto                   and 16 percent versus 5 percent). This       regulatory action affect the distribution
Rico where, on average, the population                   shows that risks tend to be higher both      of risks identified in the baseline. This
of 658,000 people living within 10 km                    where more African American residents        enables us to characterize the post-
of these seven facilities is 99 percent                  reside, and where poverty is higher than     control risks and to illustrate for the
Hispanic or Latino. In addition, the                     in the rest of the area within 10 km. It     public’s understanding whether this
population around the facilities in                      should be noted that the higher              part of the final action affects, creates or
Puerto Rico has 67 percent living in                     percentage African American                  mitigates potential EJ concerns as
linguistic isolation, 45 percent living                  population with baseline cancer risk         compared to the baseline.
below the poverty level, and 24 percent                  greater than or equal to 50-in-1 million        The risk analysis indicated that the
over 25 without a high school diploma.                   is driven largely by seven facilities        emissions from the source category,
                                                         located in or near communities that          after implementation of the standards
2. Baseline Risk-Based Demographics
                                                         have African American populations that       (resulting in emissions reductions) that
   The baseline risk-based demographic                   are between two and eight times the          we are finalizing under CAA sections
analysis results are shown in the                        national average. The higher percentage      112(d)(2), (3), and (5), reduces the
‘‘baseline’’ column of tables 23, 24, and                African American population with             number of people living within 10 km
25. This analysis presented information                  baseline cancer risk greater than 100-in-    of a facility and with a cancer risk
on the populations living within 10 km                   1 million is driven largely by three         greater than or equal to 1-in-1 million
of the facilities with estimated actual                  facilities that are located in               from 5.3 million people around 75
cancer risks greater than or equal to 1-                 communities where the proportion of          facilities to 3.2 million people around
in-1 million (table 23), greater than or                 African American residents is between        70 facilities, reduces the number of
equal to 50-in-1 million (table 24), and                 2.5 and 8 times the national average.        people living within 10 km of a facility
greater than 100-in-1 million (table 25).                The population with higher baseline          and with a cancer risk greater than or
The risk analysis indicated that                         cancer risks living within 10 km of the      equal to 50-in-1 million from 124,000
emissions from the source category,                      facilities consists of a substantially       people around 38 facilities to 23,000
prior to the reductions we are finalizing,               smaller percentage of Hispanic or Latino     people around 23 facilities, and reduces
expose a total of 5.3 million people to                  (22 and 26 percent) than the total           the number of people living within 10
a cancer risk greater than or equal to 1-                population living within 10 km (36           km of a facility and with a cancer risk
in-1 million around 75 facilities,                       percent Hispanic or Latino) and is above     greater than 100-in-1 million from
124,000 people to a cancer risk greater                  the national average (19 percent).           19,000 people around 16 facilities to
than or equal to 50-in-1 million around                     In summary, the baseline risk-based       3,900 people around 13 facilities.
38 facilities, and 19,000 people to a                    demographic analysis, which presents            The demographics of the population
cancer risk greater than 100-in-1 million                information on those specific locations      with estimated cancer risks greater than
around 16 facilities. The demographics                   that are expected to have higher cancer      or equal to 1-in-1 million considering
of the baseline population with                          risks, suggests that African Americans,      the standards we are finalizing under
estimated cancer risks greater than or                   those living below poverty, and those        CAA sections 112(d)(2), (3), and (5) are
equal to 1-in-1 million are very similar                 living in linguistic isolation are           very similar to both the total population
to the total population within 10 km.                    disproportionally represented where          within 10 km and to the baseline
Specifically, the percent of the                         risk is highest. The population with         population with risks greater than or
population that is Hispanic or Latino is                 risks greater than 100-in-1 million living   equal to 1-in-1 million. Specifically, the
more than two times larger than the                      within 10 km of a commercial sterilizer      percent of the population that is
national average (39 percent versus 19                   has a proportion of African Americans        Hispanic or Latino is twice the national
percent), the percent below the poverty                  (31 percent), those living below poverty     average (38 percent versus 19 percent),
level is above national average (16                      (25 percent) and those living in             the percent below the poverty level is
percent versus 13 percent), the percent                  linguistic isolation (16 percent) that is    above national average (16 percent
over 25 without a high school diploma                    more than twice as large as the              versus 13 percent), the percent over 25
is above the national average (18 percent                respective national average.                 without a high school diploma is above
versus 12 percent), and the percent                                                                   the national average (18 percent versus
                                                         3. Risks Across Demographics                 12 percent), and the percent linguistic
linguistic isolation is two times the                    Anticipated After Standards Under CAA
national average (11 percent versus 5                                                                 isolation is two times the national
                                                         Sections 112(d)(2), 112(d)(3), and           average (11 percent versus 5 percent).
percent).                                                112(d)(5)
   In contrast, the smaller populations                                                                  After implementation of the standards
with baseline cancer risk greater than or                   This analysis presented information       that we are finalizing under CAA
                                                         on the populations living within 10 km       sections 112(d)(2), (3), and (5), the
speak English less than ‘‘very well’’ (have difficulty   of the facilities with estimated cancer      percentage and number of African
with English).’’                                         risks greater than or equal to 1-in-1        Americans at cancer risks greater than
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or equal to 50-in-1 million and greater                                     emissions reductions. However,.                                          the number of people in all
than 100-in-1 million is significantly                                      Similarly, the number of people below                                    demographic groups that are exposed to
reduced. For example, African                                               the poverty level or linguistically                                      risks greater than or equal to 1-in-1
Americans exposed to risks greater than                                     isolated with a cancer risk >100-in-1                                    million, greater than and equal to 50-in-
100-in-1 million went from 31 percent                                       million decreased significantly;                                         1 million, and greater than 100-in-1
or 5,900 people in the baseline to 6                                        however, the percentage of the                                           million. Specifically, the percent of the
percent or 220 people after                                                 remaining population at risk post-                                       population that is African American
implementation of the final CAA section                                     emission controls that are in these                                      who are at a cancer risk greater than or
112(d)(2), 112(d)(3), and 112(d)(5)                                         demographics went up from the                                            equal to 50-in-1 million and greater than
emissions reductions. It should be noted                                    baseline. For example, the proportion of
                                                                                                                                                     100-in-1 million was reduced from 43
that while the number of Hispanic or                                        the population with risks greater than
                                                                                                                                                     percent in the baseline to about 13
Latino people with risks greater than                                       100-in-1 million that were below the
100-in-1 million was reduced from                                                                                                                    percent after the CAA section 112(d)(2),
                                                                            poverty level was much higher than the
4,900 to 2,600 people, the percentage of                                    baseline (38 percent versus 25 percent),                                 112(d)(3), and 112(d)(5) controls. The
the remaining population at >100-in-1                                       but the number of people was reduced                                     percentage of Hispanic or Latino people
million risk that is Hispanic or Latino                                     from 4,700 people to 560 people.                                         increased as the higher risk facilities in
went up from 26 percent in the baseline                                        In summary, implementation of the                                     Puerto Rico make-up an increasing
to 68 percent after the final CAA section                                   final CAA sections 112(d)(2), (3), and (5)                               portion of the remaining populations
112(d)(2), 112(d)(3), and 112(d)(5)                                         standards would significantly reduce                                     with higher cancer risks.

 TABLE 23—COMPARISON AT BASELINE AND CAA SECTION 112(d)(2), (3), AND (5) POST-CONTROL OF DEMOGRAPHICS OF
    POPULATIONS WITH CANCER RISK GREATER THAN OR EQUAL TO 1-IN-1 MILLION LIVING WITHIN 10 KM OF FACILITIES
    THAT WERE ASSESSED
                                                                                                                                                        Total        Cancer risk ≥ 1-in-1 million
                                                                                                                                                     population
                                                                                                                                                        living
                                           Demographic group                                                               Nationwide               within 10 km      Baseline        Post-control
                                                                                                                                                       of EtO
                                                                                                                                                      facilities

Total Population ...............................................................................................                        328M               17.3M             5.3M              3.2M
Number of Facilities .........................................................................................           ........................              88              75                70

                                                                      Race and Ethnicity by Percent [Number of People]

White ................................................................................................................        60 percent               40 percent     40 percent        40 percent
                                                                                                                                  [197M]                   [6.9M]          [2.1M]            [1.3M]
African American .............................................................................................                12 percent               13 percent     15 percent        16 percent
                                                                                                                                    [40M]                  [2.3M]          [770K]            [520K]
Native American ..............................................................................................                0.7 percent             0.3 percent     0.3 percent       0.3 percent
                                                                                                                                     [2M]                   [51K]            [17K]              [9K]
Hispanic or Latino (includes white and nonwhite) ...........................................                                  19 percent               36 percent     39 percent        38 percent
                                                                                                                                    [62M]                  [6.2M]          [2.1M]            [1.2M]
Other and Multiracial .......................................................................................                   8 percent             11 percent        7 percent         6 percent
                                                                                                                                   [27M]                   [1.9M]          [350K]            [190K]

                                                                                Income by Percent [Number of People]

Below Poverty Level ........................................................................................                   13 percent              15 percent      16 percent        16 percent
                                                                                                                                   [44M]                    [2.5M]         [840K]            [520K]
Above Poverty Level ........................................................................................                   87 percent              85 percent      84 percent        84 percent
                                                                                                                                  [284M]                  [14.8M]          [4.5M]            [2.7M]

                                                                              Education by Percent [Number of People]

Over 25 and without a High School Diploma ..................................................                                   12 percent              16 percent      18 percent        18 percent
                                                                                                                                   [40M]                    [2.7M]         [960K]            [590K]
Over 25 and with a High School Diploma .......................................................                                 88 percent               84percent      82 percent        82 percent
                                                                                                                                  [288M]                  [14.6M]          [4.3M]            [2.7M]

                                                                    Linguistically Isolated by Percent [Number of People]

Linguistically Isolated .......................................................................................                  5 percent             10 percent      11 percent        11 percent
                                                                                                                                    [18M]                  [1.8M]          [570K]            [360K]
  Notes:
  • Nationwide population and demographic percentages are based on the Census Bureau’s (Census) 2015–2019 American Community Survey
(ACS) 5-year block group averages. Total population count within 10 km is based on 2010 Decennial Census block population.
  • To avoid double counting, the ‘‘Hispanic or Latino’’ category is treated as a distinct demographic category. A person who identifies as His-
panic or Latino is counted as Hispanic or Latino, regardless of race.
  • The number of facilities represents facilities with a cancer MIR above level indicated. When the MIR was located at a user assigned receptor
at an individual residence and not at a census block centroid, we were unable to estimate population and demographics for that facility.
  • The sum of individual populations with a demographic category may not add up to total due to rounding.
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 TABLE 24—COMPARISON AT BASELINE AND CAA SECTION 112(d)(2), (3), AND (5) POST-CONTROL OF DEMOGRAPHICS OF
    POPULATIONS WITH CANCER RISK GREATER THAN OR EQUAL TO 50-IN-1 MILLION LIVING WITHIN 10 KM OF FACILI-
    TIES THAT WERE ASSESSED

                                                                                                                                                          Total      Cancer risk ≥ 50-in-1 million
                                                                                                                                                      population
                                           Demographic group                                                               Nationwide                living within
                                                                                                                                                    10 km of EtO       Baseline        Post-control
                                                                                                                                                        facilities

Total Population ...............................................................................................                        328M                17.3M          124,000            23,000
Number of Facilities .........................................................................................           ........................               88              38                23

                                                                      Race and Ethnicity by Percent [Number of People]

White ................................................................................................................        60 percent                40 percent     31 percent        30 percent
                                                                                                                                  [197M]                    [6.9M]           [39K]               [7K]
African American .............................................................................................                12 percent                13 percent     43 percent        13 percent
                                                                                                                                    [40M]                   [2.3M]           [54K]             [2.9K]
Native American ..............................................................................................                0.7 percent              0.3 percent     0.1 percent       0.1 percent
                                                                                                                                     [2M]                    [51K]           [190]            [<100]
Hispanic or Latino (includes white and nonwhite) ...........................................                                  19 percent                36 percent     22 percent        56 percent
                                                                                                                                    [62M]                   [6.2M]           [27K]              [13K]
Other and Multiracial .......................................................................................                   8 percent              11 percent        3 percent         2 percent
                                                                                                                                   [27M]                    [1.9M]          [3.9K]              [400]

                                                                                Income by Percent [Number of People]

Below Poverty Level ........................................................................................                   13 percent              15 percent       22 percent        29 percent
                                                                                                                                   [44M]                    [2.5M]           [28K]            [6.6K]
Above Poverty Level ........................................................................................                   87 percent              85 percent       78 percent        71 percent
                                                                                                                                  [284M]                  [14.8M]            [96K]             [17K]

                                                                              Education by Percent [Number of People]

Over 25 and without a High School Diploma ..................................................                                   12 percent              16 percent       17 percent        21 percent
                                                                                                                                   [40M]                    [2.7M]            [21K]             [5K]
Over 25 and with a High School Diploma .......................................................                                 88 percent              84 percent       83 percent        79 percent
                                                                                                                                  [288M]                  [14.6M]           [103K]             [18K]

                                                                    Linguistically Isolated by Percent [Number of People]

Linguistically Isolated .......................................................................................                  5 percent             10 percent        9 percent        30 percent
                                                                                                                                    [18M]                  [1.8M]            [11K]            [6.9K]
  Notes:
  • Nationwide population and demographic percentages are based on Census’ 2015–2019 ACS 5-year block group averages. Total population
count within 10 km is based on 2010 Decennial Census block population.
  • To avoid double counting, the ‘‘Hispanic or Latino’’ category is treated as a distinct demographic category. A person who identifies as His-
panic or Latino is counted as Hispanic or Latino, regardless of race.
  • The number of facilities represents facilities with a cancer MIR above level indicated. When the MIR was located at a user assigned receptor
at an individual residence and not at a census block centroid, we were unable to estimate population and demographics for that facility.
  • The sum of individual populations with a demographic category may not add up to total due to rounding.
  • To account for the uncertainty of demographics estimates in smaller populations, any population values of 100 persons or less have been
shown simply as ‘‘<100.’’

 TABLE 25—COMPARISON AT BASELINE AND CAA SECTION 112(d)(2), (3), AND (5) POST-CONTROL OF DEMOGRAPHICS OF
    POPULATIONS WITH CANCER RISK GREATER THAN 100-IN-1 MILLION LIVING WITHIN 10 KM OF FACILITIES THAT
    WERE ASSESSED
                                                                                                                                                          Total      Cancer risk > 100-in-1 million
                                                                                                                                                      population
                                           Demographic group                                                               Nationwide                living within
                                                                                                                                                    10 km of EtO       Baseline        Post-control
                                                                                                                                                        facilities

Total Population ...............................................................................................                        328M                17.3M           19,000             3,900
Number of Facilities .........................................................................................           ........................               88              16                13

                                                                      Race and Ethnicity by Percent [Number of People]

White ................................................................................................................        60 percent                40 percent     40 percent         25 percent
                                                                                                                                  [197M]                    [6.9M]           [7.7K]             [1K]
African American .............................................................................................                12 percent                13 percent     31 percent          6 percent
                                                                                                                                    [40M]                     [3M]           [5.9K]            [200]
Native American ..............................................................................................                0.7 percent              0.3 percent     0.1 percent         0 percent
                                                                                                                                     [2M]                    [51K]          [<100]                [0]
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 TABLE 25—COMPARISON AT BASELINE AND CAA SECTION 112(d)(2), (3), AND (5) POST-CONTROL OF DEMOGRAPHICS OF
    POPULATIONS WITH CANCER RISK GREATER THAN 100-IN-1 MILLION LIVING WITHIN 10 KM OF FACILITIES THAT
    WERE ASSESSED—Continued
                                                                                                                                       Total      Cancer risk > 100-in-1 million
                                                                                                                                   population
                                         Demographic group                                                        Nationwide      living within
                                                                                                                                 10 km of EtO       Baseline        Post-control
                                                                                                                                     facilities

Hispanic or Latino (includes white and nonwhite) ...........................................                        19 percent      36 percent       26 percent        68 percent
                                                                                                                         [62M]          [6.2M]           [4.9K]             [2.6K]
Other and Multiracial .......................................................................................        8 percent      11 percent        3 percent         1 percent
                                                                                                                        [27M]           [1.9M]            [500]            [<100]

                                                                           Income by Percent [Number of People]

Below Poverty Level ........................................................................................        13 percent      15 percent       25 percent        38 percent
                                                                                                                        [44M]            [2.5M]          [4.7K]            [1.4K]
Above Poverty Level ........................................................................................        87 percent      85 percent       75 percent        62 percent
                                                                                                                       [284M]          [14.8M]            [14K]            [2.4K]

                                                                         Education by Percent [Number of People]

Over 25 and without a High School Diploma ..................................................                        12 percent      16 percent       18 percent        22 percent
                                                                                                                        [40M]            [2.7M]          [3.5K]             [900]
Over 25 and with a High School Diploma .......................................................                      88 percent      84 percent       82 percent        78 percent
                                                                                                                       [288M]          [14.6M]            [16K]              [3K]

                                                                Linguistically Isolated by Percent [Number of People]

Linguistically Isolated .......................................................................................      5 percent      10 percent       16 percent        44 percent
                                                                                                                        [18M]           [1.8M]             [3K]            [1.7K]
  Notes:
  • Nationwide population and demographic percentages are based on Census’ 2015–2019 ACS 5-year block group averages. Total population
count within 10 km is based on 2010 Decennial Census block population.
  • To avoid double counting, the ‘‘Hispanic or Latino’’ category is treated as a distinct demographic category. A person who identifies as His-
panic or Latino is counted as Hispanic or Latino, regardless of race.
  • The number of facilities represents facilities with a cancer MIR above level indicated. When the MIR was located at a user assigned receptor
at an individual residence and not at a census block centroid, we were unable to estimate population and demographics for that facility.
  • The sum of individual populations with a demographic category may not add up to total due to rounding.
  • To account for the uncertainty of demographics estimates in smaller populations, any population values of 100 persons or less have been
shown simply as ‘‘<100.’’


4. Demographics of Affected                                            enables us to characterize the post-                           The demographics of the post-control
Populations Anticipated After                                          control risks and to understand whether                     population living within 10 km of a
Implementation of Residual Risk                                        the final action affects, creates or                        facility and with an estimated cancer
Standards (Post-Control)                                               mitigates potential EJ concerns as                          risks greater than or equal to 1-in-1
   This analysis presented information                                 compared to the baseline.                                   million after implementation of the
on the populations living within 10 km                                                                                             residual risk standards and resulting
                                                                          The risk analysis indicated that the
of the facilities with estimated cancer                                                                                            controls (table 26) are very similar to the
                                                                       number of people exposed to risks
risks greater than or equal to 1-in-1                                                                                              CAA section 112(d)(2), (3), and (5) post-
                                                                       greater than or equal to 1-in-1 million                     control population with risks greater
million (table 26), greater than or equal                              within 10 km of a facility (table 26) is
to 50-in-1 million (table 27), and greater                                                                                         than or equal to 1-in-1 million.
                                                                       reduced from 3.2 million people after                       Specifically, the percent of the
than 100-in-1 million (table 28) after
                                                                       implementation of the CAA section                           population that is Hispanic or Latino is
implementation of the standards being
                                                                       112(d)(2), (3), and (5) controls to                         nearly twice the national average (34
finalized under CAA section 112(f)(2) as
                                                                       approximately 700,000 people after                          percent versus 19 percent), the percent
described in section IV.C of this
preamble. The demographic results for                                  implementation of the residual risk                         below poverty is above national average
the risks after implementation of the                                  standards. This represents a significant                    (15 percent versus 13 percent), the
residual risk-based controls are in the                                reduction (about 80 percent reduction)                      percent over 25 without a high school
column titled ‘‘Residual Risk                                          in the size of the population facing this                   diploma is above the national average
Standards.’’ These standards will be                                   level of risk after implementation of the                   (15 percent versus 12 percent), and the
implemented in addition to the CAA                                     residual risk standards being finalized,                    percent linguistic isolation is almost
section 112(d)(2), (3), and (5) standards                              when compared to the population facing                      two times the national average (11
and are anticipated to result in                                       this level of risk after implementation of                  percent versus 5 percent).
additional post-control emissions                                      just the CAA section 112(d)(2), (3), and                       The risk analysis indicated that the
reductions. Therefore, in this analysis,                               (5) controls. The people with a cancer                      number of people living within 10 km
we evaluated how all of the final                                      risk greater than or equal to 1-in-1                        of a facility and exposed to risks greater
standards and emission reductions                                      million are located around 67 facilities                    than or equal to 50-in-1 million (table
described in this action affect the                                    after implementation of the residual risk                   27) is reduced from 23,000 people after
reduction and distribution of risks. This                              standard-based controls.                                    implementation of the CAA section
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112(d)(2), (3), and (5)-based controls to                                   Hispanic or Latino people with risks                                         demographic analysis, the standards
170 people after implementation of the                                      greater than or equal to 50-in-1 million                                     being finalized will reduce the number
residual risk-based controls. This                                          was reduced by about 99 percent from                                         of people and facilities expected to have
represents a 99 percent reduction in the                                    13,000 people to 130 people after                                            cancer risks greater than or equal to 1-
size of the populations at risk. The                                        anticipated implementation of the                                            in-1 million, greater than or equal to 50-
people living within 10 km of a facility                                    residual risk standard-based controls.                                       in-1 million, and greater than 100-in-1
and with a cancer risk greater than or                                      Similarly, the percentage of the                                             million significantly. Under residual
equal to 50-in-1 million after                                              population that is below the poverty                                         risk-based controls, the number of
implementation of the final rule are                                        level or linguistically isolated went up                                     Hispanic or Latino people that are
located around 11 facilities.                                               from the CAA section 112(d)(2), (3), and                                     exposed to risks greater than or equal to
   The demographic breakdown of the                                         (5) post-control population, but the                                         1-in-1 million is reduced by 80 percent,
much smaller post-control population                                        number of people in each demographic                                         the number of Hispanic or Latino people
living within 10 km of a facility and                                       decreased significantly.                                                     that are exposed to risks greater than or
with estimated cancer risks greater than                                       The risk analysis indicated that the                                      equal to 50-in-1 million is reduced by
or equal to 50-in-1 million for the                                         number of people living within 10 km                                         99 percent, and the number of Hispanic
residual risk controls (table 27) is                                        of a facility and exposed to risks greater                                   or Latino people that are exposed to
significantly different from the                                            than 100-in-1 million (table 28) is                                          risks greater than 100-in-1 million is
population after implementation of the                                      reduced from 3,900 people after                                              reduced by 100 percent. We note that,
CAA section 112(d)(2), (3), and (5)                                         implementation of the CAA section                                            primarily driven by the higher risk
controls. Specifically for the 170                                          112(d)(2), (3), and (5)-based controls to                                    facilities in Puerto Rico, the percentage
individuals still at greater than or equal                                  zero people for residual risk-based                                          of population that is Hispanic or Latino,
to 50-in-1 million risk, the percent of                                     controls. After implementation of the                                        below the poverty level, over 25 without
the population that is Hispanic or                                          residual risk standards, there are no                                        a high school diploma, or in linguistic
Latino is significantly higher at 76                                        facilities or people with risks greater                                      isolation increases as the cancer risk
percent for the residual risk controls.                                     than 100-in-1 million. Therefore, there                                      increases from greater than or equal to
This higher percentage is driven by two                                     are no greater than 100-in-1 million risk                                    1-in-1 million to greater than 50-in-1
facilities in Puerto Rico, for which the                                    populations or demographics to discuss.                                      million. Under residual risk-based
population is over 99 percent Hispanic                                         In summary, as shown in the residual                                      controls, there are no facilities or people
or Latino. However, the number of                                           risk post-control risk-based                                                 with risks greater than 100-in-1 million.

 TABLE 26—COMPARISON OF DEMOGRAPHICS FOR POPULATIONS WITH CANCER RISK GREATER THAN OR EQUAL TO 1-IN-1
    MILLION LIVING WITHIN 10 KM OF STERILIZER FACILITIES AFTER IMPLEMENTATION OF VARIOUS COMPONENTS OF THE
    FINAL STANDARDS
                                                                                                                                                                                  Cancer risk ≥1-in-1 million

                                                                                                                                                                                 Post-control     Residual risk
                                                         Demographic group                                                                             Nationwide                CAA section        standards
                                                                                                                                                                                112(d)(2), (3),   (CAA section
                                                                                                                                                                                and (5) stand-      112(f)(2))
                                                                                                                                                                                     ards

Total Population ...........................................................................................................................                        328M                  3.2M             700K
Number of Facilities with Pop. Above Cancer Level ...................................................................                                ........................                70              67

                                                                       Race and Ethnicity by Percent [Number of People]

White ............................................................................................................................................         60 percent               40 percent        40 percent
                                                                                                                                                               [197M]                   [1.3M]            [280K]
African American .........................................................................................................................                12 percent                16 percent        18 percent
                                                                                                                                                                 [40M]                  [520K]            [130K]
Native American ..........................................................................................................................                0.7 percent              0.3 percent       0.2 percent
                                                                                                                                                                   [2M]                    [9K]            [2.2K]
Hispanic or Latino (includes white and nonwhite) .......................................................................                                   19 percent              38 percent        34 percent
                                                                                                                                                                 [62M]                  [1.2M]            [240K]
Other and Multiracial ...................................................................................................................                   8 percent                6 percent         8 percent
                                                                                                                                                                [27M]                   [190K]              [53K]

                                                                                 Income by Percent [Number of People]

Below Poverty Level ....................................................................................................................                   13 percent               16 percent       15 percent
                                                                                                                                                               [44M]                    [520K]           [100K]
Above Poverty Level ....................................................................................................................                   87 percent               84 percent       85 percent
                                                                                                                                                              [284M]                      [7M]           [600K]

                                                                              Education by Percent [Number of People]

> 25 w/o a HS Diploma ...............................................................................................................                      12 percent               18 percent       15 percent
                                                                                                                                                               [40M]                    [590K]           [110K]
> 25 w/HS Diploma ......................................................................................................................                   88 percent               82 percent       85 percent
                                                                                                                                                              [288M]                    [2.7M]           [590K]
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 TABLE 26—COMPARISON OF DEMOGRAPHICS FOR POPULATIONS WITH CANCER RISK GREATER THAN OR EQUAL TO 1-IN-1
    MILLION LIVING WITHIN 10 KM OF STERILIZER FACILITIES AFTER IMPLEMENTATION OF VARIOUS COMPONENTS OF THE
    FINAL STANDARDS—Continued
                                                                                                                                                                                  Cancer risk ≥1-in-1 million

                                                                                                                                                                                 Post-control     Residual risk
                                                         Demographic group                                                                             Nationwide                CAA section        standards
                                                                                                                                                                                112(d)(2), (3),   (CAA section
                                                                                                                                                                                and (5) stand-      112(f)(2))
                                                                                                                                                                                     ards

                                                                    Linguistically Isolated by Percent [Number of People]

Linguistically Isolated ...................................................................................................................                  5 percent              11 percent       11 percent
                                                                                                                                                                [18M]                   [360K]            [80K]
  Notes:
  • Nationwide population and demographic percentages are based on Census’ 2015–2019 ACS 5-year block group averages. Total population
count within 10 km is based on 2010 Decennial Census block population.
  • To avoid double counting, the ‘‘Hispanic or Latino’’ category is treated as a distinct demographic category. A person who identifies as His-
panic or Latino is counted as Hispanic or Latino, regardless of race.
  • The number of facilities represents facilities with a cancer MIR above level indicated. When the MIR was located at a user assigned receptor
at an individual residence and not at a census block centroid, we were unable to estimate population and demographics for that facility.
  • The sum of individual populations with a demographic category may not add up to total due to rounding.

 TABLE 27—COMPARISON OF DEMOGRAPHICS FOR POPULATIONS WITH CANCER RISK GREATER THAN OR EQUAL TO 50-IN-
    1 MILLION LIVING WITHIN 10 KM OF STERILIZER FACILITIES AFTER IMPLEMENTATION OF VARIOUS COMPONENTS OF
    THE FINAL RULE

                                                                                                                                                                                 Cancer risk ≥50-in-1 million
                                                                                                                                                                                        post-control

                                                         Demographic group                                                                             Nationwide                CAA section      Residual risk
                                                                                                                                                                                112(d)(2), (3),    standards
                                                                                                                                                                                   and (5)         (112(f)(2))
                                                                                                                                                                                  standards

Total Population ...........................................................................................................................                        328M                23,000               170
Number of Facilities with Pop. Above Cancer Level ...................................................................                                ........................               23                11

                                                                       Race and Ethnicity by Percent [Number of People]

White ............................................................................................................................................         60 percent               30 percent        12 percent
                                                                                                                                                               [197M]                      [7K]           [<100]
African American .........................................................................................................................                12 percent                13 percent        11 percent
                                                                                                                                                                 [40M]                  [2.9K]            [<100]
Native American ..........................................................................................................................                0.7 percent              0.1 percent       0.3 percent
                                                                                                                                                                   [2M]                  [190]            [<100]
Hispanic or Latino (includes white and nonwhite) .......................................................................                                   19 percent              56 percent        76 percent
                                                                                                                                                                 [62M]                   [13K]              [130]
Other and Multiracial ...................................................................................................................                   8 percent                2 percent       0.4 percent
                                                                                                                                                                [27M]                    [400]            [<100]

                                                                                 Income by Percent [Number of People]

Below Poverty Level ....................................................................................................................                   13 percent               29 percent       30 percent
                                                                                                                                                               [44M]                    [6.6K]           [<100]
Above Poverty Level ....................................................................................................................                   87 percent               71 percent       70 percent
                                                                                                                                                              [284M]                     [17K]             [120]

                                                                              Education by Percent [Number of People]

>25 w/o a HS Diploma ................................................................................................................                      12 percent               21 percent       31 percent
                                                                                                                                                                [40M]                     [5K]           [<100]
>25 w/HS Diploma .......................................................................................................................                   88 percent               79 percent       69 percent
                                                                                                                                                              [288M]                     [18K]             [120]

                                                                    Linguistically Isolated by Percent [Number of People]

Linguistically Isolated ...................................................................................................................                  5 percent              30 percent       47 percent
                                                                                                                                                                [18M]                   [6.9K]           [<100]
  Notes:
  • Nationwide population and demographic percentages are based on Census’ 2015–2019 ACS 5-year block group averages. Total population
count within 10 km is based on 2010 Decennial Census block population.
  • To avoid double counting, the ‘‘Hispanic or Latino’’ category is treated as a distinct demographic category. A person who identifies as His-
panic or Latino is counted as Hispanic or Latino, regardless of race.
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  • The number of facilities represents facilities with a cancer MIR above level indicated. When the MIR was located at a user assigned receptor
at an individual residence and not at a census block centroid, we were unable to estimate population and demographics for that facility.
  • The sum of individual populations with a demographic category may not add up to total due to rounding.
  • To account for the uncertainty of demographics estimates in smaller populations, any population values of 100 persons or less have been
shown simply as ‘‘<100’’.

 TABLE 28—COMPARISON OF DEMOGRAPHICS FOR POPULATIONS WITH CANCER RISK GREATER THAN 100-IN-1 MILLION
 LIVING WITHIN 10 KM OF STERILIZER FACILITIES AFTER IMPLEMENTATION OF VARIOUS COMPONENTS OF THE FINAL RULE
                                                                                                                                                                                Cancer risk >100-in-1 million

                                                                                                                                                                                 CAA section
                                                         Demographic group                                                                             Nationwide               112(d)(2), (3),     Residual risk
                                                                                                                                                                                and (5) post-         controls
                                                                                                                                                                                   control

Total Population ...........................................................................................................................                        328M                 3,900                          0
Number of Facilities with Pop. Above Cancer Level ...................................................................                                ........................               13                          0

                                                                       Race and Ethnicity by Percent [Number of People]

White ............................................................................................................................................         60 percent               25 percent     ........................
                                                                                                                                                               [197M]                      [1K]
African American .........................................................................................................................                12 percent                 6 percent     ........................
                                                                                                                                                                 [40M]                    [200]
Native American ..........................................................................................................................                0.7 percent                0 percent     ........................
                                                                                                                                                                   [2M]                      [0]
Hispanic or Latino (includes white and nonwhite) .......................................................................                                   19 percent               68 percent     ........................
                                                                                                                                                                 [62M]                   [2.6K]
Other and Multiracial ...................................................................................................................                   8 percent                1 percent     ........................
                                                                                                                                                                [27M]                   [<100]

                                                                                 Income by Percent [Number of People]

Below Poverty Level ....................................................................................................................                   13 percent               38 percent     ........................
                                                                                                                                                               [44M]                    [1.4K]
Above Poverty Level ....................................................................................................................                   87 percent               62 percent     ........................
                                                                                                                                                              [284M]                    [2.4K]

                                                                              Education by Percent [Number of People]

>25 w/o a HS Diploma ................................................................................................................                      12 percent               22 percent     ........................
                                                                                                                                                                [40M]                    [900]
>25 w/HS Diploma .......................................................................................................................                   88 percent               78 percent     ........................
                                                                                                                                                              [288M]                      [3K]

                                                                    Linguistically Isolated by Percent [Number of People]

Linguistically Isolated ...................................................................................................................                  5 percent              44 percent     ........................
                                                                                                                                                                [18M]                   [1.7K]
  Notes:
  • Nationwide population and demographic percentages are based on Census’ 2015–2019 ACS 5-year block group averages. Total population
count within 10 km is based on 2010 Decennial Census block population.
  • To avoid double counting, the ‘‘Hispanic or Latino’’ category is treated as a distinct demographic category. A person who identifies as His-
panic or Latino is counted as Hispanic or Latino, regardless of race.
  • The number of facilities represents facilities with a cancer MIR above level indicated. When the MIR was located at a user assigned receptor
at an individual residence and not at a census block centroid, we were unable to estimate population and demographics for that facility.
  • The sum of individual populations with a demographic category may not add up to total due to rounding.
  • To account for the uncertainty of demographics estimates in smaller populations, any population values of 100 persons or less have been
shown simply as ‘‘<100’’.


VI. Statutory and Executive Order                                           review. Documentation of any changes                                         B. Paperwork Reduction Act (PRA)
Reviews                                                                     made in response to the Executive Order
                                                                                                                                                           The information collection activities
A. Executive Orders 12866: Regulatory                                       12866 review is available in the docket.
                                                                                                                                                         in this rule have been submitted for
Planning and Review and Executive                                           The EPA prepared an analysis of the
                                                                                                                                                         approval to the Office of Management
Order 13563: Improving Regulation and                                       potential costs and benefits associated                                      and Budget (OMB) under the PRA. The
Regulatory Review                                                           with this action. This analysis,                                             Information Collection Request (ICR)
                                                                            Regulatory Impact Analysis for the Final                                     document that the EPA prepared has
  This action is a ‘‘significant regulatory
                                                                            National Emission Standards for                                              been assigned EPA ICR number 1666.12.
action’’, as defined under section 3(f)(1)
of Executive Order 12866, as amended                                        Hazardous Air Pollutants: Ethylene                                           You can find a copy of the ICR in the
by Executive Order 14094. Accordingly,                                      Oxide Commercial Sterilization and                                           docket for this rulemaking, and it is
the EPA submitted this action to the                                        Fumigation Operations, is also available                                     briefly summarized here.
Office of Management and Budget                                             in the docket.                                                                 We are amending the reporting and
(OMB) for Executive Order 12866                                                                                                                          recordkeeping requirements for several
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emission sources at commercial                to complete periodic reviews of              3. SBA Office of Advocacy Comments
sterilization facilities (e.g., SCV, ARV,     NESHAPs following initial                    and EPA Response
CEV, and room air emissions). The             promulgation. The requirements are              The SBA’s Office of Advocacy
amendments also require electronic            being finalized to address unacceptable      (hereafter referred to as ‘‘Advocacy’’)
reporting, removes the SSM exemption,         health risks linked to emissions from        provided substantive comments on the
and imposes other revisions that affect       subpart O facilities and to provide an       April 2023 Proposal. Those comments
reporting and recordkeeping. This             ample margin of safety to protect public     made the following claims: (1) the
information was be collected to assure        health.                                      proposed compliance period for existing
compliance with 40 CFR part 63,                  The EPA is required under CAA             sources (18 months) would
subpart O.                                    section 112(d) to establish emission         disadvantage small business; (2) the
  Respondents/affected entities:              standards for each category or               proposed requirement for area source
Owners or operators of commercial             subcategory of major and area sources of     commercial sterilization facilities to
sterilization facilities.                     HAPs listed for regulation in section        obtain a title V permit would impose
  Respondent’s obligation to respond:         112(b). These standards are applicable       significant costs and uncertainty for
Mandatory (40 CFR part 63, subpart O).        to new or existing sources of HAPs and
  Estimated number of respondents: 88                                                      small businesses; and (3) EPA should
                                              require the maximum degree of                adopt the BMP alternatives for GACT at
facilities.                                   emission reduction. The EPA is required
  Frequency of response: Quarterly,                                                        area source facilities. Based on those
                                              to review these standards set under          claims, Advocacy insisted that EPA
semiannual, or annual. Responses              CAA section 112 every eight years
include notification of compliance                                                         reconsider these policies to reduce the
                                              following their promulgation and revise      impact on small entities and reduce the
status reports and semiannual                 them as necessary, taking into account
compliance reports.                                                                        likelihood they will leave the market.
                                              any ‘‘developments in practices,                In response to Advocacy’s comments,
  Total estimated burden: 34,351 hours
                                              processes, or control technologies.’’ This   EPA agrees that the proposed
(per year) for the responding facilities
                                              review is known as the technology            compliance timeframe is too short and
and 9,174 hours (per year) for the
                                              review. It has been over 25 years since      that more time is needed to comply with
Agency. Burden is defined at 5 CFR
                                              the initial NESHAP for this source           the rule. Therefore, as part of the final
1320.3(b).
  Total estimated cost: $5,140,563 (per       category was promulgated in 1994 and         rulemaking, EPA is providing the
year), which includes $2,549,368              roughly 15 years since the last              maximum amount of time that is
annualized capital and operation and          technology review. As such, this final       allowed under the CAA to comply with
maintenance costs for the responding          rule is overdue. This rule also              the emission standards, which is three
facilities.                                   establishes standards for currently          years for standards that are promulgated
  An Agency may not conduct or                unregulated sources of EtO emissions at      pursuant to CAA section 112(d) and two
sponsor, and a person is not required to      subpart O facilities under CAA section       years for standards that are promulgated
respond to, a collection of information       112(d), such as room air emissions. The      pursuant to CAA section 112(f)(2). With
unless it displays a currently valid OMB      decision in Louisiana Environmental          respect to title V permitting, because of
control number. The OMB control               Action Network v. EPA, 955 F.3d 1088         the lack of other Federal requirements
numbers for the EPA’s regulations in 40       (D.C. Cir. 2020) concluded that the EPA      under the CAA that commercial
CFR are listed in 40 CFR part 9. When         is required to address regulatory gaps       sterilization facilities are subject to, as
OMB approves this ICR, the Agency will        (i.e., ‘‘gap-filling’’) when conducting      well as the robust monitoring and
announce that approval in the Federal         NESHAP reviews. Finally, the EPA             reporting requirements of the final rule,
Register and publish a technical              determined that a risk review was            the EPA is not finalizing a requirement
amendment to 40 CFR part 9 to display         warranted (despite not being required)       for area source facilities to obtain a title
the OMB control number for the                due to the updated unit risk estimate        V permit. In addition, with respect to
approved information collection               associated with EtO, which is                GACT, emission standards were
activities contained in this final rule.      significantly higher than it was during      evaluated against the BMP on a source-
                                              the last review of this NESHAP in 2006.      by-source basis. In general, we are
C. Regulatory Flexibility Act (RFA)           Therefore, the EPA is finalizing             finalizing the emission standards for
   Pursuant to section 603 of the RFA,        requirements under CAA section 112(f)        each source pursuant to CAA section
the EPA prepared a final regulatory           to address unacceptable health risk          112(d)(5), with the exception of existing
flexibility analysis (FRFA) that              attributed to emissions from subpart O       Group 2 room air emissions at areas
examines the impact of the rule on            facilities and to provide an ample           source facilities, because they achieve
small entities along with regulatory          margin of safety to protect public health.   higher emission reductions than the
alternatives that could minimize the          2. Significant Issues Raised by the          BMP. Further discussion is available in
impact. The complete FRFA is available        Public Comments in Response to the           section IV.B.3.
for review in the docket and is               Initial Regulatory Flexibility Analysis         More detailed responses to
summarized here.                              (IRFA) and EPA Response                      Advocacy’s comments can be found in
                                                                                           the document, Summary of Public
1. Statement of Need and Rule                    While the EPA did not receive any         Comments and Responses for the Risk
Objectives                                    comments specifically in response to         and Technology Review for Commercial
   This industry is regulated by the EPA      the IRFA, we did receive comments            Sterilization Facilities, available in the
because pollutants emitted from EtO           from the Office of Advocacy within the       docket for this rulemaking.
sterilization and fumigation facilities are   Small Business Administration (SBA),
considered to cause or contribute             and a summary of the major comments          4. Estimate of the Number of Small
significantly to air pollution that may       and our responses is provided in the         Entities to Which the Final Rule Applies
reasonably be anticipated to endanger         next section. The issues raised by SBA         For purposes of assessing the impacts
public health. This action is being           were also reflected in comments from         of this rule on small entities, a small
finalized to comply with CAA section          small businesses and organizations with      entity is defined as a small business in
112 requirements, which direct the EPA        small business interests.                    the commercial EtO sterilization
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industry whose parent company has             Affairs within OMB, and the Chief              D. Unfunded Mandates Reform Act
revenues or numbers of employees              Counsel for Advocacy of the SBA.               (UMRA)
below the SBA Size Standards for the             Prior to convening the Panel, the EPA         This action does not contain an
relevant NAICS code. We have                  conducted outreach and solicited               unfunded mandate of $100 million or
identified 20 different NAICS codes           comments from the SERs. After the              more as described in UMRA, 2 U.S.C.
within this source category. A complete                                                      1531–1538, and does not significantly or
                                              Panel was convened, the Panel provided
list of those NAICS codes and SBA Size                                                       uniquely affect small governments. The
                                              additional information to the SERs and
Standards is available in section 5.2 of                                                     action imposes no enforceable duty on
the RIA. The rule contains provisions         requested their input. In light of the
                                              SERs’ comments, the Panel considered           any State, local, or Tribal governments.
that will affect 22 small entities. These
small entities are involved in sterilizing    the regulatory flexibility issues and          E. Executive Order 13132: Federalism
various types of medical devices and          elements of the IRFA specified by RFA/           This action does not have federalism
spices. In addition, at least 12 of these     Small Business Regulatory Enforcement          implications. It will not have substantial
small entities are involved in sterilizing    and Fairness Act and developed the             direct effects on the States, on the
the types of medical devices discussed        findings and discussion summarized in          relationship between the National
in section I.A.1 of this preamble.            the SBAR report. The report was                Government and the States, or on the
                                              finalized on April 26, 2021, and               distribution of power and
5. Projected Reporting, Recordkeeping         transmitted to the EPA Administrator           responsibilities among the various
and Other Compliance Requirements of          for consideration. A copy of the full          levels of government.
the Final Rule
                                              SBAR Panel Report is available in the          F. Executive Order 13175: Consultation
  Under the rule requirements, small          rulemaking docket.                             and Coordination With Indian Tribal
entities will be required to comply with
                                              b. Alternatives Considered                     Governments
various emission standards, which may
require the use of one or more new                                                              This action does not have Tribal
                                                 The SBAR Panel recommended                  implications as specified in Executive
control devices. Small entities will also
                                              several flexibilities relating to the format   Order 13175. None of the commercial
need to demonstrate compliance with
                                              of the standards, room air emissions           sterilization facilities that have been
the emission standards through the use
                                              requirements, subcategorization, the           identified as being affected by this final
of an EtO CEMS or through periodic
performance testing and parametric            compliance timeframe, the                      action are owned or operated by Tribal
monitoring. This rule includes                consideration of GACT standards,               governments or located within Tribal
reporting, recordkeeping, and other           incentivizing lower EtO use, a                 lands within a 10-mile radius. Thus,
administrative requirements. Under the        compliance alternative for combined            Executive Order 13175 does not apply
rule, the EPA estimates that                  emission streams, proximity                    to this action. We conducted an impact
approximately 13 small entities (60           requirements, and the consideration of         analysis using the latitude and
percent of small entities) could incur        interactions with OSHA standards. The          longitude coordinates from the risk
total annual costs associated with the        EPA is including some of these                 modeling input file to identify Tribal
proposal that are at least three percent      flexibilities as a part of the rule            lands within a 10- and 50-mile radius of
of their annual revenues. Considering         requirements.                                  commercial sterilization facilities to
the level of total annual costs relative to                                                  determine potential air quality impacts
                                                 As discussed in section VI.C.3, the
annual sales for these small entities, the                                                   on Tribes. Consistent with the EPA
                                              EPA is providing the maximum amount
EPA determined that there is potential                                                       Policy on Consultation and
                                              of time that is allowed under the CAA          Coordination with Indian Tribes,
for the requirements to have a                to comply with the emission standards.
‘Significant Impact on a Substantial                                                         although there were no Tribal lands
                                              In addition, as discussed in section           located within a 10-mile radius of
Number of Small Entities’. See section        IV.B.3.b, the EPA is not any finalizing
5.2 of the RIA for more information on                                                       commercial sterilization facilities, the
                                              any mass rate emission standards and is        EPA offered consultation with all Tribes
the characterization of the impacts           finalizing percent emission reduction
under the rule.                                                                              that were identified within a 50-mile
                                              standards in their place. Finally, as          radius of an affected facility, however,
6. Steps Taken To Minimize Economic           discussed in section IV.F.3, the EPA is        only one Tribal official requested
Impact to Small Entities                      finalizing compliance flexibilities for        consultation. Additional details
a. Small Business Advocacy Review             combined emission streams, as well as          regarding the consultation letter and
Panel                                         the option to demonstrate compliance           distribution list can be found in the
                                              with a site-wide emission limit, as            memorandum, Commercial Sterilization
  As required by section 609(b) of the        opposed to having to demonstrate               Facilities RTR Consultation Letter,
RFA, the EPA also convened a Small            compliance with each individual or             which is available in the docket for this
Business Advocacy Review (SBAR)               combined emission stream.                      rulemaking. The EPA also participated
Panel to obtain advice and                                                                   on a phone call with the National Tribal
recommendations from small entity                In addition, the EPA is preparing a
                                                                                             Air Association on May 25, 2023, and
representatives (SERs) that potentially       Small Entity Compliance Guide to help
                                                                                             presented an overview of the
would be subject to the rule’s                small entities comply with this rule.
                                                                                             rulemaking.
requirements. On November 25, 2020,           The Small Entity Compliance Guide
the EPA’s Small Business Advocacy             will be available on the same date as the      G. Executive Order 13045: Protection of
Chairperson convened the Panel, which         date of publication of the final rule or       Children From Environmental Health
consisted of the Chairperson, the             as soon as possible after that date and        Risks and Safety Risks
Director of the Sector Policies and           will be available on the rule web page           Executive Order 13045 (62 FR 19885,
Programs Division within the EPA’s            at: https://www.epa.gov/stationary-            April 23, 1997) directs Federal agencies
Office of Air Quality Planning and            sources-air-pollution/ethylene-oxide-          to include an evaluation of the health
Standards, the Administrator of the           emissions-standards-sterilization-             and safety effects of the planned
Office of Information and Regulatory          facilities.                                    regulation on children in Federal health
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and safety standards and explain why           1 million. The methodology and                During the EPA’s VCS search, if the title
the regulation is preferable to                detailed results of the demographic           or abstract (if provided) of the VCS
potentially effective and reasonable           analysis are presented in a technical         described technical sampling and
feasible alternatives. This action is          report, Analysis of Demographic Factors       analytical procedures that are similar to
subject to Executive Order 13045               for Populations Living Near Ethylene          the EPA’s reference method, the EPA
because it is a 3(f)(1) significant            Oxide Commercial Sterilization and            reviewed it as a potential equivalent
regulatory action as defined by                Fumigation Operations, available in the       method.
Executive Order 12866, and the EPA             docket for this action.                          The EPA incorporates by reference
believes that the environmental health           More detailed information on the            VCS ANSI/ASME PTC 19.10–1981 Part
or safety risk addressed by this action        evaluation of the scientific evidence and     10, ‘‘Flue and Exhaust Gas Analyses,’’ a
has a disproportionate effect on               policy considerations pertaining to           method for quantitatively determining
children. The EPA’s Policy on                  children, including an explanation for        the gaseous constituents of exhausts
Children’s Health also applies to this         why the Administrator judges the              resulting from stationary combustion
action. Accordingly, we have evaluated         standards to be requisite to protect          and includes a description of the
the environmental health or safety             public health, including the health of        apparatus, and calculations used which
effects of EtO emissions and exposures         children, with an adequate margin of          are used in conjunction with
on children. The protection offered by         safety, in addition to the summaries of       Performance Test Codes to determine
these standards may be especially              this action’s health and risk assessments     quantitatively, as an acceptable
important for children.                        are contained in sections II.A and IV.C       alternative to EPA Method 3B of
   Because EtO is mutagenic (i.e., it can      of this preamble and further                  appendix A to 40 CFR part 60 for the
damage DNA), children are expected to          documented in the risk report, Residual       manual procedures only and not the
be more susceptible to its harmful             Risk Assessment for the Commercial            instrumental procedures. The ANSI/
effects. To take this into account, as part    Sterilization Facilities Source Category      ASME PTC 19.10–1981 Part 10 method
of the risk assessment in support of this      in Support of the 2024 Risk and               incorporates both manual and
rulemaking, the EPA followed its               Technology Review Final Rule, which is        instrumental methodologies for the
guidelines and applied age-dependent           available in Docket ID No. EPA–HQ–            determination of oxygen content. The
adjustment factors (ADAFs) for early           OAR–2019–0178.                                manual method segment of the oxygen
lifestage exposures (from birth up to 16                                                     determination is performed through the
                                               H. Executive Order 13211: Actions
years of age). With the ADAF applied to                                                      absorption of oxygen. This method is
                                               Concerning Regulations That
account for greater susceptibility of                                                        available at the American National
                                               Significantly Affect Energy Supply,
children, the adjusted EtO inhalation                                                        Standards Institute (ANSI), 1899 L
                                               Distribution, or Use
URE is 5 × 10¥3 per mg/m3. It should                                                         Street NW, 11th floor, Washington, DC
be noted that, because EtO is mutagenic,          This action is not a ‘‘significant         20036 and the American Society of
emission reductions in this preamble           energy action’’ because it is not likely to   Mechanical Engineers (ASME), Three
will be particularly beneficial to             have a significant adverse effect on the      Park Avenue, New York, NY 10016–
children. In addition, children are at         supply, distribution, or use of energy.       5990. See https://www.ansi.org and
increased risk if they live, play, or          The overall energy impact of this rule        https://www.asme.org.
attend school in close proximity to a          should be minimal for commercial                 The EPA incorporates by reference
commercial sterilization facility, of          sterilization facilities and their parent     VCS ASTM D6348–12 (Reapproved
which there are many cases noted by the        companies. EPA was unable to quantify         2020), ‘‘Determination of Gaseous
public to be the case. For these reasons,      the degree to which manufacturers will        Compounds by Extractive Direct
there is both increased susceptibility         need to switch sites, so we cannot            Interface Fourier Transform (FTIR)
and increased exposure for early               estimate potential energy impacts             Spectroscopy,’’ as an acceptable
lifestages as a result of EtO emissions        related to transportation. The EPA            alternative to EPA Method 320 of
from commercial sterilization facilities.      solicited comment on any potential            appendix A to 40 CFR part 63 with
   A total of 3.97 million children ages       impacts the proposed standards may            caveats requiring inclusion of selected
0–17 live within 10km of commercial            have in relation to energy use for            annexes to the standard as mandatory.
sterilization facilities. Due to baseline      transportation but did not receive any        The ASTM D6348–12 (R2020) method is
emissions from commercial sterilization        comments that would help to quantify          an extractive FTIR spectroscopy-based
facilities (prior to application of controls   such impacts.                                 field test method and is used to quantify
in this action), there are approximately                                                     gas phase concentrations of multiple
                                               I. National Technology Transfer and
1.25 million children (0–17 years) with                                                      target compounds in emission streams
                                               Advancement Act (NTTAA) and 1 CFR
increased lifetime cancer risks of greater                                                   from stationary sources. This Éeld test
                                               Part 51                                       method provides near real time analysis
than or equal to 1-in-1 million, 30,000
with increased lifetime cancer risks              This rulemaking involves technical         of extracted gas samples. In the
greater than or equal to 50-in-1 million,      standards. The EPA conducted searches         September 22, 2008, NTTAA summary,
and 4,300 with increased lifetime cancer       for the standards through the Enhanced        ASTM D6348–03(2010) was determined
risks greater than 100-in-1 million. After     National Standards Systems Network            equivalent to EPA Method 320 with
application of the controls in this            Database managed by the American              caveats. ASTM D6348–12 (R2020) is a
action, lifetime cancer risks to children      National Standards Institute (ANSI). We       revised version of ASTM D6348–
from commercial sterilization facility         also contacted voluntary consensus            03(2010) and includes a new section on
emissions decrease significantly to            standards (VCS) organizations and             accepting the results from direct
approximately 162,300 children with            accessed and searched their databases.        measurement of a certified spike gas
increased lifetime cancer risks of greater     We conducted searches for EPA                 cylinder, but still lacks the caveats we
than or equal to 1-in-1 million, less than     Methods 1, 1A, 2, 2A, 2C, 3A, 3B, and         placed on the D6348–03(2010) version.
100 with increased lifetime cancer risks       4 of 40 CFR part 60, Appendix A, EPA          We are finalizing that the test plan
of greater than or equal to 50-in-1            Method 204 of 40 CFR part 51,                 preparation and implementation in the
million, and none with increased               Appendix M, and EPA Methods 301 and           Annexes to ASTM D 6348–12 (R2020),
lifetime cancer risks greater than 100-in-     320 in 40 CFR part 63, Appendix A.            Sections Al through A8 are mandatory;
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and in ASTM D6348–12 (R2020) Annex           value does not meet this criterion for a     compound must be reported in the test
A5 (Analyte Spiking Technique), the          target compound, the test data is not        report, and all field measurements must
percent (%) R must be determined for         acceptable for that compound and the         be corrected with the calculated %R
each target analyte (equation A5.5). We      test must be repeated for that analyte       value for that compound by using the
are finalizing that, in order for the test   (i.e., the sampling and/or analytical        following equation:
data to be acceptable for a compound,        procedure should be adjusted before a
%R must be 70% ≤ R ≤ 130%. If the %R         retest). The %R value for each




   The ASTM D6348–12 (R2020) method          the seven facilities in Puerto Rico,         will increase transparency and will
is available at ASTM International, 1850     where an average of 99 percent of the        provide greater access to information for
M Street NW, Suite 1030, Washington,         658,000 people living within 10 km of        the public, including impacted
DC 20036. See https://www.astm.org/.         the facilities are Hispanic or Latino. The   communities.
   ASTM D3695–88 is already approved         proportion of other demographic groups         The information supporting this
for the locations in which it appears in     living within 10 km of commercial
                                                                                          Executive order review is contained in
the amendatory text.                         sterilizers is similar to the national
                                                                                          section VI.F of this preamble, as well as
   While the EPA identified 12 other         average. The EPA also conducted a risk
                                             assessment of possible cancer risks and      in a technical report, Analysis of
VCS as being potentially applicable, the
                                             other adverse health effects, and found      Demographic Factors for Populations
Agency decided not to use them because
these methods are impractical as             that prior to the implementation of this     Living Near Ethylene Oxide Commercial
alternatives due to lack of equivalency,     regulation, cancer risks are unacceptable    Sterilization and Fumigation
documentation, validation data, and          for several communities. See section         Operations, available in the docket for
other important technical and policy         VI.F for an analysis that characterizes      this action.
considerations. The search and review        communities living in proximity to           K. Congressional Review Act (CRA)
results have been documented and are         facilities and risks prior to
in the memorandum, Voluntary                 implementation of the final regulation.        This action is subject to the CRA, and
Consensus Standard Results for                  The EPA believes that this action is      the EPA will submit a rule report to
National Emission Standards for              likely to reduce existing                    each House of the Congress and to the
Hazardous Air Pollutants: Ethylene           disproportionate and adverse effects on      Comptroller General of the United
Oxide Emissions Standards for                communities with EJ concerns. This           States. This action is not a ‘‘major rule’’
Sterilization Facilities Residual Risk       action establishes standards for SCVs        as defined by 5 U.S.C. 804(2).
and Technology Review, which is              and ARVs at facilities where EtO use is
available in the docket for this             less than 1 tpy, ARVs at facilities where    List of Subjects
rulemaking.                                  EtO use is at least 1 tpy but less than      40 CFR Part 60
   Under 40 CFR 63.7(f) and 40 CFR           10 tpy, CEVs, and room air emissions.
63.8(f), subpart A—General Provisions,       In addition, it tightens standards for         Environmental protection,
a source may apply to the EPA for            SCVs at facilities where EtO use is at       Administrative practice and procedures,
permission to use alternative test           least 1 tpy, as well as ARVs at facilities   Hazardous substances, Reporting and
methods or alternative monitoring            where EtO use is at least 10 tpy. This       recordkeeping requirements.
requirements in place of any required        action also finalizes amendments to
testing methods, performance                 correct and clarify regulatory provisions    40 CFR Part 63
specifications, or procedures in the final   related to emissions during periods of
                                             SSM, including removing general                Environmental protection,
rule or any amendments.
                                             exemptions for periods of SSM and            Administrative practice and procedures,
J. Executive Order 12898: Federal            adding work practice standards for           Air pollution control, Hazardous
Actions To Address Environmental             periods of SSM where appropriate. As a       substances, Incorporation by reference,
Justice in Minority Populations and          result of these changes, we expect zero      Intergovernmental relations, Reporting
Low-Income Populations and Executive         people to be exposed to cancer risk          and recordkeeping requirements.
Order 14096: Revitalizing Our Nation’s       levels above 100-in-1 million. See
Commitment to Environmental Justice                                                       Michael S. Regan,
                                             section IV for more information about
for All                                      the control requirements of the
                                                                                          Administrator.
  The EPA believes that the human            regulation and the resulting reduction in      For the reasons set forth in the
health or environmental conditions that      cancer risks.                                preamble, the EPA amends 40 CFR parts
exist prior to this action result in or         The EPA additionally identified and       60 and 63 as follows:
have the potential to result in              addressed environmental justice
disproportionate and adverse human           concerns by engaging in outreach             PART 60—STANDARDS OF
health or environmental effects on           activities to communities we expect to       PERFORMANCE FOR NEW
communities with EJ concerns. A total        be impacted most by the rulemaking           STATIONARY SOURCES
of 17.3 million people live within 10 km     The EPA is also requiring owners and
of the 88 facilities that were assessed.     operators of commercial sterilization        ■ 1. The authority citation for part 60
The percent of the population that is        facilities to submit electronic copies of
                                                                                          continues to read as follows:
Hispanic or Latino is substantially          required compliance reports,
higher than the national average (36         performance test reports, and                  Authority: 42 U.S.C. 7401 et seq.
percent versus 19 percent), driven by        performance evaluation reports, which
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Appendix B to Part 60—Performance                  or configuration and changes in materials of      emission standard is expressed as mass
Specifications                                     construction. Changes consistent with             emissions, use the average flow rate in the
                                                   instrument manufacturer upgrade that fall         duct to calculate the concentration
■ 2. Appendix B to part 60 is amended              under manufacturer’s certification do not         equivalent of the emission standard.
by adding Performance Specification 19             require additional field verification.               3.3 Centroidal area means a central area
to read as follows:                                Manufacturer’s upgrades (e.g., changes to the     that is geometrically similar to the stack or
                                                   quantification algorithm) require                 duct cross section and is no greater than 10
Appendix B to Part 60—Performance                  recertification by the manufacturer for those     percent of the stack or duct cross-sectional
Specifications                                     requirements allowed by this PS, including        area.
                                                   interference, and level of detection (LOD).          3.4 Continuous Emission Monitoring
*     *      *     *      *                                                                          System (CEMS) means the total equipment
                                                     1.2.6 This specification is not designed to
Performance Specification 19-Performance           evaluate the ongoing CEMS performance, nor        required to measure the pollutant
Specifications and Test Procedures for             does it identify specific calibration             concentration or emission rate continuously.
Ethylene Oxide (ETO) Continuous Emission           techniques and auxiliary procedures to assess     The system generally consists of the
Monitoring Systems                                 CEMS performance over an extended period          following three major subsystems:
                                                   of time. The requirements in Procedure 7 to          3.4.1 Sample interface means that portion
1.0 Scope and Application                                                                            of the CEMS used for one or more of the
                                                   Appendix F of this part are designed to
   1.1 Analyte. This performance                   provide a way to assess CEMS and CEMS             following: Sample acquisition, sample
specification (PS) is applicable for measuring     components (if applicable) performance over       transport, sample conditioning, and
gaseous concentrations of Ethylene Oxide           an extended period of time. The source            protection of the monitor from the effects of
(EtO), CAS: 775–21–8, on a continuous basis        owner or operator is responsible to calibrate,    the stack effluent.
in the units of the applicable standard or in                                                           3.4.2 EtO analyzer means that portion of
                                                   maintain, and operate the CEMS properly.
units that can be converted to units of the                                                          the EtO CEMS that measures the total vapor
applicable standard(s) (e.g., lbs/hr,). This       2.0 Summary of Performance Specification          phase EtO concentration and generates a
performance specification may be approved             2.1 This specification covers the              proportional output.
for the measurement of other pollutants and/       procedures that each EtO CEMS must meet              3.4.3 Data recorder means that portion of
or in other sectors by the Administrator on                                                          the CEMS that provides a permanent
                                                   during the performance evaluation test.
a case-by-case basis if not otherwise allowed                                                        electronic record of the analyzer output. The
                                                   Installation and measurement location
or denied in an applicable subpart of the                                                            data recorder may record other pertinent data
                                                   specifications, data reduction procedures,
regulations.                                                                                         such as effluent flow rates, various
                                                   and performance criteria are included.
   1.2 Applicability.                                                                                instrument temperatures or abnormal CEMS
                                                      2.2 The technology used to measure EtO         operation. The data recorder may also
   1.2.1 This specification is used to             must provide a distinct response and address      include automatic data reduction capabilities
evaluate the acceptability of EtO continuous       any appropriate interference correction(s). It    and CEMS control capabilities.
emission monitoring systems (CEMS) at the          must accurately measure EtO in a                     3.5 Diluent gas means a major gaseous
time of installation or soon after and             representative sample of stack effluent.          constituent in a gaseous pollutant mixture.
whenever specified in the regulations. The            2.3 The relative accuracy (RA) must be         For combustion sources, either carbon
specification includes requirements for            established against a reference method (RM)       dioxide (CO2) or oxygen (O2) or a
initial acceptance including instrument            (i.e., Method 320, or other alternative           combination of these two gases are the major
accuracy and stability assessments and use of      approved as a RM by the Administrator) on         gaseous diluents of interest.
audit samples if they are available.               a case-by-case basis if not otherwise allowed        3.6 Dynamic spiking (DS) means the
   1.2.2 The Administrator may require the         or denied in an applicable subpart of the         procedure where a known concentration of
operator, under section 114 of the Clean Air       regulations.                                      EtO gas is injected into the probe sample gas
Act, to conduct CEMS performance                      2.4 A standard addition (SA) procedure         stream for extractive CEMS at a known flow
evaluations at other times besides the initial     using a reference standard is included in         rate to assess the performance of the
test to evaluate the CEMS performance. See         appendix A to this performance specification      measurement system in the presence of
40 CFR part 60, § 60.13(c) and § 63.8(e)(1).       for use in verifying LOD. For extractive          potential interference from the flue gas
   1.2.3 A source that demonstrates their          CEMS, where the SA is done by dynamic             sample matrix.
CEMS meets the criteria of this PS may use         spiking (DS), the appendix A procedure is            3.7 Flow Rate Sensor means that portion
the system to continuously monitor gaseous         allowed as an option for assessing calibration    of the CEMS that senses the volumetric flow
EtO under any regulation or permit that            drift and is also referenced by Procedure 7 of    rate and generates an output proportional to
requires compliance with this PS. If your          appendix F to this part for ongoing quality       that flow rate. The flow rate sensor shall have
CEMS reports the EtO concentration in the          control tests.                                    provisions to check the CD for each flow rate
units of the applicable standard, no                                                                 parameter that it measures individually (e.g.,
additional CEMS components are necessary.          3.0 Definitions
                                                                                                     velocity, pressure).
If your CEMS does not report concentrations          3.1 Calibration drift (CD) means the               3.8 Independent measurement(s) means
in the units of the existing standard, then        absolute value of the difference between the      the series of CEMS data values taken during
other CEMS (i.e., oxygen) or CEMS                  CEMS output response and an upscale               sample gas analysis separated by two times
components (e.g., temperature, stack gas           reference gas or a zero-level gas, expressed as   the procedure specific response time (RT) of
flow, moisture, and pressure) may be               a percentage of the span value, when the          the CEMS.
necessary to convert the units reported by         CEMS is challenged after a stated period of          3.9 Interference means a compound or
your CEMS to the units of the standard.            operation during which no unscheduled             material in the sample matrix other than EtO
   1.2.4 These specification test results are      adjustments, maintenance or repairs took          whose characteristics may bias the CEMS
intended to be valid for the life of the system.   place. For other parameters that are              measurement (positively or negatively). The
As a result, the EtO measurement system            selectively measured by the CEMS (e.g.,           interference may not prevent the sample
must be tested and operated in a                   temperature, velocity, pressure, flow rate) to    measurement but could increase the
configuration consistent with the                  measure in the units of the applicable            analytical uncertainty in the measured EtO
configuration that will be used for ongoing        standard, use two analogous values (e.g.,         concentration through reaction with EtO or
continuous emissions monitoring.                   Low: 0–20% of full scale, High: 50–100% of        by changing the electronic signal generated
   1.2.5 Substantive changes to the system         full scale). 3.2 Calibration Span means the       during EtO measurement.
configuration require retesting according to       calibrated portion of the measurement range          3.10 Interference test means the test to
this PS. Examples of such conditions include       as specified in the applicable regulation or      detect CEMS responses to interferences that
but are not limited to: major changes in           another requirement. If the span is not           are not adequately accounted for in the
dilution ratio (for dilution-based systems);       specified in the applicable regulation or other   calibration procedure and may cause
changes in sample conditioning and                 requirement, then it must be a value              measurement bias.
transport, if used, such as filtering device       approximately equivalent to three times the          3.11 Level of detection (LOD) means the
design or materials; changes in probe design       applicable emission standard. When the            lowest level of pollutant that the CEMS can
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detect in the presence of the source gas           methane (CH4), and water (H2O) are potential       appendix F). Calibration must be conducted
matrix interferents with 99 percent                optical interferences with certain types of        on an annual basis or whenever significant
confidence.                                        EtO monitoring technology.                         changes are made to the dilution system. In
   3.12 Measurement error (ME) is the mean           Note: Interferences may be mitigated             addition to the requirements in Method 205,
difference between the concentration               though the use of dilution systems, however        when in use, you must document gas flow
measured by the CEMS and the known                 this approach could also affect the sensitivity    rates through each of the channels; if the
concentration of a reference gas standard,         of the measurement.                                dilution system records these values
divided by the span, when the entire CEMS,                                                            electronically, this is considered the
                                                   5.0 Safety
including the sampling interface, is                                                                  documentation. For the purpose of this PS,
challenged.                                          The procedures required under this PS            cylinder gas should not be diluted beyond a
   3.13 Reference gas standard means the           may involve hazardous materials, operations,       dilution ratio of 500:1 using Method 205.
gas mixture containing EtO at a known              and equipment. This PS may not address all
                                                   the safety issues associated with these            8.0 CEMS Measurement Location
concentration and produced and certified in
                                                   procedures. It is the responsibility of the user   Specifications and Pretest Preparation
accordance with ‘‘EPA Traceability Protocol
for Assay and Certification of Gaseous             to establish appropriate safety and health            8.1 Prior to the start of your initial PS
Calibration Standards,’’ September 1997, as        practices and determine the applicable             tests, you must ensure that the CEMS is
amended August 25, 1999, EPA–600/R–97/             regulatory limitations prior to performing         installed according to the manufacturer’s
121 or more recent updates. The tests for          these procedures. The CEMS user’s manual           specifications and the requirements in this
analyzer measurement error, calibration drift,     and as well as cautions within and materials       section.
and system bias require the use of calibration     recommended by the RM should be                       8.2 CEMS Installation. Install the CEMS
gas prepared according to this protocol. If a      consulted for specific precautions to be taken     at an accessible location where the pollutant
zero gas is used for the low-level gas, it must    in regard to the relative accuracy testing.        concentration or emission rate measurements
meet the requirements under the definition         6.0 Equipment and Supplies                         are directly representative of the EtO
for ‘‘zero air’’ in 40 CFR 72.2. Alternatively,                                                       emissions. If the units of the emission
if the ‘‘protocol’’ gas is not commercially          The equipment and supplies are the same          standard are expressed as a mass (e.g., lb/hr),
                                                   as in section 6 of PS 18, except replace HCl       then the CEMS probe must also be located
available, you must use a reference gas that
                                                   for EtO where appropriate. The following           within 0.5 equivalent diameters of the flow
has been prepared according to the
                                                   definitions are added and/or revised:              sensor and the CEMS must be located (1) at
procedures in appendix B of this PS.
                                                     6.1 Moisture Measurement System. If              least two equivalent diameters downstream
   3.14 Relative accuracy (RA) means the
                                                   correction of the measured EtO emissions for       from the nearest control device, the point of
absolute mean difference between the gas
                                                   moisture is required, you must install,            pollutant generation, or other point at which
concentration, or the emission rate
                                                   operate, maintain, and quality assure a            a change in the pollutant concentration or
determined by the CEMS, and the value
                                                   continuous moisture monitoring system for          emission rate may occur and (2) at least a half
determined by the RM, plus the confidence
                                                   measuring and recording the moisture               equivalent diameter upstream from the
coefficient of a series of nine test runs,
                                                   content of the flue gases. The following           effluent exhaust or control device. If the
divided by the average of the RM or the            continuous moisture monitoring systems are
applicable emission standard.                                                                         CEMS are to utilize time-sharing, the
                                                   acceptable: Any optical measurement system
   3.15 Response time (RT) means the time                                                             distance between each measurement point
                                                   validated according to Method 301 or section
it takes for the measurement system, while                                                            and the CEMS should be approximately the
                                                   13.0 of Method 320 in appendix A to part 63
operating normally at its target sample flow                                                          same. The CEMS need not be installed at the
                                                   of this chapter; a continuous moisture sensor;
rate, dilution ratio, or data collection rate to                                                      same location as the relative accuracy test
                                                   an oxygen analyzer (or analyzers) capable of
respond to a known step change in gas                                                                 location. If you fail the RA requirements in
                                                   measuring O2 both on a wet basis and on a
concentration, either from a low- or zero-                                                            this specification due to the CEMS
                                                   dry basis; or other continuous moisture
level to a high-level gas concentration or                                                            measurement location and a satisfactory
                                                   measurement methods approved by the
from a high-level to a low or zero-level gas                                                          correction technique cannot be established,
                                                   Administrator.
concentration, and to read 95 percent of the                                                          the Administrator may require the CEMS to
change to the stable instrument response.          7.0 Reagents and Standards                         be relocated.
There may be several RTs for an instrument            7.1 Reference Gases means the gas                  8.2.1 Single point sample gas extraction
related to different functions or procedures       mixture containing EtO at a known                  should be (1) no less than 1.0 m (3.3 ft.) from
(e.g., DS, LOD, and ME).                           concentration and produced and certified in        the stack or duct wall or (2) within the
   3.16 Span value means an EtO                    accordance with ‘‘EPA Traceability Protocol        centroidal area of the stack or duct cross
concentration approximately equal to two           for Assay and Certification of Gaseous             section.
times the concentration equivalent to the          Standards, May 2012 (EPA 600/R–12/531) or             8.2.2 CEMS and Data Recorder Scale
emission standard unless otherwise specified       more recent updates. The tests for analyzer        Check. After CEMS installation, record and
in the applicable regulation, permit or            measurement error, calibration drift, and          document the measurement range of the EtO
another requirement. Unless otherwise              system bias require the use of calibration gas     CEMS. The CEMS operating range and the
specified, the span may be rounded up to the       prepared according to this protocol. If a zero     range of the data recording device must
nearest multiple of 5.                             gas is used for the low-level gas, it must meet    encompass all potential and expected EtO
   3.17 Stable value means the measure of          the requirements under the definition for          concentrations, including the concentration
two or more values that are statistically the      ‘‘zero air’’ in 40 CFR 72.2. Alternatively, if     equivalent to the applicable emission limit
same and the absence of measurement system         the ‘‘protocol’’ gas is not commercially           and the span value.
drift.                                             available, you must use a reference gas that       9.0   Quality Control—Reserved
   3.18 Standard addition means the                has been prepared according to the
addition of known amounts of EtO gas (either       procedures in appendix B of this PS and            10.0 Calibration and Standardization—
statically or dynamically) measured sample         meeting the requirements in section 12.2 of        Reserved
gas stream.                                        appendix B of this PS, if applicable.
                                                                                                      11.0 Performance Specification Test
   3.19 Zero gas means a gas with an EtO              7.2 Cylinder gas may be diluted for use in
                                                   this specification, including measurement          Procedure
concentration that is below the LOD of the
measurement system.                                error testing. You must document the                 After completing the CEMS installation,
                                                   quantitative introduction of EtO standards         setup, and calibration, you must complete
4.0 Interferences                                  into the system using Method 205, found in         the PS test procedures in this section. You
  Sample gas interferences will vary               40 CFR part 51, appendix M, or other               must perform the following procedures and
depending on the instrument or technology          procedure approved by the Administrator.           meet the performance requirements for the
used to make the measurement. Interferences        The laboratory/field evaluations in Method         initial demonstration of your CEMS:
must be evaluated through the interference         205 must be conducted at least quarterly and         a. Interference Test;
test in this PS. Several compounds including       prior to any audit test (e.g., CGA, RAA)             b. Level of Detection Determination;
carbon dioxide (CO2), carbon monoxide (CO),        required in QA Procedure 7 (40 CFR part 60,          c. Response Time Test;
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   d. Measurement Error Test;                      to conduct the interference test. A gas            concentration in the stack or duct relative to
   e. Calibration Drift Test; and                  blending system or manifold may be used.           the native stack concentration plus the SA.
   f. Relative Accuracy Test.                         11.1.8 Ensure the duration of each              You must be able to detect the effective spike
   g. If CEMS is to be time-shared, determine      interference test is sufficient to condition the   addition (ESA) above the native EtO present
the response time to each measurement              EtO measurement system surfaces before a           in the stack gas matrix. The ESA is calculated
point, the sampling time at each                   stable measurement is obtained.                    using equation A7 in appendix A of this PS.
measurement point, and the cycle time at              11.1.9 Measure the EtO response of the             11.2.5.4 If the field verification of your
each measurement point. The sampling time          analyzer/sample conditioning system                system LOD does not demonstrate a SAR
at each measurement point shall be at least        combination to the test gases in ppbv. Record      greater than or equal to your initial
3 times as long as the system response time        the responses and determine the overall            controlled environment LOD, you must
(RT), and the maximum number of                    interference response using table 2 in section     increase the SA concentration incrementally
measurement points shall not exceed the            17.0 of this PS.                                   and repeat the field verification procedure
quotient, rounded down to the next whole              11.1.10 For each interference gas (or           until the SAR is equal to or greater than LOD.
number, of 15 minutes divided by the longest       mixture), calculate the mean difference            The site-specific standard addition detection
cycle time of the measurement point.               (DMCavg) between the measurement system            level (SADL) is equal to the standard
   11.1 Interference Test                          responses with and without the interference        addition needed to achieve the acceptable
   11.1.1 Prior to its initial use in the field,   test gas(es) using equation 1 in section 12.2      SAR, and the SADL replaces the controlled
you must demonstrate that your monitoring          of this PS. Summarize the results following        environment LOD. The SADL is calculated as
system meets the performance requirements          the format contained in table 2 in section 17.     the ESA using equation A7 in appendix A of
of the interference test in section 13.5 of this      11.1.11 Calculate the percent interference      this PS. As described in section 13.1 of this
PS to verify that the candidate system             (I) for the gas runs using equation 2 in section   PS, the controlled environment LOD or the
measures EtO accurately in the presence of         12.2 of this PS.                                   SADL that replaces a controlled environment
common interferences in emission matrices             11.1.12 The total interference response         LOD must be less than 20 percent of the
from commercial sterilizers. In the event this     (i.e., the sum of the interference responses of    applicable emission limit.
performance specification is applied in other      all tested gaseous components) must not               11.3 Response Time Determination. You
emission sources, the interference test must       exceed the criteria set forth in section 13.5      must determine ME– and SA–RT.
evaluate any other predominant gases is the        of this PS.                                           11.3.1 For ME–RT, start the upscale RT
emission matrices of those sources.                   11.2 Level of Detection Determination           determination by injecting zero gas into the
   11.1.2 Your interference test must be              11.2.1 You must determine the minimum           measurement system as required by the
conducted in a controlled environment. The         amount of EtO that can be detected above the       procedures in section 11.4 of this PS. For the
equipment you test for interference must           background in a representative gas matrix.         SA–RT start the upscale RT determination at
include the combination of the analyzer,                                                              native stack concentration of EtO. Allow the
                                                      11.2.2 You must perform the LOD
related analysis software, and any sample                                                             value to stabilize, which for the purpose of
                                                   determination in a controlled environment
conditioning equipment (e.g., dilution                                                                this PS is a change no change greater than 1.0
                                                   such as a laboratory or manufacturer’s
module, moisture removal equipment or                                                                 percent of span or 10 ppbv (whichever is
                                                   facility.
other interferent scrubber) used to control                                                           greater) for 30 seconds.
                                                      11.2.3 You must add interference gases             11.3.2 When the CEMS output has
interferents.
   11.1.3 If you own multiple measurement          listed in table 1 of this PS to a constant         stabilized, record the response in ppbv,
systems with components of the same make           concentration of EtO reference gas.                record the time (hh:mm:ss), and immediately
and model numbers, you need only perform              11.2.3.1 You may not use an effective           introduce an upscale (high level) or spike
this interference test on one analyzer and         reference EtO gas concentration greater than       reference gas as required by the relevant
associated interference conditioning               ten times the estimated instrument LOD.            (ME–RT or SA–RT) procedure. Record the
equipment combination. You may also rely              11.2.3.2 Inject the EtO and interferents        time (hh:mm:ss) required for the
on an interference test conducted by the           described in section 11.1.5 of this PS directly    measurement system to reach 95 percent of
manufacturer or a continuous measurement           into the inlet to the analyzer, allow time for     the change to the final stable value, the
system integrator on a system having               the value to stabilize and then collect            difference in these times is the upscale RT.
components of the same make(s) and                 measurement data for 15 minutes and                   11.3.3 Reintroduce the zero gas for the
model(s) of the system that you use.               average those results. Repeat this procedure       ME–RT or stop the upscale gas flow for the
   11.1.4 Perform the interference check           to obtain a total of seven or more of these        SA–RT and immediately record the time
using an EtO reference gas concentration of        runs, purging the measurement system with          (hh:mm:ss). Record the time (hh:mm:ss)
approximately ten times the LOD or at 50           ambient air between each run, to determine         required to reach within 95 percent of the
parts per billion, whichever is greater.           the LOD.                                           previous stable response in 11.3.1 or 10 ppbv
   11.1.5 Introduce the interference test             11.2.4 Calculate the standard deviation of      (whichever is greater); the difference in these
gases listed in table 1 in section 17.0 of this    the measured values and define the LOD as          times is the downscale RT.
PS to the analyzer/conditioning system             three times the standard deviation of these           Note: For CEMS that perform a series of
separately or in any combination. The              measurements.                                      operations (purge, blow back, sample
interference test gases need not be of                11.2.5 You must verify the controlled           integration, analyze, etc.), you must start
reference gas quality.                             environment LOD of section 11.2.2 of this PS       adding reference or zero gas immediately
   11.1.6 The interference test must be            for your CEMS during initial setup and field       after these procedures are complete.)
performed by combining an EtO reference gas        certification testing using the SA procedure          11.3.4 Repeat the entire procedure until
with each interference test gas (or gas            in appendix A of this PS with the following        you have three sets of data, then determine
mixture). You must measure the baseline EtO        exceptions:                                        the mean upscale and mean downscale RTs
response, followed by the response after              11.2.5.1 You must make three                    for each relevant procedure (from each
adding the interference test gas(es) while         independent SA measurements spiking the            measurement point if the CEMS is time-
maintaining a constant EtO concentration.          native source concentration by no more than        sharing). Report the greater of the average
You must perform each interference gas             five times the controlled environment LOD          upscale or average downscale RTs as the RT
injection and evaluation in triplicate.            concentration determined in section 11.2.4.        for the system.
   Note: The baseline EtO gas may include             11.2.5.2 You must perform the SA as a              11.4 Measurement Error (ME) Test
interference gases at concentrations typical of    dynamic spike by passing the spiked source            11.4.1 The measurement error test must
ambient air (e.g., 21 percent O2, 400 parts per    gas sample through all filters, scrubbers,         be performed at the same time as the
million (ppm) CO2, 2 percent H2O), but these       conditioners, and other monitoring system          calibration drift test when the system is being
concentrations must be brought to the              components used during normal sampling,            placed in service. The measurement error test
concentrations listed in table 1 of this PS        and as much of the sampling probe as               must be performed any time a substantive
when their interference effects are being          practical.                                         change (see section 1.2.5) has been made to
evaluated.                                            11.2.5.3 The amount detected, or                the measurement system.
   11.1.7 You should document the gas              standard addition response (SAR), is based            11.4.1.1 Introduce reference gases to the
volume/rate, temperature, and pressure used        on the average difference of the native EtO        CEMS probe, prior to the sample
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conditioning and filtration system. You may       consecutive unit operating days need not be        same location, a half diameter may be used
use a gas dilution system meeting the             7 consecutive calendar days.                       in lieu of two equivalent diameters. The
requirement in section 7.2 of this PS.               11.5.6 Record the CEMS response for             equivalent duct diameter is calculated
   11.4.1.2 Challenge the measurement             single measurements of zero gas and high-          according to Method 1 in appendix A–1 to
system with a zero gas and at the three           level reference gas. You may use table 6 in        this part. The CEMS and RM sampling
upscale EtO reference gas concentrations in       section 17 of this PS to record and report the     locations need not be the same.
the range shown in table 3 of this PS. You        results of your 7-day CD test. Calculate the          11.6.3.2 Traverse Point Selection. Select
may introduce different reference gas             CD using equation 3B in section 12.3. Report       traverse points that assure acquisition of
concentrations in any order, but you must         the absolute value of the differences as a         representative RM samples over the stack or
not introduce the same gas concentration          percentage of the span value.                      duct cross section according to one of the
twice in succession.                                 11.5.7 The zero-level and high-level CD         following options: (a) sample at twelve
   11.4.1.3 Introduce the calibration gas into    for each day must be less than 5.0 percent of      traverse points located according to section
the sampling probe with sufficient flow rate      the span value or an absolute difference of 10     11.3 of Method 1 in appendix A–1 to this
to replace the entire source gas sample and       ppbv, as specified in section 13.2 of this PS.     part or (b) sample at the three traverse points
continue the gas flow until the response is       You must meet this criterion for 7                 at 16.7, 50.0, and 83.3 percent of the
stable, as evidenced when the difference          consecutive operating days.                        measurement line. Alternatively, you may
between two consecutive measurements is              11.5.8 Dynamic Spiking Option for               conduct a stratification test following the
within 1.0 percent of span or 5 ppbv              Seven-Day CD Test. You have the option to          procedures in sections 11.6.3.2.1 through
(whichever is less). Record this value and        conduct a high-level dynamic spiking               11.6.3.2.4 to justify sampling at a single
inject the next calibration gas.                  procedure for each of the 7 days in lieu of        point. Stratification testing must be
   11.4.1.4 Make triplicate measurements for      the high-level reference gas injection             conducted at the sampling location to be
each reference gas for a total of twelve          described in sections 11.5.2 and 11.5.3. If this   used for the RM measurements during the RA
measurements.                                     option is selected, the daily zero CD check        test and must be made during normal facility
   11.4.1.5 At each reference gas                 is still required.                                 operating conditions. You must evaluate the
concentration, determine the average of the          11.5.8.1 To conduct each of the seven           stratification by measuring the gas on the
three CEMS responses (MCl). Calculate the         daily mid-level dynamic spikes, you must           same moisture basis as the EtO CEMS (wet
ME using equation 3A in section 12.3.             use the DS procedure described in appendix         or dry). Stratification testing must be
   11.4.1.6 For non-dilution systems, you         A of this PS using a single spike chosen to        repeated for each RA test program to justify
may adjust the system to maintain the correct     yield the range as indicated in table 3.           single point.
flow rate at the analyzer during the test, but       11.5.8.2 You must perform the dynamic              11.6.3.2.1 Use a probe of appropriate
you may not make adjustments for any other        spike procedure by passing the spiked source       length to measure the EtO concentration, as
purpose. For dilution systems, you must           gas sample through all filters, scrubbers,         described in this section, using 12 traverse
operate the measurement system at the             conditioners, and other monitoring system          points located according to section 11.3 of
appropriate dilution ratio during all system      components used during normal sampling,            Method 1 in appendix A–1 to this part for a
ME checks, and you may make only the              and as much of the sampling probe as               circular stack or nine points at the centroids
adjustments necessary to maintain the proper      practical.                                         of similarly shaped, equal area divisions of
ratio.                                               11.5.8.3 Calculate the high-level CD as a       the cross section of a rectangular stack.
   11.4.2 You may use table 5 in section          percent of span using equation A6 of                  11.6.3.2.2 Calculate the mean measured
17.0 to record and report your ME test            appendix A to this PS and calculate the zero-      concentration for all sampling points
results.                                          drift using equation 3B in section 12.3.           (MNavg).
   11.4.3 If the ME specification in section      Record and report the results as described in         11.6.3.2.3 Calculate the percent
13.3 is not met for all four reference gas        sections 11.5.6 and 11.5.7.                        stratification (St) of each traverse point using
concentrations, take corrective action, and          11.6 Relative Accuracy Test                     equation 5 in section 12.5.
repeat the test until an acceptable 4-level ME       11.6.1 Unless otherwise specified in an            11.6.3.2.4 The gas stream is considered to
test is achieved.                                 applicable regulation, use Method 320 as the       be unstratified and you may perform the RA
   11.5 Seven-Day Calibration Drift (CD)          RM for EtO measurement. Conduct the RM             testing at a single point that most closely
Test                                              tests in such a way that they will yield           matches the mean if the concentration at
   11.5.1 The CD Test Period. Prior to the        results representative of the emissions from       each traverse point differs from the mean
start of the RA tests, you must perform a         the source that can be compared to the CEMS        measured concentration for all traverse
seven-day CD test. The purpose of the seven-      data. You must collect gas samples that are        points by no more than 5.0 percent of the
day CD test is to verify the ability of the       at stack conditions (hot and wet), and you         mean concentration of EtO or 10 ppbv,
CEMS to maintain calibration for each of          must traverse the stack or duct as required in     whichever is less restrictive.
seven consecutive unit operating days as          section 11.6.3.                                       11.6.4 In order to correlate the CEMS and
specified in section 11.5.5 of this PS.              11.6.2 Conduct the diluent (if applicable),     RM data properly, record the beginning and
   11.5.2 The CD tests must be performed          moisture (if needed), and pollutant                end of each RM run (including the time of
using the zero gas and high-level reference       measurements simultaneously. If the                day in hours, minutes, and seconds) using a
gas standards as defined in table 3 of this PS.   emission standard is expressed in a mass unit      clock synchronized with the CEMS clock
   11.5.3 Conduct the CD test on each day         (i.e., lb/hr) you must also determine the          used to create a permanent time record with
during continuous operation of the CEMS           flowrate simultaneously with each test using       the CEMS output.
and normal facility operations following the      Method 2, 2A, 2B, 2C or 2D in appendix A–             11.6.5 You must conduct the RA test
procedures in section 11.7 of this PS, except     1 to this part, as applicable.                     during representative process and control
that the zero gas and high-level gas need only       11.6.3 Reference Method Measurement             operating conditions or as specified in an
be introduced to the measurement system           Location and Traverse Point(s) Selection.          applicable regulation, permit or subpart.
once each for the seven days.                        11.6.3.1 Measurement Location. Select, as          11.6.6 Conduct a minimum of nine RM
   11.5.4 If periodic automatic or manual         appropriate, an accessible RM measurement          test runs.
adjustments are made to the CEMS zero and         location at least two equivalent diameters            Note: More than nine RM test runs may be
upscale response factor settings, conduct the     downstream from the nearest control device,        performed. If this option is chosen, up to
CD test immediately before these                  point of pollutant generation, or other point      three test run results may be excluded so
adjustments.                                      at which a change in the pollutant                 long as the total number of test run results
   Note: Automatic signal or mathematical         concentration or emission rate may occur,          used to determine the CEMS RA is greater
processing of all measurement data to             and at least one-half equivalent diameter          than or equal to nine. However, all data must
determine emission results may be performed       upstream from the effluent exhaust or a            be reported including the excluded test runs.
throughout the entire CD process.                 control device. When pollutant concentration          11.6.7 Analyze the results from the RM
   11.5.5 Determine the magnitude of the CD       changes are due solely to diluent leakage          test runs using equations 9 through14 in
at approximately 24-hour intervals, for 7         (e.g., air heater leakages) and pollutants and     section 12.6. Calculate the RA between the
consecutive unit operating days. The 7            diluents are simultaneously measured at the        CEMS results and the RM results.
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  11.7 Record Keeping and Reporting                 Ci = Zero or EtO reference gas                 MNbi = Measured native concentration
  11.7.1 Record the results of the CD test,       concentration used for test i (ppbv);          bracketing each calibration check
the RT test, the ME test, and the RA test. Also     CC = Confidence coefficient (ppbv);          measurement (ppbv);
keep records of the RM and CEMS field data,         CD = Calibration drift (percent);              MNi = Measured native concentration for
calculations, and reference gas certifications      davg = Mean difference between CEMS          test or run I (ppbv);
necessary to confirm that the performance of      response and the reference gas (ppbv);           n = Number of measurements in an average
the CEMS met the performance                        di = Difference of CEMS response and the     value;
specifications.                                   RM value (ppbv or units of emission              RA = Relative accuracy of CEMS compared
  11.7.2 For systems that use Method 205          standard, as applicable);                      to a RM (percent);
to prepare EtO reference gas standards,             I = Total interference from major matrix       RMavg = Mean measured RM value (ppbv)
                                                  stack gases (percent);                         or units of the emission standard);
record results of Method 205 performance
                                                    DMCavg = Average of the 3 absolute values      RMi = RM concentration for test run i
test field evaluation, reference gas
                                                  of the difference between the measured EtO     (ppbv or units of the emission standard);
certifications, and gas dilution system           calibration gas concentrations with and          S = Span value (ppmv);
calibration.                                      without interference from selected stack         Sd = Standard deviation of the differences
  11.7.3 Record the LOD and field verified        gases (ppbv);                                  (ppmv);
SADL for the CEMS in ppbv.                          MCi = Measured EtO (or zero) reference gas     Sti = Stratification at traverse point i
  11.7.4 Record the results of the                concentration i (ppbv);                        (percent);
interference test.                                  MCi = Average of the measured EtO (or          SADL = Standard addition detection level
  11.7.5 Report the results of all                zero) reference gas concentration i (ppbv);    (ppmv);
certification tests to the appropriate              MCint = Measured EtO concentration of the      t0.975 = One-sided t-value at the 97.5th
regulatory agency (or agencies), in hardcopy      EtO reference gas plus the individual or       percentile obtained from table 4 in section
and/or electronic format, as required by the      combined interference gases (ppbv);            17.0 for n-1 measurements;
applicable regulation or permit.                    ME = Measurement error for CEMS                12.2 Calculate the difference between the
                                                  (percent);                                     measured EtO concentration with and
12.0   Calculations and Data Analysis               MNavg = Average concentration at all         without interferents for each interference gas
  12.1   Nomenclature.                            sampling points (ppbv);                        (or mixture) for your CEMS as:




  Calculate the total percent interference as:




  12.3 Calculate the ME or CD at
Concentration i as:




  12.4 Calculate the average native
concentration before and after each
calibration check measurement as:




   12.5 Calculate the Percent Stratification
at Each Traverse Point as:
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  12.6 Calculate the RA Using RM and             confirm that the results have been corrected        12.6.3 Make a direct comparison of the
CEMS Data                                        to the same moisture, temperature, and            average RM results and CEMS average value
  12.6.1 Determine the CEMS final                diluent concentration basis, as applicable. If    for identical test periods.
integrated average pollutant concentration or    the emission standard is based on a mass            12.6.4 For each test run, calculate the
emission rate for each RM test period.           emission (i.e., lbs/hr), confirm the results      arithmetic difference of the RM and CEMS
Consider system RT, if important, and            have been calculated correctly.                   results using equation 6.




  12.6.5 Calculate the standard deviation of
the differences (Sd) of the CEMS measured
results and RM results using equation 7.




  12.6.6 Calculate the confidence
coefficient (CC) for the RA test using
equation 8.




  12.6.7 Calculate the mean difference           the units of ppbv or of the emission standard
(davg) between the RM and CEMS values in         using equation 9.




  12.6.8 Calculate the average RM value
using equation 10.




  12.6.9 Calculate RA of the CEMS using
equation 11.




13.0 Method Performance                          absolute difference of 10.0 ppbv for 7            than or equal to 20.0 percent of the RM when
  13.1 Level of Detection. You may not use       consecutive operating days.                       RMavg is used in the denominator of equation
a CEMS whose LOD or SADL is greater than            13.3 Measurement Error. The ME must be         11.
20 percent of the applicable regulatory limit    less than or equal to 5.0 percent of the span       13.4.1 In cases where the RA is calculated
or other action level for the intended use of    or an absolute difference of 10.0 ppbv value      on a concentration (ppmv) basis, if the
the data. If the regulatory limit is not based   at the low-, mid-, and high-level reference gas   average RM emission level for the test is less
on a concentration, document the calculated      concentrations.                                   than 50 percent of the EtO concentration
concentration equivalent as required in             13.4 Relative Accuracy. Unless otherwise
                                                                                                   equivalent to the emission standard, you may
section 11.7.                                    specified in an applicable regulation or
                                                                                                   substitute the EtO concentration equivalent
  13.2 Calibration Drift. The zero- and high-    permit, the RA of the CEMS, whether
level calibration drift for the CEMS must not    calculated in units of EtO concentration or in    to the standard in the denominator of
exceed 5.0 percent of the span value or an       units of the emission standard, must be less      equation 14 in place of RMavg.
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  13.4.2 Similarly, if the RA is calculated in                               span or ±3.0 percent of the equivalent EtO                   Various Waste Media,’’ 40 CFR part 63,
units of the emission standard and the EtO                                   concentration used for the interference test,                appendix A.
emission level measured by the RMs is less                                   whichever is less restrictive. The results are                 2. EPA Traceability Protocol for Assay and
than 50 percent of the emission standard, you                                also acceptable if the sum of the interference               Certification of Gaseous Calibration
may substitute the emission standard in the                                  response(s) does not exceed ten times the                    Standards, U.S. Environmental Protection
denominator of equation 14 in place of
                                                                             LOD or 30 ppbv.                                              Agency office of Research and Development,
RMavg.
  13.4.3 The alternative calculated RA in                                                                                                 EPA/600/R–12/531, May 2012.
                                                                             14.0       Pollution Prevention—[Reserved]
paragraph 13.4.1 or 13.4.2 must be less than                                                                                              17.0 Tables, Diagrams, Flowcharts, and
or equal to 15.0 percent.                                                    15.0       Waste Management—[Reserved]
                                                                                                                                          Validation Data
  13.5 Interference Test.
                                                                             16.0       Bibliography
  13.5.1 The sum of the interference
response(s) from equation 2 must not be                                        1. ‘‘Method 301—Field Validation of
greater than 2.5 percent of the calibration                                  Pollutant Measurement Methods from

                                                               TABLE 1—INTERFERENCE TEST GAS CONCENTRATIONS
                                                                                                                                        Approximate concentration
                                    Potential interferent gas 1                                                                               (balance N2)

CO2 ...........................................................................................................     1% ± 0.2% CO2.
CH4 ...........................................................................................................     20 ± 5 ppm.
H2O ...........................................................................................................     5% ± 1% H2O.1
N2 ..............................................................................................................   Balance.1
  1 Any of these specific gases can be tested at a lower level if the manufacturer has provided reliableness for limiting or scrubbing that gas to a
specified level in CEMS field installations.

                                                               TABLE 2—EXAMPLE INTERFERENCE TEST DATA SHEET
Date of Test

Analyzer type

Model Number

Serial Number

Span

Test Organization

Test Personnel


                                                                                                                                       EtO
                                                                                                                    EtO                              Absolute       Average absolute
                                                                                                                                  concentration
                            Interference gas or combination                                                     concentration                        difference        difference
                                                                                                                                  w/interference
                                                                                                                   (ppbv)                              (ppbv)            (ppbv)
                                                                                                                                      (ppbv)
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                                                                                                                                                    EtO
                                                                                                                      EtO                                                 Absolute               Average absolute
                                                                                                                                               concentration
                            Interference gas or combination                                                       concentration                                           difference                difference
                                                                                                                                               w/interference
                                                                                                                     (ppbv)                                                 (ppbv)                    (ppbv)
                                                                                                                                                   (ppbv)




                                    TABLE 3—PERFORMANCE SPECIFICATION TEST ZERO AND REFERENCE GAS RANGES
                                                                                                                                          EtO zero and reference gas concentrations
                                                                                                                                                 in terms of percent of span a
                          Test                                                          Units                                                                                                                 Section
                                                                                                                                     Zero               Low level       Mid-level            High level

Calibration Drift ..........................................   % Of Span .................................................   <LOD .................            NA     ....................     b 80–100               11.5
Measurement Error ....................................         % Of Span .................................................   NA .....................       20–30               50–60           80–100                11.4
    a Reference gas concentration must be NIST traceable. (See section 7.1)
    b High-level is required. For DS calibration drift option, choose a concentration that yields a value in this range at the analyzer.



                                                                                      TABLE 4—STUDENT’S t-VALUES
                                          n¥1 a                                                         t-value                     n¥1 a                  t-value                    n¥1 a                 t-value

1 ...........................................................................................                    12.71                           11                 2.201                       21               2.080
2 ...........................................................................................                    4.303                           12                 2.179                       22               2.074
3 ...........................................................................................                    3.182                           13                 2.160                       23               2.069
4 ...........................................................................................                    2.776                           14                 2.145                       24               2.064
5 ...........................................................................................                    2.571                           15                 2.131                       25               2.060
6 ...........................................................................................                    2.447                           16                 2.120                       26               2.056
7 ...........................................................................................                    2.365                           17                 2.110                       27               2.052
8 ...........................................................................................                    2.306                           18                 2.101                       28               2.048
9 ...........................................................................................                    2.262                           19                 2.093                       29               2.045
10 .........................................................................................                     2.228                           20                 2.086                       30               2.042
  a The value n is the number of independent pairs of measurements. Either discrete (independent) measurements in a single run or run aver-
ages can be used.

                                                                         TABLE 5—MEASUREMENT ERROR TEST DATA
Source:                                                                                                               Date:

CEMS:                                                                                                                 Location:

Serial Number:                                                                                                        Span:

                                                                   Reference                      CEMS                                   Difference—                            Difference—               Difference—
                   Run number                                      gas value                    response                                       low                                    low                       low
                                                                    (ppbv)                        (ppbv)                                     (ppbv)                                 (ppbv)                    (ppbv)

1

2

3

4

5

6

7

8
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                                    TABLE 5—MEASUREMENT ERROR TEST DATA—Continued
Source:                                                                 Date:

CEMS:                                                                   Location:

Serial Number:                                                          Span:

                                       Reference            CEMS                    Difference—                Difference—      Difference—
            Run number                 gas value          response                        low                        low              low
                                        (ppbv)              (ppbv)                      (ppbv)                     (ppbv)           (ppbv)

9

Mean Difference—ppbv

Measurement Error—%


                                               TABLE 6—CALIBRATION DRIFT TEST DATA
Source/Location:

CEMS:

Instrument Serial Number:

Instrument Span:

                                                                                Reference           CEMS        Difference        Percent
                   Day                         Date             Time            gas value         response        (ppbv)          of span
                                                                                 (ppbv)             (ppbv)

                                                                  Zero Gas
1                                                                                   0
2                                                                                   0
3                                                                                   0
4                                                                                   0
5                                                                                   0
6                                                                                   0
7                                                                                   0
                                                               High-Level Gas
1
2
3
4
5
6
7



PS–19 Appendix A Standard Addition              part as an alternative to upscale calibration   into the measurement system as an addition
Procedures                                      drift (CD) tests, cylinder gas audits and       to the native EtO and the native source gas
                                                relative accuracy audits (RAAs), and may be     matrix.
1.0   Scope and Application
                                                used for quality assurance purposes under       3.0 Definitions
   1.1 This appendix A (appendix PS–19A)        other applicable regulations or permits that
to Performance Specification 19 (PS–19)         require EtO monitoring.                           (See PS–19 and Procedure 7 of appendix F
describes the procedure and performance                                                         to this part for the Definitions Used in this
requirements for standard addition (SA) as a    2.0 Summary of the Appendix for Standard        appendix.)
quality check for ethylene oxide (EtO)          Addition
                                                                                                4.0 Interferences
continuous emission monitoring systems            As used here, SA is a gas phase method of       Interferences are discussed in PS–19,
(CEMS).                                         standard additions (either static or dynamic)   section 4.0.
   1.2 This procedure must be used, as a        used to verify the accuracy of CEMS
level of detection (LOD) verification of all    measurements in the presence of the sample      5.0 Safety
field-installed CEMS. Additionally, it is       matrix. For extractive CEMS, it consists of       The procedures required under this
allowed by Procedure 7 in appendix F to this    spiking a known quantity of EtO dynamically     appendix may involve hazardous materials,
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operations, and equipment. This procedure        concentration as the CEMS being qualified         particulate filter or sample conditioning
may not address all of the safety problems       with this PS.                                     system and as close to the sampling inlet as
associated with these procedures. You as the        8.2 Dynamic Spiking Procedure.                 practical.
facility or operator must establish                 8.2.1 Your EtO spike addition must not            8.2.5.2 Maintain the EtO gas spike for at
appropriate safety and health practices and      alter the total volumetric sample system flow     least twice the DS response time of your
determine the applicable regulatory              rate or basic dilution ratio of your CEMS (if     CEMS or until the consecutive measurements
limitations prior to performing these            applicable).                                      agree within 5.0 percent. Collect two
procedures. As the CEMS user, you should            8.2.2 Your spike gas flow rate must not        independent measurements of the native plus
consult instrument operation manuals,            contribute more than 10 percent of the total      spiked EtO concentration.
material safety data sheets, compressed gas      volumetric flow rate through the CEMS.               8.2.5.3 Stop the flow of spike gas for at
safety requirements, and other Occupational         8.2.3 You must determine a dilution            least twice the DS response time of your
Safety and Health Administration regulations     factor (DF) or relative concentration of EtO      CEMS or until the consecutive measurements
for specific precautions to be taken.            for each dynamic spike. Calibrated, NIST-         agree within 5.0 percent. Collect two
                                                 traceable flow meters accurate to within 2.0      independent measurements of the native EtO
6.0 Equipment and Supplies                       percent or highly accurate tracer gas             concentration.
  An example of equipment and supplies is        measurements are required to make the                8.2.6 Repeat the collection of sample
described in section 6 of PS–18.                 necessary DF determinations at the accuracy       measurements in section 8.2.5 until you have
                                                 required for this PS. Calibrated, NIST-           data for each spike concentration including
7.0 Reagents and Standards                       traceable flow meters (e.g., venturi, orifice)    a final set of unspiked sample measurements
  SA materials must meet the requirements        accurate to within 2.0 percent should be          according to section 8.2.5.3.
defined for reference gases in section 7 of      recertified against an NIST-traceable flow           8.2.7 Verify that the CEMS responded as
PS–19 to perform this procedure.                 meter annually. Note: Since the spiking mass      expected for each spike gas injection, and
                                                 balance calculation is directly dependent on      that the data quality is not impacted by large
8.0 Standard Addition and Dynamic                the accuracy of the DF determination, the         shifts in the native source concentration.
Spiking Procedure                                accuracy of measurements required to              Discard and repeat any spike injections as
   The standard addition procedure consists      determine the total volumetric gas flow rate,     necessary to generate a complete set of the
of measuring the native source gas               spike gas flow rate, or tracer gas standard       required replicate spike measurements.
concentration, addition of reference gas, and    addition concentration is critical to your           8.2.8 Calculate the standard addition
measurement of the resulting SA elevated         ability to accurately perform the DS              response (SAR) for extractive CEMS, using
source gas concentration. EtO is spiked          procedure and calculate the results.              equation A4 in section 11.2, of this appendix
dynamically and thus, one must account for          8.2.4 You must monitor and record the          PS–19A.
                                                 total sampling system flow rate and sample
the dilution of sample gas from the addition                                                          8.2.9 If the DS results do not meet the
                                                 dilution factor (DF) for the spiking and stack
of the EtO reference gas.                                                                          specifications for the appropriate
                                                 gas sampling systems to ensure they are
   8.1 SA Concentration and Measurement                                                            performance test in PS–19 or Procedure 7 of
                                                 known and do not change during the spiking
Replicates.                                                                                        appendix F of this part, you must take
                                                 procedure. Record all data on a data sheet
   8.1.1 You must inject EtO gas to create a                                                       corrective action and repeat the DS
                                                 similar to table A1 in section 13 of this
measured concentration based on the                                                                procedure.
                                                 appendix.
requirements of the particular performance          8.2.4.1 You may either measure the spike       9.0   Quality Control—Reserved
test (e.g., LOD verification, CD).               gas flow and the total flow with calibrated
   8.1.2 Each dynamic spike (DS) or              flow meters capable of NIST traceable             10.0 Calibration and Standardization—
standard addition (SA) replicate consists of a   accuracy to ±2.0 percent or calculate the flow    Reserved
measurement of the source emissions              using a stable tracer gas included in your
concentration of EtO (native stack                                                                 11.0 Calculations and Data Analysis
                                                 spike gas standard.
concentration) with and without the addition        8.2.4.2 If you use flow measurements to          Calculate the SA response for each
of EtO. With a single CEMS, you must             determine the spike dilution, then use            measurement and its associated native EtO
alternate the measurement of the native and      equation A1 in section 11.2.1 of this             measurement(s), using equations in this
SA-elevated source gas so that each              appendix PS–19A to calculate the DF.              section. (Note: For cases where the emission
measurement of SA-elevated source gas is         Determination of the spike dilution requires      standard is expressed in units of lb/hr or
immediately preceded and followed by a           measurement of EtO spike flow (Qspike) and        corrected to a specified O2 or CO2
measurement of native stack gas. Introduce       total flow through the CEM sampling system        concentration, an absolute accuracy
the SA gases in such a manner that the entire    (Qprobe).                                         specification based on a span at stack
CEMS is challenged. Alternatively, you may          8.2.4.3 If your CEMS is capable of             conditions may be calculated using the
use an independent continuous EtO monitor        measuring an independent stable tracer gas,       average concentration and applicable
to measure the native source concentration       you may use a spike gas that includes the         conversion factors. The appropriate
before and after each standard addition as       tracer to determine the DF using equation A2      procedures for use in cases where a percent
described in section 8.1.4.                      or A3 (sections 11.2.2 and 11.2.3 of this         removal standard is more restrictive than the
   8.1.3 Unless specified otherwise by an        appendix PS–19A) depending on whether the         emission standard is the same as in PS–2,
applicable rule, your SA-elevated                tracer gas is also present in the native source   sections 12 and 13, in this appendix.)
concentration may not exceed 100 percent of      emissions.                                          11.1 Nomenclature.
span when the SA and native EtO                     8.2.4.4 For extractive CEMS, you must            Cspike = Actual EtO reference gas
concentration are combined.                      correct the background measurements of EtO        concentration spiked (e.g., bottle or reference
   8.1.4 As an alternative to making             for the dilution caused by the addition of the    gas concentration) ppmv;
background measurements pre- and post-SA,        spike gas standard. For spiking systems that        Ctracer spiked = Tracer gas concentration
you may use an independent continuous EtO        alternate between addition of EtO and zero        injected with spike gas (‘‘reference
monitor as a temporary unit to measure           gas at a constant DF, the background              concentration’’) ppmv;
native stack EtO concentration while             measurements between spikes will not be             DF = Spiked gas dilution factor;
simultaneously using the CEMS to measure         equal to the native source concentration.           DSCD = Calibration drift determined using
the SA-elevated source concentration. If you        8.2.5 Begin by collecting unspiked             DS procedure (percent);
use an independent continuous EtO monitor        sample measurements of EtO. You must use            DSE = Dynamic spike error (ppmv);
you must make one concurrent background          the average of two unspiked sample                  ESA = Effective spike addition (ppmv);
or native EtO measurement using both the         measurements as your pre-spike background.          MCSA = Measured SA-elevated source gas
installed CEMS and the independent                  Note: Measurements should agree within         concentration (ppmv);
continuous EtO monitor, immediately before       5.0 percent or three times the level of             MCspiked = Measured EtO reference gas
the SA procedure in section 8.2 or 8.3 begins,   detection to avoid biasing the spike results.     concentration i (ppmv);
to confirm that the independent monitoring          8.2.5.1 Introduce the EtO gas spike into         MCnative = Average measured concentration
system measures the same background              the permanent CEMS probe, upstream of the         of the native EtO (ppmv);
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  Mnative tracer = Measured tracer gas             Qspike = Flow rate of the dynamic spike gas       11.2 Calculating Dynamic Spike
concentration present in native effluent gas     (Lpm);                                            Response and Error.
(ppmv);                                            Qprobe = Average total stack sample flow          11.2.1 If you determine your spike DF
  Mspiked tracer = Measured diluted tracer gas   through the system (Lpm);                         using spike gas and stack sample flow
concentration in a spiked sample (ppmv);           S = Span (ppmv);                                measurements, calculate the DF using
                                                   SAR = Standard addition response (ppmv)         equation A1:




  11.2.2 If you determine your spike DF          not present in the native source emissions,
using an independent stable tracer gas that is   calculate the DF for DS using equation A2:




   11.2.3 If you determine your spike            emissions, calculate the dilution factor for
dilution factor using an independent stable      dynamic spiking using equation A3:
tracer that is present in the native source




  11.2.4 Calculate the SA response using
equation A4:




  11.2.5 Calculate the DS error using
equation A5.




  11.2.6 Calculating CD using DS. When           level CD, calculate the CD as a percent of
using the DS option for determining mid-         span using equation A6:




   11.2.7 The effective spike addition (ESA)     concentration as a result of injecting a spike.
is the expected increase in the measured         Calculate ESA using equation A7:




12.0   Reserved
13.0   Tables and Figures

                                                  TABLE A13—1—SPIKE DATA SHEET
Facility Name:                                                           Date:                               Time:
Unit(s) Tested:                                                          Personnel:
Analyzer Make and Mode
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                                            TABLE A13—1—SPIKE DATA SHEET—Continued
Serial Number
Calibration Span

                                                                           MCnative                         Actual value (ppb)
          Qprobe                Qspike                                                                                                   DSE
                                                 DF 1
          (lpm)                 (lpm)                                                                     Cspike 2                      (ppbv)
                                                               Pre           Post           Avg.                        MCspike 3




                                                                                                                        Average
                                                                                                                        SD
  1 DF must be less than or equal to 10%.
  2C
     spike = Actual EtO concentration of the spike gas, ppbv.
  3 MC
       spike = Measured EtO concentration of the spiked sample at the target level, ppbv.




PS–19 Appendix B Preparation and                  An alternative approach is needed to             Gaseous Standards, May 2012 (EPA 600/R–
Certification of Ethylene Oxide Gas               establish a gas standard functionally            12/531). Users of this appendix PS–19B for
Standards                                         equivalent to the EPA Protocol gas standard      the preparation of GMPS and GMACS must
                                                  when NIST or NMI reference gas standard are      be proficient with the preparation protocol
1.0 Scope and Application                         not available. This appendix PS–19B is           cylinders using this standard.
  1.1 This appendix (appendix PS–19B) to          intended to provide procedures and                  Note: This appendix PS–19B does not
Performance Specification 19 (PS–19)              performance criteria for the establishment of    require the user to participate in any protocol
describes the procedure and performance           Gas Manufacturer Alternative Certified           gas verification program.
criteria for the preparation and certification    Standards (GMACS), the functional                   2.4 Any alternatives to the procedures in
of EtO Gas Manufacturer Primary Standards         equivalent of EPA Protocol gas standards.        this appendix PS–19B are subject to
(GMPS) and Gas Manufacturer Alternative           GMACS and Gas Manufacturer Primary               Administrator review under the alternative
Certified Standards (GMACS). These                Standards (GMPS), the functional equivalent      test method the authority to approve
procedures are not specific to ethylene oxide     of the NIST or NMI reference gas standards.      alternatives or changes to test methods
and could be transferable to the preparation      The GMPS are the reference gases used to         specified in the General Provisions to 40 CFR
of gas standards for other pollutants             establish the certified concentrations of the    parts 60, 61, and 63 (§§ 60.8(b)(2),
regulated under 40 CFR parts 59, 60, 61, 63,      GMACs. The GMPS are established using a          61.13(h)(1)(ii), and 63.7(e)(2)(ii)). Requests
and 65.                                           dual certification approach where the            for alternative to the procedures must be
                                                  gravimetrically prepared reference value is      submitted to the agency according to
2.0 Summary of the Appendix                       confirmed using an independent                   Guideline Document 22 (https://
  EPA requires the use of EPA Protocol gas        measurement approach traceable to the            www.epa.gov/system/files/documents/2022-
standards for emissions monitoring. These         International System of Units (SI) and           09/gd-022r5.pdf).
gases are established following the EPA           references materials or devices.
Traceability Protocol for Assay and                 2.1 This appendix PS–19B is intended to        3.0 Definitions
Certification of Gaseous Standards, May 2012      be performance-based and allow specialty gas       3.1 Certification means a set of
(EPA 600/R–12/531) otherwise referred in          manufacturers (SGM) flexibility in the           procedures and performance criteria used by
this appendix PS–19B as the EPA                   preparation and certification of GMPS and        a SGM to prepare and certify a GMPS and/
Traceability Protocol. The EPA Traceability       GMACS.                                           or GMACS for commercial sale.
Protocol requires the use of certified              2.2 This appendix PS–19B is not                  3.2 Certified Reference Material or CRM
reference gas standards directly traceable to     intended to be a replacement for the EPA         means a material that has been certified or
National Institute of Standards and               Protocol gases established according to the      verified by either NIST or other NMI (e.g.,
Technology (NIST) or other recognized             EPA Traceability Protocol when calibration       VSL, NPL) and may be used for traceability
national metrology institute (NMI) reference      gases that meet EPA Traceability Protocol        purposes.
gas standards. A NIST certified value is a        requirements are available. When NIST or           3.3 Dual Method Certification means a
value for which NIST has the highest              other recognized NMI reference gas standards     process in which the gravimetric value is
confidence in that all known or suspected         are manufactured and readily available, those    independently confirmed by a measured
sources of bias and imprecision have been         gases must be used.                              value.
accounted for. Without NIST or other NMI            2.3 This appendix PS–19B is reliant on           3.4 EPA Protocol Gas means a calibration
reference gas standards, the necessary EPA        the procedures included the EPA Traceability     or reference gas required for emissions
Protocol gas standards cannot be prepared.        Protocol for Assay and Certification of          monitoring directly traceable to NIST or
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other accepted NMI reference gas standards,      (kelvin), luminous intensity (candela), and           The procedures for the gravimetric
prepared following the EPA Traceability          mass (kilogram).                                   preparation, stability evaluation, and
Protocol                                            3.18 Standard Reference Material or SRM         independent verification of GMPS must meet
   3.5 EPA Traceable Protocol for Assay          means a material or substance issued by            the criteria in this section following the
and Calibration Gas Standards or commonly        NIST that meets NIST-specific certification        procedures in 8.1(a) through (g).
referred to as the ‘‘EPA Traceability            criteria and is issues with that with a               (a) Raw Materials
Protocol’’ means the document The protocol       certificate or certificate of analysis that           (b) GMPS Cylinder Preparation/Creation
allows producers of these standards, users of    reports the results of its characterizations and      (c) GMPS Cylinder Independent
gaseous standards, and other analytical          provides information regarding the                 Verification
laboratories to establish traceability of EPA    appropriate use(s) of the material.                   (d) GMPS Cylinder Certification
Protocol Gases to gaseous reference standards       3.19 Uncertainty means the expression of           (e) GMPS Cylinder Stability
produced by the National Institute of            the statistical dispersion of the values              (f) GMPS Cylinder Expiration Period
Standards and Technology (NIST).                 attributed to a measured quantity. For the            (g) GMPS Documentation
   3.6 Gas Calibration Cylinder means a          purpose of this appendix, uncertainty is              8.1.1 Raw Materials. Raw materials used
refillable cylinder that meets the applicable    calculated using the root sum square of all        in the production of GMPS must be of high
DOT/TC specifications for high pressure          uncertainty budget items associated with           quality (e.g., 99+% purity recommended).
cylinders. The cylinders shall be                each procedure at k=2 (i.e., approximately 95      Additionally, because raw material purity is
permanently stamped with a unique value.         confidence).                                       the largest component of uncertainty in gas
   3.7 Gas Manufacturer Alternative                 3.20 VSL means Van Swinden National             gravimetry, SGMs must substantiate the
Certified Standards or GMACS means a gas         Lab, located in Delft, Netherlands.                purity of the raw material prior to use, either
that has been prepared according to this         4.0   Interferences—Reserved                       via (1) a validated certificate of analysis for
procedure and serves as a functional                                                                the actual lot number purchased provided by
substitute for an EPA Protocol Gas where         5.0 Safety                                         the raw material vendor, or (2) a purity assay
EPA Protocol gases are not available.              The procedures required under this               conducted by the SGM on the actual raw
   3.8 Gas Manufacturer Intermediate             appendix may involve hazardous materials,          material to be used. The uncertainty of the
Standard means a gas reference standard          operations, and equipment. This procedure          raw material (Ur) assay must be included as
made by a gas supplier and certified             may not address all of the safety problems         one of the components of the total combined
according to the U.S. EPA protocol rules for     associated with these procedures. You as the       uncertainty for the mixture.
GMISs. For the purpose of this Appendix,         facility or operator must establish                   8.1.2 GMPS Gravimetric Cylinder
GMISs may be assayed against a GMPS.             appropriate safety and health practices and        Preparation/Creation. The GMPS standards
   3.9 Gas Manufacturer Primary Standards        determine the applicable regulatory                shall be based on a gravimetric preparation.
or GMPS means a reference gas standard           limitations prior to performing these              The gravimetric preparation shall yield an
prepared and certified by the SGM that           procedures. You should consult instrument          expected concentration for the target
serves as a functional substitute for the        operation manuals, material safety data            component, and with the required statistical
reference gas standards established by, but      sheets, compressed gas safety requirements,        controls in place to calculate the uncertainty
not yet available from NIST or other accepted    and other Occupational Safety and Health           of that concentration.
NMI and required by the EPA Traceability         Administration regulations for specific               8.1.2.1 The scale used to generate the
Protocol to produce EPA Protocol gases.          precautions to be taken.                           gravimetric reference standard must be
   3.10 Gravimetry means the quantitative                                                           independently calibrated over the range of
measurement of an analyte by weight.             6.0 Equipment and Supplies                         target masses with ASTM E617–13 Class-1
   3.11 NIST means the National Institute          This procedure is not prescriptive on the        weights on no less than a yearly basis. For
of Standards and Technology, located in          type of equipment or the supplies necessary        such certifications, a high accuracy mass
Gaithersburg, Maryland.                          for the preparation of GMPS and GMACS              comparator (electronic or pendulum-type
   3.12 NIST Traceable Reference Material        gaseous cylinder standards, however SGM            scale) is employed as the ‘‘scale.’’ The
or NTRM means is a reference material            must use the appropriate equipment and             resolution of the scale should be sufficient to
produced by a commercial supplier with a         supplies necessary to meet the uncertainty         be able to calculate the overall uncertainty of
well-defined traceability linkage to NIST and    requirements in this appendix.                     any concentration derived from these steps.
named by NIST procedures, on a batch rather      7.0   Reagents and Standards—Reserved                 8.1.2.1.1 The scale used for the
than individual basis. This linkage is                                                              gravimetric operation must be independently
established via criteria and protocols defined   8.0 Procedures.                                    calibrated and traceable to NIST standards
by NIST that are tailored to meet the needs        The exact procedures used will depend on         with a defined uncertainty (ut).
of the metrological community to be served.      the gas manufacturer and the physical                 8.1.2.1.2 The scale calibration must be
   3.13 Primary Reference Materials or PRM       characteristics of the compound being              checked before the start of each new
means a mixture composition is verified          prepared as a gaseous calibration standard.        weighing operation (i.e., the day of) with a
against VSL’s own primary standard gas           Any procedure is deemed appropriate so long        weight in the appropriate range that also
mixtures to confirm the assigned value.          as the criteria in section 8.1 for GMPS and        meets ASTM E617–13 Class-1 requirements.
   3.14 Protocol Gas means a calibration or      section 8.2 for GMACS are met.                        8.1.2.1.3 All material and equipment
reference gas required for emissions               8.1 Preparation and Certification of the         associated with the gravimetric analysis shall
monitoring traceable to NIST or other            GMPS.                                              have or apply a procedure to estimate the
accepted NMI, prepared following the EPA           The GMPS certified value is established          uncertainty of the measurement, including
Traceability Protocol.                           using the dual certification approach. A           but not limited to the balance(s) used (uca)
   3.15 Research Gas Mixture or RGMs             candidate GMPS cylinder is prepared                standard weight (uw).
means a reference material produced by a         gravimetrically, and its established reference        8.1.2.1.4 The assay purity and associated
commercial supplier certified by NIST on an      value is confirmed by an independent               material uncertainty (ur) of the assay for each
individual basis, often using non routine        measurement traceable to SI units as well as       component raw material and the balance gas
procedures, are called Research Gas Mixtures     other appropriate reference materials. The         must be known. This purity deviation is
(RGMs), and may be used for traceability         level of agreement between the gravimetric         factored into the uncertainty of the mass of
purposes.                                        reference value and the SI-based independent       each material blended into the mixture.
   3.16 Specialty Gas Manufacturer or SGM        measurements along with the average value             8.1.2.1.5 The procedures below are
means an organization that prepares and          and associated, combined, expanded                 minimum requirements and do not speak to
certified gas calibration gas mixtures.          uncertainties serve to establish the certified     all of the details an SRM would do to ensure
   3.17 International System of Units or SI      reference value. If high purity reference          the preparation of a high-accuracy
means the standards for international            material is not readily available for a            gravimetric candidate GMPS, (e.g., controls
measurement and are comprised of length          gravimetric preparation, a user may petition       for external factors that would influence
(meter), time (second), amount of substance      the Administrator for an alternative method        scale reading accuracy buoyancy effects,
(mole), electric current (ampere), temperature   for preparation of a GMPS.                         moisture/dust adsorption on the cylinder
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surface, and errors caused by the location of     gravimetrically prepared GMPS candidate.             (b) Any propagated uncertainties through
the cylinder on the scale). The SGM should        The independent verification must be based         serial dilutions;
develop and follow and internal standard          on a measurement approach traceable to the           (c) The errors in volumetric sampling of
operation procedures (SOP) for the                SI and may include the use of intrinsic NIST       the candidate GMPS mixture;
preparation of the candidate GMPS.                or accepted NMI reference materials to               (d) The uncertainty of the instrument
   8.1.2.1.6 Record the Target cylinder           establish said traceability. Candidate             calibration curve (least squares fit and
identification number, blend date, and            independent verification measurement               residual);
balance gas on the appropriate form (see          approaches include classical chemistry,              (e) The bias or error associated with any
figure B–1). Additionally, record the             spectroscopic approaches, as well as other         measurement interferences;
intended component(s) to be used in the           instrumental approaches as long as adequate          (f) The repeatability of replicate aliquot
preparation for this candidate GMPS,              and appropriate SI traceability can be             injections from the same sample;
identifying the standard type, material name      incorporated. The approach must be
(e.g., Ethylene Oxide), MW (g/mol), and                                                                (g) The repeatability of replicate samples of
                                                  performed using NIST (or equivalent)               the mixture;
purity (wt%).                                     traceable calibrations materials and using
   8.1.2.1.7 Add the components to the                                                                 (h) Any external factors influencing
                                                  procedures that would allow the user to            sampling or instrument accuracy;
candidate GMPS, recording the weight of           determine the overall uncertainty of the
each component added.                                                                                  (i) The uncertainty of measured volumetric
                                                  measurement. In some instances, a                  gas flows;
   8.1.2.1.8 GMPS Gravimetric Uncertainty.        component may not be suitable to analysis
Calculate and document the gravimetric                                                                 (j) The bias or uncertainty associated with
                                                  using a classical approach, in those instances
concentration (GMPS–Cg) for each                                                                     quantitative gas flow delivery;
                                                  alternative approaches may be used do long
component of the candidate GMPS. You must                                                              (k) The error associated with instrumental
                                                  as they (1) yield a concentration for the target
also document the combined uncertainty,                                                              measurement analyzers;
                                                  com, (2) have a calculated uncertainty, (3)
expressed as the root sum of the uncertainty                                                           (l) Replicate measurement instrument error
                                                  have traceability to the SI, and (4)
budget items identified, for the candidate                                                           and precision.
GMPS value (GMPS–Cgu). Gravimetric                documented conformity to the general
                                                  metrological principles for primary methods          8.1.4 GMPS Certification. The candidate
preparation uncertainty budget items                                                                 GMPS certified value is based on three
include:                                          outlined above.
                                                     8.1.3.1 GMPS Independent Verification           factors:
   (a) The purity of the raw material and the                                                          (a) The relative agreement between the
balance gas;                                      Measurement Uncertainty. The cumulative
                                                  uncertainty of the GMPS independent                gravimetric reference value and the
   (b) The measured accuracy of the                                                                  independent, measured value of the
(electronic) balance including consideration      verification measurement approach is
                                                  integral to the ability to assess the overall      gravimetrically-prepared GMPS candidate;
the uncertainty of the calibration weights, the                                                        (b) The combined, expanded uncertainty
calibration uncertainty, and its linearity;       quality of the independent verification
                                                  measurement. You must also document the            (k=2) of the gravimetric value and
   (c) The repeatability of the balance
                                                  combined uncertainty, expressed as the root        independently measured concentrations
readings including errors caused by the
location of the cylinder on the balance;          sum of the uncertainty budget items                values;
   (d) Balance Buoyancy effects;                  identified. Ensure that all known or                 (c) The average of the independently
   (e) Effects of moisture adsorption and dust    suspected sources of bias and imprecision          measured concentrations values.
on the outer surface of the cylinder;             have been accounted for. The following               8.1.4.1 GMPS Relative Agreement.
   (f) Cylinder dilutions, if any, used to        elements are examples of sources of                Calculate the relative agreement according to
prepare target concentrations, including          measurement error that must be included in         equation B–1, expressed as Relative Percent
propagated uncertainties.                         the overall uncertainty calculation for the        Difference (RPD) between the gravimetric
   8.1.3 GMPS Independent Verification.           GMPS independent verification                      concentration (GMPS–Cg) the independently
The certification of the candidate GMPS is        measurement:                                       measured concentrations (GMPS–Ca). The
based on independent measurements                    (a) The uncertainty of the certified            results of these two analyses must agree
verifying the reference concentration of the      reference solution (the traceability source);      within 4.0 percent (%).




  8.1.4.2 GMPS Combined, Expanded                 Cua) according to equation B–2. Establish the      ≤5.0 percent (%). If these objectives are not
Uncertainty. Determine the individual             GMPS combined, expanded uncertainty                met, the candidate GMPS is not acceptable,
uncertainties for the gravimetric approach        (GMPS–Cuc) as the root sum of the two              and must not be used.
(GMPS–Cug) and the independent                    individual uncertainties with a coverage
measurement verification approach (GMPS–          factor k=2. The combined uncertainty must




  8.1.4.3 GMPS Certified Concentration              8.1.4.4 An SGMs may propose to                   the GMPS to assure that the mixture stays
Value. If the GMPS meets the Relative             Administrator an alternative acceptance            within claimed accuracy bounds for the
Agreement criteria in section 8.1.5.3 and the     values for section 8.1.5.1 or 8.1.5.2 for those    entire claimed expiration period.
combined, expanded uncertainty criteria in        components that are unable to meet the             Alternatively, once a preparation process has
section 8.1.5.4, the GMPS is valid. The GMPS      documented criteria. These proposals must          been developed, the SGM can perform a
certified value (GMPS–CC) is based on the         include sufficient documentation that the          stability study consisting not less than three
independently measurement concentration           objectives are unreasonable for a given            cylinders prepared using the defined process
(GMPS–Ca). The certification date is the date     component and concentrations.                      and at the concentration(s) defined by the
                                                    8.1.5 GMPS Stability Testing. The SGM            process. Once the stability study cylinders
of the last confirmatory measurement.
                                                  must test and document mixture stability of        have demonstrated acceptable stability for
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the minimum expiration period (6-months),         material, balance, and environmental effects.   Standards (GMIS) can be prepared by direct
additional GMPS cylinders can be prepared         You must include sufficient information that    comparison to a GMPS that has been
under identical process conditions.               will allow a 3rd party to recalculate the       prepared and certified according to section
   8.1.5.1 The SGM may select the sampling        prepared concentration and expanded             2.1.3.1 and 2.2 of the EPA Traceability
frequency based on the targeted expiration        uncertainties.                                  Protocol. The tagged value of the GMACS
period, the gas consumed in the analysis and        8.1.7.2 The following information for the     must be based on the EPA Traceability
expected component behavior. Stability            analytical verification of the GMPS must be     Protocol measured value as long as the
testing data must consist of at least:            recorded and maintained as a record. This       performance criteria in sections 12.1 and 12.2
   (a) Five discrete samplings of the retained    record should include the confirming            are met.
mixture for an expiration period of 6-months      methodology and any associated SOPs,               8.2.3 GMACS Stability Testing. The SGM
to 1-year;                                        confirming concentration(s), instrumentation    must test and document the stability of the
   (b) Ten discrete samplings for an              used, calibration standards used and            GMACS to assure that the mixture stays
expiration period of 1–3 years; and               associated COAs, calibration curve data,        within claimed certified bounds for the entire
   (c) Twenty for any period greater than 3       replicate analysis calculated, and expanded     claimed expiration period. Use the
years.                                            uncertainties.                                  procedures in section 8.1.6 to assess stability.
   8.1.5.2 Stability testing must be                8.1.7.3 The following information must        The GMACS must also meet the requirements
conducted for each cylinder size/type and at      be documented for inclusion on the COA for      in section 2.1.5.2 of the EPA Traceability
a similar concentration as the candidate          the GMACS.                                      Protocol.
GMPS. Stability analyses must be performed          (a) Manufacturer’s company name and              8.2.4 GMACS Expiration Date. The
using methods that assure consistent results      address of the producing location               certification period of the GMACS shall be
can be achieved. If instrumental analysis           (b) Manufacturer’s part number for the        based on the documented stability tests of the
using a gas standard is employed, use of a        GMPS, lot number, and/or production record.     GMPS in section 8.1.6. The expiration date
GMPS standard is highly recommended. In             (c) Cylinder number, cylinder type,           shall be based on the certification date, plus
the absence of a certified GMPS, stability        cylinder preparation ID, moisture dew point     the certification period plus one day. There
testing must be conducted using the same          and cylinder pressure.                          is not a maximum period of expiration;
independent verification measurement                (d) Certification date and claimed            however, expiration periods must not be less
procedures and methodology used in section        expiration date.                                than six months.
8.1.4, or using another known-to-be-stable          (e) GMPS component(s) name, final                8.2.5 GMACS Documentation You must
gas standard containing the target component      certified concentration(s) (GMPS–Cc), and       document and maintain the same
in a similar concentration range.                 balance gas.                                    information required for the analytical
   8.1.5.3 Stability testing data must not          (f) Gravimetric value and uncertainty         verification of the GMPS, as found in section
                                                                                                  8.1.8 for GMACS, as a record. The records of
show any upward or downward trends that             (g)Verification value and uncertainty
                                                                                                  the preparation and certification must be
would cause the mixture to become out of            (h) GMPS final certified value and
                                                                                                  made available upon request by the
specification prior to the claimed expiration     uncertainty absolute as a percentage (GMPS–
                                                                                                  appropriate delegated authority.
period.                                           Cu)
                                                                                                     8.2.6 GMACS Certificate of Analysis
   8.1.6 GMPS Expiration Period. The                8.2 Preparation and Certification of the      (COA). You must provide comprehensive
expiration period for the GMPS mixture            GMACS. The preparation and certification of     documentation of the GMPS and GMACS
based must be based on the empirical              the candidate GMACS is also based on the        development process in the form of a
stability test data. The expiration periods for   independent verification of the                 GMACS Certificate of Analysis (COA) that
reactive gases must not exceed the length of      gravimetrically prepared reference value.       accompanies each commercially distributed
the stability test, however for non-reactive      However, the independent verification           GMACS. As a minimum, the COA must
gases you may forecast an expiration period       utilizes the GMPS to perform the                contain the following information:
not to exceed two times the actual stability      independent verification. This is                  (a) Identification of the gas as a Gas
testing duration. The maximum expiration          accomplished by following the procedures in     Manufacturer Alternative Certified Standard;
period for a GMPS is time span from the date      section 2.1 and 2.2 of the EPA Traceability        (b) The cylinder number;
of preparation to the date of the last/most       Protocol, using the GMPS as the certified          (c) The certified concentration of the
recent stability study may not be less than 6-    reference material. The measured value of the   GMACS;
months. Provided that acceptable stability is     independent verification following the EPA         (d) The combined expanded uncertainty
observed, the maximum expiration period           Traceability Protocol procedures also           (k=2) of the GMACS reference value (both
may be extended by retaining the stability        establishes the certified reference value,      absolute and relative);
study cylinders and performing additional         providing the relative agreement performance       (e) The expiration date;
analyses.                                         criteria are met.                                  (f) The reference materials or standards
   8.1.7 GMPS Documentation. You must               8.2.1 GMACS Gravimetric Cylinder              used (i.e., GMPS and GMIS);
document the preparation of the GMPS              Preparation/Creation. The gravimetric              (g) The same information (cylinder
through the appropriate record keeping and        preparation of the GMACS is identical to the    number, certified concentration,
document the certification of a GMPS. The         procedures used to gravimetrically prepare      uncertainties, expiration dates, etc. for these
information is section 8.1.8.1 and 8.1.8.2        the GMPS. You must maintain the same            cylinders);
must be maintained as a record by the SGM         information required for the gravimetric           (h) The gravimetric and independent
for the purpose of maintaining traceability       preparation of GMPS, as found in section        measured verification reference
and to verify the preparation. The                8.1.8.1 for GMACS, as a record.                 concentration values and associated
information in section 8.1.8.3 must be              8.2.2 GMACS Independent Verification          uncertainties for each GMPS used;
documented and maintained by the SGM.             and Certification. The candidate GMACS             (i) Associated measurement principles and
This documentation and the records of the         independent verification of the                 uncertainties;
preparation and certification must be made        gravimetrically prepared reference value is        (j) Any additional information stipulated
available upon request by the appropriate         contingent on the SGM following the             by the EPA Traceability Protocol;
delegated authority.                              procedures in sections 2.1 and 2.2 of the EPA      (k) Any comments/special instructions.
   8.1.7.1 The following information for the      Traceability Protocol. In addition, the EtO        The SGM GMACS provider is encouraged
gravimetric preparation information of the        candidate GMACS certified reference value       to include additional relevant information to
GMPS must be documented and maintained            and associated expanded uncertainty is based    the COA, as appropriate. An example
as a record. This record should include but       on the EPA Traceability Protocol measured       GMACS COA can be found in section 14 of
is not limited to the: blend date, gravimetric    value. This is contingent upon the              this appendix.
concentration, gravimetric concentration          gravimetric and measured values meeting the     9.0   Quality Control—Reserved
uncertainties as a percentage and absolute,       relative agreement performance criteria
reference material information and purity,        established in section 8.1.5.3 and the          10.0 Calibration and Standardization
scale ID, scale accuracy, and calculated          uncertainty criteria established in section       There is a myriad of instrumental and
gravimetric uncertainties associated with         8.1.5.4. Gas Manufacturers Intermediate         mechanical techniques used in the
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performance of this Appendix B. When             12.2 GMACS/GMPS Uncertainty. Final              2. EPA Alternative Method 114, Approval
reference methods are used, you must follow    certification of the GMPS and GMACS            of Alternative Method for preparation of HCl
the calibration requirements of those          reference concentrations must meet the         Gas Standards for PS–18 and Procedure 6,
methods and as defined in this appendix. For   combined expanded uncertainty (k=2) of ≤5.0    February 22, 2016, https://www.epa.gov/
all other approaches, it is recommended to     percent (%).                                   sites/default/files/2020-08/documents/
develop internal SOPs and develop.             13.0   Pollution Prevention—Reserved           alt114.pdf.
                                                                                                 3. Evaluation of Measurement Data—Guide
11.0 Calculations and Data Analysis—           14.0   Waste Management—Reserved               to the Expression of Uncertainty in
Reserved
                                               15.0   Bibliography                            Measurement, JCGM 100:2008, https://
12.0   Method Performance                                                                     www.bipm.org/documents/20126/2071204/
                                                 1. EPA Traceability Protocol for Assay and
  12.1 GMPS/GMACS Relative Agreement.                                                         JCGM_100_2008_E.pdf/cb0ef43f-baa5-11cf-
                                               Certification of Gaseous Calibration
As part of the certification/verification                                                     3f85-4dcd86f77bd6.
                                               Standards, Office of Research and
procedures for the candidate GMPS and          Development, National Risk Management          16.0   Tables and Figures
GMACS, the relative agreement between the      Research Laboratory, May 2012, EPA 600/R–
gravimetrically prepared reference value and   12/531. https://www.epa.gov/air-research/      Figure B–1 Example Gravimetric
the independently measured verification        epa-traceability-protocol-assay-and-           Preparation Sheet for GMPS and GMACS
value must agree within 4.0 percent (%).       certification-gaseous-calibration-standards.   BILLING CODE 6560–50–P
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Figure B–2   Apparatus for the assay of the
GMACs
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Figure B–3   Examples COA




BILLING CODE 6560–50–C                          on a continuous basis as specified in an        acceptable CEMS operation and valid
■ 3. Appendix F to part 60 is amended           applicable permit or regulation.                emission data.
by adding Procedure 7 to read as                  1.1.1 This procedure specifies the               1.2 Principle
follows:                                        minimum QA requirements necessary for the          1.2.1 The QA procedures consist of two
                                                control and assessment of the quality of        distinct and equally important functions.
Appendix F to Part 60—Quality                   CEMS data submitted to the Environmental        One function is the assessment of the quality
Assurance Procedures                            Protection Agency (EPA) or a delegated          of the CEMS data by estimating accuracy.
                                                authority. If you are responsible for one or    The other function is the control and
*     *      *     *     *                      more CEMS used for EtO compliance               improvement of the quality of the CEMS data
Procedure 7. Quality Assurance                  monitoring you must meet these minimum
                                                                                                by implementing QC policies and corrective
Requirements for Gaseous Ethylene Exide         requirements and you are encouraged to
                                                                                                actions. These two functions form an
(ETO) Continuous Emission Monitoring            develop and implement a more extensive QA
                                                                                                iterative control loop. When the assessment
Systems Used for Compliance Determination       program or to continue such programs where
                                                they already exist.                             function indicates that the data quality is
1.0 Applicability and Principle                   1.1.2 Data collected as a result of QA and    inadequate, the control effort must be
   1.1 Applicability. Procedure 7 is used to    quality control (QC) measures required in       increased until the data quality is acceptable.
evaluate the effectiveness of quality control   this procedure are to be submitted to the EPA   In order to provide uniformity in the
(QC) and quality assurance (QA) procedures      or the delegated authority in accordance with   assessment and reporting of data quality, this
and to evaluate the quality of data produced    the applicable regulation or permit. These      procedure specifies the assessment
by any ethylene oxide (EtO) gas, CAS: 75–21–    data are to be used by both the delegated       procedures to evaluate response drift and
8, continuous emission monitoring system        authority and you, as the CEMS operator, in     accuracy. The procedures specified are based
(CEMS) that is used for determining             assessing the effectiveness of the CEMS QC      on Performance Specification 19 (PS–19) in
compliance with emission standards for EtO      and QA procedures in the maintenance of         appendix B to this part.
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   Note 1 to section 1.0: Because the control       4.1.1 CD Requirement. Consistent with         not apply to the extent that alternate terms
and corrective action function encompasses a     § 60.13(d) and with § 63.8(c) of this chapter,   are otherwise specified in an applicable rule
variety of policies, specifications, standards   you, as source owners or operators of CEMS       or permit.
and corrective measures, this procedure          must check, record, and quantify the CD at          4.1.5.1 Any time the average measured
treats QC requirements in general terms to       two levels, using a zero gas and high-level      concentration of EtO exceeds 200 percent of
allow you, as source owner or operator to        gas at least once daily (approximately every     the span value for two consecutive one-hour
develop the most effective and efficient QC      24 hours). Perform the CD check in               averages, conduct the following ’above span’
system for your circumstances.                   accordance with the procedure in the             CEMS response check.
                                                 applicable performance specification (e.g.,         4.1.5.1.1 Within a period of 24 hours
2.0   Definitions                                section 11.3 of PS–19 in appendix B to this      (before or after) of the ’above span’ period,
                                                 part). The daily zero- and high-level CD must    introduce a higher, ’above span’ EtO
  See PS–19 in appendix B to this part for
                                                 not exceed two times the drift limits            reference gas standard to the CEMS. Use
the primary definitions used in this
                                                 specified in the applicable performance          ’above span’ reference gas that meets the
Procedure.
                                                 specification (e.g., section 13.2 of PS–19 in    requirements of section 7.0 of PS–19 in
3.0   QC Requirements                            appendix B to this part.)                        appendix B to this part and target a
  3.1 You, as a source owner or operator,           4.1.2 Recording Requirement for CD            concentration level between 75 and 125
                                                 Corrective action. Corrective actions taken to
must develop and implement a QC program.                                                          percent of the highest hourly concentration
                                                 bring a CEMS back in control after exceeding
At a minimum, each QC program must                                                                measured during the period of measurements
                                                 a CD limit must be recorded and reported
include written procedures and/or                                                                 above span or 5 ppmv whichever is greater.
                                                 with the associated CEMS data. Reporting of
manufacturer’s information which should                                                              4.1.5.1.2 Introduce the reference gas at
                                                 a corrective action must include the
describe in detail, complete, step-by-step                                                        the probe for extractive CEMS.
                                                 unadjusted concentration measured prior to
procedures and operations for each of the        resetting the calibration and the adjusted          4.1.5.1.3 At no time may the ’above span’
following activities:                            value after resetting the calibration to bring   concentration exceed the analyzer full-scale
  (a) Calibration Drift (CD) checks of CEMS;     the CEMS back into control.                      range.
  (b) CD determination and adjustment of            4.1.3 Dynamic Spiking Option for high-           4.1.5.2 Record and report the results of
CEMS;                                            level CD. You have the option to conduct a       this procedure as you would for a daily
  (c) Routine and preventative maintenance       daily dynamic spiking procedure found in         calibration. The ’above span’ response check
of CEMS (including spare parts inventory);       section 11.5.8 of PS–19 of appendix B to this    is successful if the value measured by the
  (d) Data recording, calculations, and          part in lieu of the daily high-level CD check.   CEMS is within 20 percent of the certified
reporting;                                       If this option is selected, the daily zero CD    value of the reference gas.
  (e) Accuracy audit procedures for CEMS         check is still required.                            4.1.5.3 If the ’above span’ response check
including reference method(s); and                  4.1.4 Out of Control Criteria for Excessive   is conducted during the period when
  (f) Program of corrective action for           CD. Consistent with § 63.8(c)(7)(i)(A) of this   measured emissions are above span and there
malfunctioning CEMS.                             chapter, an EtO CEMS is out of control if the    is a failure to collect at least one data point
  3.2 These written procedures must be           zero or high-level CD exceeds two times the      in an hour due to the response check
kept on site and available for inspection by     applicable CD specification in the applicable    duration, then determine the emissions
the delegated authority. As described in         performance specification or in the relevant     average for that missed hour as the average
section 5.4, whenever excessive inaccuracies     standard. When a CEMS is out of control, you     of hourly averages for the hour preceding the
occur for two consecutive quarters, you must     as owner or operator of the affected source      missed hour and the hour following the
revise the current written procedures, or        must take the necessary corrective actions       missed hour.
modify or replace the CEMS to correct the        and repeat the tests that caused the system         4.1.5.4 In the event that the ’above span’
deficiency causing the excessive                 to go out of control (in this case, the failed   response check is not successful (i.e., the
inaccuracies.                                    CD check) until the applicable performance       CEMS measured value is not within 20
                                                 requirements are met.                            percent of the certified value of the reference
4.0 Daily Data Quality Requirements and             4.1.5 Additional Quality Assurance for        gas), then you must normalize the one-hour
Measurement Standardization Procedures           Data Above Span. This procedure must be          average stack gas values measured above the
  4.1 CD Assessment. An upscale gas, used        used when required by an applicable              span during the 24-hour period preceding or
to meet a requirement in this section must be    regulation and may be used when significant      following the ’above span’ response check for
a gas meeting the requirements in section 7.1    data above span are being collected.             reporting based on the CEMS response to the
of PS–19 of appendix B to this part.             Furthermore, the terms of this procedure do      reference gas as shown in Eq. 7–1:




   4.2 Out of Control Period Duration for        used in calculating compliance with an           closer than 2 months apart. Annual audits are
Daily Assessments. The beginning of the out-     emissions limit nor be counted towards           performed at least once every four
of-control period is the hour in which the       meeting minimum data availability as             consecutive calendar quarters.
owner or operator conducts a daily               required and described in the applicable            5.1 Concentration Accuracy Auditing
performance check (e.g., calibration drift)      regulation or permit.                            Requirements. Unless otherwise specified in
that indicates an exceedance of the                                                               an applicable regulation or permit, you must
performance requirements established under       5.0   Data Accuracy Assessment                   audit the EtO measurement accuracy of each
this procedure. The end of the out-of-control      You must audit your CEMS for the               CEMS at least once each calendar quarter,
period is the completion of daily assessment     accuracy of EtO measurement on a regular         except in the case where the affected facility
of the same type following corrective actions,   basis at the frequency described in this         is off-line (does not operate). In that case, the
which shows that the applicable performance      section, unless otherwise specified in an        audit must be performed as soon as is
requirements have been met.                      applicable regulation or permit. Quarterly       practicable in the quarter in which the unit
   4.3 CEMS Data Status During Out-of-           audits are performed at least once each          recommences operation. Successive quarterly
Control Period. During the period the CEMS       calendar quarter. Successive quarterly audits,   audits must, to the extent practicable, be
is out-of- control, the CEMS data may not be     to the extent practicable, shall occur no        performed no less than 2 months apart. The
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accuracy audits shall be conducted as                     procedure as described in appendix A to PS–         5.2.4.3 For the RAA, the RA must not
follows:                                                  19 of appendix B to this part. You must          exceed 20.0 percent of the RMavg as
   5.1.1 Relative Accuracy Test Audit                     conduct three spike injections with each of      calculated using equation 7–2 in section 6.2
(RATA). A RATA must be conducted at least                 two upscale level audit gases. The upscale       of this procedure whether calculated in units
once every four calendar quarters, except as              level gases must meet the requirements of        of EtO concentration or in units of the
otherwise noted in sections 5.1.5 or 5.5 of               section 7 of PS–19 in appendix B to this part    emission standard. In cases where the RA is
this procedure. Perform the RATA as                       and must be chosen to yield concentrations       calculated on a concentration (ppbv) basis, if
described in section 11.6 of PS–19 in                     at the analyzer of 50 to 60 percent of span      the average EtO concentration measured by
appendix B to this part. If the EtO                       and 80 to 100 percent of span. Do not inject     the RM during the test is less than 75 percent
concentration measured by the RM during a                 the same spike gas concentration twice in        of the EtO concentration equivalent to the
RATA (in ppmv or other units of the                       succession.                                      applicable standard, you may substitute the
standard) is less than or equal to 20 percent                5.1.4.2 Calculate results as described in     equivalent emission standard value (in
of the concentration equivalent to the                    section 6.4. To determine CEMS accuracy,         ppbw) in the denominator of equation 7–2 in
applicable emission standard, you must                    you must calculate the dynamic spiking error     the place of RMavg and the result of this
perform a Cylinder Gas Audit (CGA) or a                   (DSE) for each of the two upscale audit gases    alternative calculation of RA must not exceed
Dynamic Spike Audit (DSA) for at least one                using equation A5 in appendix A to PS–19         15.0 percent.
subsequent (one of the following three)                   and equation 7–3 in section 6.4 of this             5.2.4.4 For DSA, the accuracy must not
quarterly accuracy audits.                                Procedure.                                       exceed 5.0 percent of the span value at the
   5.1.2 Quarterly Relative Accuracy Audit                   5.1.5 Other Alternative Quarterly Audits.     zero gas and the mid- and high-level
(RAA). A quarterly RAA may be conducted                   Other alternative audit procedures, as           reference gas concentrations or 20.0 percent
as an option to conducting a RATA in three                approved by the Administrator, may be used       of the applicable emission standard,
of four calendar quarters, but in no more than            for three of four calendar quarters.             whichever is greater.
three quarters in succession. To conduct an                  5.2 Out of Control Criteria for Excessive        5.3 Criteria for Acceptable QC
RAA, follow the test procedures in section                Audit Inaccuracy. If the results of the RATA,    Procedures. Repeated excessive inaccuracies
11.6 of PS–19 in appendix B to this part,                 RAA, CGA, or DSA do not meet the                 (i.e., out-of-control conditions resulting from
except that only three test runs are required.            applicable performance criteria in section       the quarterly or yearly audits) indicate that
The difference between the mean of the RM                 5.2.4, the CEMS is out-of-control. If the        the QC procedures are inadequate or that the
values and the mean of the CEMS responses                 CEMS is out-of-control, take necessary           CEMS is incapable of providing quality data.
relative to the mean of the values (or                    corrective action to eliminate the problem.      Therefore, whenever excessive inaccuracies
alternatively the emission standard) is used              Following corrective action, the CEMS must       occur for two consecutive quarters, you must
to assess the accuracy of the CEMS. Calculate             pass a test of the same type that resulted in    revise the QC procedures (see section 3.0) or
the RAA results as described in section 6.2.              the out-of-control period to determine if the    modify or replace the CEMS.
As an alternative to an RAA, a cylinder gas               CEMS is operating within the specifications         5.4 Criteria for Optional QA Test
audit or a dynamic spiking audit may be                   (e.g., a RATA must always follow an out-of-      Frequency. If all the quality criteria are met
conducted.                                                control period resulting from a RATA).           in sections 4 and 5 of this procedure, the
   5.1.3 Cylinder Gas Audit. A quarterly                     5.2.1 If the audit results show the CEMS      CEMS is in-control.
CGA may be conducted as an option to                      to be out-of-control, you must report both the      5.5.1 Unless otherwise specified in an
conducting a RATA in three of four calendar               results of the audit showing the CEMS to be      applicable rule or permit, if the CEMS is in-
quarters, but in no more than three                       out-of-control and the results of the audit      control and if your source emits ≤75 percent
consecutive quarters. To perform a CGA,                   following corrective action showing the          of the EtO emission limit for each averaging
challenge the CEMS with a zero-level and                  CEMS to be operating within specifications.      period as specified in the relevant standard
two upscale level audit gases of known                       5.2.2 Out-Of-Control Period Duration for      for eight consecutive quarters that include a
concentrations within the following ranges:               Excessive Audit Inaccuracy. The beginning of     minimum of two RATAs, you may revise
      Audit point                   Audit range
                                                          the out-of-control period is the time            your auditing procedures to use CGA, RAA
                                                          corresponding to the completion of the           or DSA each quarter for seven subsequent
1 (Mid-Level) ...........   50 to 60% of span value.      sampling for the failed RATA, RAA, CGA or        quarters following a RATA.
2 (High-Level) ..........   80 to 100% of span value.     DSA. The end of the out-of-control period is        5.5.2 You must perform at least one
                                                          the time corresponding to the completion of      RATA that meets the acceptance criteria
   5.1.3.1 Inject each of the three audit gases           the sampling of the subsequent successful        every 2 years.
(zero and two upscale) three times each for               audit.                                              5.5.3 If you fail a RATA, RAA, CGA, or
a total of nine injections. Inject the gases so              5.2.3 CEMS Data Status During Out-Of-         DSA, then the audit schedule in section 5.2
that the entire measurement system is                     Control Period. During the period the CEMS       must be followed until the audit results meet
challenged. Do not inject the same gas                    is out-of- control, the CEMS data may not be     the criteria in section 5.3.4 to start
concentration twice in succession.                        used in calculating emission compliance nor      requalifying for the optional QA test
   5.1.3.2 Use EtO audit gases that meet the              be counted towards meeting minimum data          frequency in section 5.5.
requirements of section 7 of PS–19 in                     availability as required and described in the
appendix B to this part.                                  applicable regulation or permit.                 6.0 Calculations for CEMS Data Accuracy
   5.2.3.3 Calculate results as described in                 5.2.4 Criteria for Excessive Quarterly and      6.1 RATA RA Calculation. Follow
section 6.3.                                              Yearly Audit Inaccuracy. Unless specified        equations 9 through 14 in section 12 of PS–
   5.1.4 Dynamic Spiking Audit. A quarterly               otherwise in the applicable regulation or        19 in appendix B to this part to calculate the
DSA may be conducted as an option to                      permit, the criteria for excessive inaccuracy    RA for the RATA. The RATA must be
conducting a RATA in three of four calendar               are:                                             calculated either in units of the applicable
quarters, but in no more than three quarters                 5.2.4.1 For the RATA, the CEMS must           emission standard or in concentration units
in succession.                                            meet the RA specifications in section 13.4 of    (ppbv).
   5.1.4.1 To conduct a DSA, you must                     PS–19 in appendix B to this part.                  6.2 RAA Accuracy Calculation. Use
challenge the entire EtO CEMS with a zero                    5.2.4.2 For the CGA, the accuracy must        equation 7–2 to calculate the accuracy for the
gas in accordance with the procedure in                   not exceed 10.0 percent of the span value at     RAA. The RA may be calculated in
section 11.8 of PS–19 in appendix B of this               the zero gas and the mid- and high-level         concentration units (ppmv) or in the units of
part. You must also conduct the DS                        reference gas concentrations.                    the applicable emission standard.
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Where:                                             6.3 CGA Accuracy Calculation. For each        To calculate the DSA accuracy for each
RA = Accuracy of the CEMS (percent)              gas concentration, determine the average of     upscale spike concentration, first calculate
MNavg = Average measured CEMS response           the three CEMS responses and subtract the       the DSE using equation A5 in appendix A of
                                                 average response from the audit gas value.      PS–19 in appendix B to this part. Then use
   during the audit in units of applicable
                                                 For extractive CEMS, calculate the ME at        equation 7–3 to calculate the average DSA
   standard or appropriate concentration.        each gas level using equation 3A in section     accuracy for each upscale spike
RMavg = Average reference method value in        12.3 of PS–19 of appendix B to this part.       concentration. To calculate DSA accuracy at
   units of applicable standard or                 6.4 DSA Accuracy Calculation. DSA             the zero level, use equation 3A in section
   appropriate concentration.                    accuracy is calculated as a percent of span.    12.3 of PS–19 in appendix B to this part.




7.0   Reporting Requirements                     the CEMS to be operating within                 Washington, DC, telephone: 202–566–
  At the reporting interval specified in the     specifications.                                 1744. For information on the availability
applicable regulation or permit, report for      8.0 Bibliography                                of this material at NARA, visit
each CEMS the quarterly and annual                                                               www.archives.gov/federal-register/cfr/
                                                 1. EPA Traceability Protocol for Assay and
accuracy audit results from section 6 and the                                                    ibr-locations or email fr.inspection@
                                                     Certification of Gaseous Calibration
daily assessment results from section 4.                                                         nara.gov. The material may be obtained
                                                     Standards, U.S. Environmental
Unless otherwise specified in the applicable
                                                     Protection Agency office of Research and    from the sources in the following
regulation or permit, include all data sheets,
                                                     Development, EPA/600/R–12/531, May          paragraphs of this section.
calculations, CEMS data records (i.e., charts,
                                                     2012.
records of CEMS responses), reference gas
                                                 2. Method 205, ‘‘Verification of Gas Dilution
                                                                                                 *      *    *     *      *
certifications and reference method results          Systems for Field Instrument                   (f) American Society of Mechanical
necessary to confirm that the performance of         Calibrations,’’ 40 CFR part 51, appendix
the CEMS met the performance
                                                                                                 Engineers (ASME), Two Park Avenue,
                                                     M.                                          New York, NY 10016–5990; phone:
specifications.
  7.1 Unless otherwise specified in the          9.0 [Reserved]                                  (800) 843–2763; email: CustomerCare@
applicable regulations or permit, report the                                                     asme.org; website: www.asme.org.
daily assessments (CD and beam intensity)        PART 63—NATIONAL EMISSION                          (1) ANSI/ASME PTC 19.10–1981,
and accuracy audit information at the            STANDARDS FOR HAZARDOUS AIR                     Flue and Exhaust Gas Analyses [Part 10,
interval for emissions reporting required        POLLUTANTS FOR SOURCE
under the applicable regulations or permits.
                                                                                                 Instruments and Apparatus], issued
                                                 CATEGORIES                                      August 31, 1981; IBR approved for
  7.1.1 At a minimum, the daily
assessments and accuracy audit information       ■ 4. The authority citation for part 63
                                                                                                 §§ 63.309(k); 63.365(b); 63.457(k);
reporting must contain the following             continues to read as follows:                   63.772(e) and (h); 63.865(b); 63.997(e);
information:                                                                                     63.1282(d) and (g); 63.1625(b); table 5 to
  a. Company name and address.                     Authority: 42 U.S.C. 7401 et seq.             subpart EEEE; §§ 63.3166(a); 63.3360(e);
  b. Identification and location of monitors                                                     63.3545(a); 63.3555(a); 63.4166(a);
in the CEMS.                                     Subpart A—General Provisions
                                                                                                 63.4362(a); 63.4766(a); 63.4965(a);
  c. Manufacturer and model number of each
                                                 ■ 5. Section 63.14 is amended by:               63.5160(d); table 4 to subpart UUUU;
monitor in the CEMS.
  d. Assessment of CEMS data accuracy and        ■ a. Revising paragraphs (a) and (f) and        table 3 to subpart YYYY; §§ 63.7822(b);
date of assessment as determined by a RATA,      paragraph (i) introductory text;                63.7824(e); 63.7825(b); 63.8000(d);
RAA, CGA or DSA described in section 5           ■ b. Redesignating paragraphs (i)(88)           63.9307(c); 63.9323(a); 63.9621(b) and
including:                                       through (119) as paragraphs (i)(89)             (c); 63.11148(e); 63.11155(e);
  i. The RA for the RATA;                        through (120), and;                             63.11162(f); 63.11163(g); 63.11410(j);
  ii. The accuracy for the CGA, RAA, or DSA;     ■ c. Adding new paragraph (i)(88) and           63.11551(a); 63.11646(a); 63.11945;
  iii. The RM results, the reference gas         note 2 to paragraph (i).                        table 4 to subpart AAAAA; table 5 to
certified values;                                  The revisions and additions read as           subpart DDDDD; table 4 to subpart JJJJJ;
  iv. The CEMS responses;                        follows:
  v. The calculation results as defined in
                                                                                                 table 4 to subpart KKKKK; table 4 to
section 6; and                                   § 63.14   Incorporations by reference.          subpart SSSSS; tables 4 and 5 of subpart
  vi. Results from the performance audit                                                         UUUUU; table 1 to subpart ZZZZZ; and
                                                   (a) Certain material is incorporated by
samples described in section 5 and the                                                           table 4 to subpart JJJJJJ.
                                                 reference into this part with the
applicable RMs.                                                                                     (2) [Reserved]
  e. Summary of all out-of-control periods       approval of the Director of the Federal
including corrective actions taken when          Register under 5 U.S.C. 552(a) and 1            *      *    *     *      *
CEMS was determined out-of-control, as           CFR part 51. To enforce any edition                (i) ASTM International, 100 Barr
described in sections 4 and 5. 7.1.2 If the      other than that specified in this section,      Harbor Drive, P.O. Box CB700, West
accuracy audit results show the CEMS to be       the EPA must publish a document in the          Conshohocken, Pennsylvania 19428–
out-of-control, you must report both the audit   Federal Register and the material must
results showing the CEMS to be out-of-                                                           2959; phone: (800) 262–1373; website:
                                                 be available to the public. All approved        www.astm.org.
control and the results of the audit following   incorporation by reference (IBR)
corrective action showing the CEMS to be                                                         *      *    *     *      *
                                                 material is available for inspection at
operating within specifications.
  7.1.2 If the accuracy audit results show       the EPA and at the National Archives               (88) ASTM D6348–12 (Reapproved
the CEMS to be out-of-control, you must          and Records Administration (NARA).              2020), Standard Test Method for
report both the audit results showing the        Contact the EPA at: EPA Docket Center,          Determination of Gaseous Compounds
CEMS to be out-of-control and the results of     Public Reading Room, EPA WJC West,              by Extractive Direct Interface Fourier
the audit following corrective action showing    Room 3334, 1301 Constitution Ave. NW,           Transform (FTIR) Spectroscopy,
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Approved December 1, 2020; IBR                      (e) An SCV, ARV, or CEV is                  SCV becomes subject to a more stringent
approved for § 63.365(b).                        reconstructed if you meet the                  emission standard, immediately upon
*    *    *     *     *                          reconstruction criteria as defined in          becoming subject to the more stringent
                                                 § 63.2, and if you commence                    emission standard.
  Note 2 to paragraph (i): Standards listed in
                                                 reconstruction after April 13, 2023.              (6) All existing SCVs at facilities that
this paragraph (i) may also be available from
standards resellers including the Standards         (f) This subpart does not apply to          do not exceed 1 tpy of EtO use within
Store, https://global.ihs.com.                   beehive fumigators.                            any consecutive 12-month period after
                                                    (g) This subpart does not apply to          April 6, 2026, that increase their EtO
*     *      *     *        *                    research or laboratory facilities as           use thereafter, such that the SCV
■ 6. Subpart O is revised and                    defined in section 112(c)(7) of title III of   becomes subject to a more stringent
republished to read as follows:                  the Clean Air Act Amendment of 1990.           emission standard, immediately upon
                                                    (h) This subpart does not apply to EtO      becoming subject to the more stringent
Subpart O—Ethylene Oxide Emissions               sterilization operations at stationary         emission standard.
Standards for Sterilization Facilities           sources such as hospitals, doctor’s               (7) All new SCVs at facilities that
                                                 offices, clinics, or other facilities whose    increase their EtO use over a year after
Sec.
63.360 Applicability.                            primary purpose is to provide medical          startup such that the SCV becomes
63.361 Definitions.                              or dental services to humans or animals.       subject to a more stringent emission
63.362 Standards.                                   (i) If you are an owner or operator of      standard, immediately upon becoming
63.363 Compliance and performance                an area source subject to this subpart,        subject to the more stringent emission
     provisions.                                 you are exempt from the obligation to          standard.
63.364 Monitoring requirements.                  obtain a permit under 40 CFR part 70 or           (8) All existing ARVs at facilities that
63.365 Test methods and procedures.              71, provided you are not required to           meet or exceed 10 tpy of EtO use within
63.366 Reporting requirements.                                                                  any consecutive 12-month period after
63.367 Recordkeeping requirements.
                                                 obtain a permit under 40 CFR 70.3(a) or
63.368 Implementation and enforcement.           71.3(a) for a reason other than your           April 7, 2025, that increase their EtO
Table 1 to Subpart O of Part 63 Standards for    status as an area source under this            use after April 6, 2026, such that the
     SCVs                                        subpart. Notwithstanding the previous          ARV becomes subject to a more
Table 2 to Subpart O of Part 63 Standards for    sentence, you must continue to comply          stringent emission standard,
     ARVs                                        with the provisions of this subpart            immediately upon becoming subject to
Table 3 to Subpart O of Part 63 Standards for    applicable to area sources.                    the more stringent emission standard.
     CEVs                                           (j) You must comply with the                   (9) All existing ARVs at facilities that
Table 4 to Subpart O of Part 63 Standards for                                                   do not exceed 10 tpy of EtO use within
     Group 1 Room Air Emissions
                                                 provisions of this subpart no later than
Table 5 to Subpart O of Part 63 Standards for    the dates specified in paragraphs (j)(1)       any consecutive 12-month period after
     Group 2 Room Air Emissions                  through (17) of this section:                  April 6, 2026, that increase their EtO
Table 6 to Subpart O of Part 63 Applicability       (1) If you own or operate an existing       use after thereafter, such that the ARV
     of General Provisions to Subpart O          affected source, you must comply with          becomes subject to a more stringent
Appendix A to Subpart O of Part 63—              the applicable provisions of this subpart      emission standard, immediately upon
     Monitoring Provisions for EtO CEMS          no later than the dates specified in           becoming subject to the more stringent
                                                 tables 1 through 5 to this subpart, as         emission standard.
Subpart O—Ethylene Oxide Emissions               applicable.                                       (10) All new ARVs at facilities that
Standards for Sterilization Facilities              (2) If you own or operate a new             increase their EtO use over a year after
§ 63.360   Applicability.                        affected source, and the initial startup of    startup such that the ARV becomes
   (a) You are subject to the                    your affected source is on or before           subject to a more stringent emission
requirements of this subpart if you own          April 5, 2024, you must comply with            standard, immediately upon becoming
or operate a sterilization facility that has     the provisions of this subpart no later        subject to the more stringent emission
an affected source specified in                  than April 5, 2024.                            standard.
                                                    (3) If you own or operate a new                (11) All existing CEVs at facilities that
paragraph (b) of this section. Table 6 to
                                                 affected source, and the initial startup is    do not exceed 60 tpy of EtO use within
this subpart shows which parts of the
                                                 after April 5, 2024, you must comply           any consecutive 12-month period after
General Provisions in §§ 63.1 through
                                                 with the provisions of this subpart upon       April 6, 2026, that increase their EtO
63.15 apply to you.
   (b) The affected sources subject to this      startup of your affected source.               use thereafter, such that the CEV
                                                    (4) If existing SCV, ARV, or CEV or         becomes subject to a more stringent
subpart are:
   (1) Each SCV at any sterilization             parts of an existing collection of Group       emission standard, immediately upon
facility;                                        1 or Group 2 room air emissions are            becoming subject to the more stringent
   (2) Each ARV at any sterilization             replaced such that the replacement             emission standard.
facility;                                        meets the definition of reconstruction in         (12) All new CEVs at facilities that
   (3) Each CEV at any sterilization             § 63.2 and the reconstruction                  increase their EtO use over a year after
facility;                                        commenced after April 13, 2023, then           startup such that the CEV becomes
   (4) The collection of all Group 1 room        the existing affected source becomes a         subject to a more stringent emission
air emissions at any sterilization facility;     new affected source. The reconstructed         standard, immediately upon becoming
and                                              source must comply with the                    subject to the more stringent emission
   (5) The collection of all Group 2 room        requirements for a new affected source         standard.
air emissions at any sterilization facility.     upon initial startup of the reconstructed         (13) All existing collections of Group
   (c) An existing affected source is one        source or by April 5, 2024, whichever is       1 room air emissions at facilities that do
the construction or reconstruction of            later.                                         not exceed 40 tpy of EtO use within any
which was commenced on or before                    (5) All existing SCVs at facilities that    consecutive 12-month period after April
April 13, 2023.                                  meet or exceed 1 tpy of EtO use within         6, 2026, that increase their EtO use
   (d) A new affected source is one the          any consecutive 12-month period after          thereafter, such that the collection of
construction or reconstruction of which          April 7, 2025, that increase their EtO         Group 1 room air emissions becomes
is commenced after April 13, 2023.               use after April 6, 2026, such that the         subject to a more stringent emission
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standard, immediately upon becoming           occurs. For combination sterilization          (2) Fails to meet any term or condition
subject to the more stringent emission        units, there is no ARV.                     that is adopted to implement an
standard.                                        Catalytic oxidizer means a               applicable requirement in this subpart
   (14) All new Group 1 room air              combustion device that uses a solid-        or that is included in the operating
emissions at facilities that increase their   phase catalyst to lower the temperature     permit for any facility required to obtain
EtO use over a year after startup such        required to promote the oxidization and     such a permit.
that the Group 1 room air emissions           achieve adequate reduction of volatile         EtO dispensing means charging a
become subject to a more stringent            organic compounds, as well as volatile      sterilization chamber or chambers with
emission standard, immediately upon           hazardous air pollutants.                   EtO from non-cartridge storage media
becoming subject to the more stringent           Chamber exhaust vent (CEV) means         (e.g., drums, cylinders) via the use of
emission standard.                            the point(s) through which EtO-laden        piping, lines, and other equipment. This
   (15) All existing collections of Group     air is removed from the sterilization       includes injection rooms and post-
2 room air emissions at facilities that       chamber during chamber unloading            injection handling of containers.
meet or exceed 4 tpy of EtO use within        following the completion of sterilization      Gas/solid reactor means an add-on air
any consecutive 12-month period after         and associated air washes. This may         pollution control device that uses a dry,
April 7, 2025, that increase their EtO        also be referred to as a ‘‘backvent’’ (or   solid-phase system to chemically
use after April 6, 2026, such that the        ‘‘back vent’’). For combination             convert EtO so that it becomes bound to
collection of Group 2 room air                sterilization units, there is no CEV.       the solid packing. This may also be
emissions becomes subject to a more              Combination sterilization unit means     referred to as a ‘‘dry bed reactor’’ or a
stringent emission standard,                  any enclosed vessel in which both           ‘‘dry bed scrubber.’’
immediately upon becoming subject to          sterilization and aeration of the same         Group 1 room air emissions mean
the more stringent emission standard.         product occur within the same vessel,       emissions from indoor EtO storage, EtO
   (16) All existing collections of Group     i.e., the vessel is filled with ethylene    dispensing, vacuum pump operations,
2 room air emissions at facilities that do    oxide gas or an ethylene oxide/inert gas    and pre-aeration handling of sterilized
not exceed 4 tpy of EtO use within any        mixture for the purpose of sterilizing      material.
consecutive 12-month period after April       and is followed by aeration of ethylene        Group 2 room air emissions mean
6, 2026, that increase their EtO use          oxide.                                      emissions from post-aeration handling
thereafter, such that the collection of          Combined emission stream means           of sterilized material.
Group 2 room air emissions becomes            when the emissions from more than one          Indoor EtO storage means the storage
subject to a more stringent emission          emission source are routed together         of EtO within non-cartridge media (e.g.,
standard, immediately upon becoming           using common ductwork prior to the          drums, cylinders) inside a sterilization
subject to the more stringent emission        control system.                             building.
standard.                                        Continuous monitoring system (CMS)          Initial startup means the moment
   (17) All new Group 2 room air              means, for the purposes of this rule, the   when an affected source subject to an
emissions at facilities that increase their   equipment necessary to continuously         emissions standard in § 63.362 first
EtO use over a year after startup such        samples the regulated parameter             begins operation.
that the Group 2 room air emissions           specified in § 63.364 or § 63.365 of this      Injection room means any room where
become subject to a more stringent            subpart without interruption, evaluates     EtO is injected into containers (e.g.,
emission standard, immediately upon           the detector response at least once every   bags, pouches) that are filled with
becoming subject to the more stringent        15 seconds, and computes and records        product to be sterilized.
emission standard.                            the average value at least every 60            Maximum ethylene glycol
§ 63.361   Definitions.                       seconds, except during allowable            concentration means the concentration
   Terms and nomenclature used in this        periods of calibration and except as        of ethylene glycol in the scrubber liquor
subpart are defined in the Clean Air Act      defined otherwise by the continuous         of an acid-water scrubber control device
(the Act) as amended in 1990, §§ 63.2         emission monitoring system (CEMS)           established during a performance test
and 63.3, or in this section. For the         performance specifications (PS) in          when the scrubber achieves the
purposes of this subpart, if the same         appendix B to part 60 of this chapter.      appropriate control of EtO emissions.
term is defined in subpart A of this part        Control System Residence Time               Maximum gas/solid reactor pressure
and in this section, it shall have the        means the time elapsed from entrance of     drop means the pressure drop of the
meaning given in this section.                flow into the control system until          gas/solid reactor established during a
   Acid-water scrubber means an add-on        gaseous materials exit the control          performance test when the gas/solid
air pollution control device that uses an     system. For control systems with            reactor achieves the appropriate control
aqueous or alkaline scrubbing liquor to       multiple exhaust streams whereby the        of EtO emissions.
absorb and neutralize acid gases.             residence time may vary for the streams,       Maximum liquor tank level means the
   Aeration means, for the purposes of        the residence time for purposes of          level of scrubber liquor in the acid-
this rule, exposing sterilized material at    complying with this subpart means the       water scrubber liquor recirculation tank
elevated temperatures to drive EtO out        longest residence time for any exhaust      established during a performance test
of the material.                              stream in use. If a peak shaver is used,    when the scrubber achieves the
   Aeration room means any vessel or          it is part of the control system, and its   appropriate control of EtO emissions.
room that is used to facilitate off-gassing   residence time must be considered.             Maximum scrubber liquor pH means
of EtO at a sterilization facility. If a         Deviation means any instance in          the pH of the acid-water scrubber liquor
facility uses only combination                which an owner or operator of an            established during a performance test
sterilization units, for the purposes of      affected source, subject to this subpart:   when the scrubber achieves the
this rule, there are no aeration rooms at        (1) Fails to meet any requirement or     appropriate control of EtO emissions.
the facility.                                 obligation established by this subpart         Minimum stack volumetric flow rate
   Aeration room vent (ARV) means the         including, but not limited to, any          means the stack volumetric flow rate
point(s) through which the evacuation         emission limitation, parameter value, or    corrected established during a
of EtO-laden air from an aeration room        best management practice; or                compliance demonstration when
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permanent total enclosure (PTE)              units are used, and if material is not        Thermal oxidizer means all
requirements are met.                        moved out of the vessel between             combustion devices except flares.
   Minimum temperature at the inlet to       sterilization and aeration, then              Vacuum pump operation means the
the catalyst bed means the temperature       emissions from this source do not exist.    operation of vacuum pumps, excluding
at the inlet to the catalyst bed             This does not include post-injection        dry seal vacuum pumps, for the purpose
established during a performance test        handling of containers.                     of removing EtO from a sterilization
when the catalytic oxidizer achieves the        Rolling sum means the weighted sum       chamber.
appropriate control of EtO emissions.        of all data, meeting QA/QC
   Minimum temperature difference                                                        § 63.362   Standards.
                                             requirements or otherwise normalized,
across the catalyst bed means the            collected during the applicable rolling        (a) Compliance date. If you own or
temperature difference across the            time period. The period of a rolling sum    operate an affected source, you must
catalyst bed established during a            stipulates the frequency of data            comply with the applicable requirement
performance test when the catalytic          collection, summing, and reporting. As      by the compliance date specified in
oxidizer achieves the appropriate            an example, to demonstrate compliance       § 63.360(j). The standards of this section
control of EtO emissions.                    with a rolling 30-operating day sum         are summarized in tables 1 through 5 to
   Minimum temperature in or                 emission reduction standard determined      this subpart.
immediately downstream of the firebox                                                       (b) Applicability of standards. The
                                             from hourly data, you must (1)
means the temperature in or                                                              standards in paragraphs (c) through (k)
                                             determine the total mass of ethylene
immediately downstream of the firebox                                                    of this section apply at all times. If using
                                             oxide prior to control and following
established during a performance test                                                    EtO CEMS to determine compliance
                                             control for each operating day; (2) then
when the thermal oxidizer achieves the                                                   with an applicable standard, this
                                             sum the current daily total mass prior to
appropriate control of EtO emissions.                                                    compliance demonstration is based on
                                             control with the previous 29 operating
   Natural draft opening (NDO) means                                                     the previous 30-operating days of data.
                                             day total mass values and repeat the
any permanent opening in the enclosure                                                   If using EtO CEMS to determine
                                             same process for the current daily total
that remains open during operation of                                                    compliance with an applicable emission
                                             mass following control; and (3) then
the facility and is not connected to a                                                   reduction standard in paragraphs (c)
                                             divide the 30-operating day total mass
duct in which a fan is installed.                                                        through (g) and (i) of this section for
                                             emissions following control by the 30-
   Operating day means any day that a                                                    each operating day, you must determine
                                             operating day total mass prior to control
facility is engaged in a sterilization                                                   the total inlet mass to and outlet mass
                                             and subtract the resulting value from
operation.                                                                               from the control system using the
                                             one to obtain the 30-operating day
   Peak shaver means a device that is                                                    procedures laid out in § 63.364(f) and
                                             emission reduction achieved.
used to reduce high EtO concentrations                                                   appendix A to this subpart, and you
within an exhaust stream such that the          Single-item sterilization means a        must maintain the emission limit based
downstream control device is not             process in which one or more items are      on the inlet mass and the applicable
overwhelmed.                                 placed in a pouch, EtO is injected into     emission reduction standard. If using
   Permanent total enclosure (PTE)           the pouch, and the sealed pouch is          EtO CEMS to determine compliance
means a permanently installed                placed in a vessel to allow sterilization   with an applicable emission reduction
enclosure that meets the criteria of         to occur.                                   standard in paragraph (j) of this section,
Method 204 of appendix M, 40 CFR part           Sterilization chamber means any          you must continuously comply with the
51 for a PTE. A PTE completely               enclosed vessel or room that is filled      requirements of that paragraph.
surrounds a source of emissions such         with EtO gas, or an EtO/inert gas              (c) SCV. You must comply with each
that all EtO emissions are captured,         mixture, for the purpose of sterilizing     applicable standard in table 1 to this
contained, and directed to a control         and/or fumigating at a sterilization        subpart, and you must meet each
system or to an outlet(s).                   facility. This does not include injection   applicable requirement specified in
   Post-aeration handling of sterilized      rooms.                                      § 63.363. If a SCV is combined with a
material means the storage and                  Sterilization chamber vent (SCV)         stream from another emission source,
transportation of material that has been     means the point (prior to the vacuum        you must comply with the appropriate
removed from aeration but has not been       pump) through which the evacuation of       emission standard as prescribed in
placed in a vehicle for the sole purpose     EtO from the sterilization chamber          paragraph (i) of this section.
of distribution to another facility. Post-   occurs following sterilization or              (d) ARV. You must comply with each
aeration handling of sterilized material     fumigation, including any subsequent        applicable standard in table 2 to this
ends when that vehicle is closed for the     air washes.                                 subpart, and you must meet each
final time before leaving the facility.         Sterilization facility means any         applicable requirement specified in
This definition does not include             stationary source where EtO is used in      § 63.363. If an ARV is combined with a
handling of material that has been both      the sterilization or fumigation of          stream from another emission source,
previously sterilized and not removed        materials, including but not limited to     you must comply with the appropriate
from aeration following re-sterilization.    facilities that engage in single-item       emission standard as prescribed in
   Post-injection handling of containers     sterilization.                              paragraph (i) of this section.
means the storage and transportation of         Sterilization operation means any           (e) CEV. You must comply with each
containers (e.g., bags, pouches) that        time when EtO is removed from the           applicable standard in table 3 to this
have been injected with EtO but have         sterilization chamber through the SCV       subpart, and you must meet each
not been placed in a sterilization           or the chamber exhaust vent, when EtO       applicable requirement specified in
chamber.                                     is removed from the aeration room           § 63.363. If a CEV is combined with a
   Pre-aeration handling of sterilized       through the aeration room vent, when        stream from another emission source,
material means the storage and               EtO is stored within the building, when     you must comply with the appropriate
transportation of material that has been     EtO is dispensed from a container to a      emission standard as prescribed in
removed from a sterilization chamber         chamber, when material is moved from        paragraph (i) of this section.
but has not been placed in an aeration       sterilization to aeration, or when             (f) Group 1 room air emissions. You
room. If only combination sterilization      materials are handled post-aeration.        must comply with the applicable
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standard in table 4 to this subpart, and         if both conditions in paragraphs (h)(1)       requirements of paragraphs (i)(1)(i)
you must meet each applicable                    and (2) of this section are met:              through (iii) of this section to determine
requirement specified in § 63.363. If               (1) The capture system meets the           the applicable combined emission
Group 1 room air emissions are                   criteria in Method 204 of appendix M to       streams limitation and demonstrate
combined with a stream from another              40 CFR part 51 for a PTE and directs all      compliance. Under this approach, you
emission source, you must comply with            the exhaust gases from the enclosure to       must first determine the 30-operating
the appropriate emission standard as             an add-on control system.                     day rolling sum of mass inlet to the
prescribed in paragraph (i) of this                 (2) All sterilization operations           control system. Then, the emission
section.                                         creating exhaust gases for which the          limitation is determined by applying the
  (g) Group 2 room air emissions. You            compliance demonstration is applicable        most stringent emission reduction
must comply with the applicable                  are contained within the capture              standard to the 30-operating day rolling
standard in table 5 to this subpart, and         system.                                       sum of the inlet mass. You must
you must meet each applicable                       (i) Requirements for combined              maintain actual emissions at or below
requirement specified in § 63.363. If            emission streams. When streams from           that rate. For example, suppose a facility
Group 2 room air emissions are                   two or more emission sources are              controls all of its ARVs and CEVs with
combined with a stream from another              combined, you must demonstrate                one control system and that the
emission source, you must comply with            compliance by either the approach             emission reduction standards that apply
the appropriate emission standard as             specified in paragraph (i)(1) of this         to the ARVs and CEVs are 99.9% and
prescribed in paragraph (i) of this              section or the approach specified in          99%, respectively. Further suppose that
section. If you are required to limit the        paragraph (i)(2) of this section in lieu of   the mass of uncontrolled EtO emissions
sterilization chamber concentration of           the applicable standards in paragraphs        from the combined stream is 5 lb during
EtO to 1 ppmv prior to opening the               (c) through (g) of this section for the       the 30-operating day period. Under this
sterilization chamber door, you must             affected source. The combined emission        approach, the facility would need to
meet the monitoring requirements                 stream limit is based on as 30-operating      apply an emission reduction of 99.9% to
specified in § 63.364(h).                        day rolling sum. In order to elect to         the combined stream, resulting in an
  (h) Capture systems. Room air                  comply with a combined emission               emission limit of 0.005 lb for the 30-
emissions for which numerical limits             streams limit, you must use a CEMS on         operating day period.
are prescribed must be captured and              each exhaust stack at the facility to            (i) The combined emission streams
routed under negative pressure to a              determine compliance.                         limit for each 30-operating day period is
control system. You may assume the                  (1) Monitoring after emission streams      determined daily by using equation 1 to
capture system efficiency is 100 percent         are combined. You must follow                 this paragraph.




Where:                                      the combined emission stream is split              operating day rolling sum of each
CESCombined = The combined emission stream  between two or more control systems,               component stream and summing across
    limit based upon monitoring after the   further sum the 30-operating day rolling           the components. You must maintain
    emission streams are combined, in       sum of emissions from each control                 actual emissions at or below that rate.
    pounds.                                 system to obtain ECombined.                        For example, suppose a facility controls
M30day = The 30-operating day total mass sent  (iii) Compliance with the combined              all of its ARVs and CEVs with one
    to controls for the combined emission
                                            emission streams limitation shall be               control system and that the emission
    stream (i.e., monitoring data at the inlet
    of the control system), as calculated
                                            determined by demonstrating that                   reduction standards that apply to the
    using equation A–3 and determined in    ECombined, as calculated in accordance             ARVs and CEVs are 99.9% and 99%,
    accordance with appendix A to this      with paragraph (i)(1)(ii) of this section,         respectively. Further suppose that
    subpart. The term ‘‘M30day’’ as used in for each 30-operating day period is at or          during a 30-operating day period the
    this equation is equivalent to the term below CESCombined, as calculated in                mass of uncontrolled EtO emissions
                                            paragraph (i)(1)(i) of this section.
    ‘‘E30day’’ as designated in equation A–3.                                                  from the ARVs is 4 lb and the mass of
Max(ER) = The most stringent emission          (2) Monitoring before emission                  uncontrolled EtO emissions from the
    reduction standard specified in tables 1streams are combined. You must follow              CEVs is 1 lb. Under this approach, the
    through 5 of this subpart applicable to requirements of paragraphs (i)(2)(i)               facility would need to apply an
    any of the constituent streams, in      through (iii) of this section to determine
    decimal format.                                                                            emission reduction of 99.9% to the ARV
                                            the applicable combined emission                   stream and an emission reduction of
   (ii) The 30-operating day rolling sum    streams limitation and demonstrate                 99% to the CEV stream, resulting in an
of emissions for the combined emission compliance. Under this approach, you                    emission limit of 0.014 lb for the 30-
stream (i.e., monitoring data at the outlet must first determine 30-operating day              operating day period.
of the control system) is calculated daily rolling sum of inlet mass to the control
using equation A–3 and determined in        system for each component stream.                    (i) The combined emission streams
accordance with appendix A to this          Then, the emission limitation is                   limit for each 30-operating day period is
subpart. For purposes of this section,      determined by applying the applicable              determined daily by using equation 2 to
this value is designated as ECombined. If   emission reduction standards to the 30-            this paragraph.
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Where:                                      using equation A–3 and determined in                 compliance. The owner or operator may
CESStreams = The combined emission stream   accordance with appendix A to this                   demonstrate compliance via one of the
     limit based upon monitoring before the subpart. For purposes of this section,               two SWEL approaches in lieu of the
     emission streams are combined, in      this value is designated as ECombined. If            applicable standard(s) in paragraphs (c)
     pounds.                                the combined emission stream is split                through (g) of this section for the
Mc,i = The 30-operating day total mass sent between two or more control systems,                 facility. If electing to comply with a
     to controls for each non-SCV constituent
                                            then further sum the 30-operating day                SWEL, you must comply with paragraph
     emission stream (i.e., monitoring data at
     the inlet of the control system), as   rolling sum emissions from each control              (j)(3) of this section.
     calculated using equation A–3 and      system to obtain ECombined.                             (1) SWEL based upon facility EtO use.
     determined in accordance with appendix   (iii) Compliance with the combined                 If you elect to comply with a SWEL
     A to this subpart. The term ‘‘Mc,i’’ asemission streams limitation shall be                 based upon facility EtO use, you must
                                            determined by demonstrating that
     used in this equation is equivalent to the                                                  follow requirements of paragraphs
                                            ECombined, as calculated in accordance
     term ‘‘E30day’’ as designated in equation
                                                                                                 (j)(1)(i) through (iii) of this section to
     A–3.                                   with paragraph (i)(2)(ii) of this section,
ERi = The applicable emission reduction                                                          determine the applicable SWEL and
                                            for each 30-operating day period is at or            demonstrate compliance. Under this
     standard from tables 2 through 5 of this
                                            below CESStreams, as calculated
     subpart to each non-SCV constituent                                                         approach, you first determine the 30-
                                            paragraph (i)(2)(i) of this section.
     emission stream i.                                                                          operating day rolling sum of EtO use.
                                              (3) If room air emissions are both
i = Non-SCV constituent emission stream                                                          The SWEL is determined by multiplying
     index.
                                            subject to an emission standard and
                                            split between two or more control                    by 0.99 and then applying the required
n = Total number of non-SCV constituent                                                          SCV percent emission reduction
     emission streams.                      systems, then these control systems
                                            must be treated as part of the same                  standard in table 1 to this subpart to the
Mc,j = The 30-operating day total mass sent
                                            control system.                                      30-operating day rolling sum of EtO
     to controls for each SCV emission
     stream, as determined in accordance      (j) Site-wide emission limitation. You             usage. Then, for each CEMS at the outlet
     with equation 10 of                    may choose to comply with a site-wide                of the control systems at the facility,
     § 63.364(f)(1)(i)(C)(1).               emission limitation (SWEL) specified in              determine the 30-operating day rolling
ERj = The applicable SCV emission reduction this paragraph (j) in lieu of the                    sum of emissions. Finally, determine
     standard in table 1 to this subpart, inapplicable standards in paragraphs (c)               the facility actual emissions by
     decimal format.                                                                             summing the 30-operating day rolling
                                            through (g) of this section for the
j = SCV emission stream index.                                                                   sums for each CEMS at the facility. You
m = Total number of SCV emission streams.
                                            facility. The SWEL, which is calculated
                                            daily, is based on the previous 30                   must maintain actual emissions at or
   (ii) The 30-operating day rolling sum    operating days of data. In order to elect            below the SWEL.
emissions for the combined emission         to comply with a SWEL, you must                         (i) The SWEL for each 30-operating
stream (i.e., monitoring data at the outlet utilize an EtO CEMS on each exhaust                  day period is determined daily by using
of the control system) is calculated daily stack at the facility to determine                    equation 3 to this paragraph.




Where:                                                in accordance with equation 11 of          ERSCV = The applicable SCV emission
SWELFac = SWEL based upon facility EtO                § 63.364(i)(2).                                reduction standard in table 1 to this
    use, in pounds.                               0.99 = Adjustment factor for EtO residual in       subpart, in decimal format.
MFac = Facility EtO use over the previous 30          sterilized product.                          (ii) The 30-operating day rolling sum
    operating days, in pounds, as determined                                                     of emissions are determined daily using
                                                                                                 equation 4 to this paragraph.




Where:                                            Eo,i = The 30-operating day rolling sum of     i = Exhaust stack index
EFac = The total emissions from the facility            emissions calculated at each exhaust     n = Total number of exhaust stacks
                                                        stack, i, monitored by an EtO CEMS, as
     over the previous 30-operating days, in                                                       (iii) Compliance with the SWEL based
                                                        calculated using equation A–3 of
     pounds.                                            appendix A to this subpart.              upon facility EtO usage shall be
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determined by demonstrating that EFac,            Under this approach, for each non-SCV       of the control system(s) at the facility,
as calculated in accordance with                  affected source, you must determine the     determine the 30-operating day rolling
paragraph (j)(1)(ii) of this section, for         mass of EtO sent to controls and apply      sum of emissions. Finally, determine
each 30-operating day period is at or             the applicable emission reduction           the facility actual emissions by
below the SWEL, as calculated                     standard. For each SCV affected source,     summing the 30-operating day rolling
paragraph (j)(1)(i) of this section.              you must determine the mass of EtO          sums for each CEMS at the facility. You
   (2) SWEL based upon emissions                  sent to controls as specified in            must maintain actual emissions at or
streams. If you elect to comply with a            § 63.364(f)(1)(i)(C)(1) and apply the       below the SWEL.
SWEL based upon emissions streams,                applicable emission reduction standard.
you must follow requirements of                   The SWEL is determined by summing             (i) The SWEL for each 30-operating
paragraphs (j)(2)(i) through (iii) of this        across the result of this calculation for   day period is determined daily by using
section to determine the applicable               each affected source (both non-SCV and      equation 5 to this paragraph.
SWEL and demonstrate compliance.                  SCV). Then, for each CEMS at the outlet




Where:                                            pollution control practices for             where EtO use is less than 100 pounds/
SWELStreams = SWEL based upon individual          minimizing emissions. The general duty      yr where an existing collection of Group
     emissions streams, in pounds.                to minimize emissions does not require      2 room air emission is operated in
Mc,i = The 30-operating day total mass sent       the owner or operator to make any           accordance with the PTE requirements
     to controls (i.e., monitoring data at the    further efforts to reduce emissions if      of EPA Method 204 of appendix M to
     inlet of the control system) for each non-
     SCV emission stream, as calculated using     levels required by the applicable           part 51 of this chapter, you may instead
     equation A–3 and determined in               standard have been achieved.                conduct these performance tests once
     accordance with appendix A to this           Determination of whether a source is        every three years.
     subpart. The term ‘‘Mc,i’’ as used in this   operating in compliance with operation        (b) Initial compliance for Facilities
     equation is equivalent to the term           and maintenance requirements will be        that use EtO CEMS. To demonstrate
     ‘‘E30day’’ as designated in equation A–3.    based on information available to the       initial compliance with an emission
ERi = The applicable emission reduction           Administrator which may include, but        standard using a CEMS that measures
     standard to each non-SCV emission
                                                  is not limited to, monitoring results,      HAP concentrations directly (i.e., an
     stream, i, specified in tables 1 through 5
     of this subpart, in decimal format.          review of operation and maintenance         EtO CEMS), the initial performance test
i = Non-SCV emission streams index.               procedures, review of operation and         must consist of the first 30 operating
n = Total number of non-SCV emission              maintenance records, and inspection of      days after the certification of the CEMS
     streams.                                     the source.                                 according to Performance Specification
Mc,j = The 30-operating day total mass sent                                                   19 in Appendix B to part 40 of this
     to controls for each SCV emission            § 63.363 Compliance and performance         chapter. The initial compliance
     stream, as determined in accordance          provisions.
                                                                                              demonstration period must be
     with equation 10 in
                                                     (a) Continuous compliance. You must      completed on or before the date that
     § 63.364(f)(1)(i)(C)(1).
ERj = The applicable SCV emission reduction       demonstrate continuous compliance           compliance must be demonstrated (i.e.,
     standard in table 1 to this subpart, in      with the applicable emission standard(s)    180 days after the applicable
     decimal format.                              using an EtO CEMS, including a shared       compliance date). You must follow the
j = SCV emission stream index.                    EtO CEMS, installed and operated in         procedures in appendix A to this
m = Total number of SCV emission streams.         accordance with the requirements of         subpart.
  (ii) The 30-operating day rolling sum           Performance Specification 19 in               (1) The CEMS performance test must
of emissions are determined daily using           appendix B and Procedure 7 in               demonstrate compliance with the
equation 4 to this section.                       appendix F to part 60 of this chapter.      applicable EtO standards in tables 1
  (iii) Compliance with the SWEL based            Alternatively, if you own or operate a      through 5 to this subpart. Alternatively,
upon emission streams shall be                    facility where EtO use is less than 100     the CEMS performance test may
determined by demonstrating that EFac,            pounds/yr, you may demonstrate              demonstrate compliance with
as calculated in accordance with                  continuous compliance by conducting         § 63.362(i) or (j).
paragraph (j)(2)(ii) of this section, for         annual performance tests using the            (i) You may time-share your CEMS
each 30-operating day period is at or             performance testing requirements in         among different measurement points
below SWELStreams, as calculated in               § 63.7, according to the applicability in   provided that:
paragraph (j)(2)(i) of this section.              table 6 to this subpart, the procedures       (A) The measurement points are
  (3) Boundary. The boundary for this             listed in this section, and the test        approximately equidistant from the
approach includes all affected sources at         methods listed in § 63.365. If you elect    CEMS;
the facility.                                     to demonstrate compliance through             (B) The sampling time at each
  (k) General duty. At all times, you             periodic performance testing, you must      measurement point is at least 3 times as
must operate and maintain any affected            also demonstrate continuous                 long as the CEMS response time;
source, including associated air                  compliance with each operating limit          (C) The CEMS completes at least one
pollution control equipment and                   required under this section according to    complete cycle of operation for each
monitoring equipment, in a manner                 the methods specified in § 63.364. If you   shared measurement point within a 15-
consistent with safety and good air               own or operate an area source facility      minute period; and
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   (D) The CEMS meets the other                   (ii) The minimum temperature               (f)(1) through (3) of this section shall be
requirements of PS 19.                         difference across the catalyst bed using      used to determine initial compliance
   (2) You must collect hourly data from       the procedures described in                   with the emission limits under
auxiliary monitoring systems during the        § 63.365(e)(3).                               § 63.362(d) through (g), as applicable:
performance test period, to convert the           (5) If a gas/solid reactor(s) is used to      (1) You must comply with paragraph
pollutant concentrations to pounds per         comply with the standard, you must            (c) of this section, as applicable.
hour.                                          establish as an operating limit the              (2) If you are complying with a
   (c) Initial compliance demonstration        pressure drop across the media beds and       percent emission reduction standard as
where facility EtO use is less than 100        conduct weekly sampling and analysis          specified in tables 1 through 5 to this
pounds per year. If you own or operate         of the media. Determine the maximum           subpart, you must determine
an affected source that is both subject to     gas/solid reactor pressure drop using the     compliance with § 63.362(c) through (g),
an emission standard in § 63.362 and           procedures described in § 63.365(e)(4).       as applicable, using the test methods
located within a facility where EtO use           (e) Other control technology for           and procedures in § 63.365(d)(1).
is less than 100 pounds per year, you          facility where EtO use is less than 100          (3) If you are required to operate any
may comply with paragraphs (c)(1) and          lb/yr. If you are conducting a                portion of the facility under PTE, you
(2) of this section:                           performance test using a control              must initially demonstrate that the PTE
   (1) Conduct an initial compliance           technology other than an acid-water           meets the requirements of Method 204
demonstration using the procedures             scrubber, catalytic oxidizer, thermal
                                                                                             of 40 CFR part 51, appendix M, and that
listed in § 63.7 of this part according to     oxidizer, or gas/solid reactor, you must
                                                                                             all exhaust gases from the enclosure are
the applicability in table 6 to this           provide to the Administrator
                                                                                             delivered to a control system or stack(s).
subpart, the procedures listed in this         information describing the design and
                                                                                             You must also meet the requirements in
section, and the test methods listed in        operation of the air pollution control
                                                                                             § 63.363(f)(3)(i) and either
§ 63.365;                                      system, including recommendations for
                                                                                             § 63.363(f)(3)(ii) or (iii):
   (2) Complete the initial compliance         the parameters to be monitored that will
                                                                                                (i) Maintain direction of the airflow
demonstration within 180 days after the        demonstrate continuous compliance.
                                                                                             into the enclosure at all times, verifying
compliance date for the affected source        Based on this information, the
                                                                                             daily using the procedures described in
as determined in § 63.360(j).                  Administrator will determine the
                                                                                             § 63.364(f)(5) and meet either of the
   (d) Operating limits for facility where     parameter(s) to be measured during the
                                                                                             requirements.
EtO use is less than 100 lb/yr. If annual      performance test. During the
                                               performance test required in paragraph           (ii) Establish as an operating limit the
EtO use at the facility is less than 100                                                     minimum volumetric flow rate through
lb, the procedures in paragraphs (d)(1)        (a) of this section, using the methods
                                               approved in § 63.365(e)(5), you must          the affected stack(s) using the
through (5) of this section may be used                                                      procedures described in § 63.365(f)(1);
to determine compliance with the               determine the site-specific operating
                                               limit(s) for the operating parameters         or
standard(s) under § 63.362(c) through (g)                                                       (iii) Install, operate, calibrate, and
and to establish operating limits for          approved by the Administrator. You
                                               must submit the information at least          maintain a continuous pressure
each of the control devices, as                                                              differential monitoring system using the
applicable:                                    sixty days before the performance test is
                                               scheduled to begin. The information on        procedures described in § 63.364(f)(4).
   (1) You must determine the percent
emission reduction of the control              the control technology must include the       § 63.364   Monitoring requirements.
system used to comply with § 63.362(c)         five items listed in paragraphs (1)
                                                                                               (a) General requirements. (1) If you
through (g) using the test methods and         through (5) of this section:
                                                                                             own or operate an affected source
                                                  (1) Identification of the specific
procedures in § 63.365(d)(1).                                                                subject to an emission standard in
                                               parameters you propose to use as
   (2) If an acid-water scrubber(s) is used                                                  § 63.362, you must comply with the
                                               additional operating limits;
to comply with a standard, then you               (2) A discussion of the relationship       monitoring requirements in § 63.8,
must establish as an operating limit:          between these parameters and emissions        according to the applicability in table 6
   (i) The maximum ethylene glycol             of regulated pollutants, identifying how      to this subpart, and in this section.
concentration using the procedures             emissions of regulated pollutants               (2) If you own or operate an affected
described in § 63.365(e)(1)(i);                change with changes in these                  source at a facility where EtO use is less
   (ii) The maximum liquor tank level          parameters and how limits on these            than 100 lb/yr that is subject to an
using the procedures described in              parameters will serve to limit emissions      emission standard in § 63.362, you may
§ 63.365(e)(1)(ii); or                         of regulated pollutants;                      monitor the parameters specified in
   (iii) The maximum scrubber liquor pH           (3) A discussion of how you will           paragraphs (b), (c), (d), (e), (g), and (i) of
using the procedures described in              establish the upper and/or lower values       this section. All monitoring equipment
§ 63.365(e)(1)(iii).                           which will establish the operating limits     shall be installed such that
   (3) If a thermal oxidizer(s) is used to     for these parameters;                         representative measurements of
comply with a standard, you must                  (4) A discussion identifying the           emissions or process parameters from
establish as an operating limit the            methods you will use to measure and           the source are obtained. For monitoring
minimum temperature in or                      the instruments you will use to monitor       equipment purchased from a vendor,
immediately downstream of the firebox          these parameters, as well as the relative     verification of the operational status of
using the procedures described in              accuracy and precision of these methods       the monitoring equipment shall include
§ 63.365(e)(2).                                and instruments; and                          completion of the manufacturer’s
   (4) If a catalytic oxidizer(s) is used to      (5) A discussion identifying the           written specifications or
comply with the standard, you must             frequency and methods for recalibrating       recommendations for installation,
establish as operating limits both:            the instruments you will use for              operation, and calibration of the system.
   (i) The minimum temperature at the          monitoring these parameters.                    (3) If you own or operate an affected
inlet to the catalyst bed using the               (f) Other emission streams. If the         source that is subject to an emission
procedures described in § 63.365(e)(3);        emission stream does not consist only of      standard in § 63.362 and that is required
and                                            an SCV(s), the procedures in paragraphs       to monitor using EtO CEMS, you must
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comply with paragraphs (f), (g), and (i)     for a complete hour. Then, the average       averaging the temperature readings over
of this section.                             of the previous 3 operating hours must       a clock hour, i.e., beginning and ending
  (4) If you comply with the                 be calculated to determine the 3-hour        on the hour. All data collected during
management practice for Group 2 room         rolling average scrubber liquor pH. You      the operating hour must be used, even
air emissions at area sources, you must      must maintain the 3-hour rolling             if the catalytic oxidizer is not operating
comply with paragraph (h) of this            average scrubber liquor pH below the         for a complete hour. Then, the average
section.                                     applicable operating limit established       of the previous 3 operating hours must
  (5) You must keep the written              during the most recent performance test.     be calculated to determine the 3-hour
procedures required by § 63.8(d)(2) on       You must ensure the pH monitoring            rolling average temperature at the inlet
record for the life of the affected source   system meets the following                   to the catalyst bed. You must maintain
or until the affected source is no longer    requirements:                                the 3-hour rolling average temperature
subject to the provisions of this part, to      (i) The pH sensor must be installed in    above the operating limit established
be made available for inspection, upon       a position that provides a representative    during the most recent performance test.
request, by the Administrator. If the        measurement of scrubber liquor pH;              (3) For catalytic oxidizers, you must
performance evaluation plan is revised,         (ii) The sample must be properly          monitor and record at least every 15
you must keep previous (i.e.,                mixed and representative of the fluid to     minutes the temperature increase across
superseded) versions of the performance      be measured; and                             the catalyst bed, immediately
evaluation plan on record to be made            (iii) A performance evaluation            downstream of the catalytic bed, using
available for inspection, upon request,      (including a two-point calibration with      the temperature monitor described in
by the Administrator, for a period of 5      one of the two buffer solutions having       paragraph (c)(4) of this section.
years after each revision to the plan. The   a pH within 1 of the pH of the operating     Monitoring is required when the
program of corrective action should be       limit) of the pH monitoring system must      catalytic oxidizer is operating. A data
included in the plan required under          be conducted in accordance with your         acquisition system for the temperature
§ 63.8(d)(2).                                monitoring plan at the time of each          monitor shall compute and record each
  (b) Acid-water scrubbers. If you are       performance test but no less frequently      3-hour average temperature increase,
demonstrating continuous compliance          than quarterly.                              rolled hourly. This must be done by first
through periodic performance testing on         (c) Oxidizers. If you are demonstrating   computing the difference in outlet
an acid-water scrubber(s), you must:         continuous compliance through                temperature minus inlet temperature
  (1) Ethylene glycol concentration.         periodic performance testing on a            (monitored under paragraph (c)(2)), and
Sample the scrubber liquor from the          catalytic oxidizer or thermal oxidizer,      second averaging the temperature
acid-water scrubber(s) and analyze and       the requirements in paragraphs (c)(1)        difference values over a clock hour, i.e.,
record at least once per week the            and (2) of this section apply:               beginning and ending on the hour. All
ethylene glycol concentration of the            (1) For thermal oxidizers, you must       data collected during the operating hour
scrubber liquor using the test methods       monitor and record at least every 15         must be used, even if the catalytic
and procedures in § 63.365(e)(1).            minutes the temperature in or                oxidizer is not operating for a complete
Monitoring is required during a week         immediately downstream of the firebox        hour. Then, the average of the previous
only if the scrubber unit has been           using the temperature monitor                3 operating hours must be calculated to
operated. You must maintain the weekly       described in paragraph (c)(4) of this        determine the 3-hour rolling average
ethylene glycol concentration below the      section. Monitoring is required when         temperature increase across the catalyst
operating limit established during the       the thermal oxidizer is operating. A data    bed. You must maintain the 3-hour
most recent performance test;                acquisition system for the temperature       average temperature increase above the
  (2) Scrubber liquor tank level.            monitor shall compute and record each        operating limit established during the
Measure and record at least once per         3-hour average temperature value, rolled     most recent performance test.
day the level of the scrubber liquor in      hourly. This must be done by first              (4) You must install, calibrate,
the recirculation tank(s). You must          averaging the temperature readings over      operate, and maintain a temperature
install, maintain, and use a liquid level    a clock hour, i.e., beginning and ending     monitor with a minimum accuracy of ±1
indicator to measure the scrubber liquor     on the hour. All data collected during       percent over the normal range of the
tank level (i.e., a marker on the tank       the operating hour must be used, even        temperature measured, expressed in
wall, a dipstick, a magnetic indicator,      if the thermal oxidizer is not operating     degrees Celsius, or 2.8 degrees Celsius,
etc.). Monitoring is required during a       for a complete hour. Then, the average       whichever is greater. You must verify
day only if the scrubber unit has been       of the previous 3 operating hours must       the accuracy of the temperature monitor
operated. You must maintain the daily        be calculated to determine the 3-hour        twice each calendar year at least five
scrubber liquor height in each               rolling average temperature in or            months apart with a reference
recirculation tank below the applicable      immediately downstream of the firebox.       temperature monitor (traceable to
operating limit established during the       You must maintain the 3-hour rolling         National Institute of Standards and
most recent performance test; or             average temperature above the operating      Technology (NIST) standards or an
  (3) pH. Monitor and record at least        limit established during the most recent     independent temperature measurement
every 15 minutes the scrubber liquor         performance test.                            device dedicated for this purpose).
pH. Monitoring is required when the             (2) For catalytic oxidizers, you must     During accuracy checking, the probe of
scrubber is operating. A data acquisition    monitor and record at least every 15         the reference device shall be at the same
system for the pH monitor shall              minutes the temperature at the inlet to      location as that of the temperature
compute and record each 3-hour average       the catalyst bed using the temperature       monitor being tested. As an alternative,
scrubber liquor pH value, rolled hourly.     monitor described in paragraph (c)(4) of     the accuracy of the temperature monitor
This must be done by first averaging the     this section. Monitoring is required         may be verified in a calibrated oven
scrubber liquor pH readings obtained         when the catalytic oxidizer is operating.    (traceable to NIST standards).
over a clock hour, i.e., beginning and       A data acquisition system for the               (5) For catalytic oxidizers, if the
ending on the hour. All data collected       temperature monitor shall compute and        monitor indicates that the temperature
during the operating hour must be used,      record each 3-hour average temperature,      is below the operating limit, within 7
even if the scrubber unit is not operating   rolled hourly. This must be done by first    calendar days you must:
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   (i) Correct the temperature or                must be used, even if the gas/solid            compliance with the emission reduction
temperature increase so that it falls            reactor unit is not operating for a            standard in accordance with the
within the established operating range;          complete hour. Then, the average of the        requirements of appendix A to this
or                                               previous 3 operating hours must be             subpart, with the exception for SCV
   (ii) Replace the catalyst bed.                calculated to determine the 3-hour             emission streams to the control system.
Following replacement of the catalyst            rolling average gas/solid reactor                 (1) EtO CEMS inlet configuration. The
bed, you must conduct a new                      pressure drop. You must maintain the 3-        following caveats apply:
performance test within 180 days and             hour rolling average gas/solid reactor            (i) SCVs. If you do not own or operate
re-establish the operating limits.               pressure drop below the applicable             a single-item sterilizer, to demonstrate
   (d) Gas-solid reactors. If you are            operating limit established during the         compliance with the percent emission
demonstrating continuous compliance              most recent performance test.                  reduction standards for emissions
through periodic performance testing on
                                                   (e) Performance testing, other control       streams that are comprised only of
a gas/solid reactor(s), you must:
                                                 technology. If you are complying with          SCVs, you may use the following
   (1) Media analysis. Sample the media
                                                 § 63.363(d) or (e) using periodic              procedures as an alternative to
from the gas/solid reactor(s) and have
                                                 performance testing and the use of a           monitoring the inlet emission stream to
the manufacturer analyze at least once
                                                 control device other than acid-water           determine the mass emissions of EtO
per week. Monitoring is required during
                                                 scrubbers, catalytic or thermal oxidizers,     being emitted via sterilization
a week only if the gas/solid reactor unit
                                                 or gas/solid reactors, you must monitor        chamber(s) vents prior to the controls.
has been operated; and
                                                 the parameters as approved by the                 (A) Determine the mass (MSCV,n) of
   (2) Pressure drop. Monitor and record
at least every 15 minutes the pressure           Administrator using the methods and            EtO used for each charge and at each
drop. Monitoring is required when the            procedures in § 63.365(e).                     sterilization chamber used during the
gas/solid reactor is operating. A data             (f) EtO CEMS configurations. If you          previous 30 days using the procedures
acquisition system for the pressure drop         are using EtO CEMS to demonstrate              in either paragraph (f)(1)(i)(A)(1) or (2)
monitor shall compute and record each            compliance with an emission standard,          of this section.
3-hour average gas/solid reactor                 you must install and operate an EtO               (1) Weigh the EtO gas cylinder(s) used
pressure drop value, rolled hourly. This         CEMS on each outlet for the control            to charge the sterilizer(s) before and
must be done by first averaging the gas/         system in accordance with the                  after charging. Record these weights to
solid reactor pressure drop readings             requirements of Appendix A to subpart          the nearest 45 g (0.1 lb) and calculate
obtained over a clock hour, i.e.,                O of this part. You must also conduct          the theoretical mass (Mc) vented to the
beginning and ending on the hour. All            monitoring for each inlet to the control       controls using equation 1 to this
data collected during the operating hour         system that is used to demonstrate             paragraph.




Where:                                           %EOw = weight percent of EtO                   of each sterilizer charge. Calculate the
MSCV,n = Theoretical total mass of EtO vented                                                   theoretical mass (MSCV,n) vented to the
    to controls per charge, g (lb)                 (2) Install a calibrated rate meter at       controls using equation 2 to this
Mcharge = total mass of sterilizer gas charge,   the sterilizer inlet(s) and continuously       paragraph.
    g (lb)                                       measure the flow rate (Qm) and duration




Where:                                           n = number of EtO charges                      Determine the mass of EtO sent to
MSCV,n = theoretical total mass of EtO sent to   MW = molecular weight of EtO, 44.05 grams      controls from all non-SCV affected
    controls per charge                              per gram-mole (g/g-mole) (44.05 pounds     sources, I, using equation 4 to this
Qm = volumetric flow rate, liters per minute         per pound-mole (lb/lb-mole))               paragraph. For facilities where EtO use
    (L/min) corrected to 20 °C and 101.325       SV = standard volume, 24.05 liters per gram-
                                                                                                is less than 4 tpy, if not all Group 2
    kilopascals (kPa) (scf per minute (scfm)         mole (L/g-mole) at 20 °C and 101.325 kPa
                                                     (385.1 scf per pound-mole (scf/lb-mole)
                                                                                                room air emissions are routed to a
    corrected to 68 °F and 1 atmosphere of                                                      control device, do not include Group 2
    pressure (atm))                                  at 68 °F and 1 atm).
                                                                                                room air emissions in I, and subtract
Tn = time duration of each charge, min             (B) Determine the adjustment factor (f)
%EOv = volume fraction percent of EtO                                                           0.002 from this factor.
                                                 using equation 8 to this paragraph.
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Where:                                           I = Mass of non-SCV EtO routed to control        MFac = Facility EtO use over the previous 30-
f = Adjustment factor.                                devices over the previous 30 operating          operating days, in pounds, as determined
                                                      days                                            in accordance with equation 11 of
                                                                                                      § 63.364(i)(2)




Where:                                               inlet of the control system) for each non-   i = Non-SCV emission stream index.
I = Mass of non-SCV EtO routed to control            SCV emission stream, as calculated using     n = Total number of non-SCV emission
     devices over the previous 30 operating          equation A–3 and determined in                    streams.
                                                     accordance with appendix A to this
     days                                                                                           (C)(1) Determine the mass rate of EtO
                                                     subpart. The term ‘‘Mc,i’’ as used in this
Mc,i = The 30-operating day total mass sent          equation is equivalent to the term           sent to controls during the previous 30
     to controls (i.e., monitoring data at the       ‘‘E30day’’ as designated in equation A–3.    days using equation 5 to this paragraph.




Where:                                              (i) Single unit-single stack                  stack and attribute all of the emissions
MSCV = Total mass of EtO sent to controls        configurations. For an emission source           measured at the common stack to the
     over the previous 30 operating days, g/     that exhausts to the atmosphere through          emission source(s).
     hr (lb/hr)                                  a single, dedicated stack, you shall                (B) If you choose the common stack
f = Adjustment factor                            either install the required CEMS in the          monitoring option:
MSCV,n = Theoretical mass of EtO sent to         stack or at a location in the ductwork              (1) For each hour in which valid data
     controls per charge per chamber, g (lb)
n = Total number of charges during the
                                                 downstream of all emissions control              are obtained for all parameters, you
     previous 30 operating days                  devices, where the pollutant and                 must calculate the pollutant emission
                                                 diluents concentrations are                      rate; and
  (2) If both this approach is chosen and        representative of the emissions that exit           (2) You must assign the calculated
the SCV is (or SCVs are) combined with           to the atmosphere.                               pollutant emission rate to each of the
another emission stream, then the                   (ii) Unit utilizing common stack with         units subject to the rule that share the
owner or operator cannot monitor the             other emission source(s). When an                common stack.
point after the combination occurs.              emission source utilizes a common                   (iv) Unit with multiple parallel
  (ii) Room air emissions. If room air           stack with one or more other emission            control devices with multiple stacks. If
emissions are both subject to an                 sources, but no emission sources not             the exhaust gases from an emission
emission standard and split between              subject to this rule, you shall either:          source, which is configured such that
two or more control systems, then                   (A) Install the required CEMS in the          emissions are controlled with multiple
monitoring must be conducted for room            duct from each emission source, leading          parallel control devices or multiple
air emissions before they are combined           to the common stack; or                          series of control devices are discharged
with other streams.                                 (B) Install the required CEMS in the          to the atmosphere through more than
  (2) EtO CEMS on exhaust                        common stack.                                    one stack, you shall install the required
configurations. Exhaust gases from the              (iii) Unit(s) utilizing common stack          CEMS described in each of the multiple
emission sources under this subpart              with non-commercial sterilization                stacks. You shall calculate hourly, flow-
exhaust to the atmosphere through a              emission source(s). (A) When one or              weighted, average pollutant emission
variety of different configurations,             more emission sources shares a common            rates for the unit as follows:
including but not limited to individual          stack with one or more emission sources             (A) Calculate the pollutant emission
stacks, a common stack configuration, or         not subject to this rule, you shall either:      rate at each stack or duct for each hour
a main stack plus a bypass stack. For the           (1) Install the required CEMS in the          in which valid data are obtained for all
CEMS used to provide data under this             ducts from each emission source that is          parameters;
subpart, the continuous monitoring               subject to this rule, leading to the                (B) Multiply each calculated hourly
system installation requirements for             common stack; or                                 pollutant emission rate at each stack or
these exhaust configurations are as                 (2) Install the required CEMS                 duct by the corresponding hourly gas
follows:                                         described in this section in the common          flow rate at that stack or duct;
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   (C) Sum the products determined           exhaust flow rate over a range that            also maintain the pressure differential at
under paragraph (f)(2)(iv)(B) of this        extends from a value of at least 20            or above 0.007 inches of water over a
section; and                                 percent less than the lowest expected          three-hour rolling average.
   (D) Divide the result obtained in         exhaust flow rate to a value of at least         (i) This monitoring system must
paragraph (f)(2)(I(C) of this section by     20 percent greater than the highest            measure the pressure differential
the total hourly gas flow rate for the       expected exhaust flow rate.                    between the interior and exterior of the
unit, summed across all of the stacks or        (iii) The flow rate monitoring system       PTE, with at least one monitoring device
ducts.                                       must be equipped with a data                   located in each room that borders the
   (g) PTE monitoring. If you are            acquisition and recording system that is       PTE. These monitoring devices shall be
required to operate all or a portion of      capable of recording values over the           designed to provide measurements of
your sterilization facility under PTE        entire range specified in paragraph            pressure differential to at least the
conditions, you must:                        (g)(3)(ii) of this section.                    nearest 0.001 inches of water and
   (1) Initial compliance. Demonstrate          (iv) The signal conditioner, wiring,        having a complete cycle time no greater
initial procedures in § 63.365(g)(1) and     power supply, and data acquisition and         than 5 minutes.
continued compliance with the                recording system for the flow rate               (ii) A data acquisition system for the
provisions in this section. You must         monitoring system must be compatible           monitoring system shall compute and
follow the requirements of either            with the output signal of the flow rate        record each 3-hour average pressure
paragraphs (g)(2) and (3) of this section    sensors used in the monitoring system.         differential value, rolled hourly. This
or paragraph (g)(4) of this section.            (v) The flow rate monitoring system         must be done by first averaging the
   (2) Continuous compliance. If you         must be designed to complete a                 pressure differential readings over a
choose to demonstrate continuous             minimum of one cycle of operation for          clock hour, i.e., beginning and ending
compliance through volumetric flow           each successive 15-minute period.              on the hour. All data collected during
rate monitoring, you must monitor and           (vi) The flow rate sensor must have
record at least every 15 minutes the                                                        the operating hour must be used, even
                                             provisions to determine the daily zero         in portions of the facility covered by
volumetric flow rate from each outlet        and upscale calibration drift (CD) (see
where air from the PTE is sent using a                                                      PTE that are not operated for a complete
                                             sections 3.1 and 8.3 of Performance            hour. Then, the average of the previous
flow rate monitoring system described        Specification 2 in appendix B to Part 60
in paragraph (g)(3) of this section.                                                        3 operating hours must be calculated to
                                             of this chapter for a discussion of CD).       determine the 3-hour rolling average
Monitoring is required when the portion         (A) Conduct the CD tests at two
of the facility covered by PTE is                                                           pressure differential. If data are not
                                             reference signal levels, zero (e.g., 0 to 20   recorded from an alternative monitoring
operated. A data acquisition system for      percent of span) and upscale (e.g., 50 to
the flow rate monitoring system shall                                                       device, during any malfunction of the
                                             70 percent of span).                           principal monitoring device(s) or the
compute and record each 3-hour average          (B) The absolute value of the
flow rate value, rolled hourly. This must                                                   automatic recorder, you must manually
                                             difference between the flow monitor
be done by first averaging the flow rate                                                    record the measured data at least
                                             response and the reference signal must
readings over a clock hour, i.e.,                                                           hourly.
                                             be equal to or less than 3 percent of the
beginning and ending on the hour. All                                                         (h) Sterilization chamber end-cycle
                                             flow monitor span.
data collected during the operating hour        (vii) You must perform an initial           EtO concentration. As part of your
must be used, even the portion of the        relative accuracy test of the flow rate        monitoring plan, you must document
facility covered by PTE is not operated      monitoring system according to section         your approach for determining the EtO
for a complete hour. Then, the average       8.2 of Performance Specification 6 of          sterilization chamber concentration. If
of the previous 3 operating hours must       appendix B to part 60 of the chapter           you choose a parametric approach you
be calculated to determine the 3-hour        with the exceptions in paragraphs              must meet the requirements in
rolling average flow rate. You must          (g)(3)(vii)(A) and (B) of this section.        paragraph (h)(1) of this section and if
maintain the 3-hour rolling average flow        (A) The relative accuracy test is to        you choose a direct measurement
rate above the applicable operating          evaluate the flow rate monitoring              approach you must meet the
limits established during the most           system alone rather than a continuous          requirements in paragraph (h)(2) of this
recent compliance demonstration.             emission rate monitoring system.               section. Alternatively, you may petition
   (3) Continuous flow rate monitoring          (B) The relative accuracy of the flow       the administrator for an alternative
system for PTE. You must install,            rate monitoring system shall be no             monitoring approach under § 63.8(f).
operate, calibrate, and maintain             greater than 10 percent of the mean              (1) If you choose a parametric
instruments, according to the                value of the reference method data.            approach for determining chamber EtO
requirements in paragraphs (g)(3)(i)            (viii) You must verify the accuracy of      concentrations you must document
through (ix) of this section, for            the flow rate monitoring system at least       parameter(s) used in the calculation to
continuously measuring and recording         once per year by repeating the relative        determine of EtO concentrations and the
the stack gas flow rate to allow             accuracy test specified in paragraph           calculation(s) used to determine the
determination of compliance with the         (g)(3)(vii) of this section.                   chamber concentration. Any
minimum volumetric flow rate through            (ix) You must operate the flow rate         instrumentation used for parametric
the affected stack operating limit(s).       monitoring system and record data              monitoring must also be identified in
   (i) You must install each sensor of the   during all periods of operation of the         the monitoring plan and at a minimum
flow rate monitoring system in a             affected facility including periods of         this plan should include the following
location that provides representative        startup, shutdown, and malfunction.            for each instrument:
measurement of the exhaust gas flow             (4) Pressure differential monitor. You        (i) Parameter measured and
rate. The flow rate sensor is that portion   must instead install, operate, calibrate,      measurement principle of the monitor.
of the system that senses the volumetric     and maintain a continuous pressure               (ii) Instrument name, model number,
flow rate and generates an output            differential monitoring system, as             serial number, and range.
proportional to that flow rate.              follows, to verify the presence of PTE.          (iii) Manufacturer recommended
   (ii) The flow rate monitoring system      You must operate this system whenever          operation practices, including daily
must be designed to measure the              the facility is in operation. You must         operational check.
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   (iv) Procedures for calibration, the             (i) Instrument name, model number,        monitor and record on a daily basis the
frequency of calibration, and accuracy           serial number, and range.                    daily and 30-operating day EtO usage
requirements of the calibration.                    (ii) Description of the measurement       according to the requirements of this
   (v) Description for how the                   principle and any potential                  paragraph. Additionally, you must
information from the parameter monitor           interferences.                               record EtO usage for each calendar
is being collected and stored.                      (iii) If applicable, the description of   month.
   (2) If you choose a direct                    the sampling condition system.                 (1) Monitor and record on a daily
measurement approach for determining                (iv) Procedures for calibration, the      basis, the daily total mass of ethylene
chamber EtO calibrations you must                frequency of calibration, and accuracy       oxide, in pounds, used at the facility.
document the procedures used for the             requirements of the calibration.             The daily total mass must be
operation of the instruments. Any                   (v) Description for how the               determined using the methodology
instrument used for direct measurement           information from the parameter monitor       specified in § 63.365(c)(1)(i) and (ii).
of EtO must be identified in the                 is being collected and stored.                 (2) Determine and record daily the 30-
monitoring plan and at a minimum this               (i) EtO usage. If you own or operate      operating day rolling ethylene oxide
plan must include the following                  a sterilization facility subject to the      usage rate using equation 6 to this
information:                                     requirements of this subpart you must        paragraph.




Where:                                              (1) Select the location of the sampling      (5) Determine the EtO concentration
MFac = Facility EtO use over the previous 30     ports and the number of traverse points      according to either paragraph (b)(5)(i) or
     operating days, in pounds.                  according to Method 1 of appendix A–         (ii) of this section.
mFac,i = Daily EtO use for operating day i, in   1 to part 60 of this chapter.                   (i) Follow Method 320 of appendix A
     pounds, as determined in accordance         Alternatively, for ducts less than 0.3       to this part and the following
     with paragraph (i)(1) of this section       meter (12 in.) in diameter, you may          paragraphs (5)(i)(A) through (D).
i = Operating day index.                                                                         (A) The instrumentation used for
                                                 choose to locate sample ports according
 (3) Determine and record the total              to Method 1A of appendix A–1 to part         measurement must have the
mass of EtO used in each calendar                60 of this chapter.                          measurement range to properly quantify
month.                                              (2) Determine the flow rate through       the EtO in the gas stream. Additionally,
                                                 the control system exhaust(s)                for outlet emission streams, the
§ 63.365   Test methods and procedures.                                                       instrumentation must have a method
                                                 continuously during the test period
   (a) General—(1) Performance testing           according to either Methods 2, 2A, or 2C     detection limit an order of magnitude
for facility where EtO use is less than          of appendix A–1 to part 60 of this           below concentration equivalent of the
100 pounds per year. If you own or               chapter, as appropriate. If using Method     emission limit.
operate an affected source at a facility         2, 2A, or 2C, you must complete                 (B) Instrumentation used must be
where EtO use is less than 100 lb/yr that        velocity traverses immediately before        continuous in nature with an averaging
is subject to an emission standard in                                                         time of one minute or less.
                                                 and subsequently after each test run. If
§ 63.362, you must comply with the                                                               (C) Calibration Spectra and all other
                                                 your test run is greater than 1 hour, you
performance testing requirements in                                                           analyte spiking required in the method
                                                 must also complete a velocity traverse at    must use EtO gaseous cylinder
§ 63.7, according to the applicability in        least every hour. Average the velocity
table 6 to this subpart, using the                                                            standard(s) which meet the criteria
                                                 collected during a test run and calculate    found in Performance Specification 19
methods in paragraph (b) or (c) of this          volumetric flow as outlined in the
section, following the applicable                                                             of appendix B to part 60 if this chapter.
                                                 appropriate method.                             (D) Other methods and materials may
procedures for initial compliance and               (3) Determine the oxygen and carbon       be used; however, these alternative test
continuous compliance in paragraphs              dioxide concentration of the effluent        methods are subject to Administrator
(d), (e), and (f) of this section.               according to Method 3A or 3B of              approval.
   (2) Facilities subject to capture             appendix A–2 to part 60 of this chapter.        (ii) Alternatively, ASTM D6348–12
efficiency. If you are subject to capture        The manual procedures (but not               (Reapproved 2020), (incorporated by
efficiency requirements in § 63.362, you         instrumental procedures) of voluntary        reference, see § 63.14) may be used with
must follow the applicable procedures            consensus standard ANSI/ASME PTC             the following conditions:
for initial and continuous compliance in         19.10–1981 (incorporated by reference,          (A) The test plan preparation and
paragraph (f) of this section.                   see § 63.14) may be used as an               implementation in the Annexes to
   (b) Test methods for facility where           alternative to EPA Method 3B.                ASTM D 6348–12 (R2020), Sections A1
EtO use is less than 100 pounds per                 (4) Determine the moisture content of     through A8 are mandatory; and
year. You must use the following test            the stack gas according to Method 4 of          (B) In ASTM D6348–12 (R2020)
methods to determine the average mass            appendix A–3 to part 60 of this chapter.     Annex A5 (Analyte Spiking Technique),
emissions of EtO in lb/hr at the inlet of        Alternatively, you may use an on-line        the percent (%) R must be determined
a control system (MAPCD, i) and/or outlet        technique that has been validated using      for each target analyte (equation A5.5).
of a control system or stack (EAPCD, o).         Method 301 of appendix A to this part.       In order for the test data to be acceptable
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for a compound, %R must be 70% ≥ R               for that analyte (i.e., the sampling and/   measurements must be corrected with
≤ 130%. If the %R value does not meet            or analytical procedure should be           the calculated %R value for that
this criterion for a target compound, the        adjusted before a retest). The %R value     compound by using equation 1 to this
test data is not acceptable for that             for each compound must be reported in       paragraph:
compound and the test must be repeated           the test report, and all field




  (6) Calculate the mass emission of EtO
by using equations 2 and 3 to this
paragraph:




Where:                                           MW/385.1 × 109 = conversion factor, from       (1) Determine the mass (MSCV,n) of
MAPCD, i = average inlet mass rate of EtO per      ppbv at standard conditions to lb/cf      EtO used for each charge and at each
    hour, lb/hr                                     (c) Alternative approach for SCVs for    sterilization chamber used during the
CEtO,i = inlet EtO concentration, ppmdv.         facility where EtO use is less than 100     performance tests using the procedures
Qi = average inlet volumetric flow per hour      pounds per year. If you do not own or       in either paragraph (c)(1)(i) or (ii) of this
    at standard conditions, dscf/hr              operate a single-item sterilizer, to        section.
44.05 = molecular weight (MW) of EtO, lb/        demonstrate compliance with the
    lb-mole
                                                                                                (i) Weigh the EtO gas cylinder(s) used
                                                 percent emission reduction standards
MW/385.1 × 106 = conversion factor, from                                                     to charge the sterilizer(s) before and
                                                 for emissions streams that are
    ppmv at standard conditions to lb/cf         comprised only of SCVs, you may use         after charging. Record these weights to
EAPCD, o = average outlet mass rate of EtO per   the following procedures as an              the nearest 45 g (0.1 lb) and calculate
    hour, lb/hr                                  alternative to paragraph (b) of this        the theoretical mass (MSCV,n) vented to
CEtO,o = outlet EtO concentration, ppbdv.        section to determine the mass emissions     the controls using equation 4 to this
Qo = average outlet volumetric flow per hour     of EtO being emitted via sterilization      paragraph.
    at standard conditions, dscf/hr              chamber(s) vents prior to the controls.




Where:                                               %E.O.w = weight percent of EtO          of each sterilizer charge. Calculate the
   MSCV,n = Theoretical total mass of EtO                                                    theoretical mass (MSCV,n) vented to the
   vented to controls per charge, g (lb)           (ii) Install a calibrated rate meter at
                                                                                             controls using equation 5 to this
   Mcharge = total mass of sterilizer gas        the sterilizer inlet(s) and continuously
                                                                                             paragraph.
   charge, g (lb)                                measure the flow rate (Qm) and duration




Where:                                               MSCV,n = Total mass of EtO sent to          Qm = volumetric flow rate, liters per
                                                     controls per charge                         minute (L/min) corrected to 20 °C and
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    101.325 kilopascals (kPa) (scf per minute      MW = molecular weight of EtO, 44.05          101.325 kPa (385.1 scf per pound-mole
    (scfm) corrected to 68 °F and 1                grams per gram-mole (g/g-mole) (44.05        (scf/lb-mole) at 68 °F and 1 atm).
    atmosphere of pressure (atm))                  pounds per pound-mole (lb/lb-mole))
    Tn = time duration of each charge, min                                                    (2) Determine the mass rate of EtO
                                                   SV = standard volume, 24.05 liters per
    n = number of EtO charges                                                               sent to controls during the performance
                                                   gram-mole (L/g-mole) at 20 °C and
    %E.O.v = volume fraction percent of EtO                                                 test using equation 6 to this paragraph.




Where:                                          from this category, where each run shall    procedures shall be used to demonstrate
   MSCV = Total mass of EtO sent to             consist of the entirety of the sterilizer   compliance with a removal efficiency
   controls per hour, g/hr (lb/hr)              chamber evacuation and subsequent           standard. In addition to these
   MSCV,n = Total mass of EtO sent to           washes. The owner or operator may not       procedures, the procedures in paragraph
   controls per charge per chamber, g (lb)      conduct performance tests during            (e) of this section must be followed to
   Tt = Total time of the performance test,
   hour
                                                periods of malfunction. The owner or        establish the operating parameter limits
   n = Total number of charges during           operator must record the process            for each applicable emission control(s).
   testing period                               information that is necessary to               (1) You may determine the mass rate
   f = Portion of EtO use that is assumed to    document operating conditions during        emissions of the stream prior to the
   be routed to the control system (0.93 if     the test and include in such record an      control system and at the outlet of the
   aeration is conducted in separate vessel;    explanation to support that such
   0.98 otherwise)                                                                          control system using the test methods in
                                                conditions represent the entire range of    paragraph (b) of this section. If the vent
  (d) Compliance determination for              normal operation, including operational     stream is comprised only of one or more
facility where EtO use is less than 100         conditions for maximum emissions if         SCVs, then you may use the procedures
pounds per year. Each compliance                such emissions are not expected during      in paragraph (c) of this section for the
demonstration shall consist of three            maximum production. The owner or            mass rate emissions at the inlet.
separate runs using the applicable              operator must also account for the
methods in paragraph (b) or (c) of this         control system residence time when             (2) Calculate the total mass of EtO per
section. To determine compliance with           conducting the performance test. Upon       hour that is routed to the control system
the relevant standard, arithmetic mean          request, the owner or operator shall        by summing the mass of EtO per hour
of the three runs must be used. These           make available to the Administrator         from each vent.
procedures may be performed over a run          such records as may be necessary to            (3) Determine percent emission
duration of 1-hour (for a total of three        determine the conditions of                 reduction (%ER) using the equation 7 to
1-hour runs), except for the SCV testing        performance tests. The following            this paragraph:




Where:                                          device and then monitor the                 to determine the ethylene glycol
   % ER = percent emission reduction            parameter(s) for each control device.       concentration.
   MAPCD,i = total mass of EtO per hour to      The procedures in the following                (ii) Scrubber liquor tank level. During
   the control device                           paragraphs shall be used to establish the   the performance test, you must monitor
   EAPCD,o = total mass of EtO per hour from    parameter operating limits to be            and record the scrubber liquor tank
   the control device                           continually monitored in § 63.364.          level to the nearest 1⁄4 inch at the end
  (4) Repeat these procedures two                  (1) Acid-water scrubbers. The            of each of the three test runs. Use the
additional times. The arithmetic average        procedures in paragraph (e)(1) of this      data collected during the most recent
percent efficiency of the three runs shall      section shall be used to determine the      performance test to calculate the average
determine the overall efficiency of the         operating limits for acid-water             scrubber liquor tank level. This scrubber
control system.                                 scrubbers.                                  liquor tank level is the maximum
  (e) Determination of operating limits            (i) Ethylene glycol concentration. For   operating limit for your scrubber liquor
for control device(s). If you are using         determining the ethylene glycol             tank. Repeat this procedure for every
performance testing to demonstrate              concentration operating limit, you must     scrubber liquor tank that is included in
compliance with removal efficiency              establish the maximum ethylene glycol       the performance test.
standards, and if you are not                   concentration as the ethylene glycol           (iii) Scrubber liquor pH. During the
demonstrating continual compliance              concentration averaged over three test      performance test, you must monitor and
with the applicable standard(s) using an        runs; use the sampling and analysis         record the scrubber liquor pH at least
EtO CEMS, you must also determine the           procedures in ASTM D3695–88                 once every 15 minutes during each of
operating limit(s) for each control             (incorporated by reference, see § 63.14)    the three test runs. You must use pH
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monitors as described in § 63.364(b)(3).        averages of the test runs. These               approve appropriate test methods and
Use the data collected during the most          arithmetic averages of the test runs are       procedures.
recent performance test to calculate the        the minimum operating limits for your             (f) Determination of compliance with
average scrubber pH measured. This              catalytic oxidizer, unless it exceeds the      PTE requirement. If you are required to
scrubber liquor pH is the maximum               recommended maximum oxidation                  operate any portion of your facility with
operating limit for your acid-water             temperature provided by the oxidation          PTE, you must demonstrate initial
scrubber. Repeat this procedure for             unit manufacturer. If this occurs, the         compliance with the requirements of
every scrubber liquor tank that is              minimum operating limit for your               this subpart by following the procedures
included in the performance test.               catalytic oxidizer consists of the             of paragraphs (f)(1) through (3) of this
  (2) Thermal oxidizers. The procedures         recommended maximum oxidation                  section, as applicable, during the initial
in this paragraph shall be used to              temperature provided by the oxidation          compliance demonstration or during the
determine the operating limits for              unit manufacturer.                             initial certification of the CEMS tests.
thermal oxidizers.                                (iv) Paragraphs (e)(3)(i) through (iii) of      (1) Determine the capture efficiency
  (i) During the performance test, you          this section must be completed for each        by verifying the capture system meets
must monitor and record the                     catalytic oxidizer that is involved in the     the criteria in section 6 of Method 204
temperature at least once every 15              performance test.                              of appendix M to part 51 of this chapter
minutes during each of the three test             (4) Gas/solid reactors. During the           and directs all the exhaust gases from
runs. You must monitor the temperature          performance test, you must monitor and         the enclosure to an add-on control
in the firebox of the thermal oxidizer or                                                      device.
                                                record the gas/solid reactor pressure
immediately downstream of the firebox.                                                            (2) Ensure that the air passing through
                                                drop at least once every 15 minutes
You must use temperature monitors as                                                           all NDOs flows into the enclosure
                                                during each of the three test runs. Use
described in § 63.364(c)(4).                                                                   continuously. If the facial velocities
                                                the data collected during the most
  (ii) Use the data collected during the                                                       (FVs) are less than or equal to 9,000
                                                recent performance test to calculate the
performance test to calculate and record                                                       meters per hour (492 feet per minute),
                                                gas/solid reactor pressure measured.
the average temperature for each test                                                          the continuous inward flow of air shall
                                                This gas/solid reactor pressure is the
run maintained during the performance                                                          be verified by continuous observation
                                                maximum operating limit for your gas/
test. The average temperature of the test                                                      using smoke tubes, streamers, tracer
                                                solid. Repeat this procedure for every
runs is the minimum operating limit for                                                        gases, or other means approved by the
                                                gas/solid reactor that is included in the
your thermal oxidizer, unless it exceeds                                                       Administrator over the period that the
                                                performance test.
the recommended maximum oxidation                                                              volumetric flow rate tests required to
temperature provided by the oxidation             (5) Other control system for facility
                                                                                               determine FVs are carried out. If the FVs
unit manufacturer. If this occurs, the          where EtO use is less than 100 pounds
                                                                                               are greater than 9,000 meters per hour
minimum operating limit for your                per year. If you seek to demonstrate
                                                                                               (492 feet per minute), the direction of
thermal oxidizer consists of the                compliance with a standard found at
                                                                                               airflow through the NDOs shall be
recommended maximum oxidation                   § 63.362 with a control device other
                                                                                               presumed to be inward at all times
temperature provided by the oxidation           than an acid-water scrubber, catalytic
                                                                                               without verification.
unit manufacturer.                              oxidizer, thermal oxidizer, or gas/solid          (3) If you are demonstrating
  (iii) Paragraphs (e)(2)(i) and (ii) of this   reactor, you must provide to the               continuous compliance through
section must be completed for each              Administrator the information requested        monitoring the volumetric flow rate,
thermal oxidizer that is involved in the        under § 63.363(e). You must submit a           you must monitor and record the
performance test.                               monitoring plan that contains the              volumetric flow rate (in cubic feet per
  (3) Catalytic oxidizers. The                  following items: a description of the          second) from the PTE through the
procedures in this paragraph shall be           device; test results collected in              stack(s) at least once every 15 minutes
used to determine the operating limits          accordance with § 63.363(e) verifying          during each of the three test runs. Use
for catalytic oxidizers.                        the performance of the device for              the data collected during the most
  (i) Prior to the start of the performance     controlling EtO emissions to the               recent compliance demonstration to
test, you must check the catalyst bed for       atmosphere to the levels required by the       calculate the average volumetric flow
channeling, abrasion, and settling. If          applicable standards; the appropriate          rate measured during the compliance
problems are found during the                   operating parameters that will be              demonstration. This volumetric flow
inspection, you must replace the                monitored, identifying the ongoing QA          rate is the minimum operating limit for
catalyst bed or take other correction           procedures and performance                     the stack. Repeat this procedure for
action consistent with the                      specifications that will be conducted on       every stack that is included in the
manufacturer’s recommendations.                 the instruments; the frequency of              compliance demonstration.
  (ii) During the performance test, you         conducting QA and performance
must monitor and record the                     checks; and the frequency of measuring         § 63.366   Reporting requirements.
temperature at the inlet to the catalyst        and recording to establish continuous            (a) General requirements. The owner
bed and the temperature difference              compliance with the standards. Your            or operator of an affected source subject
across the catalyst bed at least once           monitoring plan is subject to the              to the emissions standards in § 63.362
every 15 minutes during each of the             Administrator’s approval. Upon                 must fulfill all reporting requirements in
three test runs. You must use                   approval by the Administrator you must         § 63.10(a), (d), (e), and (f), according to
temperature monitors as described in            install, calibrate, operate, and maintain      the applicability in table 6 to this
§ 63.364(c)(4).                                 the monitor(s) approved by the                 subpart. These reports will be made to
  (iii) Use the data collected during the       Administrator based on the information         the Administrator at the appropriate
performance test to calculate and record        submitted in your monitoring plan. You         address identified in § 63.13 or
the average temperature at the inlet to         must include in your monitoring plan           submitted electronically.
the catalyst bed and the average                proposed performance specifications              (b) Initial compliance report
temperature difference across the               and quality assurance procedures for           submission. You must submit an initial
catalyst bed maintained for each test           your monitors. The Administrator may           compliance report that provides
run, and then calculate the arithmetic          request further information and shall          summary, monitoring system
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performance, and deviation information       parameter monitoring device                     (vii) The portion of CEV exhaust that
to the Administrator on April 5, 2027,       calibration. Reports shall also include      was routed to the control system, if
or once the report template for this         the name, title, and signature of the        applicable;
subpart has been available on the            responsible official who is certifying the      (viii) The ID of the EtO CEMS that
Compliance and Emissions Data                accuracy of the report. If your report is    was used to monitor CEV emissions, if
Reporting Interface (CEDRI) website for      submitted via CEDRI, the certifier’s         applicable;
one year, whichever date is later, to the    electronic signature during the                 (ix) The portion of CEV exhaust that
EPA via CEDRI, which can be accessed         submission process replaces this             was monitored with the EtO CEMS, if
through the EPA’s Central Data               requirement. When no deviations have         applicable;
Exchange (CDX) (https://cdx.epa.gov/).       occurred or monitoring equipment has            (4) If emissions from any room in your
The EPA will make all the information        not been inoperative, repaired, or           facility are subject to an emission
submitted through CEDRI available to         adjusted, such information shall be          standard, you must report the following
                                             stated in the report. In addition, the       for each room where there is the
the public without further notice to you.
                                             summary report shall include:                potential for EtO emissions:
Do not use CEDRI to submit information                                                       (i) Room ID;
you claim as confidential business              (1) The following information:
                                                (i) Date that facility commenced             (ii) Documentation of emissions
information (CBI). Anything submitted                                                     occurring within the room, including
                                             construction or reconstruction;
using CEDRI cannot later be claimed                                                       aeration, EtO storage, EtO dispensing,
                                                (ii) Hours of commercial sterilization
CBI. You must use the appropriate            operation over the previous 12 months;       pre-aeration handling of sterilized
electronic report template on the CEDRI      and                                          material, and post-aeration handling of
website (https://www.epa.gov/                   (iii) Monthly EtO use, in tons, over      sterilized material;
electronic-reporting-air-emissions/cedri)    the previous 36 months.                         (iii) The ID of the control system that
for this subpart. The date report               (iv) If you are electing to determine     the room air was routed to, if applicable;
templates become available will be           the mass of EtO sent to the control             (iv) The portion of room air that was
listed on the CEDRI website. The report      device from the SCV(s) via the               routed to the control system, if
must be submitted by the deadline            procedure in § 63.364(f)(1)(i), you must     applicable;
specified in this subpart, regardless of     report the daily EtO use from each              (v) The ID of the EtO CEMS that was
the method in which the report is            applicable chamber for the previous 7        used to monitor room air emissions, if
submitted. Although we do not expect         months.                                      applicable;
persons to assert a claim of CBI, if you        (v) An indication if you are required        (vi) The portion of room air that was
wish to assert a CBI claim, submit a         to comply with one or more combined          monitored with the EtO CEMS, if
complete report, including information       emission stream limitations. If so,          applicable;
claimed to be CBI, to the EPA. The CBI       indicate the affected sources that are          (5) If an EtO CEMS was used to
report must be generated using the           included in each combined emission           demonstrate continuous compliance
appropriate form on the CEDRI website        stream limitation.                           with an emission standard for more than
or an alternate electronic file consistent      (vi) An indication if you are electing    30-operating days, you must report the
with the extensible markup language          to comply with a site-wide emission          following:
(XML) schema listed on the CEDRI             limit. If you are electing to comply with       (i) The information specified in
website. Submit the CBI file on a            a site-wide emission limit, report the       section 11 of appendix A to this subpart.
compact disc, flash drive, or other          daily EtO use over the previous 7               (ii) The affected sources that are
                                             months.                                      included in each inlet that is being
commonly used electronic storage
                                                (2) If your sterilization facility is     monitored with EtO CEMS;
medium and clearly mark the medium
                                             demonstrating continuous compliance             (iii) The IDs of each inlet(s) to and
as CBI. Mail the electronic medium to                                                     outlet(s) from each control system.
U.S. EPA/OAQPS/CORE CBI Office,              through periodic performance testing,
                                                                                             (iv) The daily sum of EtO for each
Attention: Commercial Sterilization          you must report the following:
                                                (i) Control system ID;                    inlet, along with 30-operating day
Facilities Sector Lead, MD C404–02,                                                       rolling sums.
4930 Old Page Rd., Durham, NC 27703.            (ii) Control device ID;
                                                (iii) Control device type; and               (v) The daily sum of EtO emissions
The same file with the CBI omitted must                                                   from each outlet of the control system,
be submitted to the EPA via the EPA’s           (iv) Recirculation tank ID if an acid-
                                             water scrubber is used to meet the           along with 30-operating day rolling
CDX as described earlier in this                                                          sums.
paragraph. All CBI claims must be            emission standard and you elect to
                                             comply with the maximum scrubber                (vi) For each day, calculate and report
asserted at the time of submission.                                                       the daily mass emission limit that the
Furthermore, under CAA section 114(c),       liquor height limit;
                                                (3) You must report the following for     control system must achieve based on
emissions data is not entitled to                                                         the previous 30 days of data. For control
                                             each sterilization chamber at your
confidential treatment, and the EPA is                                                    systems with multiple emission streams,
                                             facility:
required to make emissions data                 (i) The sterilization chamber ID;         and complying with a combined
available to the public. Thus, emissions        (ii) The ID of the control system that    emission stream limitation in § 63.362(i)
data will not be protected as CBI and        the SCV was routed to, if applicable;        or a SWEL in § 63.362(j), report the
will be made publicly available. Reports        (iii) The portion of SCV exhaust that     daily 30-operating day mass emission
of deviations from an operating limit        was routed to the control system, if         limit as determined in accordance with
shall include all information required in    applicable;                                  CES in § 63.362(i)(1)(i) and (i)(2)(i) or
§ 63.10(c)(5) through (13), as applicable       (iv) The ID of the EtO CEMS that was      with § 63.362(j)(1)(i) and (j)(2)(i), as
in table 6 to this subpart, along with       used to monitor SCV emissions, if            applicable.
information from any calibration tests in    applicable;                                     (vii) For each day, the mass of EtO
which the monitoring equipment is not           (v) The portion of SCV exhaust that       emitted from the control system over the
in compliance with Performance               was monitored with the EtO CEMS, if          previous 30 operating days.
Specification 19 in appendix B and           applicable;                                     (6) If any portion of your facility is
Procedure 7 in appendix F to part 60 of         (vi) The ID of the control system that    required to be operated with PTE, you
this chapter or the method used for          the CEV was routed to, if applicable;        must report the following:
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  (i) If you are choosing to demonstrate     quarter. Beginning on April 5, 2027, or      electronic signature during the
continuous compliance through the use        once the report template for this subpart    submission process replaces this
of volumetric flow rate monitoring, you      has been available on the Compliance         requirement. When no deviations have
must report the 3-hr rolling average,        and Emissions Data Reporting Interface       occurred or monitoring equipment has
rolled hourly volumetric flow from each      (CEDRI) website for 1 year, whichever        not been inoperative, repaired, or
outlet where air from the PTE is sent, in    date is later, submit all subsequent         adjusted, such information shall be
cubic feet per second.                       reports to the EPA via CEDRI, which can      stated in the report. In addition, the
  (ii) If you are choosing to demonstrate    be accessed through the EPA’s CDX            summary report shall include:
continuous compliance through use of         (https://cdx.epa.gov/). The EPA will           (1) The information listed in
differential pressure monitoring, you        make all the information submitted           paragraphs (b)(1)(i) through (vi) of this
must report the 3-hr rolling average,        through CEDRI available to the public        section, with the exception that monthly
rolled hourly pressure differential          without further notice to you. Do not        EtO use, in tons, only needs reported for
reading, in inches water.                    use CEDRI to submit information you          the previous 12 months;
  (7) If you are complying with the          claim as CBI. Anything submitted using         (2) If your sterilization facility is
requirement to follow the best               CEDRI cannot later be claimed CBI. You       demonstrating continuous compliance
management practice to limit                 must use the appropriate electronic          through periodic performance testing,
sterilization chamber concentration of                                                    you must report the ID for any control
                                             report template on the CEDRI website
EtO to 1 ppmv prior to opening the                                                        system that has not operated since the
                                             (https://www.epa.gov/electronic-
sterilization chamber door, you must                                                      end of the period covered by the
                                             reporting-air-emissions/cedri) for this
provide a certification from your                                                         previous compliance report. If a control
                                             subpart. The date report templates
responsible official that this approach is                                                system has commenced operation since
                                             become available will be listed on the       end of the period covered by the
being followed and you are meeting the       CEDRI website. The report must be
monitoring requirements at § 63.362(h).                                                   previous compliance report, or if any of
                                             submitted by the deadline specified in       the information in paragraphs (b)(2)(i)
  (8) If you own or operate an existing      this subpart, regardless of the method in
collection of Group 2 room air                                                            through (iv) of this section has changed
                                             which the report is submitted. Although      for a control system that was included
emissions at an area source facility and     we do not expect persons to assert a
facility EtO use is less than 4 tpy, you                                                  in the previous compliance report, you
                                             claim of CBI, if you wish to assert a CBI    must report the information in
must report the following for each room      claim, submit a complete report,
where there are Group 2 room air                                                          paragraphs (b)(2)(i) through (iv) of this
                                             including information claimed to be          section for those control systems;
emissions:                                   CBI, to the EPA. The CBI report must be
  (i) Room ID;                                                                              (3) You must report the ID for any
                                             generated using the appropriate form on      sterilization chamber that has not
  (ii) Number of room air changes per
                                             the CEDRI website or an alternate            operated since then end of the period
hour;
  (iii) Room temperature, in degrees         electronic file consistent with the XML      covered by the previous compliance
Celsius; and                                 schema listed on the CEDRI website.          report. If a sterilization chamber has
  (iv) EtO concentration, in ppmv dry        Submit the CBI file on a compact disc,       commenced operation since the end of
basis (ppbvd).                               flash drive, or other commonly used          the period covered by the previous
  (9) If you own or operate an existing      electronic storage medium and clearly        compliance report, or if any of the
collection of Group 2 room air               mark the medium as CBI. Mail the             information in paragraphs (b)(3)(i)
emissions at an area source facility and     electronic medium to U.S. EPA/OAQPS/         through (ix) of this section has changed
EtO use is less than 4 tpy, you are not      CORE CBI Office, Attention:                  for a sterilization chamber that was
required to report the information in        Commercial Sterilization Facilities          included in the previous compliance
paragraph (b)(8) of this section if you      Sector Lead, MD C404–02, 4930 Old            report, you must report the information
meet the following requirements:             Page Rd., Durham, NC 27703. The same         in paragraphs (b)(3)(i) through (ix) of
  (i) You are complying with the best        file with the CBI omitted must be            this section for those sterilization
management practice to limit                 submitted to the EPA via the EPA’s CDX       chambers;
sterilization chamber concentration of       as described earlier in this paragraph.        (4) If emissions from any room in your
EtO to 1 ppmv prior to opening the           All CBI claims must be asserted at the       facility are subject to an emission
sterilization chamber door; and              time of submission. Furthermore, under       standard, you must report the ID for any
  (ii) The requirements of § 63.363 are      CAA section 114(c), emissions data is        room where there has not been the
met.                                         not entitled to confidential treatment,      potential for EtO emissions since the
  (10) Report the number of deviations       and the EPA is required to make              end of the period covered by the
to meet an applicable standard. For each     emissions data available to the public.      previous compliance report. If a room
instance, report the date, time, the cause   Reports of deviations from an operating      has had the potential for EtO emissions
and duration of each deviation. For each     limit shall include all information          since the end of the period covered by
deviation the report must include a list     required in § 63.10(c)(5) through (13), as   the previous compliance report, or if
of the affected sources or equipment, an     applicable in table 6 to this subpart, and   any of the information in paragraphs
estimate of the quantity of each             information from any calibration tests in    (b)(4)(i) through (vi) of this section has
regulated pollutant emitted over any         which the monitoring equipment is not        changed for a room where there is the
emission limit, and a description of the     in compliance with Performance               potential for EtO emissions that was
method used to determine the                 Specification 19 in appendix B and           included in the previous compliance
emissions.                                   Procedure 7 in appendix F to part 60 of      report, you must report the information
  (c) Quarterly compliance report            this chapter or the method used for          in paragraphs (b)(4)(i) through (vi) of
submission. You must submit                  parameter monitoring device                  this section for those rooms;
compliance reports that provide              calibration. Reports shall also include        (5) If an EtO CEMS was used to
summary, monitoring system                   the name, title, and signature of the        demonstrate continuous compliance,
performance, and deviation information       responsible official who is certifying the   you must report the information
to the Administrator within 30 days          accuracy of the report. If your report is    specified in paragraphs (b)(5)(i) through
following the end of each calendar           submitted via CEDRI, the certifier’s         (vi) of this section.
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  (6) If any portion of your facility is         (ii) After April 5, 2024, the             commencement date will not be
required to be operated with PTE, you         requirements in this section and in          delayed.
must report the information listed in         § 63.5 apply to owners or operators who         (B) A separate application shall be
paragraph (b)(6) of this section.             construct a new facility or reconstruct a    submitted for each construction or
  (7) If you are complying with the           facility subject to these emissions          reconstruction. Each application for
requirement to follow the best                standards after April 5, 2024. New or        approval of construction or
management practice to limit                  reconstructed facilities subject to these    reconstruction shall include at a
sterilization chamber concentration of        emissions standards with an initial          minimum:
EtO to 1 ppmv prior to opening the            startup date before the effective date are      (1) The applicant’s name and address.
sterilization chamber door, you must          not subject to the preconstruction              (2) A notification of intention to
provide a certification from your             review requirements specified in             construct a new facility subject to these
responsible official that this approach is    paragraphs (b)(2) and (3) of this section    emissions standards or make any
being followed and you are meeting the        and § 63.5(d)(3) and (4) and (e).            physical or operational change to a
monitoring requirements at § 63.362(h).          (2) Advance approval. After April 5,      facility subject to these emissions
  (8) If you own or operate an existing       2024, whether or not an approved             standards that may meet or has been
collection of Group 2 room air                permit program is effective in the           determined to meet the criteria for a
emissions at an area source facility and      jurisdictional authority in which a          reconstruction, as defined in § 63.2.
facility EtO use is less than 4 tpy, you      facility is (or would be) located, no           (3) The address (i.e., physical
must report the ID for any room where         person may construct a new facility or       location) or proposed address of the
Group 2 room air emissions have ceased        reconstruct a facility subject to these      facility.
since end of the period covered by the        emissions standards, or reconstruct a           (4) An identification of the relevant
previous compliance report. If a room         facility such that the facility becomes a    standard that is the basis of the
has had Group 2 room air emissions            facility subject to these emissions          application.
since the end of the period covered by        standards, without obtaining advance            (5) The expected commencement date
the previous compliance report, or if         written approval from the Administrator      of the construction or reconstruction.
any of the information in paragraphs          in accordance with the procedures               (6) The expected completion date of
(b)(8)(i) through (iv) of this section has    specified in paragraph (b)(3) of this        the construction or reconstruction.
changed for a room where there are            section and § 63.5(d)(3) and (4) and (e).       (7) The anticipated date of (initial)
Group 2 room air emissions that were             (3) Application for approval of           startup of the facility.
included in the previous compliance           construction or reconstruction. The             (8) The type and quantity of
report, you must report the information       provisions of paragraph (b)(3) of this       hazardous air pollutants emitted by the
in paragraphs (b)(8)(i) through (iv) of       section and § 63.5(d)(3) and (4)             facility, reported in units and averaging
this section for each room where there        implement section 112(i)(1) of the Act.      times and in accordance with the test
are Group 2 room air emissions.                  (i) General application requirements.     methods specified in the standard, or if
  (9) If you own or operate an existing       (A) An owner or operator who is subject      actual emissions data are not yet
collection of Group 2 room air                to the requirements of paragraph (b)(2)      available, an estimate of the type and
emissions at an area source facility and      of this section shall submit to the          quantity of hazardous air pollutants
facility EtO use is less than 4 tpy, you      Administrator an application for             expected to be emitted by the facility
are not required to report the                approval of the construction of a new        reported in units and averaging times
information in paragraph (c)(8) of this       facility subject to these emissions          specified. The owner or operator may
section if you meet the requirements in       standards, the reconstruction of a           submit percent reduction information, if
paragraph (b)(9) of this section.             facility subject to these emissions          the standard is established in terms of
  (10) Report the number of deviations        standards, or the reconstruction of a        percent reduction. However, operating
to meet an applicable standard. For each      facility such that the facility becomes a    parameters, such as flow rate, shall be
instance, report the date, time, the          facility subject to these emissions          included in the submission to the extent
cause, and duration of each deviation.        standards. The application shall be          that they demonstrate performance and
For each deviation, the report must           submitted as soon as practicable before      compliance.
include a list of the affected sources or     the construction or reconstruction is           (9) Other information as specified in
equipment, the quantity of each               planned to commence (but not sooner          paragraph (b)(3)(ii) of this section and
regulated pollutant emitted over any          than the effective date) if the              § 63.5(d)(3).
emission limit, and a description of the      construction or reconstruction                  (C) An owner or operator who submits
method used to determine the                  commences after the effective date. The      estimates or preliminary information in
emissions.                                    application shall be submitted as soon       place of the actual emissions data and
  (d) Construction and reconstruction         as practicable before the initial startup    analysis required in paragraphs
application. You must fulfill all             date but no later than 60 days after the     (b)(3)(i)(B)(8) and (b)(3)(ii) of this
requirements for construction or              effective date if the construction or        section shall submit the actual,
reconstruction of a facility in § 63.5,       reconstruction had commenced and the         measured emissions data and other
according to the applicability in table 6     initial startup date had not occurred        correct information as soon as available
to this subpart, and in this paragraph.       before the effective date. The               but no later than with the notification of
  (1) Applicability. (i) This paragraph       application for approval of construction     compliance status required in paragraph
(d) and § 63.5 implement the                  or reconstruction may be used to fulfill     (c)(2) of this section.
preconstruction review requirements of        the initial notification requirements of        (ii) Application for approval of
section 112(i)(1) for facilities subject to   paragraph (e)(1)(iii) of this section. The   construction. Each application for
these emissions standards. In addition,       owner or operator may submit the             approval of construction shall include,
this paragraph (d) and § 63.5 include         application for approval well in advance     in addition to the information required
other requirements for constructed and        of the date construction or                  in paragraph (b)(3)(i)(B) of this section,
reconstructed facilities that are or          reconstruction is planned to commence        technical information describing the
become subject to these emissions             in order to ensure a timely review by the    proposed nature, size, design, operating
standards.                                    Administrator and that the planned           design capacity, and method of
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operation of the facility subject to these   Administrator may request additional           emissions standards is (or would be)
emissions standards, including an            relevant information after the submittal       located, an owner or operator who
identification of each point of emission     of a request for approval of construction      intends to construct a new facility
for each hazardous air pollutant that is     or reconstruction.                             subject to these emissions standards or
emitted (or could be emitted) and a             (e) Notification requirements. The          reconstruct a facility subject to these
description of the planned air pollution     owner or operator of an affected source        emissions standards, or reconstruct a
control system (equipment or method)         subject to an emissions standard in            facility such that it becomes a facility
for each emission point. The description     § 63.362 shall fulfill all notification        subject to these emissions standards,
of the equipment to be used for the          requirements in § 63.9, according to the       shall notify the Administrator in writing
control of emissions shall include each      applicability in table 6 to this subpart,      of the intended construction or
control device for each hazardous air        and in this paragraph (e).                     reconstruction. The notification shall be
pollutant and the estimated control             (1) Initial notifications. (i) If you own   submitted as soon as practicable before
efficiency (percent) for each control        or operate an affected source subject to       the construction or reconstruction is
device. The description of the method to     an emissions standard in § 63.362, you         planned to commence (but no sooner
be used for the control of emissions         may use the application for approval of        than the effective date of these
shall include an estimated control           construction or reconstruction under           standards) if the construction or
efficiency (percent) for that method.        paragraph (d)(3)(ii) of this section and       reconstruction commences after the
Such technical information shall             § 63.5(d)(3), respectively, if relevant to     effective date of the standard. The
include calculations of emission             fulfill the initial notification               notification shall be submitted as soon
estimates in sufficient detail to permit     requirements.                                  as practicable before the initial startup
assessment of the validity of the               (ii) The owner or operator of a new or      date but no later than 60 days after the
calculations. An owner or operator who       reconstructed facility subject to these        effective date of this standard if the
submits approximations of control            emissions standards that has an initial        construction or reconstruction had
efficiencies under paragraph (b)(3) of       startup date after the effective date and      commenced and the initial startup date
this section shall submit the actual         for which an application for approval of       has not occurred before the standard’s
control efficiencies as specified in         construction or reconstruction is              effective date. The notification shall
paragraph (b)(3)(i)(C) of this section.      required under paragraph (d)(3) of this        include all the information required for
   (4) Approval of construction or           section and § 63.5(d)(3) and (4) shall         an application for approval of
reconstruction based on prior                provide the following information in           construction or reconstruction as
jurisdictional authority preconstruction     writing to the Administrator:                  specified in paragraph (d)(3) of this
review. (i) The Administrator may               (A) A notification of intention to          section and § 63.5(d)(3) and (4). For
approve an application for construction      construct a new facility subject to these      facilities subject to these emissions
or reconstruction specified in               emissions standards, reconstruct a             standards, the application for approval
paragraphs (b)(2) and (3) of this section    facility subject to these emissions            of construction or reconstruction may be
and § 63.5(d)(3) and (4) if the owner or     standards, or reconstruct a facility such      used to fulfill the initial notification
operator of a new or reconstructed           that the facility becomes a facility           requirements of § 63.9.
facility who is subject to such              subject to these emissions standards              (2) If an owner or operator of a facility
requirement demonstrates to the              with the application for approval of           subject to these emissions standards
Administrator’s satisfaction that the        construction or reconstruction as              submits estimates or preliminary
following conditions have been (or will      specified in paragraph (d)(3)(i)(A) of this    information in the application for
be) met:                                     section;                                       approval of construction or
   (A) The owner or operator of the new         (B) A notification of the date when         reconstruction required in paragraph
or reconstructed facility subject to these   construction or reconstruction was             (d)(3)(ii) of this section and § 63.5(d)(3),
emissions standards has undergone a          commenced, submitted simultaneously            respectively, in place of the actual
preconstruction review and approval          with the application for approval of           emissions data or control efficiencies
process in the jurisdictional authority in   construction or reconstruction, if             required in paragraphs (d)(3)(i)(B)(8)
which the facility is (or would be)          construction or reconstruction was             and (b)(3)(ii) of this section, the owner
located before the effective date and has    commenced before the effective date of         or operator shall submit the actual
received a federally enforceable             these standards;                               emissions data and other correct
construction permit that contains a             (C) A notification of the date when         information as soon as available but no
finding that the facility will meet these    construction or reconstruction was             later than with the initial notification of
emissions standards as proposed, if the      commenced, delivered or postmarked             compliance status.
facility is properly built and operated;     no later than 30 days after such date, if         (3) If you own or operate an affected
   (B) In making its finding, the            construction or reconstruction was             source subject to an emissions standard
jurisdictional authority has considered      commenced after the effective date of          in § 63.362, you must also include the
factors substantially equivalent to those    these standards;                               amount of EtO used at the facility
specified in § 63.5(e)(1).                      (D) A notification of the anticipated       during the previous consecutive 12-
   (ii) The owner or operator shall          date of startup of the facility, delivered     month period in the initial notification
submit to the Administrator the request      or postmarked not more than 60 days            report required by § 63.9(b)(2) and (3).
for approval of construction or              nor less than 30 days before such date;        For new sterilization facilities subject to
reconstruction no later than the             and                                            this subpart, the amount of EtO used at
application deadline specified in               (E) A notification of the actual date of    the facility shall be an estimate of
paragraph (b)(3)(i) of this section. The     initial startup of the facility, delivered     expected use during the first
owner or operator shall include in the       or postmarked within 15 calendar days          consecutive 12-month period of
request information sufficient for the       after that date.                               operation.
Administrator’s determination. The              (iii) After the effective date, whether        (4) Beginning October 7, 2024, you
Administrator will evaluate the owner        or not an approved permit program is           must submit all subsequent Notification
or operator’s request in accordance with     effective in the jurisdictional authority      of Compliance Status reports in PDF
the procedures specified in § 63.5. The      in which a facility subject to these           formatto the EPA following the
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procedure specified in § 63.9(k), except       confidential treatment, and the EPA is         emissions data is not entitled to
any medium submitted through mail              required to make emissions data                confidential treatment, and the EPA is
must be sent to the attention of the           available to the public. Thus, emissions       required to make emissions data
Commercial Sterilization Sector Lead.          data will not be protected as CBI and          available to the public. Thus, emissions
   (f) Performance test submission.            will be made publicly available.               data will not be protected as CBI and
Beginning on June 4, 2024, within 60              (g) Performance evaluation                  will be made publicly available.
days after the date of completing each         submission. Beginning on June 4, 2024,            (h) Extensions for CDX/CEDRI
performance test required by this              within 60 days after the date of               outages. If you are required to
subpart, you must submit the results of        completing each CEMS performance               electronically submit a report through
the performance test following the             evaluation (as defined in § 63.2), you         CEDRI in the EPA’s CDX, you may
procedures specified in paragraphs (f)(1)      must submit the results of the                 assert a claim of EPA system outage for
through (3) of this section.                   performance evaluation following the           failure to timely comply with that
   (1) Data collected using test methods       procedures specified in paragraphs             reporting requirement. To assert a claim
supported by the EPA’s Electronic              (g)(1) through (3) of this section.            of EPA system outage, you must meet
Reporting Tool (ERT) as listed on the             (1) Performance evaluations of CEMS         the requirements outlined in paragraphs
EPA’s ERT website (https://                    measuring relative accuracy test audit         (h)(1) through (7) of this section.
www.epa.gov/electronic-reporting-air-          (RATA) pollutants that are supported by           (1) You must have been or will be
emissions/electronic-reporting-tool-ert)       the EPA’s ERT as listed on the EPA’s           precluded from accessing CEDRI and
at the time of the test. Submit the results    ERT website at the time of the                 submitting a required report within the
of the performance test to the EPA via         evaluation. Submit the results of the          time prescribed due to an outage of
the CEDRI, which can be accessed               performance evaluation to the EPA via          either the EPA’s CEDRI or CDX systems.
through the EPA’s CDX (https://                CEDRI, which can be accessed through              (2) The outage must have occurred
cdx.epa.gov/). The data must be                the EPA’s CDX. The data must be                within the period of time beginning five
submitted in a file format generated           submitted in a file format generated           business days prior to the date that the
using the EPA’s ERT. Alternatively, you        using the EPA’s ERT. Alternatively, you        submission is due.
may submit an electronic file consistent       may submit an electronic file consistent
                                                                                                 (3) The outage may be planned or
with the XML schema listed on the              with the XML schema listed on the
                                                                                              unplanned.
EPA’s ERT website.                             EPA’s ERT website.
   (2) Data collected using test methods          (2) Performance evaluations of CEMS            (4) You must submit notification to
that are not supported by the EPA’s ERT        measuring RATA pollutants that are not         the Administrator in writing as soon as
as listed on the EPA’s ERT website at          supported by the EPA’s ERT as listed on        possible following the date you first
the time of the test. The results of the       the EPA’s ERT website at the time of the       knew, or through due diligence should
performance test must be included as an        evaluation. The results of the                 have known, that the event may cause
attachment in the ERT or an alternate          performance evaluation must be                 or has caused a delay in reporting.
electronic file consistent with the XML        included as an attachment in the ERT or           (5) You must provide to the
schema listed on the EPA’s ERT                 an alternate electronic file consistent        Administrator a written description
website. Submit the ERT generated              with the XML schema listed on the              identifying:
package or alternative file to the EPA via     EPA’s ERT website. Submit the ERT                 (i) The date(s) and time(s) when CDX
CEDRI.                                         generated package or alternative file to       or CEDRI was accessed and the system
   (3) CBI. Do not use CEDRI to submit         the EPA via CEDRI.                             was unavailable;
information you claim as CBI. Anything            (3) CBI. Do not use CEDRI to submit            (ii) A rationale for attributing the
submitted using CEDRI cannot later be          information you claim as CBI. Anything         delay in reporting beyond the regulatory
claimed CBI. Although we do not expect         submitted using CEDRI cannot later be          deadline to EPA system outage;
persons to assert a claim of CBI, if you       claimed CBI. Although we do not expect            (iii) A description of measures taken
wish to assert a CBI claim for some of         persons to assert a claim of CBI, if you       or to be taken to minimize the delay in
the information submitted under                wish to assert a CBI claim for some of         reporting; and
paragraph (f)(1)(i) or (ii) of this section,   the information submitted under                   (iv) The date by which you propose to
you must submit a complete file,               paragraph (g)(1)(i) or (ii) of this section,   report, or if you have already met the
including information claimed to be            you must submit a complete file,               reporting requirement at the time of the
CBI, to the EPA. The file must be              including information claimed to be            notification, the date you reported.
generated using the EPA’s ERT or an            CBI, to the EPA. The CBI file must be             (6) The decision to accept the claim
alternate electronic file consistent with      generated using the EPA’s ERT or an            of EPA system outage and allow an
the XML schema listed on the EPA’s             alternate electronic file consistent with      extension to the reporting deadline is
ERT website. Submit the file on a              the XML schema listed on the EPA’s             solely within the discretion of the
compact disc, flash drive, or other            ERT website. Submit the CBI file on a          Administrator.
commonly used electronic storage               compact disc, flash drive, or other               (7) In any circumstance, the report
medium and clearly mark the medium             commonly used electronic storage               must be submitted electronically as
as CBI. Mail the electronic medium to          medium and clearly mark the medium             soon as possible after the outage is
U.S. EPA/OAQPS/CORE CBI Office,                as CBI. Mail the electronic medium to          resolved.
Attention: Group Leader, Measurement           U.S. EPA/OAQPS/CORE CBI Office,                   (i) Extensions for force majeure
Policy Group, MD C404–02, 4930 Old             Attention: Group Leader, Measurement           events. If you are required to
Page Rd., Durham, NC 27703. The same           Policy Group, MD C404–02, 4930 Old             electronically submit a report through
file with the CBI omitted must be              Page Rd., Durham, NC 27703. The same           CEDRI in the EPA’s CDX, you may
submitted to the EPA via the EPA’s CDX         file with the CBI omitted must be              assert a claim of force majeure for
as described in paragraphs (f)(1)(i) and       submitted to the EPA via the EPA’s CDX         failure to timely comply with that
(ii) of this section. All CBI claims must      as described in paragraphs (g)(1)(i) and       reporting requirement. To assert a claim
be asserted at the time of submission.         (ii) of this section. All CBI claims must      of force majeure, you must meet the
Furthermore, under CAA section 114(c),         be asserted at the time of submission.         requirements outlined in paragraphs
emissions data is not entitled to              Furthermore, under CAA section 114(c),         (i)(1) through (5) of this section.
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   (1) You may submit a claim if a force                             according to the applicability in table 6                         § 63.362(k) and any corrective actions
majeure event is about to occur, occurs,                             to this subpart, and in this section. All                         taken to return the affected unit to its
or has occurred or there are lingering                               records required to be maintained by                              normal or usual manner of operation.
effects from such an event within the                                this subpart or a subpart referenced by
period of time beginning five business                               this subpart shall be maintained in such                          § 63.368    Implementation and enforcement.
days prior to the date the submission is                             a manner that they can be readily                                    (a) This subpart can be implemented
due. For the purposes of this section, a                             accessed and are suitable for inspection.                         and enforced by the U.S. EPA or a
force majeure event is defined as an                                    (b) You must maintain the previous                             delegated authority such as the
event that will be or has been caused by                             five years of records specified in                                applicable State, local, or Tribal agency.
circumstances beyond the control of the                              § 63.366(b) and (c), as applicable.                               If the U.S. EPA Administrator has
affected facility, its contractors, or any                              (c) You must maintain the previous                             delegated authority to a State, local, or
entity controlled by the affected facility                           five years of records for compliance                              Tribal agency, then that agency, in
that prevents you from complying with                                tests and associated data analysis, as                            addition to the U.S. EPA, has the
the requirement to submit a report                                   applicable.                                                       authority to implement and enforce this
electronically within the time period                                   (d) Any records required to be                                 subpart. Contact the applicable U.S.
prescribed. Examples of such events are                              maintained by this subpart that are                               EPA Regional Office to find out whether
acts of nature (e.g., hurricanes,                                    submitted electronically via the EPA’s                            implementation and enforcement of this
earthquakes, or floods), acts of war or                              CEDRI may be maintained in electronic                             subpart are delegated to a State, local, or
terrorism, or equipment failure or safety                            format. This ability to maintain                                  Tribal agency.
hazard beyond the control of the                                     electronic copies does not affect the                                (b) In delegating implementation and
affected facility (e.g., large scale power                           requirement for facilities to make                                enforcement authority of this subpart to
outage).                                                             records, data, and reports available                              a State, local, or Tribal agency under
   (2) You must submit notification to                               upon request to a delegated air agency                            subpart E of this part, the authorities
the Administrator in writing as soon as                              or the EPA as part of an on-site                                  contained in paragraph (c) of this
possible following the date you first                                compliance evaluation.                                            section are retained by the
knew, or through due diligence should                                   (e) If you are using an EtO CEMS to                            Administrator of U.S. EPA and cannot
have known, that the event may cause                                 demonstrate continuous compliance,                                be transferred to the State, local, or
or has caused a delay in reporting.                                  you must maintain the previous five                               Tribal agency.
   (3) You must provide to the                                       years of records for all required
Administrator:                                                                                                                            (c) The authorities that cannot be
                                                                     certification and QA tests.                                       delegated to State, local, or Tribal
   (i) A written description of the force                               (f) For each deviation from an
majeure event;                                                                                                                         agencies are as specified in paragraphs
                                                                     emission limit, operating limit, or best                          (c)(1) through (5) of this section.
   (ii) A rationale for attributing the                              management practice, you must keep a
delay in reporting beyond the regulatory                                                                                                  (1) Approval of alternatives to the
                                                                     record of the information specified in                            requirements in §§ 63.360 and 63.362.
deadline to the force majeure event;                                 paragraph (g)(1) through (4) of this
   (iii) A description of measures taken                                                                                                  (2) Approval of major alternatives to
                                                                     section. The records shall be maintained
or to be taken to minimize the delay in                                                                                                test methods under § 63.7(e)(2)(ii) and
                                                                     as specified in § 63.10(b)(1).
reporting; and                                                                                                                         (f), as defined in § 63.90, and as required
   (iv) The date by which you propose to                                (1) The occurrence and duration of
                                                                     each startup, shutdown, or malfunction                            in this subpart.
report, or if you have already met the                                                                                                    (3) Approval of major alternatives to
reporting requirement at the time of the                             of process, air pollution control, and
                                                                     monitoring equipment.                                             monitoring under § 63.8(f), as defined in
notification, the date you reported.                                                                                                   § 63.90, and as required in this subpart.
   (4) The decision to accept the claim                                 (2) In the event that an affected unit
                                                                     does not meet an applicable standard,                                (4) Approval of major alternatives to
of force majeure and allow an extension
                                                                     record the number of deviations. For                              recordkeeping and reporting under
to the reporting deadline is solely
                                                                     each deviation, record the date, time,                            § 63.10(f), as defined in § 63.90, and as
within the discretion of the
                                                                     cause, and duration of each deviation.                            required in this subpart.
Administrator.
   (5) In any circumstance, the reporting                               (3) For each failure to meet an                                   (5) Approval of an alternative to any
must occur as soon as possible after the                             applicable standard, record and retain a                          electronic reporting to the EPA required
force majeure event occurs.                                          list of the affected sources or equipment,                        by this subpart.
                                                                     an estimate of the quantity of each
§ 63.367      Recordkeeping requirements.
                                                                                                                                       Table 1 to Subpart O of Part 63—
                                                                     regulated pollutant emitted over any
                                                                                                                                       Standards for SCVs
  (a) If you own or operate an affected                              emission limit and a description of the
source subject to § 63.362, you must                                 method used to estimate the emissions.                              As required in § 63.362(c), for each
comply with the recordkeeping                                           (4) Record actions taken to minimize                           SCV, you must meet the applicable
requirements in § 63.10(a) through (c),                              emissions in accordance with                                      standard in the following table:
                                                                                                                                                                    You must comply with
For each . . .                   For which . . .                                                                  You must . . .                                    the standard . . .

1. Existing SCV ..............   a. Facility EtO use is at least 10 tpy .......................................   i. Continuously reduce EtO emissions by 99 per-   Until April 6, 2026.
                                                                                                                      cent 1.
                                 b. Facility EtO use is at least 1 tpy but less than 10 tpy ........              i. Continuously reduce EtO emissions by 99 per-   Until April 6, 2026.
                                                                                                                      cent 1.
                                                                                                                  ii. Continuously reduce EtO emissions by 99.8     No later than April 6,
                                                                                                                      percent 2 3.                                    2026.
                                 c. Facility EtO use is at least 30 tpy .......................................   i. Continuously reduce EtO emissions by 99.99     No later than April 6,
                                                                                                                      percent 2 3.                                    2026.
                                 d. Facility EtO use is at least 10 tpy but less than 30 tpy ......               i. Continuously reduce EtO emissions by 99.9      No later than April 6,
                                                                                                                      percent 2 3.                                    2026.
                                 e. Facility EtO use is less than 1 tpy ......................................    i. Continuously reduce EtO emissions by 99 per-   No later than April 5,
                                                                                                                      cent 2 4.                                       2027.
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                                                                                                                                                                             You must comply with
For each . . .                   For which . . .                                                                           You must . . .                                    the standard . . .

2. New SCV ...................   a. Initial startup is on or before April 5, 2024, and facility EtO                        i. Continuously reduce EtO emissions by 99.99     No later than April 5,
                                    use is at least 30 tpy.                                                                   percent 2 5.                                     2024.
                                 b. Initial startup is on or before April 5, 2024, and facility EtO                        i. Continuously reduce EtO emissions by 99.9      No later than April 5,
                                    use is at least 10 tpy but less than 30 tpy.                                              percent 2 5.                                     2024.
                                 c. Initial startup is on or before April 5, 2024, and facility EtO                        i. Continuously reduce EtO emissions by 99.8      No later than April 5,
                                    use is at least 1 tpy but less than 10 tpy.                                               percent 2 5.                                     2024.
                                 d. Initial startup is on or before April 5, 2024, and facility EtO                        i. Continuously reduce EtO emissions by 99 per-   No later than April 5,
                                    use is less than 1 tpy.                                                                   cent 2 6.                                        2024.
                                 e. Initial startup is after April 5, 2024, and facility EtO use is                        i. Continuously reduce EtO emissions by 99.99     Upon startup of the
                                    at least 30 tpy.                                                                          percent 2 5.                                     source.
                                 f. Initial startup is after April 5, 2024, and facility EtO use is                        i. Continuously reduce EtO emissions by 99.9      Upon startup of the
                                    at least 10 tpy but less than 30 tpy.                                                     percent 2 5.                                     source.
                                 g. Initial startup is after April 5, 2024, and facility EtO use is                        i. Continuously reduce EtO emissions by 99.8      Upon startup of the
                                    at least 1 tpy but less than 10 tpy.                                                      percent 2 5.                                     source.
                                 h. Initial startup is after April 5, 2024, and facility EtO use is                        i. Continuously reduce EtO emissions by 99 per-   Upon startup of the
                                    less than 1 tpy.                                                                          cent 2 6.                                        source.
  1 The standard applies if the facility has met or exceeded the specified EtO use within any consecutive 12-month period after December 6, 1996.
  2 If using EtO CEMS to determine compliance, this standard is based on the previous 30 operating days of data.
  3 The standard applies if the facility has met or exceeded the specified EtO use within any consecutive 12-month period after April 7, 2025.
  4 The standard applies if the facility has used less than 1 tpy of EtO within all consecutive 12-month periods after April 6, 2026.
  5 The standard applies if the facility is expected to meet or exceed the specified EtO use within one year after startup. Afterwards, the standard applies if the facility
has met or exceeded the specified EtO use within any consecutive 12-month period after startup.
  6 The standard applies if the facility is not expected to meet or exceed 1 tpy of EtO use within one year after startup. Afterwards, the standard applies if the facility
has used less than 1 tpy of EtO within all consecutive 12-month periods after startup.


Table 2 to Subpart O of Part 63—
Standards for ARVs
  As required in § 63.362(d), for each
ARV, you must meet the applicable
standard in the following table:
                                                                                                                                                                             You must comply with
For each . . .                   For which . . .                                                                           You must . . .                                    the standard . . .

1. Existing ARV ..............   a. Facility EtO use is at least 10 tpy .......................................            i. Continuously reduce EtO emissions by 99 per-   Until April 6, 2026.
                                                                                                                              cent 1.
                                 b. Facility EtO use is at least 30 tpy .......................................            i. Continuously reduce EtO emissions by 99.9      No later than April 6,
                                                                                                                              percent 2 3.                                     2026.
                                 c. Facility EtO use is at least 10 tpy but less than 30 tpy ......                        i. Continuously reduce EtO emissions by 99.6      No later than April 6,
                                                                                                                              percent 2 3.                                     2026.
                                 d. Facility EtO use is less than 10 tpy ....................................              i. Continuously reduce EtO emissions by 99 per-   No later than April 5,
                                                                                                                              cent 2 4.                                        2027.
2. New ARV ...................   a. Initial startup is on or before April 5, 2024, and facility EtO                        i. Continuously reduce EtO emissions by 99.9      No later than April 5,
                                    use is at least 10 tpy.                                                                   percent 2 5.                                     2024.
                                 b. Initial startup is on or before April 5, 2024, and facility EtO                        i. Continuously reduce EtO emissions by 99 per-   No later than April 5,
                                    use is less than 10 tpy.                                                                  cent 2 6.                                        2024.
                                 c. Initial startup is after April 5, 2024, and facility EtO use is                        i. Continuously reduce EtO emissions by 99.9      Upon startup of the
                                    at least 10 tpy.                                                                          percent 2 5.                                     source.
                                 d. Initial startup is after April 5, 2024, and facility EtO use is                        i. Continuously reduce EtO emissions by 99 per-   Upon startup of the
                                    less than 10 tpy.                                                                         cent 2 6.                                        source.
  1 The standard applies if the facility has met or exceeded the specified EtO use within any consecutive 12-month period after December 6, 1996.
  2 If using CEMS to determine compliance, this standard is based on a rolling 30-operating day average.
  3 The standard applies if the facility has met or exceeded the specified EtO use within any consecutive 12-month period after April 7, 2025.
  4 The standard applies if the facility has used less than 10 tpy of EtO within all consecutive 12-month periods after April 6, 2026.
  5 The standard applies if the facility is expected to meet or exceed the specified EtO use within one year after startup. Afterwards, the standard applies if the facility
has met or exceeded the specified EtO use within any consecutive 12-month period after startup.
  6 The standard applies if the facility is not expected to meet or exceed 10 tpy of EtO use within one year after startup. Afterwards, the standard applies if the facility
has used less than 10 tpy of EtO within all consecutive 12-month periods after startup.


Table 3 to Subpart O of Part 63—
Standards for CEVs
  As required in § 63.362(e), for each
CEV, you must meet the applicable
standard in the following table:
                                                                                                                                                                             You must comply with
For each . . .                   For which . . .                                                                           You must . . .                                    the standard . . .

1. Existing CEV at a             a. Not applicable .....................................................................   i. Continuously reduce EtO emissions by 99.94     No later than April 5,
  major source facility.                                                                                                      percent 1.                                       2027.
2. Existing CEV at an            a. Facility EtO use is at least 60 tpy .......................................            i. Continuously reduce EtO emissions by 99.9      No later than April 6,
  area source facility.                                                                                                       percent 1 2.                                     2026.
                                 b. Facility EtO use is less than 60 tpy ....................................              i. Continuously reduce EtO emissions by 99 per-   No later than April 5,
                                                                                                                              cent 1 3.                                        2027.
3. New CEV at a major            a. Initial startup is on or before April 5, 2024 .........................                i. Continuously reduce EtO emissions by 99.94     No later than April 5,
  source facility.                                                                                                            percent 1.                                       2024.
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                                                                                                                                                                 You must comply with
For each . . .              For which . . .                                                                    You must . . .                                    the standard . . .

                            b. Initial startup is after April 5, 2024 ......................................   i. Continuously reduce EtO emissions by 99.94     Upon startup of the
                                                                                                                  percent 1.                                       source.
4. New CEV at an area       a. Initial startup is on or before April 5, 2024, and facility EtO                 i. Continuously reduce EtO emissions by 99.9      No later than April 5,
  source facility.             use is at least 60 tpy.                                                            percent 1 4.                                     2024.
                            b. Initial startup is on or before April 5, 2024, facility EtO use                 i. Continuously reduce EtO emissions by 99 per-   No later than April 5,
                               is less than 60 tpy.                                                               cent 1 5.                                        2024.
                            c. Initial startup is after April 5, 2024, and facility EtO use is                 i. Continuously reduce EtO emissions by 99.9      Upon startup of the
                               at least 60 tpy.                                                                   percent 1 4.                                     source.
                            d. Initial startup is after April 5, 2024, facility EtO use is less                i. Continuously reduce EtO emissions by 99 per-   Upon startup of the
                               than 60 tpy.                                                                       cent 1 5.                                        source.
  1 If using CEMS to determine compliance, this standard is based on a rolling 30-operating day average.
  2 The standard applies if the facility has met or exceeded the specified EtO use within any consecutive 12-month period after April 7, 2025.
  3 The standard applies if the facility has used less than 60 tpy of EtO within all consecutive 12-month periods after April 6, 2026.
  4 The standard applies if the facility is expected to meet or exceed the specified EtO use within one year after startup. Afterwards, the standard applies if the facility
has met or exceeded the specified EtO use within any consecutive 12-month period after startup.
  5 The standard applies if the facility is not expected to meet or exceed 60 tpy of EtO use within one year after startup. Afterwards, the standard applies if the facility
has used less than 60 tpy of EtO within all consecutive 12-month periods after startup.


Table 4 to Subpart O of Part 63—                                 emissions at each facility, you must
Standards for Group 1 Room Air                                   meet the applicable standard in the
Emissions                                                        following table:
  As required in § 63.362(f), for your
collection of Group 1 room air
                                                                                                                                                                       You must comply
For each . . .                                                         For which . . .                   You must . . .                                                with the require-
                                                                                                                                                                       ment(s) . . .

1. Existing collection of Group 1 room air emissions at a              a. Not applicable .........       i. Operate all areas of the facility that contain Group 1     No later than April
  major source facility.                                                                                     room air emissions with PTE, with all exhaust gas           5, 2027.
                                                                                                             streams being captured and routed to a control system.
                                                                                                             Also,
                                                                                                         ii. Continuously reduce EtO emissions by 97 percent 1 .....
2. Existing collection of Group 1 room air emissions at an             a. Facility EtO use is            i. Operate all areas of the facility that contain Group 1     No later than April
  area source facility.                                                  at least 40 tpy.                    room air emissions with PTE, with all exhaust gas           6, 2026.
                                                                                                             streams being captured and routed to a control sys-
                                                                                                             tem.2 Also,
                                                                                                         ii. Continuously reduce EtO emissions by 98 percent 1 2 ...
                                                                       b. Facility EtO use is            i. Operate all areas of the facility that contain Group 1     No later than April
                                                                         less than 40 tpy.                   room air emissions with PTE, with all exhaust gas           5, 2027.
                                                                                                             streams being captured and routed to a control system.
                                                                                                             Also,
                                                                                                         ii. Continuously reduce EtO emissions by 80 percent 1 3 ...
3. New collection of Group 1 room air emissions at a                   a. Initial startup is on          i. Operate all areas of the facility that contain Group 1     No later than April
  major source facility.                                                 or before April 5,                  room air emissions with PTE, with all exhaust gas           5, 2024.
                                                                         2024.                               streams being captured and routed to a control system.
                                                                                                             Also,
                                                                                                         ii. Continuously reduce EtO emissions by 97 percent 1 .....
                                                                       b. Initial startup is after       i. Operate all areas of the facility that contain Group 1     Upon startup of the
                                                                         April 5, 2024.                      room air emissions with PTE, with all exhaust gas           source.
                                                                                                             streams being captured and routed to a control system.
                                                                                                             Also,
                                                                                                         ii. Continuously reduce EtO emissions by 97 percent 1 .....
4. New collection of Group 1 room air emissions at an                  a. Initial startup is on          i. Operate all areas of the facility that contain Group 1     No later than April
  area source facility.                                                   or before April 5,                 room air emissions with PTE, with all exhaust gas           5, 2024.
                                                                          2024, and facility                 streams being captured and routed to a control sys-
                                                                          EtO use is at least                tem.4 Also,
                                                                          40 tpy.                        ii. Continuously reduce EtO emissions by 98 percent 1 4 ...
                                                                       b. Initial startup is on          i. Operate all areas of the facility that contain Group 1     No later than April
                                                                          or before April 5,                 room air emissions with PTE, with all exhaust gas           5, 2024.
                                                                          2024, and facility                 streams being captured and routed to a control sys-
                                                                          EtO use is less than               tem.5 Also,
                                                                          40 tpy.                        ii. Continuously reduce EtO emissions by 80 percent 1 5 ...
                                                                       c. Initial startup is after       i. Operate all areas of the facility that contain Group 1     Upon startup of the
                                                                          April 5, 2024, and                 room air emissions with PTE, with all exhaust gas           source.
                                                                          facility EtO use is at             streams being captured and routed to a control sys-
                                                                          least 40 tpy.                      tem.4 Also,
                                                                                                         ii. Continuously reduce EtO emissions by 98 percent 1 4 ...
                                                                       d. Initial startup is after       i. Operate all areas of the facility that contain Group 1     Upon startup of the
                                                                         April 5, 2024, and                  room air emissions with PTE, with all exhaust gas           source.
                                                                         facility EtO use is                 streams being captured and routed to a control sys-
                                                                         less than 40 tpy.                   tem.5 Also,
                                                                                                         ii. Continuously reduce EtO emissions by 80 percent 1 5 ...
  1 If using CEMS to determine compliance, this standard is based on a rolling 30-operating day average.
  2 The standard applies if the facility has met or exceeded the specified EtO use within any consecutive 12-month period after April 7, 2025.
  3 The standard applies if the facility has used less than 40 tpy of EtO within all consecutive 12-month periods after April 6, 2026.
  4 The standard applies if the facility is expected to meet or exceed the specified EtO use within one year after startup. Afterwards, the standard applies if the facility
has met or exceeded the specified EtO use within any consecutive 12-month period after startup.
  5 The standard applies if the facility is not expected to meet or exceed 40 tpy of EtO use within one year after startup. Afterwards, the standard applies if the facility
has used less than 40 tpy of EtO within all consecutive 12-month periods after startup.
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Table 5 to Subpart O of Part 63—                                       emissions, you must meet the applicable
Standards for Group 2 Room Air                                         standard in the following table:
Emissions
  As required in § 63.362(g), for your
collection of Group 2 room air
                                                                                                                                                                  You must comply with
For each . . .                         For which . . .                             You must . . .                                                                 the requirement(s) . . .

1. Existing collection of Group        a. Not applicable ...................       i. Operate all areas of the facility that contain Group 2 room air emissions   No later than April 5,
  2 room air emissions at a                                                            with PTE, with all exhaust gas streams being captured and routed to a        2027.
  major source facility.                                                               control system. Also,
                                                                                   ii. Continuously reduce EtO emissions by 86 percent 1
2. Existing collection of Group        a. Facility EtO use is at least             i. Operate all areas of the facility that contain Group 2 room air emissions   No later than April 6,
  2 room air emissions at an             20 tpy.                                       with PTE, with all exhaust gas streams being captured and routed to a        2026.
  area source facility.                                                                control system.2 Also,.
                                                                                   ii. Continuously reduce EtO emissions by 98 percent 1 2
                                       b. Facility EtO use is at least             i. Operate all areas of the facility that contain Group 2 room air emissions   No later than April 6,
                                         4 tpy but less than 20 tpy.                   with PTE, with all exhaust gas streams being captured and routed to a        2026.
                                                                                       control system.2 Also,
                                                                                   ii. Continuously reduce EtO emissions by 80 percent 1 2
                                       c. Facility EtO use is less                 Lower the EtO concentration within each sterilization chamber to 1 ppm         No later than April 5,
                                          than 4 tpy.                                  before the chamber can be opened 3.                                          2027.
3. New collection of Group 2           a. Initial startup is on or be-             i. Operate all areas of the facility that contain Group 2 room air emissions   No later than April 5,
  room air emissions at a                 fore April 5, 2024.                          with PTE, with all exhaust gas streams being captured and routed to a        2024.
  major source facility.                                                               control system. Also,
                                                                                   ii. Continuously reduce EtO emissions by 86 percent 1
                                       b. Initial startup is after April           i. Operate all areas of the facility that contain Group 2 room air emissions   Upon startup of the
                                         5, 2024.                                      with PTE, with all exhaust gas streams being captured and routed to a        source.
                                                                                       control system. Also,
                                                                                   ii. Continuously reduce EtO emissions by 86 percent 1
4. New collection of Group 2           a. Initial startup is on or be-             i. Operate all areas of the facility that contain Group 2 room air emissions   No later than April 5,
  room air emissions at an                fore April 5, 2024, and fa-                  with PTE, with all exhaust gas streams being captured and routed to a        2024.
  area source facility.                   cility EtO use is at least 20                control system.5 Also,
                                          tpy.                                     ii. Continuously reduce EtO emissions by 98 percent 1 5
                                       b. Initial startup is on or be-             i. Operate all areas of the facility that contain Group 2 room air emissions   No later than April 5,
                                          fore April 5, 2024, and fa-                  with PTE, with all exhaust gas streams being captured and routed to a        2024.
                                          cility EtO use is less than                  control system.6 Also,
                                          20 tpy.                                  ii. Continuously reduce EtO emissions by 80 percent 1 6
                                       c. Initial startup is after April           i. Operate all areas of the facility that contain Group 2 room air emissions   Upon startup of the
                                          5, 2024, and facility EtO                    with PTE, with all exhaust gas streams being captured and routed to a        source.
                                          use is at least 20 tpy.                      control system.5 Also,
                                                                                   ii. Continuously reduce EtO emissions by 98 percent 1 5
                                       d. Initial startup is after April           i. Operate all areas of the facility that contain Group 2 room air emissions   Upon startup of the
                                         5, 2024, and facility EtO                     with PTE, with all exhaust gas streams being captured and routed to a        source.
                                         use is less than 20 tpy.                      control system.6 Also,
                                                                                   ii. Continuously reduce EtO emissions by 80 percent 1 6
  1 This standard is based on a rolling 30-operating day average.
  2 The standard applies if the facility has met or exceeded the specified EtO use within any consecutive 12-month period after April 7, 2025.
  3 The standard applies if the facility has used less than 4 tpy of EtO within all consecutive 12-month periods after April 6, 2026.
  4 The standard applies if the facility is expected to meet or exceed the specified EtO use within one year after startup. Afterwards, the standard applies if the facility
has met or exceeded the specified EtO use within any consecutive 12-month period after startup.
  5 The standard applies if the facility is not expected to meet or exceed 20 tpy of EtO use within one year after startup. Afterwards, the standard applies if the facility
has used less than 20 tpy of EtO within all consecutive 12-month periods after startup.


Table 6 to Subpart O of Part 63—
Applicability of General Provisions to
This Subpart
  As specified in § 63.360, the parts of
the General Provisions that apply to you
are shown in the following table:

                 Citation                                          Subject                                                        Applies to subpart O

§ 63.1(a)(1) ................................   Applicability ...............................         Yes, additional terms defined in § 63.361; when overlap between subparts A
                                                                                                        and O occurs, subpart O takes precedence.
§ 63.1(a)(2)–(3) ..........................     ...................................................   Yes.
§ 63.1(a)(4) ................................   ...................................................   Yes. Subpart O clarifies the applicability of each paragraph in subpart A to
                                                                                                        facilities subject to subpart O.
§ 63.1(a)(5) ................................   [Reserved] ................................           No.
§ 63.1(a)(6)–(8) ..........................     ...................................................   Yes.
§ 63.1(a)(9) ................................   [Reserved].
§ 63.1(a)(10)–(14) ......................       ...................................................   Yes.
§ 63.1(b)(1)–(2) ..........................     ...................................................   Yes.
§ 63.1(b)(3) ................................   ...................................................   No.
§ 63.1(c)(1) ................................   ...................................................   No. Subpart O clarifies the applicability of each paragraph in subpart A to
                                                                                                        facilities subject to subpart O in this table.
§ 63.1(c)(2) ................................   ...................................................   Yes.
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                  Citation                                            Subject                                                         Applies to subpart O

§ 63.1(c)(3) ................................      [Reserved] ................................           No.
§ 63.1(c)(4) ................................      ...................................................   Yes.
§ 63.1(c)(5) ................................      ...................................................   No. § 63.360 specifies applicability.
§ 63.1(c)(6) ................................      ...................................................   Yes.
§ 63.1(d) .....................................    [Reserved] ................................           No.
§ 63.1(e) .....................................    ...................................................   Yes.
§ 63.2 .........................................   Definitions .................................         Yes, additional terms defined in § 63.361; when overlap between subparts A
                                                                                                           and O occurs, subpart O takes precedence.
§ 63.3 .........................................   Units and abbreviations ............                  Yes, other units used in subpart O are defined in the text of subpart O.
§ 63.4(a)(1)–(3) ..........................        Prohibited activities ...................             Yes.
§ 63.5(a) .....................................    Construction/Reconstruction .....                     No. § 63.366(b)(1) contains applicability requirements for constructed or re-
                                                                                                           constructed facilities.
§ 63.5(b)(1) ................................      ...................................................   Yes.
§ 63.5(b)(2) ................................      [Reserved].
§ 63.5(b)(3) ................................      ...................................................   No. See § 63.366(b)(2).
§ 63.5(b)(4)–(6) ..........................        ...................................................   Yes.
§ 63.5(c) .....................................    [Reserved].
§ 63.5(d)(1)–(2) ..........................        ...................................................   No. See § 63.366(b)(3).
§ 63.5(d)(3)–(4) ..........................        ...................................................   Yes.
§ 63.5(e) .....................................    ...................................................   Yes.
§ 63.5(f)(1)–(2) ...........................       ...................................................   No. See § 63.366(b)(4).
§ 63.6(a) .....................................    Applicability ...............................         Yes.
§ 63.6(b)–(c) ..............................       ...................................................   No. § 63.360(j) specifies compliance dates for facilities.
§ 63.6(d) .....................................    [Reserved].
§ 63.6(e)(1)(i) .............................      ...................................................   No.
§ 63.6(e)(1)(ii) ............................      Requirement to correct mal-                           No.
                                                      functions ASAP.
§ 63.6(e)(1)(iii) ...........................      ...................................................   Yes.
§ 63.6(e)(2) ................................      [Reserved] ................................           No.
§ 63.6(e)(3) ................................      SSM Plan Requirements ..........                      No.
§ 63.6(f)(1) .................................     SSM exemption ........................                No.
§ 63.6(f)(2)(i) ..............................     Methods for Determining Com-                          Yes.
                                                      pliance.
§ 63.6(f)(2)(ii) .............................     ...................................................   No. § 63.363 specifies parameters for determining compliance.
§ 63.6(f)(2)(iii)–(iv) .....................       ...................................................   Yes.
§ 63.6(f)(2)(v) .............................      ...................................................   No.
§ 63.6(f)(3) .................................     ...................................................   Yes.
§ 63.6(g) .....................................    Alternative Standard .................                Yes.
§ 63.6(h) .....................................    Compliance with opacity and                           No. Subpart O does not contain any opacity or visible emission standards.
                                                      visible emission standards.
§ 63.6(i)(1)–(14), and (16) .........              Compliance Extension ..............                   Yes.
§ 63.6(j) ......................................   Presidential Compliance Ex-                           Yes.
                                                      emption.
§ 63.7(a) .....................................    Applicability and Performance                         Yes.
                                                      Test Dates.
§ 63.7(b) .....................................    Notification of Performance                           Yes.
                                                      Test.
§ 63.7(c) .....................................    Quality Assurance/Test Plan ....                      Yes.
§ 63.7(d) .....................................    Testing Facilities .......................            Yes.
§ 63.7(e)(1) ................................      SSM exemption ........................                No.
§ 63.7(e)(2)–(4) ..........................        Conduct of Performance Tests                          Yes. § 63.365 also contains test methods specific to facilities subject to the
                                                                                                           emissions standards.
§ 63.7(f) ......................................   Alternative Test Method ...........                   Yes.
§ 63.7(g) .....................................    Performance Test Data Anal-                           Yes, except this subpart specifies how and when the performance test and
                                                      ysis.                                                performance evaluation results are reported.
§ 63.7(h) .....................................    Waiver of Tests ........................              Yes.
§ 63.8(a)(1) ................................      Applicability of Monitoring Re-                       Yes.
                                                      quirements.
§ 63.8(a)(2) ................................      Performance Specifications ......                     Yes.
§ 63.8(a)(3) ................................      [Reserved] ................................           No.
§ 63.8(a)(4) ................................      Monitoring with Flares ..............                 Yes.
§ 63.8(b)(1) ................................      Monitoring .................................          Yes.
§ 63.8(b)(2)–(3) ..........................        Multiple Effluents and Multiple                       Yes.
                                                      Monitoring Systems.
§ 63.8(c)(1)(i) .............................      General duty to minimize emis-                        No.
                                                      sions and CMS operation.
§ 63.8(c)(1)(ii) ............................      ...................................................   No. A startup, shutdown, and malfunction plan is not required for these
                                                                                                           standards.
§ 63.8(c)(1)(iii) ............................     Requirement to develop SSM                            No.
                                                      Plan for CMS.
§ 63.8(c)(2)–(3) ..........................        ...................................................   Yes.
§ 63.8(c)(4)–(5) ..........................        ...................................................   No. Frequency of monitoring measurements is provided in § 63.364; opacity
                                                                                                           monitors are not required for these standards.
§ 63.8(c)(6) ................................      ...................................................   No. Performance specifications are contained in § 63.365.
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                  Citation                                            Subject                                                         Applies to subpart O

§ 63.8(c)(7)(i)(A)–(B) ..................          ...................................................   No. Performance specifications are contained in § 63.365.
§ 63.8(c)(7)(i)(C) ........................        ...................................................   No. Opacity monitors are not required for these standards.
§ 63.8(c)(7)(ii) ............................      ...................................................   No. Performance specifications are contained in § 63.365.
§ 63.8(c)(8) ................................      ...................................................   No.
§ 63.8(d)(1)–(2) ..........................        ...................................................   Yes.
§ 63.8(d)(3) ................................      Written procedures for CMS .....                      No.
§ 63.8(e)(1) ................................      CMS Performance Evaluation ..                         Yes, but only applies for CEMS, except this subpart specifies how and
                                                                                                           when the performance evaluation results are reported.
§ 63.8(e)(2) ................................      ...................................................   Yes.
§ 63.8(e)(3) ................................      ...................................................   Yes.
§ 63.8(e)(4) ................................      ...................................................   Yes.
§ 63.8(e)(5)(i) .............................      ...................................................   Yes.
§ 63.8(e)(5)(ii) ............................      ...................................................   No. Opacity monitors are not required for these standards.
§ 63.8(f)(1)–(5) ...........................       ...................................................   Yes.
§ 63.8(f)(6) .................................     ...................................................   No.
§ 63.8(g)(1) ................................      ...................................................   Yes.
§ 63.8(g)(2) ................................      ...................................................   No.
§ 63.8(g)(3)–(5) ..........................        ...................................................   Yes.
§ 63.9(a) .....................................    Notification requirements ..........                  Yes.
§ 63.9(b)(1)–(i) ...........................       ...................................................   Yes.
§ 63.9(b)(1)(ii)–(iii) .....................       Initial Notifications .....................           No. § 63.366(c)(1)(i) contains language for facilities that increase usage
                                                                                                           such that the source becomes subject to the emissions standards.
§ 63.9(b)(2)–(3) ..........................        Initial Notifications .....................           Yes. § 63.366(c)(3) contains additional information to be included in the ini-
                                                                                                           tial report for existing and new facilities.
§ 63.9(b)(4)–(5) ..........................        Initial Notifications .....................           No. § 63.366(c)(1)(ii) and (iii) contains requirements for new or recon-
                                                                                                           structed facilities subject to the emissions standards.
§ 63.9(c) .....................................    Request for Compliance Exten-                         Yes.
                                                     sion.
§ 63.9(d) .....................................    Notification of Special Compli-                       No.
                                                     ance Requirements for New
                                                     Sources.
§ 63.9(e) .....................................    Notification of Performance                           Yes.
                                                     Test.
§ 63.9(f) ......................................   Notification of VE/Opacity Test                       No. Opacity monitors are not required for these standards.
§ 63.9(g)(1) ................................      Additional Notifications When                         Yes.
                                                     Using CMS.
§ 63.9(g)(2)–(3) ..........................        Additional Notifications When                         No. Opacity monitors and relative accuracy testing are not required for
                                                     Using CMS.                                            these standards.
§ 63.9(h)(1)–(3) ..........................        Notification of Compliance Sta-                       Yes, except § 63.9(h)(5) does not apply because § 63.366(c)(2) instructs fa-
                                                     tus.                                                  cilities to submit actual data.
§ 63.9(i) ......................................   Adjustment of Submittal Dead-                         Yes.
                                                     lines.
§ 63.9(j) ......................................   Change in previous information                        Yes.
§ 63.9(k) .....................................    Electronic reporting procedures                       Yes, as specified in § 63.9(j).
§ 63.10(a) ...................................     Recordkeeping/Reporting .........                     Yes.
§ 63.10(b)(1) ..............................       Recordkeeping/Reporting .........                     Yes.
§ 63.10(b)(2)(i) ...........................       Recordkeeping for startup and                         No. See 63.367(f) for recordkeeping requirements.
                                                     shutdown.
§ 63.10(b)(2)(ii) ..........................       Recordkeeping for SSM and                             No. See 63.367(f) for recordkeeping requirements.
                                                     failures to meet standards.
§ 63.10(b)(2)(iii) .........................       Records related to mainte-                            Yes.
                                                     nance of air pollution control
                                                     equipment.
§ 63.10(b)(2)(iv)–(v) ...................          Actions taken to minimize emis-                       No.
                                                     sions during SSM.
§ 63.10(b)(2)(vi) .........................        CMS Records ...........................               Yes.
§ 63.10(b)(2)(vii)–(ix) .................          Records ....................................          Yes.
§ 63.10(b)(2)(x)–(xi) ...................          CMS Records ...........................               Yes.
§ 63.10(b)(2)(xii) ........................        Records ....................................          Yes.
§ 63.10(b)(2)(xiii) ........................       Records ....................................          Yes.
§ 63.10(b)(2)(xiv) .......................         Records ....................................          Yes.
§ 63.10(b)(3) ..............................       Records ....................................          Yes.
§ 63.10(c)(1)–(14) ......................          Records ....................................          Yes.
§ 63.10(c)(15) ............................        Use of SSM Plan ......................                No.
§ 63.10(d)(1) ..............................       General Reporting Require-                            Yes.
                                                     ments.
§ 63.10(d)(2) ..............................       Report of Performance Test                            No. This subpart specifies how and when the performance test results are
                                                     Results.                                              reported.
§ 63.10(d)(3) ..............................       Reporting Opacity or VE Ob-                           No. Subpart O does not contain opacity or visible emissions standards.
                                                     servations.
§ 63.10(d)(4) ..............................       Progress Reports ......................               Yes.
§ 63.10(d)(5) ..............................       SSM Reports ............................              No. See § 63.366 for malfunction reporting requirements.
§ 63.10(e)(1) ..............................       Additional CEMS Reports .........                     Yes.
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                 Citation                                          Subject                                                   Applies to subpart O

§ 63.10(e)(2)(i) ...........................      Additional CMS Reports ...........              Yes, except this subpart specifies how and when the performance evalua-
                                                                                                    tion results are reported.
§ 63.10(e)(2)(ii) ..........................      Additional COMS Reports ........                No. Opacity monitors are not required for these standards.
§ 63.10(e)(3)(i)–(iv) ....................        Reports .....................................   Yes.
§ 63.10(e)(3)(v) ..........................       Excess Emissions Reports .......                No. § 63.366(b) and (c) specify contents and submittal dates for excess
                                                                                                    emissions and monitoring system performance reports.
§ 63.10(e)(3)(vi)–(viii) .................        Excess Emissions Report and                     Yes.
                                                    Summary Report.
§ 63.10(e)(4) ..............................      Reporting COMS data ..............              No. Opacity monitors are not required for these standards.
§ 63.10(f) ....................................   Waiver for Recordkeeping/Re-                    Yes.
                                                    porting.
§ 63.11 .......................................   Control device requirements for                 Yes.
                                                    flares and work practice re-
                                                    quirements for equipment
                                                    leaks.
§ 63.12 .......................................   Delegation .................................    Yes.
§ 63.13 .......................................   Addresses .................................     Yes.
§ 63.14 .......................................   Incorporation by Reference ......               Yes.
§ 63.15 .......................................   Availability of Information .........           Yes.



Appendix A to Subpart O of Part 63—                                   stack location but is not permanently                       2.2.4.3 For the routine, on-going quality-
Monitoring Provisions for EtO CEMS                                    installed at that location. Rather, the system           assurance of a non-redundant backup EtO
                                                                      is kept on ‘‘cold standby’’ and may be                   monitoring system, a relative accuracy test
1. Applicability                                                      reinstalled in the event of a primary                    audit (RATA) must be performed and passed
   These monitoring provisions apply to the                           monitoring system outage. A nonredundant                 at least once every 8 calendar quarters at the
measurement of EtO emissions from                                     backup monitoring system must be                         unit or stack location(s) where the system
commercial sterilization facilities, using                            represented as a unique monitoring system in             will be used.
CEMS. The CEMS must be capable of                                     the electronic monitoring plan. Non-                        2.2.4.4 To use a non-redundant backup
measuring EtO in lb/hr.                                               redundant backup EtO CEMS must complete                  EtO monitoring system or a temporary like-
                                                                      the same certification tests as the primary              kind replacement analyzer for more than 720
2. Monitoring of EtO Emissions                                        monitoring system, with one exception. The               hours per year at a particular unit or stack
   2.1 Monitoring System Installation                                 7-day calibration error test is not required for         location, a RATA must first be performed and
Requirements. Install EtO CEMS and any                                a non-redundant backup EtO CEMS. Except                  passed at that location.
additional monitoring systems needed to                               as otherwise provided in section 2.2.4.4 of                 2.3 Monitoring System Equipment,
convert pollutant concentrations to lb/hr in                          this appendix, a non-redundant backup
                                                                                                                               Supplies, Definitions, and General
accordance with § 63.365 and Performance                              monitoring system may only be used for 720
                                                                                                                               Operation.
Specification 19 (PS 19) of appendix B to part                        hours per year at a particular unit or stack
                                                                                                                                  The following provisions apply:
60 of this chapter.                                                   location.
                                                                         2.2.3 Temporary Like-kind Replacement                    2.3.1 PS 19, Sections 3.0, 6.0, and 11.0 of
   2.2 Primary and Backup Monitoring                                                                                           appendix B to part 60 of this chapter.
Systems. In the electronic monitoring plan                            Analyzers. When a primary EtO analyzer
described in section 10.1.1.2.1 of this                               needs repair or maintenance, you may                     3. Initial Certification Procedures
appendix, you must designate a primary EtO                            temporarily install a like-kind replacement
                                                                      analyzer, to minimize data loss. Except as                  The initial certification procedures for the
CEMS. The primary EtO CEMS must be used                                                                                        EtO CEMS used to provide data under this
                                                                      otherwise provided in section 2.2.4.4 of this
to report hourly EtO concentration values                                                                                      subpart are as follows:
                                                                      appendix, a temporary like-kind replacement
when the system is able to provide quality-                                                                                       3.1 Your EtO CEMS must be certified
                                                                      analyzer may only be used for 720 hours per
assured data, i.e., when the system is ‘‘in                                                                                    according to PS 19, section(s) 13.
                                                                      year at a particular unit or stack location. The
control’’. However, to increase data                                  analyzer must be represented as a component                 3.2 Any additional stack gas flow rate
availability in the event of a primary                                of the primary EtO CEMS and must be                      monitoring system(s) needed to express
monitoring system outage, you may install,                            assigned a 3-character component ID number,              pollutant concentrations in lb/hr must be
operate, maintain, and calibrate backup                               beginning with the prefix ‘‘LK’’.                        certified according to part 75 of this chapter.
monitoring systems, as follows:                                          2.2.4 Quality Assurance Requirements for
   2.2.1 Redundant Backup Systems. A                                                                                           4. Recertification Procedures
                                                                      Non-redundant Backup Monitoring Systems
redundant backup monitoring system is a                               and Temporary Like-kind Replacement                         Whenever the owner or operator makes a
separate EtO CEMS with its own probe,                                 Analyzers. To quality-assure the data from               replacement, modification, or change to a
sample interface, and analyzer. A redundant                           non-redundant backup EtO monitoring                      certified CEMS that may significantly affect
backup system is one that is permanently                              systems and temporary like-kind replacement              the ability of the system to accurately
installed at the unit or stack location and is                        EtO analyzers, the following provisions                  measure or record pollutant gas
kept on ‘‘hot standby’’ in case the primary                           apply:                                                   concentrations or stack gas flow rates, the
monitoring system is unable to provide                                   2.2.4.1 When a certified non-redundant                owner or operator shall recertify the
quality-assured data. A redundant backup                              backup EtO CEMS or a temporary like-kind                 monitoring system. Furthermore, whenever
system must be represented as a unique                                replacement EtO analyzer is brought into                 the owner or operator makes a replacement,
monitoring system in the electronic                                   service, a calibration error test and a linearity        modification, or change to the flue gas
monitoring plan. Each redundant backup                                check must be performed and passed. A                    handling system or the unit operation that
monitoring system must be certified                                   single point system integrity check is also              may significantly change the concentration or
according to the applicable provisions in                             required.                                                flow profile, the owner or operator shall
section 3 of this appendix and must meet the                             2.2.4.2 Each non-redundant backup EtO                 recertify the monitoring system. The same
applicable on-going QA requirements in                                CEMS or temporary like-kind replacement                  tests performed for the initial certification of
section 5 of this appendix.                                           EtO analyzer shall comply with all required              the monitoring system shall be repeated for
   2.2.2 Non-redundant Backup Monitoring                              daily, weekly, and quarterly quality-                    recertification, unless otherwise specified by
Systems. A non-redundant backup                                       assurance test requirements in section 5 of              the Administrator. Examples of changes that
monitoring system is a separate EtO CEMS                              this appendix, for as long as the system or              require recertification include: Replacement
that has been certified at a particular unit or                       analyzer remains in service.                             of a gas analyzer; complete monitoring
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system replacement, and changing the              like-kind replacement analyzers are brought           5.3.3 Conditional Data Validation. For
location or orientation of the sampling probe.    into service, the conditional data validation      recertification and diagnostic testing of the
                                                  provisions in §§ 75.20(b)(3)(ii) through           monitoring systems that are used to provide
5. On-Going Quality Assurance                     (b)(3)(ix) of this chapter may be used to avoid    data under this appendix, the conditional
Requirements                                      or minimize data loss. The allotted window         data validation provisions in § 75.20(b)(3)(ii)
   On-going QA test requirements for EtO          of time to complete calibration tests and          through (ix) of this chapter may be used to
CEMS must be implemented as follows:              RATAs shall be as specified in                     avoid or minimize data loss. The allotted
   5.1 The quality assurance/quality control      § 75.20(b)(3)(iv) of this chapter; the allotted    window of time to complete calibration tests
procedures in Procedure 7 of appendix F to        window of time to complete a gas audit shall       and RATAs shall be as specified in
part 60 of this chapter shall apply.              be the same as for a linearity check (i.e., 168    § 75.20(b)(3)(iv) of this chapter; the allotted
   5.2 Stack gas flow rate, diluent gas, and      unit or stack operating hours).                    window of time to complete a quarterly gas
moisture monitoring systems must meet the            5.3 Data Validation.                            audit or data accuracy assessment shall be
applicable ongoing QA test requirements of           5.3.1 Out-of-Control Periods. An EtO            the same as for a linearity check (i.e., 168
part 75 of this chapter.                          CEMS that is used to provide data under this       unit or stack operating hours).
   5.2.1 Out-of-Control Periods. A EtO            appendix is considered to be out-of-control,
CEMS that is used to provide data under this      and data from the CEMS may not be reported         6. Missing Data Requirements
appendix is considered to be out-of-control,      as quality-assured, when any acceptance               For the purposes of this appendix, the
and data from the CEMS may not be reported        criteria for a required QA test is not met. The    owner or operator of an affected unit shall
as quality-assured, when any acceptance           EtO CEMS is also considered to be out-of-          not substitute for missing data from EtO
criteria for a required QA test is not met. The   control when a required QA test is not             CEMS. Any process operating hour for which
EtO CEMS is also considered to be out-of-         performed on schedule or within an allotted        quality-assured EtO concentration data are
control when a required QA test is not            grace period. To end an out-of-control period,     not obtained is counted as an hour of
performed on schedule or within an allotted       the QA test that was either failed or not done
                                                                                                     monitoring system downtime.
grace period. To end an out-of-control period,    on time must be performed and passed. Out-
the QA test that was either failed or not done    of-control periods are counted as hours of         7. Bias Adjustment
on time must be performed and passed. Out-        monitoring system downtime.                           Bias adjustment of hourly emissions data
of-control periods are counted as hours of           5.3.2 Grace Periods. For the purposes of        from an EtO CEMS is not required.
monitoring system downtime.                       this appendix, a ‘‘grace period’’ is defined as
   5.2.2 Grace Periods. For the purposes of       a specified number of unit or stack operating      8. QA/QC Program Requirements
this appendix, a ‘‘grace period’’ is defined as   hours after the deadline for a required               The owner or operator shall develop and
a specified number of unit or stack operating     quality-assurance test of a continuous             implement a quality assurance/quality
                                                  monitor has passed, in which the test may be       control (QA/QC) program for the EtO CEMS
hours after the deadline for a required
                                                  performed and passed without loss of data.
quality-assurance test of a continuous                                                               that are used to provide data under this
                                                     5.3.2.1 For the monitoring systems
monitor has passed, in which the test may be                                                         subpart. At a minimum, the program shall
                                                  described in section 5.1 of this appendix, a
performed and passed without loss of data.                                                           include a written plan that describes in detail
                                                  168 unit or stack operating hour grace period
   5.2.2.1 For the flow rate monitoring                                                              (or that refers to separate documents
                                                  is available for quarterly linearity checks, and
systems described in section 5.1 of this                                                             containing) complete, step-by-step
                                                  a 720 unit or stack operating hour grace
appendix, a 168 unit or stack operating hour      period is available for RATAs, as provided,        procedures and operations for the most
grace period is available for quarterly           respectively, in sections 2.2.4 and 2.3.3 of       important QA/QC activities. Electronic
linearity checks, and a 720 unit or stack         appendix B to part 75 of this chapter.             storage of the QA/QC plan is permissible,
operating hour grace period is available for         5.3.2.2 For the purposes of this appendix,      provided that the information can be made
RATAs, as provided, respectively, in sections     if the deadline for a required gas audit/data      available in hard copy to auditors and
2.2.4 and 2.3.3 of appendix B to part 75 of       accuracy assessment or RATA of an EtO              inspectors. The QA/QC program
this chapter.                                     CEMS cannot be met due to circumstances            requirements for the other monitoring
   5.2.2.2 For the purposes of this appendix,     beyond the control of the owner or operator:       systems described in section 5.2 of this
if the deadline for a required gas audit or          5.3.2.2.1 A 168 unit or stack operating         appendix are specified in section 1 of
RATA of a EtO CEMS cannot be met due to           hour grace period is available in which to         appendix B to part 75 of this chapter.
circumstances beyond the control of the           perform the gas audit or other quarterly data         8.1 General Requirements for EtO CEMS.
owner or operator:                                accuracy assessment; or                               8.1.1 Preventive Maintenance. Keep a
   5.2.2.2.1 A 168 unit or stack operating           5.3.2.2.2 A 720 unit or stack operating         written record of procedures needed to
hour grace period is available in which to        hour grace period is available in which to         maintain the EtO CEMS in proper operating
perform the gas audit; or                         perform the RATA.                                  condition and a schedule for those
   5.2.2.2.2 A 720 unit or stack operating           5.3.2.3 If a required QA test is performed      procedures. This shall, at a minimum,
hour grace period is available in which to        during a grace period, the deadline for the        include procedures specified by the
perform the RATA.                                 next test shall be determined as follows:          manufacturers of the equipment and, if
   5.2.2.3 If a required QA test is performed        5.3.2.3.1 For a gas audit or RATA of the        applicable, additional or alternate procedures
during a grace period, the deadline for the       monitoring systems described in sections 5.1       developed for the equipment.
next test shall be determined as follows:         and 5.2 of this appendix, determine the               8.1.2 Recordkeeping and Reporting. Keep
   5.2.2.3.1 For the gas audit of an EtO          deadline for the next gas audit or RATA (as        a written record describing procedures that
CEMS, the grace period test only satisfies the    applicable) in accordance with section             will be used to implement the recordkeeping
audit requirement for the calendar quarter in     2.2.4(b) or 2.3.3(d) of appendix B to part 75      and reporting requirements of this appendix.
which the test was originally due. If the         of this chapter; treat a gas audit in the same        8.1.3 Maintenance Records. Keep a
calendar quarter in which the grace period        manner as a linearity check.                       record of all testing, maintenance, or repair
audit is performed is a QA operating quarter,        5.3.2.3.2 For the gas audit or other            activities performed on any EtO CEMS in a
an additional gas audit is required for that      quarterly data accuracy assessment of an EtO       location and format suitable for inspection. A
quarter.                                          CEMS, the grace period test only satisfies the     maintenance log may be used for this
   5.2.2.3.2 For the RATA of an EtO CEMS,         audit requirement for the calendar quarter in      purpose. The following records should be
the next RATA is due within three QA              which the test was originally due. If the          maintained: Date, time, and description of
operating quarters after the calendar quarter     calendar quarter in which the grace period         any testing, adjustment, repair, replacement,
in which the grace period test is performed.      audit is performed is a QA operating quarter,      or preventive maintenance action performed
   5.2.3 Conditional Data Validation. For         an additional gas audit/data accuracy              on any monitoring system and records of any
recertification and diagnostic testing of the     assessment is required for that quarter.           corrective actions associated with a monitor
monitoring systems that are used to provide          5.3.2.3.3 For the RATA of an EtO CEMS,          outage period. Additionally, any adjustment
data under this appendix, and for the             the next RATA is due within three QA               that may significantly affect a system’s ability
required QA tests when nonredundant               operating quarters after the calendar quarter      to accurately measure emissions data must be
backup monitoring systems or temporary            in which the grace period test is performed.       recorded and a written explanation of the
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procedures used to make the adjustment(s)          8.2.2 Explain how each component of the         recording) for each successive 15-minute
shall be kept.                                   EtO CEMS will be adjusted to provide correct      period.
  8.2 Specific Requirements for EtO CEMS.        responses to calibration gases after routine         9.2 Reduce the EtO concentration data to
The following requirements are specific to       maintenance, repairs, or corrective actions.      hourly averages in accordance with
EtO CEMS:                                                                                          § 60.13(h)(2) of this chapter.
  8.2.1 Keep a written record of the             9. Data Reduction and Calculations
procedures used for each type of QA test                                                              9.3 Convert each hourly average EtO
                                                   9.1 Design and operate the EtO CEMS to          concentration to an EtO mass emission rate
required for each EtO CEMS. Explain how
the results of each type of QA test are          complete a minimum of one cycle of                (lb/hr) using an equation that has the general
calculated and evaluated.                        operation (sampling, analyzing, and data          form of equation A–1 of this appendix:




Where:                                           Qh = Stack gas volumetric flow rate for the       any affected source exhausting to the
Eho = EtO mass emission rate for the hour, lb/        hour, scfh.                                  emission stream (e.g., if the emission stream
     hr                                            (Note: Use unadjusted flow rate values;         includes contributions from an SCV and ARV
K = Units conversion constant, 1.144E–10 lb/     bias adjustment is not required.)                 subject to 99.99% and 99.9% emission
     scf-ppbv,                                     9.4 Use equation A–2 of this appendix to        reduction standards, respectively, report to
                                                 calculate the daily total EtO emissions.          four significant figures), expressed in
Ch = Hourly average EtO concentration,
                                                 Report each daily total to the same precision     scientific notation.
     ppbv,                                       as the most stringent standard that applies to




Where:                                              9.5 Use equation A–3 of this appendix to       (e.g., if the emission stream includes
  Eday = Total daily EtO emissions, lb.          calculate the 30-operating day rolling total      contributions from an SCV and ARV subject
  Eho = Hourly EtO emission rate for unit or     EtO emissions. Report each 30-operating day       to 99.99% and 99.9% emission reduction
stack sampling hour ‘‘h’’ in the averaging       rolling total to the same precision as the most   standards, respectively, report to four
period, from equation A–1 of this appendix,      stringent standard that applies to any affected   significant figures), expressed in scientific
lb/hr.                                           source exhausting to the emission stream          notation.




Where:                                           systems and shall explain how the data            and component ID numbers; the make,
  E30day = Total EtO emissions during the 30-    derived from these systems ensure that all        model, and serial number of the monitoring
operating day, lb.                               EtO emissions from the unit or stack are          equipment; the sample acquisition method;
  Eday,i = Total daily EtO emissions, in lbs,    monitored and reported.                           formulas used to calculate emissions;
for each operating day i from equation A–2         10.1.1.1 Updates. Whenever the owner or         monitor span and range information (if
of this appendix, lb.                            operator makes a replacement, modification,       applicable).
  i = Operating day index.
                                                 or change in a certified continuous EtO              10.1.1.2.2 Hard Copy. Keep records of the
                                                 monitoring system that is used to provide         following: schematics and/or blueprints
10. Recordkeeping Requirements                   data under this subpart (including a change       showing the location of the monitoring
   10.1 For each EtO CEMS installed at an        in the automated data acquisition and             system(s) and test ports; data flow diagrams;
affected source, and for any other monitoring    handling system or the flue gas handling          test protocols; monitor span and range
system(s) needed to convert pollutant            system) which affects information reported in     calculations (if applicable); miscellaneous
concentrations to units of the applicable        the monitoring plan (e.g., a change to a serial   technical justifications.
emissions limit, the owner or operator must      number for a component of a monitoring               10.1.2 EtO Emissions Records. For EtO
maintain a file of all measurements, data,       system), the owner or operator shall update       CEMS, the owner or operator must record the
reports, and other information required by       the monitoring plan.                              following information for each unit or stack
this appendix in a form suitable for               10.1.1.2 Contents of the Monitoring Plan.       operating hour:
inspection, for 5 years from the date of each    For EtO CEMS, the monitoring plan shall              10.1.2.1 The date and hour;
record, in accordance with § 63.367. The file    contain the applicable electronic and hard           10.1.2.2 Monitoring system and
shall contain the information in paragraphs      copy information in sections 10.1.1.2.1 and       component identification codes, as provided
10.1.1 through 10.1.8 of this section.           10.1.1.2.2 of this appendix. For stack gas flow   in the electronic monitoring plan, for each
   10.1.1 Monitoring Plan Records. For each      rate, diluent gas, and moisture monitoring        hour in which the CEMS provides a quality-
affected source or group of sources monitored    systems, the monitoring plan shall include        assured value of EtO concentration (as
at a common stack, the owner or operator         the electronic and hard copy information          applicable);
shall prepare and maintain a monitoring plan     required for those systems under § 75.53(g) of       10.1.2.3 The pollutant concentration, for
for the EtO CEMS and any other monitoring        this chapter. The electronic monitoring plan      each hour in which a quality-assured value
system(s) (i.e., flow rate, diluent gas, or      shall be evaluated using CEDRI.                   is obtained. Record the data in parts per
moisture systems) needed to convert                10.1.1.2.1 Electronic. Record the unit or       billion by volume (ppbv), with one leading
pollutant concentrations to units of the         stack ID number(s); monitoring location(s);       non-zero digit and one decimal place,
applicable emission standard. The                the EtO monitoring methodology used (i.e.,        expressed in scientific notation. Use the
monitoring plan shall contain essential          CEMS); EtO monitoring system information,         following rounding convention: If the digit
information on the continuous monitoring         including, but not limited to: unique system      immediately following the first decimal place
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is 5 or greater, round the first decimal place    option for the mid-level calibration drift        date and time of each injection, and the
upward (increase it by one); if the digit         check under PS 19, you must also record the       reference gas concentration (zero, mid, or
immediately following the first decimal place     measured concentration of the native EtO in       high) and the monitor response for each
is 4 or less, leave the first decimal place       the flue gas before and after the spike and the   injection. Also record the average monitor
unchanged.                                        spiked gas dilution factor.                       response and the calculated ME at each gas
   10.1.2.4 A special code, indicating               10.1.5.1.2 or each required RATA of an         level.
whether or not a quality-assured EtO              EtO CEMS, record the beginning and ending           10.1.5.1.9 For each quarterly dynamic
concentration value is obtained for the hour.     date and time of each test run, the reference     spiking audit (DSA) of an EtO monitor,
This code may be entered manually when a          method(s) used, and the reference method          record the date and time of the zero gas
temporary like-kind replacement EtO               and EtO CEMS run values. Keep records of          injection and each spike injection, the results
analyzer is used for reporting; and               stratification tests performed (if any), all of   of the zero gas injection, the gas
   10.1.2.5 Monitor data availability, as a       the raw field data, relevant process operating    concentrations (mid and high) and the
percentage of unit or stack operating hours,      data, and all of the calculations used to         dilution factors and the monitor response for
calculated according to § 75.32 of this           determine the relative accuracy.                  each of the six upscale injections as well as
chapter.                                             10.1.5.1.3 For each required measurement       the corresponding native EtO concentrations
   10.1.3 Stack Gas Volumetric Flow Rate          error (ME) test of an EtO monitor, record the     measured before and after each injection.
Records.                                          date and time of each gas injection, the          Also record the average dynamic spiking
   10.1.3.1 Hourly measurements of stack          reference gas concentration (low, mid, or         error for each of the upscale gases, the
gas volumetric flow rate during unit              high) and the monitor response for each of        calculated average DSA Accuracy at each
operation are required to demonstrate             the three injections at each of the three         upscale gas concentration, and all
compliance with EtO emission standards.           levels. Also record the average monitor           calculations leading to the DSA Accuracy.
   10.1.3.2 Use a flow rate monitor that          response and the ME at each gas level and           10.1.5.2 Additional Monitoring Systems.
meets the requirements of part 75 of this         the related calculations.                         For the stack gas flow rate monitoring
chapter to record the required data. You must        10.1.5.1.4 For each required level of          systems described in section 3.2 of this
keep hourly flow rate records, as specified in    detection (LOD) test of an EtO monitor            appendix, you must keep records of all
§ 75.57(c)(2) of this chapter.                    performed in a controlled environment,            certification, recertification, diagnostic, and
   10.1.4 EtO Emission Rate Records.              record the test date, the concentrations of the   on-going quality-assurance tests of these
Record the following information for each         reference gas and interference gases, the         systems, as specified in § 75.59(a) of this
affected unit or common stack:                    results of the seven (or more) consecutive        chapter.
   10.1.4.1 The date and hour;                    measurements of EtO, the standard deviation,
   10.1.4.2 The hourly EtO emissions rate         and the LOD value. For each required LOD          11. Reporting Requirements
(lb/hr), for each hour in which valid values      test performed in the field, record the test         11.1 General Reporting Provisions. The
of EtO concentration and stack gas                date, the three measurements of the native        owner or operator shall comply with the
volumetric flow rate are obtained for the         source EtO concentration, the results of the      following requirements for reporting EtO
hour. Report each emission rate to the same       three independent standard addition (SA)          emissions from each affected unit (or group
precision as the most stringent standard that     measurements known as standard addition           of units monitored at a common stack):
applies to any affected source exhausting to      response (SAR), the effective spike addition         11.1.1 Notifications, in accordance with
the emission stream (e.g., if the emission        gas concentration, the resulting standard         paragraph 11.2 of this section;
stream includes contributions from an SCV         addition detection level (SADL) value and all        11.1.2 Monitoring plan reporting, in
and ARV subject to 99.99% and 99.9%               related calculations. For extractive CEMS         accordance with paragraph 11.3 of this
emission reduction standards, respectively,       performing the SA using dynamic spiking,          section;
report to four significant figures), expressed    you must record the spiked gas dilution              11.1.3 Certification, recertification, and
in scientific notation. Use the following         factor.                                           QA test submittals, in accordance with
rounding convention: If the digit                    10.1.5.1.5 For each required ME/level of       paragraph 11.4 of this section; and
immediately following the first decimal place     detection response time test of an EtO               11.1.4 Electronic quarterly report
is 5 or greater, round the first decimal place    monitor, record the test date, the native EtO     submittals, in accordance with paragraph
upward (increase it by one); if the digit         concentration of the flue gas, the reference      11.5 of this section.
immediately following the first decimal place     gas value, the stable reference gas readings,        11.2 Notifications. The owner or operator
is 4 or less, leave the first decimal place       the upscale/downscale start and end times,        shall provide notifications for each affected
unchanged;                                        and the results of the upscale and downscale      unit (or group of units monitored at a
   10.1.4.4 A code indicating that the EtO        stages of the test.                               common stack) in accordance with § 63.366.
emission rate was not calculated for the hour,       10.1.5.1.6 For each required interference         11.3 Monitoring Plan Reporting. For each
if valid data for EtO concentration and/or any    test of an EtO monitor, record (or obtain from    affected unit (or group of units monitored at
of the other necessary parameters are not         the analyzer manufacturer records of): The        a common stack) using EtO CEMS, the owner
obtained for the hour. For the purposes of        date of the test; the gas volume/rate,            or operator shall make electronic and hard
this appendix, the substitute data values         temperature, and pressure used to conduct         copy monitoring plan submittals as follows:
required under part 75 of this chapter for        the test; the EtO concentration of the               11.3.1 For a sterilization facility that
stack gas flow rate are not considered to be      reference gas used; the concentrations of the     begins reporting hourly EtO concentrations
valid data.                                       interference test gases; the baseline EtO         with a previously certified CEMS, submit the
   10.1.5 Certification and Quality               responses for each interferent combination        monitoring plan information in section
Assurance Test Records. For the EtO CEMS          spiked; and the total percent interference as     10.1.1.2 of this appendix prior to or
used to provide data under this subpart at        a function of span or EtO concentration.          concurrent with the first required quarterly
each affected unit (or group of units                10.1.5.1.7 For each quarterly relative         emissions report. For a new sterilization
monitored at a common stack), record the          accuracy audit (RAA) of an EtO monitor,           facility, submit the information in section
following information for all required            record the beginning and ending date and          10.1.1.2 of this appendix at least 21 days
certification, recertification, diagnostic, and   time of each test run, the reference method       prior to the start of initial certification testing
quality-assurance tests:                          used, the EtO concentrations measured by          of the CEMS. Also submit the monitoring
   10.1.5.1 EtO CEMS.                             the reference method and CEMS for each test       plan information in § 75.53(g) of this chapter
   10.1.5.1.1 For each required 7-day and         run, the average concentrations measured by       pertaining to any required flow rate
daily calibration drift (CD) test or daily        the reference method and the CEMS, and the        monitoring systems within the applicable
calibration error test (including daily           calculated relative accuracy. Keep records of     timeframe specified in this section, if the
calibration transfer standard tests) of the EtO   the raw field data, relevant process operating    required records are not already in place.
CEMS, record the test date(s) and time(s),        data, and the calculations used to determine         11.3.2 Update the monitoring plan when
reference gas value(s), monitor response(s),      the relative accuracy.                            required, as provided in paragraph 10.1.1.1 of
and calculated calibration drift or calibration      10.1.5.1.8 For each quarterly cylinder gas     this appendix. An electronic monitoring plan
error value(s). If you use the dynamic spiking    audit (CGA) of an EtO monitor, record the         information update must be submitted either
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prior to or concurrent with the quarterly              11.4.2.11 Standard deviation, using               11.4.7.1 Facility ID information;
report for the calendar quarter in which the        equation 7 in section 12.6 of PS 19 in               11.4.7.2 Monitoring system ID;
update is required.                                 appendix B to part 60 of this chapter;               11.4.7.3 Begin and end time of each test
   11.3.3 All electronic monitoring plan               11.4.2.12 Confidence coefficient, using        run;
submittals and updates shall be made to the         equation 8 in section 12.6 of PS 19 in               11.4.7.4 The reference method used;
Administrator using CEDRI. Hard copy                appendix B to part 60 of this chapter;               11.4.7.5 The reference method and CEMS
portions of the monitoring plan shall be kept          11.4.2.13 t-value; and                         values for each test run, including the units
on record according to section 10.1 of this            11.4.2.14 Relative accuracy calculated         of measure;
appendix.                                           using equation 11 in section 12.6 of PS 19 in        11.4.7.6 The mean reference method and
   11.4 Certification, Recertification, and         appendix B to part 60 of this chapter.            CEMS values for the three test runs;
Quality-Assurance Test Reporting                       11.4.3 For each measurement error (ME)            11.4.7.7 The calculated relative accuracy,
Requirements. Use CEDRI to submit the               test of an EtO monitor, report:                   percent; and
results of all required certification,                 11.4.3.1 Facility ID information;                 11.4.7.8 Reason for test.
recertification, quality-assurance, and                11.4.3.2 Monitoring component ID;                 11.4.8 For each quarterly cylinder gas
diagnostic tests of the monitoring systems             11.4.3.3 Instrument span and span scale;       audit of an EtO monitor, report:
required under this appendix electronically.           11.4.3.4 For each gas injection, the date         11.4.8.1 Facility ID information;
Submit the test results concurrent with the         and time, the calibration gas level (zero, low,      11.4.8.2 Monitoring component ID;
quarterly electronic emissions report.              mid, or high), the reference gas value in ppbv       11.4.8.3 Instrument span and span scale;
However, for RATAs of the EtO monitor, if           and the monitor response.                            11.4.8.4 For each gas injection, the date
this is not possible, you have up to 60 days           11.4.3.5 For extractive CEMS, the mean         and time, the reference gas level (zero, mid,
after the test completion date to submit the        reference value and mean of measured values       or high), the reference gas value in ppbv, and
test results; in this case, you may claim           at each reference gas level (ppbv).               the monitor response.
provisional status for the emissions data              11.4.3.6 ME at each reference gas level;          11.4.8.5 For extractive CEMS, the mean
affected by the test, starting from the date and    and                                               reference gas value and mean monitor
hour in which the test was completed and               11.4.3.7 Reason for test.                      response at each reference gas level (ppbv).
continuing until the date and hour in which            11.4.4 For each interference test of an EtO       11.4.8.6 ME at each reference gas level;
the test results are submitted. If the test is      monitoring system, report:                        and
successful, the status of the data in that time        11.4.4.1 Facility ID information;                 11.4.8.7 Reason for test.
period changes from provisional to quality-            11.4.4.2 Date of test;                            11.4.9 For each quarterly DSA of an EtO
assured, and no further action is required.            11.4.4.3 Monitoring system ID;                 monitor, report:
However, if the test is unsuccessful, the              11.4.4.4 Results of the test (pass or fail);      11.4.9.1 Facility ID information;
provisional data must be invalidated and               11.4.4.5 Reason for test; and                     11.4.9.2 Monitoring component ID;
resubmission of the affected emission                  11.4.4.6 A flag to indicate whether the           11.4.9.3 Instrument span and span scale;
report(s) is required.                              test was performed: On this particular               11.4.9.4 For the zero gas injection, the
   11.4.1 For each daily CD (or calibration         monitoring system; on one of multiple             date and time, and the monitor response
error) assessment (including daily calibration      systems of the same type; or by the               (Note: The zero gas injection from a
transfer standard tests), and for each seven-       manufacturer on a system with components          calibration drift check performed on the same
day calibration drift (CD) test of an EtO           of the same make and model(s) as this             day as the upscale spikes may be used for
monitor, report:                                    system.                                           this purpose.);
   11.4.1.1 Facility ID information;                   11.4.5 For each LOD test of an EtO                11.4.9.5 Zero spike error;
   11.4.1.2 The monitoring component ID;            monitor, report:                                     11.4.9.6 For the upscale gas spiking, the
   11.4.1.3 The instrument span and span               11.4.5.1 Facility ID information;              date and time of each spike, the reference gas
scale;                                                 11.4.5.2 Date of test;                         level (mid- or high-), the reference gas value
   11.4.1.4 For each gas injection, the date           11.4.5.3 Reason for test;                      (ppbv), the dilution factor, the native EtO
and time, the calibration gas level (zero or           11.4.5.4 Monitoring system ID;                 concentrations before and after each spike,
high-level), the reference gas value (ppbv),           11.4.5.5 A code to indicate whether the        and the monitor response for each gas spike;
and the monitor response (ppbv);                    test was done in a controlled environment or         11.4.9.7 Upscale spike error;
   11.4.1.5 A flag to indicate whether              in the field;                                        11.4.9.8 DSA at the zero level and at each
dynamic spiking was used for the high-level            11.4.5.6 EtO reference gas concentration;      upscale gas level; and
value;                                                 11.4.5.7 EtO responses with interference          11.4.9.9 Reason for test.
   11.4.1.6 Calibration drift (percent of span      gas (seven repetitions);                             11.4.10 Reporting Requirements for
or reference gas, as applicable);                      11.4.5.8 Standard deviation of EtO             Diluent Gas, Flow Rate, and Moisture
   11.4.1.7 When using the dynamic spiking          responses;                                        Monitoring Systems. For the certification,
option, the measured concentration of native           11.4.5.9 Effective spike addition gas          recertification, diagnostic, and QA tests of
EtO before and after each mid-level spike and       concentrations;                                   stack gas flow rate, moisture, and diluent gas
the spiked gas dilution factor; and                    11.4.5.10 EtO concentration measured           monitoring systems that are certified and
   11.4.1.8 Reason for test.                        without spike;                                    quality-assured according to part 75 of this
   11.4.2 For each RATA of an EtO CEMS,                11.4.5.11 EtO concentration measured           chapter, report the information in section
report:                                             with spike;                                       10.1.8.2 of this appendix.
   11.4.2.1 Facility ID information;                   11.4.5.12 Dilution factor for spike;              11.5 Quarterly Reports.
   11.4.2.2 Monitoring system ID number;               11.4.5.13 The controlled environment              11.5.1 The owner or operator of any
   11.4.2.3 Type of test (i.e., initial or annual   LOD value (ppbv or ppbv-meters);                  affected unit shall use CEDRI to submit
RATA);                                                 11.4.5.14 The field determined standard        electronic quarterly reports to the
   11.4.2.4 Reason for test;                        addition detection level (SADL in ppbv or         Administrator in an XML format specified by
   11.4.2.5 The reference method used;              ppbv-meters); and                                 the Administrator, for each affected unit (or
   11.4.2.6 Starting and ending date and               11.4.5.15 Result of LOD/SADL test (pass/       group of units monitored at a common stack).
time for each test run;                             fail).                                            If the certified EtO CEMS is used for the
   11.4.2.7 Units of measure;                          11.4.6 For each ME or LOD response time        initial compliance demonstration, EtO
   11.4.2.8 The measured reference method           test of an EtO monitor, report:                   emissions reporting shall begin with the first
and CEMS values for each test run, on a                11.4.6.1 Facility ID information;              operating hour of the 30-operating day
consistent moisture basis, in appropriate              11.4.6.2 Date of test;                         compliance demonstration period.
units of measure;                                      11.4.6.3 Monitoring component ID;              Otherwise, EtO emissions reporting shall
   11.4.2.9 Flags to indicate which test runs          11.4.6.4 The higher of the upscale or          begin with the first operating hour after
were used in the calculations;                      downscale tests, in minutes; and                  successfully completing all required
   11.4.2.10 Arithmetic mean of the CEMS               11.4.6.5 Reason for test.                      certification tests of the CEMS.
values, of the reference method values, and            11.4.7 For each quarterly RAA of an EtO           11.5.2 The electronic reports must be
of their differences;                               monitor, report:                                  submitted within 30 days following the end
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of each calendar quarter, except for units that     11.5.3.4 The results of all daily            been correctly and fully monitored, the
have been placed in long-term cold storage.       calibrations (including calibration transfer   owner or operator shall submit a compliance
  11.5.3 Each electronic quarterly report         standard tests) of the EtO monitor as          certification in support of each electronic
shall include the following information:          described in section 10.1.8.1.1 of this        quarterly emissions monitoring report. The
  11.5.3.1 The date of report generation;         appendix; and                                  compliance certification shall include a
  11.5.3.2 Facility identification                  11.5.3.5 If applicable, the results of all
information;                                      daily flow monitor interference checks, in     statement by a responsible official with that
  11.5.3.3 The information in sections            accordance with section 10.1.8.2 of this       official’s name, title, and signature, certifying
10.1.2 through 10.1.4 of this appendix, as        appendix.                                      that, to the best of his or her knowledge, the
applicable to the type(s) of monitoring             11.5.4 Compliance Certification. Based       report is true, accurate, and complete.
system(s) used to measure the pollutant           on reasonable inquiry of those persons with    [FR Doc. 2024–05905 Filed 4–4–24; 8:45 am]
concentrations and other necessary                primary responsibility for ensuring that all
                                                                                                 BILLING CODE 6560–50–P
parameters.                                       EtO emissions from the affected unit(s) have
